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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                    MDL No. 2804
OPIATE LITIGATION
                                               Judge Dan Aaron Polster
FLINT PLUMBING AND PIPEFITTING
INDUSTRY HEALTH CARE FUND,
On behalf of itself and all others similarly
situated,
                                                 COMPLAINT

                               Plaintiff,        DEMAND FOR JURY TRIAL

       vs.

PURDUE PHARMA L.P., PURDUE
PHARMA INC., THE PURDUE FREDERICK
COMPANY, INC., ENDO HEALTH
SOLUTIONS INC., ENDO
PHARMACEUTICALS, INC., JANSSEN
PHARMACEUTICALS, INC., JANSSEN
PHARMACEUTICA, INC. n/k/a JANSSEN
PHARMACEUTICALS, INC., NORAMCO,
INC., ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC. n/k/a JANSSEN
PHARMACEUTICALS, INC., JOHNSON &
JOHNSON, TEVA PHARMACEUTICAL
INDUSTRIES LTD., TEVA
PHARMACEUTICALS USA, INC.,
CEPHALON, INC., ALLERGAN PLC f/k/a
ACTAVIS PLC, ALLERGAN FINANCE
LLC, f/k/a ACTAVIS, INC., f/k/a WATSON
PHARMACEUTICALS, INC., WATSON
LABORATORIES, INC., ACTAVIS LLC,
ACTAVIS PHARMA, INC. f/k/a WATSON
PHARMA, INC., INSYS THERAPEUTICS,
INC., MALLINCKRODT PLC,
MALLINCKRODT LLC, CARDINAL
HEALTH, INC., McKESSON
CORPORATION, AMERISOURCEBERGEN
CORPORATION, HEALTH MART
SYSTEMS, INC., H. D. SMITH, LLC d/b/a
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HD SMITH, f/k/a H.D. SMITH
WHOLESALE DRUG CO., H. D. SMITH
HOLDINGS, LLC, H. D. SMITH HOLDING
COMPANY, CVS HEALTH
CORPORATION, WALGREENS BOOTS
ALLIANCE, INC. a/k/a WALGREEN CO.,
and WAL-MART INC. f/k/a WAL-MART
STORES, INC., RITEAID CORP.

                        Defendants.
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       1.      The Flint Plumbing and Pipefitting Industry Health Care Fund (hereinafter

“Plaintiff” or the “Fund”) bring this action to prevent future harm and to redress past wrongs,

against Defendants: Purdue Pharma, L.P., Purdue Pharma, Inc., The Purdue Frederick Company,

Inc., Endo Health Solutions Inc., Endo Pharmaceuticals, Inc., Par Pharmaceutical, Inc., Par

Pharmaceutical Companies, Inc., Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc. n/k/a

Janssen Pharmaceuticals, Inc., Noramco, Inc., Ortho-Mcneil-Janssen Pharmaceuticals, Inc., n/k/a

Janssen Pharmaceuticals, Inc., Johnson & Johnson, Teva Pharmaceutical Industries, Ltd., Teva

Pharmaceuticals USA, Inc, Cephalon, Inc., Allergan PLC f/k/a Actavis PLC, Allergan Finance,

LLC, f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis

LLC, Actavis Pharma, Inc. f/k/a Watson Pharma, Inc, Insys Therapeutics, Inc., Mallinckrodt, PLC,

Mallinckrodt    LLC,    SpecGx     LLC,     Cardinal   Health       Inc.,   McKesson   Corporation,

AmerisourceBergen Corporation, Health Mart Systems, Inc., H.D. Smith Wholesale Drug Co.,

Anda, Inc., Discount Drug Mart, Inc., Prescription Supply, Inc., CVS Health Corporation, HBC

Service Company, RiteAid Corp., Walgreens Boots Alliance, Inc. a/k/a Walgreen Co., Walmart

Inc., f/k/a Walmart Stores, Inc. Plaintiff asserts two categories of claims: claims against the

pharmaceutical manufacturers of prescription opioid drugs that engaged in a massive false

marketing campaign to drastically expand the market for such drugs and their own market share,

and claims against entities in the supply chain that reaped enormous financial rewards by refusing

to monitor and restrict the improper distribution of those drugs.




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                                               INTRODUCTION

         2.       This case arises from the worst man-made epidemic in modern medical history—

the misuse, abuse, and over-prescription of opioids.1

         3.       By now, most Americans have been affected, either directly or indirectly, by the

opioid disaster. But few realize that this crisis arose from the opioid manufacturers’ deliberately

deceptive marketing strategy to expand opioid use, together with the distributors’ equally

deliberate efforts to evade restrictions on opioid distribution. Manufacturers and distributors alike

acted without regard for the lives that would be trammeled in pursuit of profit.

         4.       Since the push to expand prescription opioid use began in the late 1990s, the death

toll has steadily climbed, with no sign of slowing. The number of opioid overdoses in the United

States rose from 8,000 in 1999 to over 20,000 in 2009, and over 33,000 in 2015.2 In the twelve

months that ended in September 2017, opioid overdoses claimed 45,000 lives.

         5.       From 1999 through 2016, overdoses killed more than 350,000 Americans.3 Over

200,000 of them, more than were killed in the Vietnam War, died from opioids prescribed by

doctors to treat pain.4 These opioids include brand-name prescription medications such as

OxyContin, Opana ER, Vicodin, Subsys, and Duragesic, as well as generics like oxycodone,

hydrocodone, and fentanyl.




1
 Unless otherwise indicated, as used herein, the term “opioid” refers to the entire family of opiate drugs including
natural, synthetic and semi-synthetic opiates.
2
  Overdose Death Rates, Nat’l Inst. on Drug Abuse, https://www.drugabuse.gov/related-topics/trends-
statistics/overdose-death-rates (last updated Sept. 2017).
3
 Understanding the Epidemic, Ctrs. for Disease Control and Prevention,
https://www.cdc.gov/drugoverdose/epidemic/index.html (last updated Aug. 30, 2017).
4
 Prescription Opioid Overdose Data, Ctrs. for Disease Control and Prevention,
https://www.cdc.gov/drugoverdose/data/overdose.html (last updated Aug. 1, 2017).


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       6.      Most of the overdoses from non-prescription opioids are also directly related to

prescription pills. Many opioid users, having become addicted to but no longer able to obtain

prescription opioids, have turned to heroin. According to the American Society of Addiction

Medicine, 80% of people who initiated heroin use in the past decade started with prescription

opioids—which, at the molecular level and in their effect, closely resemble heroin. In fact, people

who are addicted to prescription opioids are 40 times more likely to become addicted to heroin,

and the Centers for Disease Control and Prevention (“CDC”) identified addiction to prescription

opioids as the strongest risk factor for heroin addiction.

       7.      As a result, in part, of the proliferation of opioid pharmaceuticals between the late

1990s and 2015, the life expectancy for Americans decreased for the first time in recorded history.

Drug overdoses are now the leading cause of death for Americans under 50.

       8.      In the words of Robert Anderson, who oversees death statistics at the Centers for

Disease Control and Prevention, “I don’t think we’ve ever seen anything like this. Certainly not in

modern times.” On October 27, 2017, the President declared the opioid epidemic a public health

emergency.

       9.      This suit takes aim at the two primary causes of the opioid crisis: (a) a marketing

scheme involving the false and deceptive marketing of prescription opioids, which was designed

to dramatically increase the demand for and sale of opioids and opioid prescriptions; and (b) a

supply chain scheme, pursuant to which the various entities in the supply chain failed to design

and operate systems to identify suspicious orders of prescription opioids, maintain effective

controls against diversion, and halt suspicious orders when they were identified, thereby

contributing to the oversupply of such drugs and fueling an illegal secondary market.




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       10.     On the demand side, the crisis was precipitated by the defendants who manufacture,

sell, and market prescription opioids (“Marketing Defendants”). Through a massive marketing

campaign premised on false and incomplete information, the Marketing Defendants engineered a

dramatic shift in how and when opioids are prescribed. The Marketing Defendants relentlessly and

methodically, but untruthfully, asserted that the risk of addiction was low when opioids were used

to treat chronic pain, and overstated the benefits and trivialized the risk of the long-term use of

opioids.

       11.     The Marketing Defendants’ goal was simple: to dramatically increase sales by

convincing doctors to prescribe opioids not only for the kind of severe pain associated with cancer

or short-term post-operative pain, but also for common chronic pains, such as back pain and

arthritis. They did this even though they knew that opioids were addictive and subject to abuse,

and that their other claims regarding the risks, benefits, and superiority of opioids for long-term

use were untrue and unfounded.

       12.     The Marketing Defendants’ push to increase opioid sales worked. Through their

publications and websites, endless stream of sales representatives, “education” programs, and

other means, Marketing Defendants dramatically increased their sales of prescription opioids and

reaped billions of dollars of profit as a result. Since 1999, the amount of prescription opioids sold

in the U.S. nearly quadrupled. In 2016, 289 million prescriptions for opioids were filled in the

U.S.—enough to medicate every adult in America around the clock for a month.

       13.     Meanwhile, the Defendants made blockbuster profits. In 2012 alone, opioids

generated $8 billion in revenue for drug companies. By 2015, sales of opioids grew to

approximately $9.6 billion.




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        14.    From the day they made the pills to the day those pills were consumed in our

members, employees and beneficiaries, , these manufacturers have had control over the

information regarding addiction they chose to spread and emphasize as part of their massive

marketing campaign. By providing misleading information to doctors about addiction being rare

and opioids being safe even in high doses, then pressuring doctors into prescribing their products

by arguing, among other things, that no one should be in pain, the Marketing Defendants created

a population of addicted patients who sought opioids at never-before-seen rates. The scheme

worked, and through it the Marketing Defendants caused their profits to soar as more and more

people became dependent on opioids. Today, as many as 1 in 4 patients who receive prescription

opioids long-term for chronic pain in a primary care setting struggles with addiction. And as of

2017, overdose death rates involving prescription opioids were five times higher than they were in

1999.

        15.    On the supply side, the crisis was fueled and sustained by those involved in the

supply chain of opioids, including manufacturers, distributors, and pharmacies (together,

“Defendants”), who failed to maintain effective controls over the distribution of prescription

opioids, and who instead have actively sought to evade such controls. Defendants have contributed

substantially to the opioid crisis by selling and distributing far greater quantities of prescription

opioids than they know could be necessary for legitimate medical uses, while failing to report, and

to take steps to halt suspicious orders when they were identified, thereby exacerbating the

oversupply of such drugs and fueling an illegal secondary market.

        16.    As millions became addicted to opioids, “pill mills,” often styled as “pain clinics,”

sprouted nationwide and rogue prescribers stepped in to supply prescriptions for non-medical use.

These pill mills, typically under the auspices of licensed medical professionals, issue high volumes



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of opioid prescriptions under the guise of medical treatment. Prescription opioid pill mills and

rogue prescribers cannot channel opioids for illicit use without at least the tacit support and willful

blindness of the Defendants, if not their knowing support.

           17.     As a direct and foreseeable result of Defendants’ conduct, cities and counties across

the nation, including Plaintiff, are now swept up in what the CDC has called a “public health

epidemic” and what the U.S. Surgeon General has deemed an “urgent health crisis.”5 The increased

volume of opioid prescribing correlates directly to skyrocketing addiction, overdose, and death;

black markets for diverted prescription opioids; and a concomitant rise in heroin and fentanyl

abuse by individuals who could no longer legally acquire—or simply could not afford—

prescription opioids.

           18.     Thus, rather than compassionately helping patients in pain, this explosion in opioid

use—and Defendants’ profits—has come at the expense of patients and Plaintiff and has caused

ongoing harm and damages to Plaintiff. As the CDC director concluded in 2014: “We know of no

other medication routinely used for a nonfatal condition that kills patients so frequently.”6

           19.     Defendants’ conduct in promoting opioid use, addiction, abuse, overdose and death

has had severe and far-reaching public health, social services, and criminal justice consequences,

including the fueling of addiction and overdose from illicit drugs such as heroin. The costs are

borne by Plaintiff. These necessary and costly responses to the opioid crisis include the handling

of emergency responses to overdoses, providing addiction treatment, handling opioid-related

investigations, arrests, adjudications, and incarcerations, treating opioid-dependent newborns in



5
    CDC, Examining the Growing Problems of Prescription Drug and Heroin Abuse (Apr. 29, 2014), available at
http://www,cdc,give.washington/testimony/2014/t20140429.htm; see also, Letter from Vivek H.
Murthy, M.D., M.B.A., 19th U.S. Surgeon General, Turn the Tide RX (Aug. 2016), http://turnthetiderx.org.
6
    Id.


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neonatal intensive care units, burying the dead, and placing thousands of children in foster care

placements, among others.

        20.     The burdens imposed on Plaintiff are not the normal or typical burdens of benefit

payments and insurance coverage. Rather, these are extraordinary costs and losses that are directly

related to Defendants’ illegal actions. Plaintiff, and the benefits it provides to its members,

employees, and beneficiaries, have been strained to the breaking point by this public health crisis.

        21.     Defendants have not changed their ways or corrected their past misconduct but

instead are continuing to fuel the crisis.

        22.     Within the next hour, six Americans will die from opioid overdoses; two babies

will be born dependent on opioids and begin to go through withdrawal; and drug manufacturers

will earn over $2.7 million from the sale of opioids.

        23.     The Flint Plumbing and Pipefitting Industry Health Care Fund has filed this suit to

bring the devastating march of this epidemic to a halt and to hold Defendants responsible for the

crisis they caused.

                                  JURISDICTION AND VENUE

        24.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims under the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18

U.S.C. § 1961 et seq., raise a federal question. This Court has supplemental jurisdiction over the

Plaintiff’s state-law claims under 28 U.S.C. § 1367 because those claims are so related to the RICO

claim as to form part of the same case or controversy.

        25.     This Court has personal jurisdiction over all Defendants under MCL 600.715 and

R.C. 2307.382 in Michigan and Ohio because the causes of action alleged in this Complaint arise

out of each Defendant’s transacting substantial, continuous and systematic business in Michigan

and Ohio, contracting to supply services or goods in Michigan and Ohio, causing tortious injury

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by an act or omission in Michigan and Ohio, and because the Defendants regularly do or solicit

business or engage in a persistent course of conduct or derive substantial revenue from goods used

or consumed or services rendered in Michigan and Ohio. Defendants have purposefully directed

their actions towards Michigan and Ohio and/or have the requisite minimum contacts with

Michigan and Ohio to satisfy any statutory or constitutional requirements for personal jurisdiction.

       26.     Venue is proper in this district pursuant to Judge Aaron Polster’s first Case

Management Order in the In Re: National Prescription Opiate Litigation, Case. No. 1:17-cv2804)

(N.D. Oh., April 11, 2018).

                                            PARTIES

I.     PLAINTIFF

       27.     Plaintiff Flint Plumbing and Pipefitting Industry Health Care Fund is a

multiemployer health and welfare plan covering eligible members of various local unions in

Detroit and Mid-Michigan.

       28.     The Fund is self-funded and insured as defined by ERISA and is jointly trusteed as

defined by the Taft-Hartley Act.

       29.     As a Third-Party Payor, the Fund provides health insurance, supplemental

Medicare coverage, retirement benefits, supplemental income, disability pensions, dental, vision,

prescription drug, long-term care coverage and death benefits to approximately 1000 members.

       30.     As part of its comprehensive health plan, the Fund provides coverage for mental

health and substance abuse treatment.

       31.     Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief. These

damages have been suffered, and continue to be suffered directly, by the Plaintiff.



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       32.     Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief. These

damages have been suffered, and continue to be suffered directly, by the Plaintiff.

       33.     Plaintiff has standing to bring an action for the opioid epidemic nuisance created

by Defendants.

       34.     Plaintiff has standing to recover damages incurred as a result of Defendants’ actions

and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia, to bring

claims under the federal RICO statute, pursuant to 18 U.S.C. § 1961(3) (“persons” include entities

which can hold legal title to property) and 18 U.S.C. § 1964 (“persons” have standing).

II.    DEFENDANTS

       A.      Marketing Defendants.

       35.     At all relevant times, the Marketing Defendants, each of whom is defined below,

have packaged, distributed, supplied, sold, placed into the stream of commerce, labeled, described,

marketed, advertised, promoted and purported to warn or purported to inform prescribers and users

regarding the benefits and risks associated with the use of prescription opioid drugs. The Marketing

Defendants, at all times, have manufactured and sold prescription opioids without fulfilling their

legal duty to prevent diversion and report suspicious orders.

               1.      Purdue Entities

       36.     Defendant Purdue Pharma L.P. (“PPL”) is a limited partnership organized under

the laws of Delaware with its principal place of business in Stamford, Connecticut. None of the

PPL’s partners have citizenship in the State of Michigan.

       37.     Defendant Purdue Pharma Inc. (“PPI”) is a New York corporation with its principal

place of business in Stamford, Connecticut.




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         38.      Defendant The Purdue Frederick Company, Inc. (“PFC”) is a New York

corporation with its principal place of business in Stamford, Connecticut.

         39.      PPL, PPI, and PFC, and their DEA registrant subsidiaries and affiliates

(collectively, “Purdue”) are engaged in the manufacture, promotion, distribution, and sale of

opioids nationally, and in Michigan, including the following:

    Product              Chemical Name                                                          Schedule7
    Name
    OxyContin            Oxycodone hydrochloride, extended release                              Schedule II
    MS Contin            Morphine sulfate, extended release                                     Schedule II
    Dilaudid             Hydromorphone hydrochloride                                            Schedule II
    Dilaudid-HP          Hydromorphone hydrochloride                                            Schedule II
    Butrans              Buprenorphine                                                          Schedule III
    Hysingla ER          Hydrocodone bitrate                                                    Schedule II
    Targiniq ER          Oxycodone hydrochloride and naloxone hydrochloride                     Schedule II

         40.      Purdue made thousands of payments to physicians nationwide, including in

Michigan, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

         41.      OxyContin is Purdue’s highest-selling opioid. Since 2009, Purdue’s national annual

sales of OxyContin have fluctuated between $2.47 billion and $3.1 billion, up four-fold from 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic drugs


7
  Since passage of the Comprehensive Drug Abuse Prevention and Control Act of 1970, 21 U.S.C. §801 et seq.
(“CSA” or “Controlled Substances Act”) in 1970, opioids have been regulated as controlled substances. As
controlled substances, they are categorized in five schedules, ranked in order of their potential for abuse, with
Schedule I being the most dangerous. The CSA imposes a hierarchy of restrictions on prescribing and dispensing
drugs based on their medicinal value, likelihood of addiction or abuse, and safety. Opioids generally had been
categorized as Schedule II or Schedule III drugs; hydrocodone and tapentadol were recently reclassified from
Schedule III to Schedule II. Schedule II drugs have a high potential for abuse, and may lead to severe psychological
or physical dependence. Schedule III drugs are deemed to have a lower potential for abuse, but their abuse still may
lead to moderate or low physical dependence or high psychological dependence.


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(i.e., painkillers). Sales of OxyContin (launched in 1996) went from a mere $49 million in its first

full year on the market to $1.6 billion in 2002.

       42.     In 2007, Purdue settled criminal and civil charges against it for misbranding

OxyContin and agreed to pay the United States $635 million—at the time, one of the largest

settlements with a drug company for marketing misconduct. None of this stopped Purdue. In fact,

Purdue continued to create the false perception that opioids were safe and effective for long term

use, even after being caught, by using unbranded marketing methods to circumvent the system. In

short, Purdue paid the fine when caught and then continued business as usual, deceptively

marketing and selling billions of dollars of opioids each year.

               2.      Actavis Entities

       43.     Allergan PLC is a public limited company incorporated in Ireland with its principal

place of business in Dublin, Ireland. Actavis PLC acquired Allergan PLC in March 2015, and the

combined company changed its name to Allergan PLC in January 2013. Defendant Actavis, Inc.

was acquired by Watson Pharmaceuticals, Inc. in October 2012, and the combined company

changed its name to Actavis, Inc. as of January 2013 and then Actavis PLC in October 2013.

Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal place of business

in Corona, California, and is a wholly owned subsidiary of Allergan PLC (Allergan Finance LLC,

f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). Defendant Actavis Pharma, Inc. is

registered to do business with the Michigan Secretary of State as a Delaware corporation with its

principal place of business in New Jersey and was formerly known as Watson Pharma, Inc.

Defendant Actavis LLC is a Delaware limited liability company with its principal place of business

in Parsippany, New Jersey. Each of these defendants and entities is owned by Defendant Allergan

PLC, which uses them to market and sell its drugs in the United States. Collectively, these



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defendants and entities, and their DEA registrant subsidiaries and affiliates which manufacture,

promotion, distribution, and sell prescription opioids, are referred to as “Actavis.”

       44.     Actavis manufactures or has manufactured the following drugs as well as generic

versions of Kadian, Duragesic, and Opana in the United States:

    Product          Chemical Name                                                 Schedule
    Name
    Kadian           Morphine sulfate, extended release                            Schedule II
    Norco           Hydrocodone bitartate and acetaminophen              Schedule II
       45.     Actavis made thousands of payments to physicians nationwide, ostensibly for

activities including participating on speakers’ bureaus, providing consulting services, assisting in

post-marketing safety surveillance and other services, but in fact to deceptively promote and

maximize the use of opioids.

               3.      Cephalon Entities

       46.     Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

corporation with its principal place of business in North Wales, Pennsylvania. Teva USA was in

the business of selling generic opioids, including a generic form of OxyContin from 2005 to 2009.

Teva USA is a wholly owned subsidiary of Defendant Teva Pharmaceutical Industries, Ltd. (“Teva

Ltd.”), an Israeli corporation (collectively “Teva”).

       47.     Defendant Cephalon, Inc. is a Delaware corporation with its principal place of

business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.

       48.     Teva USA and Cephalon, Inc. and their DEA registrant subsidiaries and affiliates

(collectively, “Cephalon”) work together to manufacture, promote, distribute and sell both brand

name and generic versions of opioids including the following:




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                    Product Name        Chemical Name         Schedule
                    Actiq               Fentanyl citrate      Schedule II
                    Fentora             Fentanyl buccal       Schedule II


       49.     From 2000 forward, Cephalon has made thousands of payments to physicians

nationwide, including in Michigan, many of whom were not oncologists and did not treat cancer

pain, ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

               4.       Janssen Entities

       50.     Defendant Johnson & Johnson (“J&J”) is a New Jersey corporation with its

principal place of business in New Brunswick, New Jersey.

       51.     Defendant Janssen Pharmaceuticals, Inc. (“Janssen Pharmaceuticals”) is a

Pennsylvania corporation with its principal place of business in Titusville, New Jersey, and is a

wholly-owned subsidiary of J&J. J&J corresponds with the FDA regarding Janssen’s products.

Janssen Pharmaceuticals, Inc. was formerly known as Ortho-McNeil-Janssen Pharmaceuticals,

Inc., which in turn was formerly known as Janssen Pharmaceutica, Inc.

       52.     Defendant Noramco, Inc. (“Noramco”) is a Delaware company headquartered in

Wilmington, Delaware, and was a wholly owned subsidiary of J&J and its manufacturer of active

pharmaceutical ingredients until July 2016 when J&J sold its interests to SK Capital.

       53.     Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. (“OMP”), now known as

Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey.




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           54.     Defendant Janssen Pharmaceutica, Inc. (“Janssen Pharmaceutica”), now known as

Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey.

           55.     J&J, Janssen Pharmaceuticals, OMP, and Janssen Pharmaceutica and their DEA

registrant subsidiaries and affiliates (collectively, “Janssen”) are or have been engaged in the

manufacture, promotion, distribution, and sale of opioids nationally, and in Michigan. Among the

drugs Janssen manufactures or manufactured are the following:

            Product             Chemical Name                                       Schedule
            Name
            Duragesic           Fentanyl                                            Schedule II
            Nucynta8            Tapentadol hydrochloride, immediate                 Schedule II
                                release
            Nucynta ER          Tapentadol hydrochloride, extended                  Schedule II
                                release
           56.     Janssen made thousands of payments to physicians nationwide, including in

Michigan, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids. Together, Nucynta and Nucynta ER

accounted for $172 million in sales in 2014. Prior to 2009, Duragesic accounted for at least $1

billion in annual sales.

           57.     Janssen, like many other companies, has a corporate code of conduct, which

clarifies the organization’s mission, values and principles. Janssen’s employees are required to

read, understand and follow its Code of Conduct for Health Care Compliance. J&J imposes this

code of conduct on Janssen as a pharmaceutical subsidiary of J&J. Documents posted on J&J’s




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    Depomed, Inc. acquired the rights to Nucynta and Nucynta ER from Janssen in 2015.


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and Janssen’s websites confirm J&J’s control of the development and marketing of opioids by

Janssen. Janssen’s website “Ethical Code for the Conduct of Research and Development,” names

only J&J and does not mention Janssen anywhere within the document. The “Ethical Code for the

Conduct of Research and Development” posted on the Janssen website is J&J’s company-wide

Ethical Code, which it requires all of its subsidiaries to follow.

       58.     The “Every Day Health Care Compliance Code of Conduct” posted on Janssen’s

website is another J&J company-wide document that describes Janssen as one of the

“Pharmaceutical Companies of Johnson & Johnson” and as one of the “Johnson & Johnson

Pharmaceutical Affiliates.” It governs how “[a]ll employees of Johnson & Johnson Pharmaceutical

Affiliates,” including those of Janssen, “market, sell, promote, research, develop, inform and

advertise Johnson & Johnson Pharmaceutical Affiliates’ products.” All Janssen officers, directors,

employees, sales associates must certify that they have “read, understood and will abide by” the

code. The code governs all of the forms of marketing at issue in this case.

       59.     J&J also made payments to thousands of physicians nationwide, including in

Michigan, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

       60.     Information from the U.S. Department of Justice’s Office of the Inspector General

shows that J&J made payments to prescribers, but does not indicate which drug was being

promoted when J&J made these payments. At least one prescriber who previously served on

Janssen’s speakers’ bureau received payment for speaking fees, meals, and travel from J&J. Upon

information and belief, J&J would have similarly made payments to other participants in Janssen’s

speakers’ bureau.



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               5.      Endo Entities

       61.     Defendant Endo Health Solutions Inc. (“EHS”) is a Delaware corporation with its

principal place of business in Malvern, Pennsylvania.

       62.     Defendant Endo Pharmaceuticals, Inc. (“EPI”) is a wholly owned subsidiary of

EHS and is a Delaware corporation with its principal place of business in Malvern, Pennsylvania.

       63.     Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its principal

place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a wholly

owned subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical Holdings, Inc.

Defendant Par Pharmaceutical Companies, Inc. is a Delaware corporation with its principal place

of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. and Par Pharmaceutical

Companies, Inc. are collectively referred to as “Par Pharmaceutical.” Par Pharmaceutical was

acquired by Endo International plc. in September 2015 and is an operating company of Endo

International plc.

       64.     EHS, EPI, and Par Pharmaceutical and their DEA registrant subsidiaries and

affiliates (collectively, “Endo”) manufacture opioids sold nationally, and in Michigan. Among the

drugs Endo manufactures or manufactured are the following:

 Product Name        Chemical Name                                     Schedule
 Opana ER            Oxymorphone hydrochloride, extended release       Schedule II
 Opana               Oxymorphone hydrochloride                         Schedule II
 Percodan            Oxymorphone hydrochloride and aspirin             Schedule II
 Percocet            Oxymorphone hydrochloride and acetaminophen       Schedule II
 Generic             Oxycodone                                         Schedule II
 Generic             Oxymorphone                                       Schedule II
 Generic             Hydromorphone                                     Schedule II
 Generic             Hydrocodone                                       Schedule II




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         65.    Endo made thousands of payments to physicians nationwide, including in

Michigan, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

         66.    Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in

2012, accounting for over 10% of Endo’s total revenue; Opana ER yielded revenue of $1.15 billion

from 2010 to 2013. Endo also manufactures and sells generic opioids, both directly and through

its subsidiaries, Par Pharmaceutical and Qualitest Pharmaceuticals, Inc., including generic

oxycodone, oxymorphone, hydromorphone, and hydrocodone products.

         67.    The Food and Drug Administration requested that Endo remove Opana ER from

the market in June 2017. The FDA relied on post-marketing data in reaching its conclusion based

on risk of abuse.9

                6.      Insys Therapeutics, Inc.

         68.    Insys Therapeutics, Inc. is a Delaware corporation with its principal place of

business in Chandler, Arizona. Insys’s principal product and source of revenue is Subsys:

    Product Name      Chemical Name                                            Schedule
    Subsys            Fentanyl                                                 Schedule II

         69.    Insys made thousands of payments to physicians nationwide, including in

Michigan, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.




9
  Press Release, U.S. Food & Drug Admin., FDA Requests Removal of Opana ER for Risks Related to Abuse.
(accessed June 8, 2017).


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       70.     Subsys is a transmucosal immediate-release formulation (TIRF) of fentanyl,

contained in a single-dose spray device intended for oral, under-the-tongue administration. Subsys

was approved by the FDA solely for the treatment of breakthrough cancer pain.

       71.     In 2016, Insys made approximately $330 million in net revenue from Subsys. Insys

promotes, sells, and distributes Subsys throughout the United States, and in Michigan.

       72.     Insys’s founder and owner was recently arrested and charged, along with other

Insys executives, with multiple felonies in connection with an alleged conspiracy to bribe

practitioners to prescribe Subsys and defraud insurance companies. Other Insys executives and

managers were previously indicted.

               7.      Mallinckrodt Entities

       73.     Defendant Mallinckrodt plc is an Irish public limited company with its headquarters

in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt plc was incorporated in January

2013 for the purpose of holding the pharmaceuticals business of Covidien plc, which was fully

transferred to Mallinckrodt plc in June of that year. Mallinckrodt plc also operates under the

registered business name Mallinckrodt Pharmaceuticals, with its U.S. headquarters in Hazelwood,

Missouri. Defendant Mallinckrodt LLC is a Delaware corporation with its headquarters in

Hazelwood, Missouri. Defendant SpecGx LLC is a Delaware limited liability company with its

headquarters in Clayton, Missouri, and is a wholly owned subsidiary of Mallinckrodt plc.

Mallinckrodt plc, Mallinckrodt LLC, and SpecGx LLC and their DEA registrant subsidiaries and

affiliates (together “Mallinckrodt”) manufacture, market, sell, and distribute pharmaceutical drugs

throughout the United States, and in Michigan. Mallinckrodt is the largest U.S. supplier of opioid

pain medications and among the top ten generic pharmaceutical manufacturers in the United

States, based on prescriptions.



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       74.     Mallinckrodt manufactures and markets two branded opioids: Exalgo, which is

extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and Roxicodone,

which is oxycodone, sold in 15 and 30 mg dosage strengths. In 2009, Mallinckrodt Inc., a

subsidiary of Covidien plc, acquired the U.S. rights to Exalgo. The FDA approved Exalgo for

treatment of chronic pain in 2012. Mallinckrodt further expanded its branded opioid portfolio in

2012 by purchasing Roxicodone from Xanodyne Pharmaceuticals. In addition, Mallinckrodt

developed Xartemis XR, an extended-release combination of oxycodone and acetaminophen,

which the FDA approved in March 2014, and which Mallinckrodt has since discontinued.

Mallinckrodt promoted its branded opioid products with its own direct sales force.

       75.     While it has sought to develop its branded opioid products, Mallinckrodt has long

been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015 it received

approximately 25% of the U.S. Drug Enforcement Administration’s (“DEA”) entire annual quota

for controlled substances that it manufactures. Mallinckrodt also estimated, based on IMS Health

data for the same period, that its generics claimed an approximately 23% market share of DEA

Schedules II and III opioid and oral solid dose medications.10

       76.     Mallinckrodt operates a vertically integrated business in the United States:

(1) importing raw opioid materials, (2) manufacturing generic opioid products, primarily at its

facility in Hobart, New York, and (3) marketing and selling its products to drug distributors,

specialty pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers

that have mail-order pharmacies, and hospital buying groups.




10
  Mallinckrodt plc, Annual Report (Form 10-K.). 5 (N5 (Nov. 29, 2016),
https://www.sec.gov/Archives/edgar/data/1567892/000156789216000098/0001567892-16-000098-index.htm.


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           77.     Among the drugs Mallinckrodt manufactures or has manufactured are the

following:

 Product Name             Chemical Name                                                   Schedule
 Exalgo                   Hydromorphone hydrochloride, extended release                   Schedule II
 Roxicodone               Oxycodone hydrochloride                                         Schedule II
 Xartemis XR              Oxycodone hydrochloride and acetaminophen                       Schedule II
 Methadose                Methadone hydrochloride                                         Schedule II
 Generic                  Morphine sulfate, extended release                              Schedule II
 Generic                  Morphine sulfate oral solution                                  Schedule II
 Generic                  Fentanyl transdermal system                                     Schedule II
 Generic                  Oral transmucosal fentanyl citrate                              Schedule II
 Generic                  Oxycodone and acetaminophen                                     Schedule II
 Generic                  Hydrocodone bitartrate and acetaminophen                        Schedule II
 Generic                  Hydromorphone hydrochloride                                     Schedule II
 Generic                  Hydromorphone hydrochloride, extended release                   Schedule II
 Generic                  Naltrexone hydrochloride                                        unscheduled
 Generic                  Oxymorphone hydrochloride                                       Schedule II
 Generic                  Methadone hydrochloride                                         Schedule II
 Generic                  Oxycodone hydrochloride                                         Schedule II
 Generic                  Buprenorphine and naloxone                                      Schedule III

           78.     Mallinckrodt made thousands of payments to physicians nationwide, including in

Michigan, ostensibly for activities including participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

           79.     Collectively, Purdue, Actavis, Cephalon, Janssen, Endo, Insys, and Mallinckrodt

are referred to as “Marketing Defendants.”11



11
     Together, Purdue, Cephalon, Janssen, and Endo are also sometimes referred to as “RICO Marketing Defendants.”


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       B.      Distributor Defendants

       80.     The Distributor Defendants are defined below. At all relevant times, the Distributor

Defendants have distributed, supplied, sold, and placed into the stream of commerce the

prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Defendants universally failed to comply with federal and/or state law. The Distributor Defendants

are engaged in “wholesale distribution,” as defined under state and federal law. Plaintiff alleges

the unlawful conduct by the Distributor Defendants is a substantial cause for the volume of

prescription opioids plaguing Plaintiff’s members, employees, and beneficiaries.

               1.     Cardinal Health, Inc.

       81.     Cardinal Health, Inc. (“Cardinal”) describes itself as a “global, integrated health

care services and products company,” and is the fifteenth largest company by revenue in the U.S.,

with annual revenue of $121 billion in 2016. Through its various DEA registered subsidiaries and

affiliated entities, Cardinal distributes pharmaceutical drugs, including opioids, throughout the

country. Cardinal is an Ohio corporation and is headquartered in Dublin, Ohio. Cardinal, including

its subsidiaries and affiliated entities, has been licensed as a wholesale distributor of dangerous

drugs in Michigan since 1990. Based on Defendant Cardinal’s own estimates, one of every six

pharmaceutical products dispensed to United States patients travels through the Cardinal Health

network.

               2.     AmerisourceBergen Drug Corporation

       82.     AmerisourceBergen Drug Corporation (“AmerisourceBergen”), through its various

DEA registered subsidiaries and affiliated entities, is a wholesaler of pharmaceutical drugs that

distributes opioids throughout the country. AmerisourceBergen is the eleventh largest company by

revenue in the United States, with annual revenue of $147 billion in 2016. AmerisourceBergen’s

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principal place of business is located in Chesterbrook, Pennsylvania, and it is incorporated in

Delaware. AmerisourceBergen has been licensed as a wholesale distributor of dangerous drugs in

Michigan since 1988.

               3.      McKesson Corporation

       83.     McKesson Corporation (“McKesson”) is fifth on the list of Fortune 500 companies,

ranking immediately after Apple and ExxonMobil, with annual revenue of $191 billion in 2016.

McKesson, through its various DEA registered subsidiaries and affiliated entities, is a wholesaler

of pharmaceutical drugs that distributes opioids throughout the country. McKesson is incorporated

in Delaware, with its principal place of business in San Francisco, California.

       84.     In January 2017, McKesson paid a record $150 million to resolve an investigation

by the U.S. Department of Justice (“DOJ”) for failing to report suspicious orders of certain drugs,

including opioids. In addition to the monetary penalty, the DOJ required McKesson to suspend

sales of controlled substances from distribution centers in Ohio, Florida, Michigan and Colorado.

The DOJ described these “staged suspensions” as “among the most severe sanctions ever agreed

to by a [Drug Enforcement Administration] registered distributor.”

               4.      Anda, Inc.

       85.     Defendant Anda, Inc. (“Anda”), through its various DEA registered subsidiaries

and affiliated entities, including but not limited to Anda Pharmaceuticals, Inc., is the fourth largest

distributor of generic pharmaceuticals in the United States. Anda is registered to do business with

the Michigan Secretary of State as a Florida corporation with its principal office located in Weston,

Florida. In October 2016, Defendant Teva acquired Anda from Allergan plc (i.e., Defendant

Actavis), for $500 million in cash. At all times relevant to this Complaint, Anda distributed

prescription opioids throughout the United States, including in Michigan and Plaintiff’s members,

employees, and beneficiaries, specifically.

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               5.      CVS Health Corporation

       86.     Defendant CVS Health Corporation (“CVS”) is a Delaware corporation with its

principal place of business in Rhode Island. CVS, through its various DEA registered subsidiaries

and affiliated entities, conducts business as a licensed wholesale distributor. At all times relevant

to this Complaint, CVS distributed prescription opioids throughout the United States, including in

Michigan and Fund employees, members, and beneficiaries specifically.

               6.      Rite-Aid Corporation

       87.     Defendant Rite Aid Corporation (“Rite Aid”), is a Delaware corporation with its

principal office located in Camp Hill, Pennsylvania. Rite Aid, through its various DEA registered

subsidiaries and affiliated entities, conducts business as a licensed wholesale distributor. At all

times relevant to this Complaint, Rite Aid, through its various DEA registered subsidiaries and

affiliated entities, distributed prescription opioids throughout the United States, including in

Michigan and Fund employees, members, and beneficiaries specifically.

               7.      Walgreens Boots Alliance, Inc.

       88.     Defendant Walgreens Boots Alliance, Inc., also known as Walgreen Co.

(“Walgreens”) is a Delaware corporation with its principal place of business in Illinois. Walgreens,

through its various DEA registered subsidiaries and affiliated entities, conducts business as a

licensed wholesale distributor. At all times relevant to this Complaint, Walgreens distributed

prescription opioids throughout the United States, including in Michigan and Fund employees,

members, and beneficiaries specifically.

               8.      Wal-Mart Inc.

       89.     Defendant Wal-Mart Inc., formerly known as Wal-Mart Stores, Inc. (“Wal-Mart”),

is a Delaware corporation with its principal place of business in Bentonville, Arkansas. Walmart,

through its various DEA registered subsidiaries and affiliated entities, conducts business as a

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licensed wholesale distributor. At all times relevant to this Complaint, Wal-Mart distributed

prescription opioids throughout the United States, including in Michigan and Fund employees,

members, and beneficiaries specifically.

                9.       H.D. Smith

        90.     Defendant HD Smith Wholesale Drug Company (“H.D. Smith”), at all relevant

times, operated as a licensed distributor wholesaler in Michigan, licensed by the State of Michigan

Board of Pharmacy. H.D. Smith is a Delaware corporation with its principal place of business in

Springfield, Illinois. H.D. Smith is a privately held independent pharmaceuticals distributor of

wholesale brand, generic, and specialty pharmaceuticals. At all times relevant to this Complaint,

H.D. Smith distributed prescription opioids throughout the United States, including in Michigan

and Fund employees, members, and beneficiaries specifically.

        91.     Collectively, Defendants CVS, HBC, Rite Aid, Walgreens, and Walmart are

referred to as “National Retail Pharmacies.” Cardinal, McKesson, AmerisourceBergen, H.D.

Smith, Anda, Discount Drug, Prescription Supply, and the National Retail Pharmacies are

collectively referred to as the “Distributor Defendants.”12

        92.     Defendants include the above-referenced entities as well as their predecessors,

successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution sale and/or dispensing of opioids.

        C.      Agency and Authority

        93.     All of the actions described in this Complaint are part of, and in furtherance of, the

unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants’

officers, agents, employees, or other representatives while actively engaged in the management of


12
  Together, Purdue, Actavis, Cephalon, Endo, Mallinckrodt, Cardinal, McKesson, and AmerisourceBergen are
sometimes referred to as “RICO Supply Chain Defendants.”


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Defendants’ affairs within the course and scope of their duties and employment, and/or with

Defendants’ actual, apparent, and/or ostensible authority.

                                        FACTUAL ALLEGATIONS

I.       FACTS COMMON TO ALL CLAIMS13

         A.       Opioids and Their Effects

         94.      The term “opioid” refers to a class of drugs that bind with opioid receptors in the

brain and includes natural, synthetic, and semi-synthetic opioids. Natural opioids are derived from

the opium poppy. Generally used to treat pain, opioids produce multiple effects on the human

body, the most significant of which are analgesia, euphoria, and respiratory depression.

         95.      The medicinal properties of opioids have been recognized for millennia—as has

their potential for abuse and addiction. The opium poppy contains various opium alkaloids, three

of which are used in the pharmaceutical industry today: morphine, codeine, and thebaine. Early

use of opium in Western medicine was with a tincture of opium and alcohol called laudanum,

which contains all of the opium alkaloids and is still available by prescription today. Chemists first

isolated the morphine and codeine alkaloids in the early 1800s.

         96.      In 1827, the pharmaceutical company Merck began large-scale production and

commercial marketing of morphine. During the American Civil War, field medics commonly used

morphine, laudanum, and opium pills to treat the wounded, and many veterans were left with

morphine addictions. By 1900, an estimated 300,000 people were addicted to opioids in the United

States, and many doctors prescribed opioids solely to prevent their patients from suffering

withdrawal symptoms. The nation’s first Opium Commissioner, Hamilton Wright, remarked in


13
  The allegations in this complaint are made upon information and belief, including upon information immediately
available to Plaintiff from the ARCOS database upon their initial and intensive review. Plaintiff reserves the right to
seek leave to amend or correct this Complaint based upon further analysis of the ARCOS, IMS Health, and other
data and upon further investigation and discovery.


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1911, “The habit has this nation in its grip to an astonishing extent. Our prisons and our hospitals

are full of victims of it, it has robbed ten thousand businessmen of moral sense and made them

beasts who prey upon their fellows . . . it has become one of the most fertile causes of unhappiness

and sin in the United States.”14

        97.     Pharmaceutical companies tried to develop substitutes for opium and morphine that

would provide the same analgesic effects without the addictive properties. In 1898, Bayer

Pharmaceutical Company began marketing diacetylmorphine (obtained from acetylation of

morphine) under the trade name “Heroin.” Bayer advertised heroin as a non-addictive cough and

cold remedy suitable for children, but as its addictive nature became clear, heroin distribution in

the U.S. was limited to prescription only in 1914 and then banned altogether a decade later.

        98.     Although heroin and opium became classified as illicit drugs, there is little

difference between them and prescription opioids. Prescription opioids are synthesized from the

same plant as heroin, have similar molecular structures, and bind to the same receptors in the

human brain.

        99.     Due to concerns about their addictive properties, prescription opioids have usually

been regulated at the federal level as Schedule II controlled substances by the U.S. Drug

Enforcement Administration (“DEA”) since 1970.

        100.    Throughout the twentieth century, pharmaceutical companies continued to develop

prescription opioids like Percodan, Percocet, and Vicodin, but these opioids were generally

produced in combination with other drugs, with relatively low opioid content.




14
  Nick Miroff, From Teddy Roosevelt to Trump: How Drug Companies Triggered an Opioid Crisis a Century Ago,
The Wash. Post (Oct. 17, 2017), https://www.washingtonpost.com/news/retropolis/wp/2017/09/29/the-greatest-
drug-fiends-in-the-world-an-american-opioid-crisis-in-1908/?utm_term=.7832633fd7ca.


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         101.    In contrast, OxyContin, the product whose launch in 1996 ushered in the modern

opioid epidemic, is pure oxycodone. Purdue initially made it available in the following strengths:

10 mg, 15 mg, 20 mg, 30 mg, 40 mg, 60 mg, 80 mg, and 160 mg. The weakest OxyContin delivers

as much narcotic as the strongest Percocet, and some OxyContin tablets delivered sixteen times

that.

         102.    Medical professionals describe the strength of various opioids in terms of morphine

milligram equivalents (“MME”). According to the CDC, doses at or above 50 MME/day double

the risk of overdose compared to 20 MME/day, and one study found that patients who died of

opioid overdose were prescribed an average of 98 MME/day.

         103.    Different opioids provide varying levels of MMEs. For example, just 33 mg of

oxycodone provides 50 MME. Thus, at OxyContin’s twice-daily dosing, the 50 MME/day

threshold is nearly reached by a prescription of 15 mg twice daily. One 160 mg tablet of

OxyContin, which Purdue took off the market in 2001, delivered 240 MME.

         104.    The wide variation in the MME strength of prescription opioids renders misleading

any effort to capture “market share” by the number of pills or prescriptions attributed to Purdue or

other manufacturers. Purdue, in particular, focuses its business on branded, highly potent pills,

causing it to be responsible for a significant percent of the total amount of MME in circulation,

even though it currently claims to have a small percentage of the market share in terms of pills or

prescriptions.

         105.    Fentanyl is a synthetic opioid that is 100 times stronger than morphine and 50 times

stronger than heroin. First developed in 1959, fentanyl is showing up more and more often in the

market for opioids created by Marketing Defendants’ promotion, with particularly lethal

consequences.



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       106.    The effects of opioids vary by duration. Long-acting opioids, such as Purdue’s

OxyContin and MS Contin, Janssen’s Nucynta ER and Duragesic, Endo’s Opana ER, and

Actavis’s Kadian, are designed to be taken once or twice daily and are purported to provide

continuous opioid therapy for, in general, 12 hours. Short-acting opioids, such as Cephalon’s Actiq

and Fentora, are designed to be taken in addition to long-acting opioids to address “episodic pain”

(also referred to as “breakthrough pain”) and provide fast-acting, supplemental opioid therapy

lasting approximately 4 to 6 hours. Still other short-term opioids, such as Insys’s Subsys, are

designed to be taken in addition to long-acting opioids to specifically address breakthrough cancer

pain, excruciating pain suffered by some patients with end-stage cancer. The Marketing

Defendants promoted the idea that pain should be treated by taking long-acting opioids

continuously and supplementing them by also taking short-acting, rapid-onset opioids for episodic

or “breakthrough” pain.

       107.    Patients develop tolerance to the analgesic effect of opioids relatively quickly. As

tolerance increases, a patient typically requires progressively higher doses in order to obtain the

same perceived level of pain reduction. The same is true of the euphoric effects of opioids—the

“high.” However, opioids depress respiration, and at very high doses can and often do arrest

respiration altogether. At higher doses, the effects of withdrawal are more severe. Long-term

opioid use can also cause hyperalgesia, a heightened sensitivity to pain.

       108.    Discontinuing opioids after more than just a few weeks of therapy will cause most

patients to experience withdrawal symptoms. These withdrawal symptoms include: severe anxiety,

nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium, pain, and

other serious symptoms, which may persist for months after a complete withdrawal from opioids,

depending on how long the opioids were used.



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           109.    As a leading pain specialist doctor put it, the widespread, long-term use of opioids

“was a de facto experiment on the population of the United States. It wasn’t randomized, it wasn’t

controlled, and no data was collected until they started gathering death statistics.”

           B.      The Resurgence of Opioid Use in the United States

                   1.      The Sackler Family Integrated Advertising and Medicine

           110.    Given the history of opioid abuse in the U.S. and the medical profession’s resulting

wariness, the commercial success of the Marketing Defendants’ prescription opioids would not

have been possible without a fundamental shift in prescribers’ perception of the risks and benefits

of long-term opioid use.

           111.    As it turned out, Purdue Pharma was uniquely positioned to execute just such a

maneuver, thanks to the legacy of a man named Arthur Sackler. The Sackler family is the sole

owner of Purdue and one of the wealthiest families in America, with a net worth of $13 billion as

of 2016. The company’s profits go to Sackler family trusts and entities.15 Yet the Sacklers have

avoided publicly associating themselves with Purdue, letting others serve as the spokespeople for

the company.

           112.    The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small

patent-medicine company called the Purdue Frederick Company in 1952. It was Arthur Sackler

who created the pharmaceutical advertising industry as we know it, laying the groundwork for the

OxyContin promotion that would make the Sacklers billionaires.

           113.    Arthur Sackler was both a psychiatrist and a marketing executive. He pioneered

both print advertising in medical journals and promotion through physician “education” in the




15
     David Armstrong, The Man at the Center of the Secret OxyContin Files, STAT News (May 12, 2016),
https://www.statnews.com/2016/05/12/man-center-secret-oxycontin-files/.

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form of seminars and continuing medical education courses. He also understood the persuasive

power of recommendations from fellow physicians, and did not hesitate to manipulate information

when necessary. For example, one promotional brochure produced by his firm for Pfizer showed

business cards of physicians from various cities as if they were testimonials for the drug, but when

a journalist tried to contact these doctors, he discovered that they did not exist.16

           114.     It was Arthur Sackler who, in the 1960s, made Valium into the first $100-million

drug, so popular it became known as “Mother’s Little Helper.” When Arthur’s client, Roche,

developed Valium, it already had a similar drug, Librium, another benzodiazepine, on the market

for treatment of anxiety. So Arthur invented a condition he called “psychic tension”—essentially

stress—and pitched Valium as the solution.17 The campaign, for which Arthur was compensated

based on volume of pills sold,18 was a remarkable success.

           115.     Arthur Sackler created not only the advertising for his clients but also the vehicle

to bring their advertisements to doctors—a biweekly newspaper called the Medical Tribune, which

was distributed for free to doctors nationwide. Arthur also conceived a company now called IMS

Health Holdings Inc., which monitors prescribing practices of every doctor in the U.S. and sells

this valuable data to pharmaceutical companies like Marketing Defendants, who utilize it to target

and tailor their sales pitches to individual physicians.

                    2.       Purdue Developed and Aggressively Promoted OxyContin

           116.     After the Sackler brothers acquired the Purdue Frederick Company in 1952, Purdue

sold products ranging from earwax remover to antiseptic, and it became a profitable business. As



16
     Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of Addiction and Death (2003).
17
     Id. at 202; see also One Family Reaped Billions From Opioids, WBUR On Point (Oct. 23, 2017),
http://www.wbur.org/onpoint/2017/10/23/one-family-reaped-billions-from-opioids.
18
     Meier, supra note 18, at 201-203.


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an advertising executive, Arthur Sackler was not involved, on paper at least, in running Purdue,

which would have been a conflict of interest. Raymond Sackler became Purdue’s head executive,

while Mortimer Sackler ran Purdue’s UK affiliate.

        117.     In the 1980s, Purdue, through its UK affiliate, acquired a Scottish drug producer

that had developed a sustained-release technology suitable for morphine. Purdue marketed this

extended-release morphine as MS Contin, and it quickly became Purdue’s bestseller. As the patent

expiration for MS Contin loomed, Purdue searched for a drug to replace it. Around that time,

Raymond’s oldest son, Richard Sackler, who was also a trained physician, became more involved

in the management of the company. Richard had grand ambitions for the company; according to a

long-time Purdue sales representative, “Richard really wanted Purdue to be big—I mean really

big.”19 Richard believed Purdue should develop another use for its “Contin” timed-release system.

        118.     In 1990, Purdue’s vice president of clinical research, Robert Kaiko, sent a memo to

Richard and other executives recommending that the company work on a pill containing

oxycodone. At the time, oxycodone was perceived as less potent than morphine, largely because

it was most commonly prescribed as Percocet, a relatively weak oxycodone-acetaminophen

combination pill. MS Contin was not only approaching patent expiration but had always been

limited by the stigma associated with morphine. Oxycodone did not have that problem, and what’s

more, it was sometimes mistakenly called “oxycodeine,” which also contributed to the perception

of relatively lower potency, because codeine is weaker than morphine. Purdue acknowledged using

this to its advantage when it later pled guilty to criminal charges of “misbranding” in 2007,

admitting that it was “well aware of the incorrect view held by many physicians that oxycodone




19
  Christopher Glazek, The Secretive Family Making Billions from the Opioid Crisis, Esquire (Oct. 16, 2017),
http://www.esquire.com/news-politics/a12775932/sackler-family-oxycontin/.


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was weaker than morphine” and “did not want to do anything ‘to make physicians think that

oxycodone was stronger or equal to morphine’ or to ‘take any steps . . . that would affect the unique

position that OxyContin’” held among physicians.20

            119.    For Purdue and OxyContin to be “really big,” Purdue needed to both distance its

new product from the traditional view of narcotic addiction risk, and broaden the drug’s uses

beyond cancer pain and hospice care. A marketing memo sent to Purdue’s top sales executives in

March 1995 recommended that if Purdue could show that the risk of abuse was lower with

OxyContin than with traditional immediate-release narcotics, sales would increase.21 As discussed

below, Purdue did not find or generate any such evidence, but this did not stop Purdue from making

that claim regardless.

            120.    Armed with this and other misrepresentations about the risks and benefits of its new

drug, Purdue was able to open an enormous untapped market: patients with non-end-of-life, non-

acute, everyday aches and pains. As Dr. David Haddox, a Senior Medical Director at Purdue,

declared on the Early Show, a CBS morning talk program, “There are 50 million patients in this

country who have chronic pain that’s not being managed appropriately every single day.

OxyContin is one of the choices that doctors have available to them to treat that.”22

            121.    In pursuit of these 50 million potential customers, Purdue poured resources into

OxyContin’s sales force and advertising, particularly to a far broader audience of primary care

physicians who treated patients with chronic pain complaints. The graph below shows how




20
     Id.
21
     Meier, supra note 18, at 269.
22
     Id., at 156.



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promotional spending in the first six years following OxyContin’s launch dwarfed Purdue’s

spending on MS Contin or Defendant Janssen’s spending on Duragesic: 23




        122.     Prior to Purdue’s launch of OxyContin, no drug company had ever promoted such

a pure, high-strength Schedule II narcotic to so wide an audience of general practitioners.

        123.     In the two decades following OxyContin’s launch, Purdue continued to devote

substantial resources to its promotional efforts.

        124.     Purdue has generated estimated sales of more than $35 billion from opioids since

1996, raking in more than $3 billion in 2015 alone. Remarkably, its opioid sales continued to climb

even after a period of media attention and government inquiries regarding OxyContin abuse in the

early 2000s and a criminal investigation culminating in guilty pleas in 2007. Purdue proved itself

skilled at evading full responsibility and continuing to sell through the controversy. The company’s




23
  U.S. General Accounting Office, OxyContin Abuse and Diversion and Efforts to Address the Problem, U.S.
General Accounting Office Report to Congressional Requesters, 22 (Dec. 2003), http://www.gao.gov/
new.items/d04110.pdf.

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annual opioid sales of $3 billion in 2015 represent a four-fold increase from its 2006 sales of $800

million.

       125.    One might imagine that Richard Sackler’s ambitions have been realized. But in the

best tradition of family patriarch Arthur Sackler, Purdue has its eyes on even greater profits. Under

the name of Mundipharma, the Sacklers are looking to new markets for their opioids—employing

the exact same playbook in South America, China, and India as they did in the United States.

       126.    In May 2017, a dozen members of Congress sent a letter to the World Health

Organization, warning it of the deceptive practices Purdue is unleashing on the rest of the world

through Mundipharma:

               We write to warn the international community of the deceptive and
               dangerous practices of Mundipharma International—an arm of
               Purdue Pharmaceuticals. The greed and recklessness of one
               company and its partners helped spark a public health crisis in the
               United States that will take generations to fully repair. We urge the
               World Health Organization (WHO) to do everything in its power to
               avoid allowing the same people to begin a worldwide opioid
               epidemic. Please learn from our experience and do not allow
               Mundipharma to carry on Purdue’s deadly legacy on a global
               stage. . . .

               Internal documents revealed in court proceedings now tell us that
               since the early development of OxyContin, Purdue was aware of the
               high risk of addiction it carried. Combined with the misleading and
               aggressive marketing of the drug by its partner, Abbott Laboratories,
               Purdue began the opioid crisis that has devastated American
               communities since the end of the 1990s. Today, Mundipharma is
               using many of the same deceptive and reckless practices to sell
               OxyContin abroad. . . .

               In response to the growing scrutiny and diminished U.S. sales, the
               Sacklers have simply moved on. On December 18, the Los Angeles
               Times published an extremely troubling report detailing how in spite
               of the scores of lawsuits against Purdue for its role in the U.S. opioid
               crisis, and tens of thousands of overdose deaths, Mundipharma now
               aggressively markets OxyContin internationally. In fact,
               Mundipharma uses many of the same tactics that caused the opioid



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                epidemic to flourish in the U.S., though now in countries with far
                fewer resources to devote to the fallout.24

        127.    With the opioid epidemic in the United States now a national public health

emergency, Purdue announced on February 9, 2018, that it had reduced its sales force and would

no longer promote opioids directly to prescribers. Under this new policy, sales representatives will

no longer visit doctors’ offices to discuss opioid products. Despite its new policy, however, Purdue

continues to use the same aggressive sales tactics to push opioids in other countries. Purdue’s pivot

to untapped markets—after extracting substantial profits from American communities and leaving

insurance and other benefit funds such as the Plaintiff to foot the bill for the devastating and still

growing damage the company caused—only serves to underscore that Purdue’s actions have been

knowing, intentional, and motivated by profits throughout this entire story.

                3.       Other Marketing Defendants Leapt at the Opioid Opportunity

        128.    Purdue created a market for the use of opioids for a range of common aches and

pains by misrepresenting the risks and benefits of its opioids, but it was not alone. The other

Marketing Defendants—already manufacturers of prescription opioids—positioned themselves to

take advantage of the opportunity Purdue created, developing both branded and generic opioids to

compete with OxyContin, while, together with Purdue and each other, misrepresenting the safety

and efficacy of their products. These misrepresentations are described in greater detail in Sections

D below.

        129.    Endo, which already sold Percocet and Percodan, was the first to submit an

application for a generic extended-release oxycodone to compete with OxyContin. At the same




24
  Letter from Members of Congress to Dr. Margaret Chan, Director-General, World Health Organization (May 3,
2017), http://katherineclark.house.gov/_cache/files/a577bd3c-29ec-4bb9-bdba-
1ca71c784113/mundipharma-letter-signatures.pdf.

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time, Endo sought FDA approval for another potent opioid, immediate-release and extended-

release oxymorphone, branded as Opana and Opana ER. Oxymorphone, like OxyContin’s active

ingredient oxycodone, is not a new drug; it was first synthesized in Germany in 1914 and sold in

the U.S. by Endo beginning in 1959 under the trade name Numorphan. But Numorphan tablets

proved highly susceptible to abuse. Called “blues” after the light blue color of the 10 mg pills,

Numorphan provoked, according to some users, a more euphoric high than heroin. As the National

Institute on Drug Abuse observed in its 1974 report, “Drugs and Addict Lifestyle,” Numorphan

was extremely popular among addicts for its quick and sustained effect. 25 Endo withdrew oral

Numorphan from the market in 1979.26

            130.   Two decades later, however, as communities around the U.S. were first sounding

the alarm about prescription opioids and Purdue executives were being called to testify before

Congress about the risks of OxyContin, Endo essentially reached back into its inventory, dusted

off a product it had previously shelved after widespread abuse, and pushed it into the marketplace

with a new trade name, Opana.

            131.   The clinical trials submitted with Endo’s first application for approval of Opana

were insufficient to demonstrate efficacy, and some subjects in the trials overdosed and had to be

revived with naloxone. Endo then submitted new “enriched enrollment” clinical trials, in which

trial subjects who do not respond to the drug are excluded from the trial, and obtained approval.

Endo began marketing Opana and Opana ER in 2006.

            132.   Like Numorphan, Opana ER was highly susceptible to abuse. On June 8, 2017, the

FDA sought removal of Opana ER. In its press release, the FDA indicated that this is the first time


25
     John Fauber & Kristina Fiore, Abandoned Painkiller Makes a Comeback, MedPage Today (May 10, 2015),
https://www.medpagetoday.com/psychiatry/addictions/51448.
26
     Id.


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the agency has taken steps to remove a currently marketed opioid pain medication from sale due

to the public health consequences of abuse.”27 On July 6, 2017, Endo agreed to withdraw Opana

ER from the market.28

            133.    Janssen, which already marketed the Duragesic (fentanyl) patch for severe pain,

also joined Purdue in pursuit of the broader chronic pain market. It sought to expand the use of

Duragesic through, for example, advertisements proclaiming, “It’s not just for end stage cancer

anymore!”29 This claim earned Janssen a warning letter from the FDA, for representing that

Duragesic was “more useful in a broader range of conditions or patients than has been

demonstrated by substantial evidence.”30

            134.    Janssen also developed a new opioid compound called tapentadol in 2009,

marketed as Nucynta for the treatment of moderate to severe pain. Janssen launched the extended-

release version, Nucynta ER, for treatment of chronic pain in 2011.

            135.    By adding additional opioids or expanding the use of their existing opioid products,

the other Marketing Defendants took advantage of the market created by Purdue’s aggressive

promotion of OxyContin and reaped enormous profits. For example, Opana ER alone generated

more than $1 billion in revenue for Endo in 2010 and again in 2013. Janssen also passed the

$1 billion mark in sales of Duragesic in 2009.




27
   Press Release, U.S. Food & Drug Admin., FDA Requests Removal of Opana ER for Risks Related to Abuse (June
8, 2017), https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
28
     Endo Pulls Opioid as U.S. Seeks to Tackle Abuse Epidemic, Reuters (July 6, 2017, 9:59am),
https://www.reuters.com/article/us-endo-intl-opana-idUSKBN19R2II.
29
      Letter from FDA to Janssen (March 30, 2000), at 2.
30
     Id.


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       C.      The Marketing Defendants’ Multi-Pronged Scheme to Change Prescriber
               Habits and Public Perception and Increase Demand for Opioids

       136.    In order to accomplish the fundamental shift in perception that was key to

successfully marketing their opioids, the Marketing Defendants designed and implemented a

sophisticated and deceptive marketing strategy. Lacking legitimate scientific research to support

their claims, the Marketing Defendants turned to the marketing techniques first pioneered by

Arthur Sackler to create a series of misperceptions in the medical community and ultimately

reverse the long-settled understanding of the relative risks and benefits of opioids.

       137.    The Marketing Defendants promoted, and profited from, their misrepresentations

about the risks and benefits of opioids for chronic pain even though they knew that their marketing

was false and misleading. The history of opioids, as well as research and clinical experience over

the last 20 years, established that opioids were highly addictive and responsible for a long list of

very serious adverse outcomes. The FDA and other regulators warned Marketing Defendants of

these risks. The Marketing Defendants had access to scientific studies, detailed prescription data,

and reports of adverse events, including reports of addiction, hospitalization, and deaths—all of

which made clear the harms from long-term opioid use and that patients are suffering from

addiction, overdoses, and death in alarming numbers. More recently, the FDA and CDC issued

pronouncements based on existing medical evidence that conclusively expose the known falsity of

these Defendants’ misrepresentations.

       138.    The marketing scheme to increase opioid prescriptions centered around nine

categories of misrepresentations, which are discussed in detail below. The Marketing Defendants

disseminated these misrepresentations through various channels, including through advertising,

sales representatives, purportedly independent organizations these defendants funded and




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controlled, “Front Groups,” so-called industry “Key Opinion Leaders,” and Continuing Medical

Education (“CME”) programs discussed subsequently below.

               1.      The Marketing Defendants Promoted Multiple Falsehoods About
                       Opioids

       139.    The Marketing Defendants’ misrepresentations fall into the following nine

categories:

               a.      The risk of addiction from chronic opioid therapy is low

               b.      To the extent there is a risk of addiction, it can be easily identified and
                       managed

               c.      Signs of addictive behavior are “pseudoaddiction,” requiring more opioids

               d.      Opioid withdrawal can be avoided by tapering

               e.      Opioid doses can be increased without limit or greater risks

               f.      Long-term opioid use improves functioning

               g.      Alternative forms of pain relief pose greater risks than opioids

               h.      OxyContin provides twelve hours of pain relief

               i.      New formulations of certain opioids successfully deter abuse

       140.    Each of these propositions was false. The Marketing Defendants knew this, but they

nonetheless set out to convince physicians, patients, and the public at large of the truth of each of

these propositions in order to expand the market for their opioids.

       141.    The categories of misrepresentations are offered to organize the numerous

statements the Marketing Defendants made and to explain their role in the overall marketing effort,

not as a checklist for assessing each Marketing Defendant’s liability. While each Marketing

Defendant deceptively promoted their opioids specifically, and, together with other Marketing

Defendants, opioids generally, not every Marketing Defendant propagated (or needed to

propagate) each misrepresentation. Each Marketing Defendant’s conduct, and each


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misrepresentation, contributed to an overall narrative that aimed to—and did—mislead doctors,

patients, and payors about the risk and benefits of opioids. While this Complaint endeavors to

document examples of each Marketing Defendant’s misrepresentations and the manner in which

they were disseminated, they are just that—examples. The Complaint is not, especially prior to

discovery, an exhaustive catalog of the nature and manner of each deceptive statement by each

Marketing Defendant.

                          a.        Falsehood #1: The risk of addiction from chronic opioid
                                    therapy is low

        142.    Central        to   the   Marketing    Defendants’   promotional    scheme     was    the

misrepresentation that opioids are rarely addictive when taken for chronic pain. Through their

marketing efforts, the Marketing Defendants advanced the idea that the risk of addiction is low

when opioids are taken as prescribed by “legitimate” pain patients. That, in turn, directly led to the

expected and intended result that doctors prescribed more opioids to more patients—thereby

enriching the Marketing Defendants and substantially contributing to the opioid epidemic.

        143.    Each of the Marketing Defendants claimed that the potential for addiction from its

opioids was relatively small or non-existent, even though there was no scientific evidence to

support those claims. None of them have acknowledged, retracted, or corrected their false

statements.

        144.    In fact, studies have shown that a substantial percentage of long-term users of

opioids experience addiction. Addiction can result from the use of any opioid, “even at

recommended dose,”31 and the risk substantially increases with more than three months of use.



31
  FDA Announces Safety Labeling Changes and Postmarket Study Requirements For Extended-Release and Long-
Acting Opioid Analgesics, FDA (Sept. 10, 2013); see also Press Release, U.S. Food & Drug Admin., FDA
Announces Enhanced Warnings For Immediate-Release Opioid Pain Medications Related To Risks Of Misuse,



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32
     As the CDC Guideline states, “[o]pioid pain medication use presents serious risks, including

overdose and opioid use disorder” (a diagnostic term for addiction).33

                                  i.       Purdue’s misrepresentations regarding addiction risk

            145.   When it launched OxyContin, Purdue knew it would need data to overcome decades

of wariness regarding opioid use. It needed some sort of research to back up its messaging. But

Purdue had not conducted any studies about abuse potential or addiction risk as part of its

application for FDA approval for OxyContin. Purdue (and, later, the other Defendants) found this

“research” in the form of a one-paragraph letter to the editor published in the New England Journal

of Medicine (NEJM) in 1980.

            146.   This letter, by Dr. Hershel Jick and Jane Porter, declared the incidence of addiction

“rare” for patients treated with opioids.34 They had analyzed a database of hospitalized patients

who were given opioids in a controlled setting to ease suffering from acute pain. Porter and Jick

considered a patient not addicted if there was no sign of addiction noted in patients’ records.




Abuse, Addiction, Overdose And Death, (Mar. 22, 2016),
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm491739.htm.
32
  Deborah Dowell, M.D. et al., CDC Guideline21for Prescribing Opioids for Chronic Pain – United States 2016,
65(1) Morbidity & Mortality Wkly. Rep. 1, 21 (Mar. 18, 2016) (hereinafter “CDC Guideline”).
33
     Id. at 2.
34
  Jane Porter & Herschel Jick, MD, Addiction Rare in Patients Treated with Narcotics, 302(2) New Engl. J. Med.
123 (Jan. 10, 1980), http://www.nejm.org/doi/pdf/10.1056/NEJM198001103020221.


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           147.     As Dr. Jick explained to a journalist years later, he submitted the statistics to NEJM

as a letter because the data were not robust enough to be published as a study. 35

           148.     Purdue nonetheless began repeatedly citing this letter in promotional and

educational materials as evidence of the low risk of addiction, while failing to disclose that its

source was a letter to the editor, not a peer-reviewed paper.36 Citation of the letter, which was

largely ignored for more than a decade, significantly increased after the introduction of OxyContin.

While first Purdue and then other Marketing Defendants used it to assert that their opioids were

not addictive, “that’s not in any shape or form what we suggested in our letter,” according to Dr.

Jick.

           149.     Purdue specifically used the Porter and Jick letter in its 1998 promotional video “I

got my life back,” in which Dr. Alan Spanos says “In fact, the rate of addiction amongst pain




35
     Meier, supra note 18, at 174.
36
     Porter & Jick, supra note 36.



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patients who are treated by doctors is much less than 1%.”37 Purdue trained its sales representatives

to tell prescribers that fewer than 1% of patients who took OxyContin became addicted. (In 1999,

a Purdue-funded study of patients who used OxyContin for headaches found that the addiction rate

was thirteen per cent.)”38

        150.     Other Marketing Defendants relied on and disseminated the same distorted

messaging. The enormous impact of Marketing Defendants’ misleading amplification of this letter

was well documented in another letter published in the NEJM on June 1, 2017, describing the way

the one-paragraph 1980 letter had been irresponsibly cited and in some cases “grossly

misrepresented.” In particular, the authors of this letter explained:

                 [W]e found that a five-sentence letter published in the Journal in
                 1980 was heavily and uncritically cited as evidence that addiction
                 was rare with long-term opioid therapy. We believe that this citation
                 pattern contributed to the North American opioid crisis by helping
                 to shape a narrative that allayed prescribers’ concerns about the risk
                 of addiction associated with long-term opioid therapy . . .39

        151.     “It’s difficult to overstate the role of this letter,” said Dr. David Juurlink of the

University of Toronto, who led the analysis. “It was the key bit of literature that helped the opiate

manufacturers convince front-line doctors that addiction is not a concern.”40

        152.     Alongside its use of the Porter and Jick letter, Purdue also crafted its own materials

and spread its deceptive message through numerous additional channels. In its 1996 press release



37
  Our Amazing World, Purdue Pharma OxyContin Commercial, Youtube (Sept. 22, 2016),
https://www.youtube.com/watch?v=Er78Dj5hyeI.
 Patrick R. Keefe, The Family That Built an Empire of Pain, The New Yorker (Oct. 30, 2017) (hereinafter, “Keefe,
38

Empire of Pain”).
39
  Pamela T.M. Leung, B.Sc. Pharm., et al., A 1980 Letter on the Risk of Opioid Addiction, 376 New Engl. J. Med.
2194, 2194-95 (June 1, 2017), http://www.nejm.org/doi/full/10.1056/NEJMc1700150.
40
 Marilynn Marchione, Associated Press, Painful Words: How a 1980 Letter Fueled the Opioid Epidemic, STAT
News (May 31, 2017), https://www.statnews.com/2017/05/31/opioid-epidemic-nejm-letter/.



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announcing the release of OxyContin, for example, Purdue declared, “The fear of addiction is

exaggerated.”41

         153.     At a hearing before the House of Representatives’ Subcommittee on Oversight and

Investigations of the Committee on Energy and Commerce in August 2001, Purdue emphasized

“legitimate” treatment, dismissing cases of overdose and death as something that would not befall

“legitimate” patients: “Virtually all of these reports involve people who are abusing the

medication, not patients with legitimate medical needs under the treatment of a healthcare

professional.”42

         154.     Purdue spun this baseless “legitimate use” distinction out even further in a patient

brochure about OxyContin, called “A Guide to Your New Pain Medicine and How to Become a

Partner Against Pain.” In response to the question: “Aren’t opioid pain medications like

OxyContin Tablets ‘addicting’?,” Purdue claimed that there was no need to worry about addiction

if taking opioids for legitimate, “medical” purposes:

                  Drug addiction means using a drug to get “high” rather than to
                  relieve pain. You are taking opioid pain medication for medical
                  purposes. The medical purposes are clear and the effects are
                  beneficial, not harmful. 43




41
  Press Release, Purdue Pharma L.P., , New Hope for Millions of Americans Suffering from Persistent Pain: Long-
Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996, 3:47pm),
http://documents.latimes.com/oxycontin-press-release-1996/.
42
  Oxycontin: Its Use and Abuse: Hearing Before the House Subcomm. on Oversight and Investigations of the
Comm. on Energy and Commerce, 107th Cong. 1 (Aug. 28, 2001) (Statement of Michael Friedman, Executive Vice
President, Chief Operating Officer, Purdue Pharma, L.P.), https://www.gpo.gov/fdsys/pkg/CHRG-
107hhrg75754/html/CHRG-107hhrg75754.htm.
43
  Partners Against Pain consists of both a website, styled as an “advocacy community” for better pain care, and a
set of medical education resources distributed to prescribers by sales representatives, such as the brochure quoted
here. It has existed since at least the early 2000s and has been a vehicle for Purdue to downplay the risks of
addiction from long-term opioid use.



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            155.    Sales representatives marketed OxyContin as a product “‘to start with and to stay

with.’” 44 Sales representatives also received training in overcoming doctors’ concerns about

addiction with talking points they knew to be untrue about the drug’s abuse potential. One of

Purdue’s early training memos compared doctor visits to “firing at a target,” declaring that “[a]s

you prepare to fire your ‘message,’ you need to know where to aim and what you want to hit!” 45

According to the memo, the target is physician resistance based on concern about addiction: “The

physician wants pain relief for these patients without addicting them to an opioid.” 46

            156.    Former sales representative Steven May, who worked for Purdue from 1999 to

2005, explained to a journalist how he and his coworkers were trained to overcome doctors’

objections to prescribing opioids. The most common objection he heard about prescribing

OxyContin was that “it’s just too addictive.”47 May and his coworkers were trained to “refocus”

doctors on “legitimate” pain patients, and to represent that “legitimate” patients would not become

addicted. In addition, they were trained to say that the 12-hour dosing made the extended-release

opioids less “habit-forming” than painkillers that need to be taken every four hours.

            157.    According to interviews with prescribers and former Purdue sales representatives,

Purdue has continued to distort or omit the risk of addiction while failing to correct its earlier

misrepresentations, leaving many doctors with the false impression that pain patients will only

rarely become addicted to opioids.




44
     Keefe, Empire of Pain, supra note 40.
45
     Meier, supra note 18, at 102.
46
     Id.
47
 Interview by Patrick Keefe with Steven Mays, former sales representative for Purdue Pharma L.P., How
Oxycontin Was Sold to the Masses The New Yorker (Oct. 27, 2017),
https://www.newyorker.com/podcast/the-new-yorker-radio-hour/how-oxycontin-was-sold-to-the-
masses.

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       158.    With regard to addiction, Purdue’s label for OxyContin has not sufficiently

disclosed the true risks to, and experience of, its patients. Until 2014, the OxyContin label stated

in a black-box warning that opioids have “abuse potential” and that the “risk of abuse is increased

in patients with a personal or family history of substance abuse.”

       159.    However, the FDA made clear to Purdue as early as 2001 that the disclosures in its

OxyContin label was insufficient.

       160.    In the end, Purdue narrowed the recommended use of OxyContin to situations when

“a continuous, around-the-clock analgesic is needed for an extended period of time” and added a

warning that “[t]aking broken, chewed, or crushed OxyContin tablets” could lead to a “potentially

fatal dose.” However, Purdue did not, until 2014, change the label to indicate that OxyContin

should not be the first therapy, or even the first opioid, used, and did not disclose the incidence or

risk of overdose and death even when OxyContin was not abused. Purdue announced the label

changes in a letter to health care providers.

                               ii.     Endo’s misrepresentations regarding addiction risk

       161.    Endo also falsely represented that addiction is rare in patients who are prescribed

opioids.

       162.    Until April 2012, Endo’s website for Opana, www.opana.com, stated that “[m]ost

healthcare providers who treat patients with pain agree that patients treated with prolonged opioid

medicines usually do not become addicted.”

       163.    One of the Front Groups with which Endo worked most closely was the American

Pain Foundation (“APF”), described more fully below. Endo provided substantial assistance to,

and exercised editorial control, over the deceptive and misleading messages that APF conveyed




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through     its    National      Initiative    on     Pain     Control     (“NIPC”)48        and     its   website

www.Painknowledge.com, which claimed that “[p]eople who take opioids as prescribed usually

do not become addicted.”

         164.     Another Endo website, www.PainAction.com, stated: “Did you know? Most

chronic pain patients do not become addicted to the opioid medications that are prescribed for

them.”

         165.     A brochure available on www.Painknowledge.com titled “Pain: Opioid Facts,”

Endo-sponsored NIPC stated that “people who have no history of drug abuse, including tobacco,

and use their opioid medication as directed will probably not become addicted.” In numerous

patient education pamphlets, Endo repeated this deceptive message.

         166.     In a patient education pamphlet titled “Understanding Your Pain: Taking Oral

Opioid Analgesics,” Endo answers the hypothetical patient question—“What should I know about

opioids and addiction?”—by focusing on explaining what addiction is (“a chronic brain disease”)

and is not (“Taking opioids for pain relief”). The pamphlet goes on to explain that “[a]ddicts take

opioids for other reasons, such as unbearable emotional problems. Taking opioids as prescribed

for pain relief is not addiction.” This publication is still available online.

         167.     In addition, a 2009 patient education publication, Pain: Opioid Therapy, funded by

Endo and posted on www.Painknowledge.com, omitted addiction from the “common risks” of

opioids, as shown below:




48
  Endo was one of the APF’s biggest financial supporters, providing more than half of the $10 million APF
received from opioid manufacturers during its lifespan. Endo was the sole funder of NIPC and selected APF to
manage NIPC. Internal Endo documents indicate that Endo was responsible for NIPC curriculum development, web
posting, and workshops, developed and reviewed NIPC content, and took a substantial role in distributing NIPC and
APF materials. Endo projected that it would be able to reach tens of thousands of prescribers nationwide through the
distribution of NIPC materials.


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                                     iii.    Janssen’s misrepresentations regarding addiction risk.

           168.     Janssen likewise misrepresented the addiction risk of opioids on its websites and

print materials. One website, Let’s Talk Pain, states, among other things, that “the stigma of drug

addiction and abuse” associated with the use of opioids stemmed from a “lack of understanding

about addiction.”

           169.     The Let’s Talk Pain website also perpetuated the concept of pseudoaddiction,

associating patient behaviors such as “drug seeking,” “clock watching,” and “even illicit drug use

or deception” with undertreated pain which can be resolved with “effective pain management.”

           170.     A Janssen unbranded website,www.PrescribeResponsibly.com, states that

concerns about opioid addiction are “overestimated” and that “true addiction occurs only in a small

percentage of patients.”49

           171.     Janssen reviewed, edited, approved, and distributed a patient education guide

entitled Finding Relief: Pain Management for Older Adults, which, as seen below, described as

“myth” the claim that opioids are addictive, and asserted as fact that “[m]any studies show that


49
     Keith Candiotti, M.D., Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last updated July 2, 2015).

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opioids are rarely addictive when used properly for the management of chronic pain.” Until

recently, this guide was still available online.




       172.    Janssen’s website for Duragesic included a section addressing “Your Right to Pain

Relief” and a hypothetical patient’s fear that “I’m afraid I’ll become a drug addict.” The website’s

response: “Addiction is relatively rare when patients take opioids appropriately.”

                               iv.     Cephalon’s misrepresentations regarding addiction
                                       risk.

       173.    Cephalon sponsored and facilitated the development of a guidebook, Opioid

Medications and REMS: A Patient’s Guide, which included claims that “patients without a history

of abuse or a family history of abuse do not commonly become addicted to opioids.” Similarly,

Cephalon sponsored APF’s Treatment Options: A Guide for People Living with Pain (2007),

which taught that addiction is rare and limited to extreme cases of unauthorized dose escalations,

obtaining opioids from multiple sources, or theft.

       174.    For example, a 2003 Cephalon-sponsored CME presentation titled Pharmacologic

Management of Breakthrough or Incident Pain, posted on Medscape in February 2003, teaches:

               [C]hronic pain is often undertreated, particularly in the noncancer
               patient population. . . . The continued stigmatization of opioids and
               their prescription, coupled with often unfounded and self-imposed
               physician fear of dealing with the highly regulated distribution


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                system for opioid analgesics, remains a barrier to effective pain
                management and must be addressed. Clinicians intimately involved
                with the treatment of patients with chronic pain recognize that the
                majority of suffering patients lack interest in substance abuse. In
                fact, patient fears of developing substance abuse behaviors such as
                addiction often lead to undertreatment of pain. The concern about
                patients with chronic pain becoming addicted to opioids during
                long-term opioid therapy may stem from confusion between
                physical dependence (tolerance) and psychological dependence
                (addiction) that manifests as drug abuse.50

                                 v.       Actavis’s misrepresentations regarding addiction risk.

        175.    Through its “Learn More about customized pain control with Kadian,” material,

Actavis claimed that it is possible to become addicted to morphine-based drugs like Kadian, but

that it is “less likely” to happen in those who “have never had an addiction problem.”

        176.    A guide for prescribers under Actavis’s copyright deceptively represents that

Kadian is more difficult to abuse and less addictive than other opioids. The guide includes the

following statements: 1) “unique pharmaceutical formulation of KADIAN may offer some

protection from extraction of morphine sulfate for intravenous use by illicit users,” and

2) KADIAN may be less likely to be abused by health care providers and illicit users” because of

“Slow onset of action,” “Lower peak plasma morphine levels than equivalent doses of other

formulations of morphine,” “Long duration of action,” and “Minimal fluctuations in peak to trough

plasma levels of morphine at steady state.” The guide is copyrighted by Actavis in 2007, before

Actavis officially purchased Kadian from Alpharma. These statements convey both that (a) Kadian

does not cause euphoria and therefore is less addictive and that (b) Kadian is less prone to

tampering and abuse, even though Kadian was not approved by the FDA as abuse deterrent, and,

upon information and belief, Actavis had no studies to suggest it was.

                                 vi.      Mallinckrodt’s misrepresentations regarding addiction
50
  Michael J. Brennan, et al., Pharmacologic Management of Breakthrough or Incident Pain, Medscape,
http://www.medscape.org/viewarticle/449803 (behind paywall).


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                                      risk

       177.    As described below, Mallinckrodt promoted its branded opioids Exalgo and

Xartemis XR, and opioids generally, in a campaign that consistently mischaracterized the risk of

addiction. Mallinckrodt did so through its website and sales force, as well as through unbranded

communications distributed through the “C.A.R.E.S. Alliance” it created and led.

       178.    Mallinckrodt in 2010 created the C.A.R.E.S. (Collaborating and Acting

Responsibly to Ensure Safety) Alliance, which it describes as “a coalition of national patient

safety, provider and drug diversion organizations that are focused on reducing opioid pain

medication abuse and increasing responsible prescribing habits.” The “C.A.R.E.S. Alliance” itself

is a service mark of Mallinckrodt LLC (and was previously a service mark of Mallinckrodt, Inc.)

copyrighted and registered as a trademark by Covidien, its former parent company. Materials

distributed by the C.A.R.E.S. Alliance, however, include unbranded publications that do not

disclose a link to Mallinckrodt.

       179.    By 2012, Mallinckrodt, through the C.A.R.E.S. Alliance, was promoting a book

titled Defeat Chronic Pain Now! This book is still available online. The false claims and

misrepresentations in this book include the following statements:

                   •   “Only rarely does opioid medication cause a true addiction
                       when prescribed appropriately to a chronic pain patient who
                       does not have a prior history of addiction.”

                   •   “It is currently recommended that every chronic pain patient
                       suffering from moderate to severe pain be viewed as a
                       potential candidate for opioid therapy.”

                   •   “When chronic pain patients take opioids to treat their pain,
                       they rarely develop a true addiction and drug craving.”

                   •   “Only a minority of chronic pain patients who are taking
                       long-term opioids develop tolerance.”




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                   •   “The bottom line: Only rarely does opioid medication cause
                       a true addiction when prescribed appropriately to a chronic
                       pain patient who does not have a prior history of addiction.”

                   •   “Here are the facts. It is very uncommon for a person with
                       chronic pain to become ‘addicted’ to narcotics IF (1) he
                       doesn’t have a prior history of any addiction and (2) he only
                       takes the medication to treat pain.”

                   •   “Studies have shown that many chronic pain patients can
                       experience significant pain relief with tolerable side effects
                       from opioid narcotic medication when taken daily and no
                       addiction.”

       180.    In a 2013 Mallinckrodt Pharmaceuticals Policy Statement Regarding the

Treatment of Pain and Control of Opioid Abuse, which is still available online, Mallinckrodt stated

that, “[s]adly, even today, pain frequently remains undiagnosed and either untreated or

undertreated” and cites to a report that concludes that “the majority of people with pain use their

prescription drugs properly, are not a source of misuse, and should not be stigmatized or denied

access because of the misdeeds or carelessness of others.”

       181.    The Marketing Defendants’ suggestions that the opioid epidemic is the result of

bad patients who manipulate doctors to obtain opioids illicitly helped further their marketing

scheme, but is at odds with the facts. While there are certainly patients who unlawfully obtain

opioids, they are a small minority. For example, patients who “doctor-shop”—i.e., visit multiple

prescribers to obtain opioid prescriptions—are responsible for roughly 2% of opioid prescriptions.

The epidemic of opioid addiction and abuse is overwhelmingly a problem of false marketing (and

unconstrained distribution) of the drugs, not problem patients.

                       b.     Falsehood #2: To the extent there is a risk of addiction, it can
                              be easily identified and managed

       182.    While continuing to maintain that most patients can safely take opioids long-term

for chronic pain without becoming addicted, the Marketing Defendants assert that to the extent



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that some patients are at risk of opioid addiction, doctors can effectively identify and manage that

risk by using screening tools or questionnaires. In materials they produced, sponsored, or

controlled, Defendants instructed patients and prescribers that screening tools can identify patients

predisposed to addiction, thus making doctors feel more comfortable prescribing opioids to their

patients and patients more comfortable starting opioid therapy for chronic pain. These tools, they

say, identify those with higher addiction risks (stemming from personal or family histories of

substance use, mental illness, trauma, or abuse) so that doctors can then more closely monitor those

patients.

            183.   Purdue shared with prescribers its Partners Against Pain “Pain Management Kit,”

which contains several screening tools and catalogues of Purdue materials, including these same

screening tools. Janssen, on its website www.PrescribeResponsibly.com, states that the risk of

opioid addiction “can usually be managed” through tools such as opioid agreements between

patients and doctors.51 The website, which directly provides screening tools to prescribers for risk

assessments,52 includes a “[f]our question screener” to purportedly help physicians identify and

address possible opioid misuse.53

            184.   Purdue and Cephalon sponsored the APF’s Treatment Options: A Guide for People

Living with Pain (2007), which also falsely reassured patients that opioid agreements between

doctors and patients can “ensure that you take the opioid as prescribed.”




51
  Howard A. Heit, MD, FACP, FASAM and Douglas L. Gourlay, MD, MSc, FRCPC, FASAM, What a Prescriber
Should Know Before Writing the First Prescription, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/before-prescribing-opioids# (last modified July 2, 2015).
52
  Risk Assessment Resources, Prescribe Responsibly, http://www.prescriberesponsibly.com/risk-assessment-
resources (last modified July 2, 2015).
53
     Id.


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       185.    Purdue sponsored a 2011 webinar entitled Managing Patient’s Opioid Use:

Balancing the Need and Risk, taught by Dr. Lynn Webster, a KOL discussed further below. This

publication misleadingly taught prescribers that screening tools, urine tests, and patient agreements

have the effect of preventing “overuse of prescriptions” and “overdose deaths.”

       186.    Purdue sponsored a 2011 CME program titled Managing Patient’s Opioid Use:

Balancing the Need and Risk. This presentation deceptively instructed prescribers that screening

tools, patient agreements, and urine tests prevented “overuse of prescriptions” and “overdose

deaths.”

       187.    Purdue also funded a 2012 CME program called Chronic Pain Management and

Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes. The presentation

deceptively instructed doctors that, through the use of screening tools, more frequent refills, and

other techniques, even high-risk patients showing signs of addiction could be treated with opioids.

       188.    Endo paid for a 2007 supplement available for continuing education credit in the

Journal of Family Practice written by a doctor who became a member of Endo’s speakers’ bureau

in 2010. This publication, entitled Pain Management Dilemmas in Primary Care: Use of Opioids,

recommended screening patients using tools like the Opioid Risk Tool created by Dr. Webster and

linked to Janssen or the Screener and Opioid Assessment for Patients with Pain, and also taught

that patients at high risk of addiction could safely receive chronic opioid therapy using a

“maximally structured approach” involving toxicology screens and pill counts. The Opioid Risk

Tool was linked to by Endo-supported websites, as well.

       189.    There are three fundamental flaws in the Marketing Defendants’ representations

that doctors can consistently identify and manage the risk of addiction. First, there is no reliable

scientific evidence that doctors can depend on the screening tools currently available to materially



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limit the risk of addiction. Second, there is no reliable scientific evidence that high-risk patients

identified through screening can take opioids long-term without triggering addiction, even with

enhanced monitoring. Third, there is no reliable scientific evidence that patients who are not

identified through such screening can take opioids long-term without significant danger of

addiction.

                        c.       Falsehood #3: Signs of addictive behavior are
                                 “pseudoaddiction,” requiring more opioids

        190.    The Marketing Defendants instructed patients and prescribers that signs of

addiction are actually indications of untreated pain, such that the appropriate response is to

prescribe even more opioids. Dr. David Haddox, who later became a Senior Medical Director for

Purdue, published a study in 1989 coining the term “pseudoaddiction,” which he characterized as

“the iatrogenic syndrome of abnormal behavior developing as a direct consequence of inadequate

pain management.”54 In other words, people on prescription opioids who exhibited classic signs

of addiction— for example, asking for more and higher doses of opioids, self-escalating their

doses, or claiming to have lost prescriptions in order to get more opioids—were not addicted, but

rather simply suffering from undertreatment of their pain.

        191.    In the materials and outreach they produced, sponsored, or controlled, Defendants

made each of these misrepresentations and omissions, and have never acknowledged, retracted, or

corrected them.

        192.    Cephalon, Endo, and Purdue sponsored the Federation of State Medical Boards’

(“FSMB”) Responsible Opioid Prescribing (2007), written by Dr. Fishman and discussed in more

detail below, which taught that behaviors such as “requesting drugs by name,” “demanding or


54
  David E. Weissman & J. David Haddox, Opioid Pseudoaddiction—an Iatrogenic Syndrome, 36(3) Pain 363, 363-
66 (Mar. 1989), https://www.ncbi.nlm.nih.gov/pubmed/2710565. (“Iatrogenic” describes a condition induced by
medical treatment).


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manipulative behavior,” seeing more than one doctor to obtain opioids, and hoarding, which are

signs of genuine addiction, are all really signs of “pseudoaddiction.”

        193.   Purdue posted an unbranded pamphlet entitled Clinical Issues in Opioid

Prescribing on its unbranded website, www.PartnersAgainstPain.com, in 2005, and circulated this

pamphlet through at least 2007 and on its website through at least 2013. The pamphlet listed

conduct including “illicit drug use and deception” that it claimed was not evidence of true addiction

but rather “pseudoaddiction” caused by untreated pain.

        194.   According to documents provided by a former Purdue detailer, sales representatives

were trained and tested on the meaning of pseudoaddiction, from which it can be inferred that sales

representatives were directed to, and did, describe pseudoaddiction to prescribers. Purdue’s Pain

Management Kit is another example of publication used by Purdue’s sales force that endorses

pseudoaddiction by claiming that “pain-relief seeking behavior can be mistaken for drug-seeking

behavior.” Upon information and belief, the kit was in use from roughly 2011 through at least June

2016.

        195.   Upon information and belief, Endo itself has repudiated the concept of

pseudoaddiction. In finding that “[t]he pseudoaddiction concept has never been empirically

validated and in fact has been abandoned by some of its proponents,” the New York Attorney

General, in a 2016 settlement with Endo, reported that “Endo’s Vice President for

Pharmacovigilance and Risk Management testified to [the NY AG] that he was not aware of any

research validating the ‘pseudoaddiction’ concept” and acknowledged the difficulty in




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distinguishing “between addiction and ‘pseudoaddiction.’”55 Endo thereafter agreed not to “use

the term ‘pseudoaddiction’ in any training or marketing” in New York.

           196.     Janssen sponsored, funded, and edited a website called Let’s Talk Pain, which in

2009 stated “pseudoaddiction . . . refers to patient behaviors that may occur when pain is

undertreated . . . . Pseudoaddiction is different from true addiction because such behaviors can be

resolved with effective pain management.” This website was accessible online until at least May

2012.

           197.     Janssen also currently runs a website, www.Prescriberesponsibly.com, which

claims that concerns about opioid addiction are “overestimated,” and describes pseudoaddiction

as “a syndrome that causes patients to seek additional medications due to inadequate

pharmacotherapy being prescribed. Typically when the pain is treated appropriately the

inappropriate behavior ceases.”56

           198.     The CDC Guideline nowhere recommends attempting to provide more opioids to

patients exhibiting symptoms of addiction. Dr. Webster, a KOL discussed below, admitted that

pseudoaddiction “is already something we are debunking as a concept” and became “too much of

an excuse to give patients more medication. It led us down a path that caused harm.”

                            d.        Falsehood #4: Opioid withdrawal can be avoided by tapering

           199.     In an effort to underplay the risk and impact of addiction, the Marketing Defendants

falsely claimed that, while patients become physically dependent on opioids, physical dependence

is not the same as addiction and can be easily addressed, if and when pain relief is no longer

desired, by gradually tapering patients’ dose to avoid withdrawal. Defendants failed to disclose the


55
  Attorney General of the State of New York, In the Matter of Endo Health Solutions Inc. & Endo Pharmaceuticals
Inc., Assurance No.:15-228, Assurance of Discontinuance Under Executive Law Section 63. Subdivision 15 at 7.
56
     Heit & Gourlay, supra note 71.


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extremely difficult and painful symptoms that patients can experience upon ceasing opioid

treatment—adverse effects that also make it less likely that patients will be able to stop using the

drugs. Defendants also failed to disclose how difficult it is for patients to stop using opioids after

they have used them for prolonged periods.

       200.    A non-credit educational program sponsored by Endo, Persistent Pain in the Older

Adult, claimed that withdrawal symptoms, which make it difficult for patients to stop using

opioids, could be avoided by simply tapering a patient’s opioid dose over ten days. However, this

claim is at odds with the experience of patients addicted to opioids. Most patients who have been

taking opioids regularly will, upon stopping treatment, experience withdrawal, characterized by

intense physical and psychological effects, including anxiety, nausea, headaches, and delirium,

among others. This painful and arduous struggle to terminate use can leave many patients

unwilling or unable to give up opioids and heightens the risk of addiction.

       201.    Purdue sponsored the American Pain Foundation’s (“APF”) A Policymaker’s

Guide to Understanding Pain & Its Management, which taught that “Symptoms of physical

dependence can often be ameliorated by gradually decreasing the dose of medication during

discontinuation,” but the guide did not disclose the significant hardships that often accompany

cessation of use.

       202.    To this day, the Marketing Defendants have not corrected or retracted their

misrepresentations regarding tapering as a solution to opioid withdrawal.

                       e.      Falsehood #5: Opioid doses can be increased without limit or
                               greater risks

       203.    In materials they produced, sponsored or controlled, Marketing Defendants

instructed prescribers that they could safely increase a patient’s dose to achieve pain relief. Each




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of the Marketing Defendants’ claims was deceptive in that it omitted warnings of increased adverse

effects that occur at higher doses, effects confirmed by scientific evidence.

        204.     These misrepresentations were integral to the Marketing Defendants’ promotion of

prescription opioids. As discussed above, patients develop a tolerance to opioids’ analgesic effects,

so that achieving long-term pain relief requires constantly increasing the dose.

        205.     In a 1996 sales memo regarding OxyContin, for example, a regional manager for

Purdue instructed sales representatives to inform physicians that there is “no[] upward limit” for

dosing and ask “if there are any reservations in using a dose of 240mg-320mg of OxyContin.”57

        206.     In addition, sales representatives aggressively pushed doctors to prescribe stronger

doses of opioids. For example, one Purdue sales representative wrote about how his regional

manager would drill the sales team on their upselling tactics:

                 It went something like this. “Doctor, what is the highest dose of
                 OxyContin you have ever prescribed?” “20mg Q12h.” “Doctor, if
                 the patient tells you their pain score is still high you can increase the
                 dose 100% to 40mg Q12h, will you do that?” “Okay.” “Doctor, what
                 if that patient them came back and said their pain score was still
                 high, did you know that you could increase the OxyContin dose to
                 80mg Q12h, would you do that?” “I don’t know, maybe.” “Doctor,
                 but you do agree that you would at least Rx the 40mg dose, right?”
                 “Yes.”

                 The next week the rep would see that same doctor and go through
                 the same discussion with the goal of selling higher and higher doses
                 of OxyContin.

        207.     These misrepresentations were particularly dangerous. As noted above, opioid

doses at or above 50 MME/day double the risk of overdose compared to 20 MME/day, and 50




57
  Letter from Windell Fisher, Purdue Regional Manager, to B. Gergely, Purdue Employee (Nov. 7, 1996),
http://documents.latimes.com/sales-manager-on12-hour-dosing-1996/ (last updated May 5, 2016) (hereinafter
“Letter from Fisher”).


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MME is equal to just 33 mg of oxycodone. The recommendation of 320 mg every twelve hours is

ten times that.

        208.      In its 2010 Risk Evaluation and Mitigation Strategy (“REMS”) for OxyContin,

however, Purdue does not address the increased risk of respiratory depression and death from

increasing dose, and instead advises prescribers that “dose adjustments may be made every 1-2

days”; “it is most appropriate to increase the q12h dose”; the “total daily dose can usually be

increased by 25% to 50%”; and if “significant adverse reactions occur, treat them aggressively

until they are under control, then resume upward titration.”58

        209.      Endo sponsored a website, www.Painknowledge.com, which claimed that opioids

may be increased until “you are on the right dose of medication for your pain,” at which point

further dose increases would not be required.

        210.      Endo also published on its website a patient education pamphlet entitled

Understanding Your Pain: Taking Oral Opioid Analgesics. In Q&A format, it asked, “If I take the

opioid now, will it work later when I really need it?” The response is, “The dose can be increased

. . . You won’t ‘run out’ of pain relief.”

        211.      Purdue and Cephalon sponsored APF’s Treatment Options: A Guide for People

Living with Pain (2007), which taught patients that opioids have “no ceiling dose” and therefore

are safer than NSAIDs.

        212.      Marketing Defendants were aware of the greater dangers high-dose opioids posed.

In 2013, the FDA acknowledged “that the available data do suggest a relationship between

increasing opioid dose and risk of certain adverse events” and that studies “appear to credibly



58
  Purdue Pharma L.P., OxyContin Risk Evaluation and Mitigation Strategy,
https://web.archive.org/web/20170215190303/https://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugS
afetyInformationforPatientsandProviders/UCM220990.pdf (last modified Nov. 2010).


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suggest a positive association between high-dose opioid use and the risk of overdose and/or

overdose mortality.” For example, a study of patient data from the Veterans Health Administration

published in 2011 found that higher maximum prescribed daily opioid doses were associated with

a higher risk of opioid overdose deaths.59

                         f.       Falsehood #6: Long-term opioid use improves functioning

        213.     Despite the lack of evidence of improved function and the existence of evidence to

the contrary, the Marketing Defendants consistently promoted opioids as capable of improving

patients’ function and quality of life because they viewed these claims as a critical part of their

marketing strategies. In recalibrating the risk-benefit analysis for opioids, increasing the perceived

benefits of treatment was necessary to overcome its risks.

        214.     Janssen, for example, promoted Duragesic as improving patients’ functioning and

work productivity through an ad campaign that included the following statements: “[w]ork,

uninterrupted,” “[l]ife, uninterrupted,” “[g]ame, uninterrupted,” “[c]hronic pain relief that supports

functionality,” and “[i]mprove[s] . . . physical and social functioning.”

        215.     Purdue noted the need to compete with this messaging, despite the lack of data

supporting improvement in quality of life with OxyContin treatment:

                 Janssen has been stressing decreased side effects, especially
                 constipation, as well as patient quality of life, as supported by
                 patient rating compared to sustained release morphine…We do not
                 have such data to support OxyContin promotion. . . . In addition,
                 Janssen has been using the “life uninterrupted” message in
                 promotion of Duragesic for non-cancer pain, stressing that
                 Duragesic “helps patients think less about their pain.” This is a
                 competitive advantage based on our inability to make any quality of
                 life claims.60


59
   Amy S. B. Bohnert, Ph.D. et al., Association Between Opioid Prescribing Patterns and Opioid Overdose-Related
Deaths, 305(13) J. of Am. Med. Assoc. 1315, 1315-1321 (Apr. 6, 2011),
https://jamanetwork.com/journals/jama/fullarticle/896182.
60
   Meier, supra note 18, at 281.


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        216.    Despite its acknowledgment that “[w]e do not have such data to support OxyContin

promotion,” Purdue ran a full-page ad for OxyContin in the Journal of the American Medical

Association, proclaiming, “There Can Be Life With Relief,” and showing a man happily fly-

fishing alongside his grandson, implying that OxyContin would help users’ function. This ad

earned a warning letter from the FDA, which admonished, “It is particularly disturbing that your

November ad would tout ‘Life With Relief’ yet fail to warn that patients can die from taking

OxyContin.”61

        217.    Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management, which claimed that “multiple clinical studies” have shown that opioids are effective

in improving daily function, psychological health, and health-related quality of life for chronic

pain patients. But the article cited as support for this in fact stated the contrary, noting the absence

of long-term studies and concluding, “[f]or functional outcomes, the other analgesics were

significantly more effective than were opioids.”

        218.    A series of medical journal advertisements for OxyContin in 2012 presented “Pain

Vignettes”—case studies featuring patients with pain conditions persisting over several months—

that implied functional improvement. For example, one advertisement described a “writer with

osteoarthritis of the hands” and implied that OxyContin would help him work more effectively.

        219.    Similarly, since at least May of 2011, Endo has distributed and made available on

its website, www.opana.com, a pamphlet promoting Opana ER with photographs depicting

patients with physically demanding jobs like those of a construction worker or chef, misleadingly

implying that the drug would provide long-term pain relief and functional improvement.




61
  Chris Adams, FDA Orders Purdue Pharma To Pull Its OxyContin Ads, Wall St. J. (Jan. 23, 2003, 12:01am),
https://www.wsj.com/articles/SB1043259665976915824.


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       220.    As noted above, Janssen sponsored and edited a patient education guide entitled

Finding Relief: Pain Management for Older Adults (2009), which states as “a fact” that “opioids

may make it easier for people to live normally.” This guide features a man playing golf on the

cover and lists examples of expected functional improvement from opioids, like sleeping through

the night, returning to work, recreation, sex, walking, and climbing stairs. It assures patients that,

“[u]sed properly, opioid medications can make it possible for people with chronic pain to ‘return

to normal.’” Similarly, Responsible Opioid Prescribing (2007), sponsored and distributed by Teva,

Endo, and Purdue, taught that relief of pain by opioids, by itself, improved patients’ function. The

book remains for sale online.

       221.    In addition, Janssen’s Let’s Talk Pain website featured a video interview, which

was edited by Janssen personnel, claiming that opioids were what allowed a patient to “continue

to function,” falsely implying that her experience would be representative.

       222.    The APF’s Treatment Options: A Guide for People Living with Pain (2007),

sponsored by Purdue and Cephalon, counseled patients that opioids “give [pain patients] a quality

of life we deserve.” The guide was available online until APF shut its doors in May 2012.

       223.    Endo’s NIPC website www.Painknowledge.com claimed that with opioids, “your

level of function should improve; you may find you are now able to participate in activities of

daily living, such as work and hobbies, that you were not able to enjoy when your pain was worse.”

In addition to “improved function,” the website touted improved quality of life as a benefit of

opioid therapy. The grant request that Endo approved for this project specifically indicated NIPC’s

intent to make claims of functional improvement.

       224.    Endo was the sole sponsor, through NIPC, of a series of CMEs titled Persistent

Pain in the Older Patient, which claimed that chronic opioid therapy has been “shown to reduce



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pain and improve depressive symptoms and cognitive functioning.” The CME was disseminated

via webcast.

           225.     Mallinckrodt’s website, in a section on responsible use of opioids, claims that “[t]he

effective pain management offered by our medicines helps enable patients to stay in the workplace,

enjoy interactions with family and friends, and remain an active member of society.”62

           226.     The Marketing Defendants’ claims that long-term use of opioids improves patient

function and quality of life are unsupported by clinical evidence. There are no controlled studies

of the use of opioids beyond 16 weeks, and there is no evidence that opioids improve patients’

pain and function long term. The FDA, for years, has made clear through warning letters to

manufacturers the lack of evidence for claims that the use of opioids for chronic pain improves

patients’ function and quality of life.63 Based upon a review of the existing scientific evidence, the

CDC Guideline concluded that “there is no good evidence that opioids improve pain or function

with long-term use.”64

           227.     Consistent with the CDC’s findings, substantial evidence exists demonstrating that

opioid drugs are ineffective for the treatment of chronic pain and worsen patients’ health. For

example, a 2006 study-of-studies found that opioids as a class did not demonstrate improvement



62
  Mallinckrodt Pharmaceuticals, Responsible Use, http://www.mallinckrodt.com/corporate-
responsibility/responsible-use
63
   The FDA has warned other drug makers that claims of improved function and quality of life were misleading. See
Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Doug Boothe, CEO,
Actavis Elizabeth LLC (Feb. 18, 2010), (rejecting claims that Actavis’ opioid, Kadian, had an “overall positive
impact on a patient’s work, physical and mental functioning, daily activities, or enjoyment of life.”); Warning Letter
from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Brian A. Markison, Chairman, President
and Chief Executive Officer, King Pharmaceuticals, Inc. (March 24, 2008), (finding the claim that “patients who are
treated with [Avinza (morphine sulfate ER)] experience an improvement in their overall function, social function,
and ability to perform daily activities . . . has not been demonstrated by substantial evidence or substantial clinical
experience.”). The FDA’s warning letters were available to Defendants on the FDA website.
64
     CDC Guideline, supra note 35, at 20.



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in functional outcomes over other non-addicting treatments. The few longer-term studies of opioid

use had “consistently poor results,” and “several studies have showed that [using] opioids for

chronic pain may actually worsen pain and functioning,”65 along with general health, mental

health, and social function. Over time, even high doses of potent opioids often fail to control pain,

and patients exposed to such doses are unable to function normally.

           228.     Increased duration of opioid use is also strongly associated with increased

prevalence of mental health disorders (depression, anxiety, post-traumatic stress disorder, and

substance abuse), increased psychological distress, and greater health care utilization. The CDC

Guideline concluded that “[w]hile benefits for pain relief, function and quality of life with long-

term opioid use for chronic pain are uncertain, risks associated with long-term opioid use are

clearer and significant.”66 According to the CDC, “for the vast majority of patients, the known,

serious, and too-often-fatal risks far outweigh the unproven and transient benefits [of opioids for

chronic pain].”67

           229.     As one pain specialist observed, “opioids may work acceptably well for a while,

but over the long term, function generally declines, as does general health, mental health, and

social functioning. Over time, even high doses of potent opioids often fail to control pain, and

these patients are unable to function normally.”68 In fact, research such as a 2008 study in the

journal Spine has shown that pain sufferers prescribed opioids long-term suffered addiction that



 Thomas R. Frieden and Debra Houry, Reducing the Risks of Relief – The CDC Opioid-Prescribing Guideline, 374
65

New Eng. J. of Med., 1501, 1501-1502 (Apr. 21, 2016).
66
     CDC Guideline, supra note 35, at 2, 18.
67
     Frieden & Houry, supra note 86, at 1503.
68
  Andrea Rubinstein, M.D., Are We Making Pain Patients Worse?, Sonoma Med. (Fall 2009),
http://www.nbcms.org/about-us/sonoma-county-medical-association/magazine/sonoma-medicine-are-we-making-
pain-patients-worse.aspx?pageid=144&tabid=747.



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made them more likely to be disabled and unable to work.69 Another study demonstrated that

injured workers who received a prescription opioid for more than seven days during the first six

weeks after the injury were 2.2 times more likely to remain on work disability a year later than

workers with similar injuries who received no opioids at all.70 Moreover, the first randomized

clinical trial designed to make head-to-head comparisons between opioids and other kinds of pain

medications was recently published on March 6, 2018, in the Journal of the American Medical

Association. The study reported that “[t]here was no significant difference in pain-related function

between the 2 groups” – those whose pain was treated with opioids and those whose pain was

treated with non-opioids, including acetaminophen and other non-steroidal anti-inflammatory

drugs (“NSAIDs”) like ibuprofen. Accordingly, the study concluded: “Treatment with opioids was

not superior to treatment with nonopioid medications for improving pain-related function over 12

months.”

                          g.      Falsehood #7: Alternative forms of pain relief pose greater
                                  risks than opioids

        230.     In materials they produced, sponsored or controlled, the Marketing Defendants

omitted known risks of chronic opioid therapy and emphasized or exaggerated risks of competing

products so that prescribers and patients would favor opioids over other therapies such as over-

the-counter acetaminophen or over-the-counter or prescription NSAIDs.

        231.     For example, in addition to failing to disclose in promotional materials the risks of

addiction, overdose, and death, the Marketing Defendants routinely ignored the risks of




69
  Jeffrey Dersh, et al., Prescription Opioid Dependence is Associated With Poorer Outcomes in Disabling Spinal
Disorders, 33(20) Spine 2219, 2219-27 (Sept. 15, 2008).
70
  GM Franklin, BD Stover, et al., Early Opioid Prescription and Subsequent Disability Among Workers With Back
Injuries: the Disability Risk Identification Study Cohort, 33 (2) Spine 199, 201-202 (Jan. 15, 2008).



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hyperalgesia, a “known serious risk associated with chronic opioid analgesic therapy in which the

patient becomes more sensitive to certain painful stimuli over time;”71 hormonal dysfunction;72

decline in immune function; mental clouding, confusion, and dizziness; increased falls and

fractures in the elderly;73 neonatal abstinence syndrome (when an infant exposed to opioids

prenatally suffers withdrawal after birth), and potentially fatal interactions with alcohol or with

benzodiazepines, which are used to treat anxiety and may be co-prescribed with opioids,

particularly to veterans suffering from pain.74

           232.    The APF’s Treatment Options: A Guide for People Living with Pain, sponsored by

Purdue and Cephalon, warned that risks of NSAIDs increase if “taken for more than a period of

months,” with no corresponding warning about opioids. The publication falsely attributed 10,000

to 20,000 deaths annually to NSAID overdoses, when the figure is closer to 3,200.75

           233.    Janssen sponsored Finding Relief: Pain Management for Older Adults (2009), that

listed dose limitations as “disadvantages” of other pain medicines but omitted any discussion of

risks of increased doses from opioids. Finding Relief described the advantages and disadvantages

of NSAIDs on one page, and the “myths/facts” of opioids on the facing page. The disadvantages

of NSAIDs are described as involving “stomach upset or bleeding,” “kidney or liver damage if

taken at high doses or for a long time,” “adverse reactions in people with asthma,” and “can



71
  Letter from Janet Woodcock, M.D., Dir. of Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. of
Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).
72
     H.W. Daniell, Hypogonadism in Men Consuming Sustained-Action Oral Opioids, 3(5) J. Pain 277, 377-84 (2001).
73
  Bernhard M. Kuschel, The Risk of Fall Injury in Relation to Commonly Prescribed Medications Among Older
People – a Swedish Case-Control Study, Eur. J. Pub. H. 527, 527-32 (July 31, 2014).
74
 Karen H. Seal, et al., Association of Mental Health Disorders With Prescription Opioids and High-Risk Opioids in
US Veterans of Iraq and Afghanistan, 307(9) J. of Am. Med. Assoc. 940, 940-47 (2012).
75
  Robert E. Tarone, et al., Nonselective Nonaspirin Nonsteroidal Anti-Inflammatory Drugs and Gastrointestinal
Bleeding: Relative and Absolute Risk Estimates from Recent Epidemiologic Studies, 11 Am. J. of Therapeutics 17,
17-25 (2004).


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increase the risk of heart attack and stroke.” The only adverse effects of opioids listed are “upset

stomach or sleepiness,” which the brochure claims will go away, and constipation.

            234.   Endo’s NIPC website, Painknowledge.com, which contained a flyer called “Pain:

Opioid Therapy.” This publication listed opioids’ adverse effects but with significant omissions,

including hyperalgesia, immune and hormone dysfunction, cognitive impairment, tolerance,

dependence, addiction, and death.

            235.   As another example, the Endo-sponsored CME put on by NIPC, Persistent Pain in

the Older Adult, discussed above, counseled that acetaminophen should be used only short-term

and includes five slides on the FDA’s restrictions on acetaminophen and its adverse effects,

including severe liver injury and anaphylaxis (shock). In contrast, the CME downplays the risk of

opioids, claiming opioids have “possibly less potential for abuse than in younger patients,” and

does not list overdose among the adverse effects. Some of those misrepresentations are described

above; others are laid out below.

            236.   In April 2007, Endo sponsored an article aimed at prescribers, published in Pain

Medicine News, titled “Case Challenges in Pain Management: Opioid Therapy for Chronic Pain.”76

The article asserted:

                   Opioids represent a highly effective but controversial and often
                   misunderstood class of analgesic medications for controlling both
                   chronic and acute pain. The phenomenon of tolerance to opioids –
                   the gradual waning of relief at a given dose – and fears of abuse,
                   diversion, and misuse of these medications by patients have led
                   many clinicians to be wary of prescribing these drugs, and/or to
                   restrict dosages to levels that may be insufficient to provide
                   meaningful relief.77



76
  Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain, Pain Med. News,
https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf.
77
     Id. At 1.


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         237.     To help allay these concerns, Endo emphasized the risks of NSAIDs as an

alternative to opioids. The article included a case study that focused on the danger of extended use

of NSAIDs, including that the subject was hospitalized with a massive upper gastrointestinal bleed

believed to have resulted from his protracted NSAID use. In contrast, the article did not provide

the same detail concerning the serious side effects associated with opioids.

         238.     Additionally, Purdue acting with Endo sponsored Overview of Management

Options, a CME issued by the AMA in 2003, 2007, 2010, and 2013. The 2013 version remains

available for CME credit. The CME taught that NSAIDs and other drugs, but not opioids, are

unsafe at high doses.

         239.     As a result of the Marketing Defendants’ deceptive promotion of opioids over safer

and more effective drugs, opioid prescriptions increased even as the percentage of patients visiting

a doctor for pain remained constant. A study of 7.8 million doctor visits between 2000 and 2010

found that opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and

acetaminophen prescriptions fell from 38% to 29%, driven primarily by the decline in NSAID

prescribing.78

                           h.       Falsehood #8: OxyContin provides twelve hours of pain relief

         240.     Purdue also dangerously misled doctors and patients about OxyContin’s duration

and onset of action, making the knowingly false claim that OxyContin would provide 12 hours of

pain relief for most patients. As laid out below, Purdue made this claim for two reasons. First, it

provides the basis for both Purdue’s patent and its market niche, allowing it to both protect and


78
  M. Daubresse, et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United States, 2000-
2010, 51(10) Med. Care, 870, 870-878 (2013). For back pain alone, the percentage of patients prescribed opioids
increased from 19% to 29% between 1999 and 2010, even as the use of NSAIDs or acetaminophen declined from
39.9% to 24.5% of these visits; and referrals to physical therapy remained steady. See also J. Mafi, et al., Worsening
Trends in the Management and Treatment of Back Pain, 173(17) J. of the Am Med. Assoc. of Internal Med. 1573,
1573 (2013).


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differentiate itself from competitors. Second, it allowed Purdue to imply or state outright that

OxyContin had a more even, stable release mechanism that avoided peaks and valleys and

therefore the rush that fostered addiction and attracted abusers.

        241.      Purdue promotes OxyContin as an extended-release opioid, but the oxycodone does

not enter the body on a linear rate. OxyContin works by releasing a greater proportion of

oxycodone into the body upon administration, and the release gradually tapers, as illustrated in the

following chart, which was apparently adapted from Purdue’s own sales materials:




        242.      The reduced release of the drug over time means that the oxycodone no longer

provides the same level of pain relief; as a result, in many patients, OxyContin does not last for

the twelve hours for which Purdue promotes it—a fact that Purdue has known at all times relevant

to this action.




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        243.    OxyContin tablets provide an initial absorption of approximately 40% of the active

medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful opioid

triggers a powerful psychological response. OxyContin thus behaves more like an immediate-

release opioid, which Purdue itself once claimed was more addicting in its original 1995 FDA-

approved drug label. Second, the initial burst of oxycodone means that there is less of the drug at

the end of the dosing period, which results in the drug not lasting for a full twelve hours and

precipitates withdrawal symptoms in patients, a phenomenon known as “end of dose” failure. (The

FDA found in 2008 that a “substantial number” of chronic pain patients will experience end-of-

dose failure with OxyContin.)

        244.    End-of-dose failure renders OxyContin even more dangerous because patients

begin to experience withdrawal symptoms, followed by a euphoric rush with their next dose—a

cycle that fuels a craving for OxyContin. For this reason, Dr. Theodore Cicero, a

neuropharmacologist at the Washington University School of Medicine in St. Louis, has called

OxyContin’s 12-hour dosing “the perfect recipe for addiction.”79 Many patients will exacerbate

this cycle by taking their next dose ahead of schedule or resorting to a rescue dose of another

opioid, increasing the overall amount of opioids they are taking.

        245.    It was Purdue’s decision to submit OxyContin for approval with 12-hour dosing.

While the OxyContin label indicates that “[t]here are no well-controlled clinical studies evaluating

the safety and efficacy with dosing more frequently than every 12 hours,” that is because Purdue

has conducted no such studies.




79
  Harriet Ryan, et al., “‘‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem,” L.A. Times (May 5,
2016) http://www.latimes.com/projects/oxycontin-part1/ (hereinafter, “You Want a Description of Hell”).


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       246.    Purdue nevertheless has falsely promoted OxyContin as if it were effective for a

full twelve hours. Its advertising in 2000 included claims that OxyContin provides “Consistent

Plasma Levels Over 12 Hours.” That claim was accompanied by a chart, mirroring the chart on

the previous page. However, this version of the chart deceptively minimized the rate of end-of-

dose failure by depicting 10 mg in a way that it appeared to be half of 100 mg in the table’s y-axis.

That chart, shown below, depicts the same information as the chart above, but does so in a way

that makes the absorption rate appear more consistent:




       247.    Purdue’s 12-hour messaging was key to its competitive advantage over short-acting

opioids that required patients to wake in the middle of the night to take their pills. Purdue

advertisements also emphasized “Q12h” dosing. These include an advertisement in the February

2005 Journal of Pain and 2006 Clinical Journal of Pain featuring an OxyContin logo with two

pill cups, reinforcing the twice-a-day message. A Purdue memo to the OxyContin launch team



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stated that “OxyContin’s positioning statement is ‘all of the analgesic efficacy of immediate-

release oxycodone, with convenient q12h dosing,’” and further that “[t]he convenience of q12h

dosing was emphasized as the most important benefit.”80

        248.     In keeping with this positioning statement, a Purdue regional manager emphasized

in a 1996 sales strategy memo that representatives should “convinc[e] the physician that there is

no need” for prescribing OxyContin in shorter intervals than the recommended 12-hour interval,

and instead the solution is prescribing higher doses.”81 One sales manager instructed her team that

anything shorter than 12-hour dosing “needs to be nipped in the bud. NOW!!”82

        249.     Purdue executives therefore maintained the messaging of twelve-hour dosing even

when many reports surfaced that OxyContin did not last twelve hours. Instead of acknowledging

a need for more frequent dosing, Purdue instructed its representatives to push higher-strength pills,

even though higher dosing carries its own risks, as noted above. It also means that patients will

experience higher highs and lower lows, increasing their craving for their next pill. (Urging higher

doses to avoid end-of-dose failure is like advising a pilot to avoid a crash by flying higher.)

Nationwide, based on an analysis by the Los Angeles Times, more than 52% of patients taking

OxyContin longer than three months are on doses greater than 60 milligrams per day—which

converts to the 90 MED that the CDC Guideline urges prescribers to “avoid” or “carefully

justify.”83

        250.     That OxyContin did not provide pain relief for a full twelve hours was known to

Purdue, and Purdue’s competitors, but was not disclosed to prescribers. Purdue’s knowledge of



80
   Memorandum from Lydia Johnson, Marketing Executive at Purdue, to members of Oxycontin Launch Team (Apr.
4, 1995), http://documents.latimes.com/oxycontin-launch-1995/ (last updated May 5, 2016).
81
   Letter from Fisher, supra note 58.
82
   You Want a Description of Hell, supra note 80
83
   CDC Guideline, supra note 35, at 16.


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some pain specialists’ tendency to prescribe OxyContin three times per day instead of two was set

out in Purdue’s internal documents as early as 1999 and is apparent from MEDWATCH Adverse

Event reports for OxyContin.

       251.    Even Purdue’s competitor, Endo, was aware of the problem; Endo attempted to

position its Opana ER drug as offering “durable” pain relief, which Endo understood to suggest a

contrast to OxyContin. Opana ER advisory board meetings featured pain specialists citing lack of

12-hour dosing as a disadvantage of OxyContin. Endo even ran advertisements for Opana ER

referring to “real” 12-hour dosing.

       252.    Purdue’s failure to disclose the prevalence of end-of-dose failure meant that

prescribers were misinformed about the advantages of OxyContin in a manner that preserved

Purdue’s competitive advantage and profits, at the expense of patients, who were placed at greater

risk of overdose, addiction, and other adverse effects.

                       i.      Falsehood #9: New formulations of certain opioids successfully
                               deter abuse

       253.    Rather than take the widespread opioid abuse as reason to cease their untruthful

marketing efforts, Marketing Defendants Purdue and Endo seized them as a competitive

opportunity. These companies developed and oversold “abuse-deterrent formulations” (“ADF”)

opioids as a solution to opioid abuse and as a reason that doctors could continue to safely prescribe

their opioids, as well as an advantage of these expensive branded drugs over other opioids. These

Defendants’ false and misleading marketing of the benefits of their ADF opioids preserved and

expanded their sales and falsely reassured prescribers thereby prolonging the opioid epidemic.

Other Marketing Defendants, including Actavis and Mallinckrodt, also promoted their branded

opioids as formulated to be less addictive or less subject to abuse than other opioids.




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       254.    The CDC Guideline confirms that “[n]o studies” support the notion that “abuse-

deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,” noting

that the technologies “do not prevent opioid abuse through oral intake, the most common route of

opioid abuse, and can still be abused by non-oral routes.” Tom Frieden, the former Director of the

CDC, reported that his staff could not find “any evidence showing the updated opioids [ADF

opioids] actually reduce rates of addiction, overdoses, or death.”

                       i.     Purdue’s deceptive marketing of reformulated OxyContin and
                              Hysingla ER

       255.    Reformulated ADF OxyContin was approved by the FDA in April 2010. It was not

until 2013 that the FDA, in response to a citizen petition filed by Purdue, permitted reference to

the abuse-deterrent properties in its label. When Hysingla ER (extended-release hydrocodone)

launched in 2014, the product included similar abuse-deterrent properties and limitations. But in

the beginning, the FDA made clear the limited claims that could be made about ADF, noting that

no evidence supported claims that ADF prevented tampering, oral abuse, or overall rates of abuse.

       256.    It is unlikely a coincidence that reformulated OxyContin was introduced shortly

before generic versions of OxyContin were to become available, threatening to erode Purdue’s

market share and the price it could charge. Purdue nonetheless touted its introduction of ADF

opioids as evidence of its good corporate citizenship and commitment to address the opioid crisis.

       257.    Despite its self-proclaimed good intention, Purdue merely incorporated its

generally deceptive tactics with respect to ADF. Purdue sales representatives regularly overstated

and misstated the evidence for and impact of the abuse-deterrent features of these opioids.

Specifically, Purdue sales representatives:

           •   claimed that Purdue’s ADF opioids prevent tampering and that its ADFs could not
               be crushed or snorted;

           •   claimed that Purdue’s ADF opioids reduce opioid abuse and diversion;

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            •   asserted or suggested that its ADF opioids are non-addictive or less addictive,

            •   asserted or suggested that Purdue’s ADF opioids are safer than other opioids, could
                not be abused or tampered with, and were not sought out for diversion; and

            •   failed to disclose that Purdue’s ADF opioids do not impact oral abuse or misuse.

         258.   If pressed, Purdue acknowledged that perhaps some “extreme” patients might still

abuse the drug, but claimed the ADF features protect the majority of patients. These

misrepresentations and omissions are misleading and contrary to Purdue’s ADF labels, Purdue’s

own information, and publicly available data.

         259.   Purdue knew or should have known that reformulated OxyContin is not more

tamper-resistant than the original OxyContin and is still regularly tampered with and abused.

         260.   In 2009, the FDA noted in permitting ADF labeling that “the tamper-resistant

properties will have no effect on abuse by the oral route (the most common mode of abuse).” In

the 2012 medical office review of Purdue’s application to include an abuse-deterrence claim in its

label for OxyContin, the FDA noted that the overwhelming majority of deaths linked to OxyContin

were associated with oral consumption, and that only 2% of deaths were associated with recent

injection and only 0.2% with snorting the drug.

         261.   The FDA’s Director of the Division of Epidemiology stated in September 2015 that

no data that she had seen suggested the reformulation of OxyContin “actually made a reduction in

abuse,” between continued oral abuse, shifts to injection of other drugs (including heroin), and

defeat of the ADF mechanism. Even Purdue’s own funded research shows that half of OxyContin

abusers continued to abuse OxyContin orally after the reformulation rather than shift to other

drugs.

         262.   A 2013 article presented by Purdue employees based on review of data from poison

control centers concluded that ADF OxyContin can reduce abuse, but it ignored important negative


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findings. The study revealed that abuse merely shifted to other drugs and that, when the actual

incidence of harmful exposures was calculated, there were more harmful exposures to opioids after

the reformulation of OxyContin. In short, the article deceptively emphasized the advantages and

ignored the disadvantages of ADF OxyContin.

        263.    Websites and message boards used by drug abusers, such as bluelight.org and

reddit.com, report a variety of ways to tamper with OxyContin and Hysingla ER, including through

grinding, microwaving then freezing, or drinking soda or fruit juice in which a tablet is dissolved.

Purdue has been aware of these methods of abuse for more than a decade.

        264.    One-third of the patients in a 2015 study defeated the ADF mechanism and were

able to continue inhaling or injecting the drug. To the extent that the abuse of Purdue’s ADF

opioids was reduced, there was no meaningful reduction in opioid abuse overall, as many users

simply shifted to other opioids such as heroin.

        265.    In 2015, claiming a need to further assess its data, Purdue abruptly withdrew a

supplemental new drug application related to reformulated OxyContin one day before FDA staff

was to release its assessment of the application. The staff review preceded an FDA advisory

committee meeting related to new studies by Purdue “evaluating the misuse and/or abuse of

reformulated OxyContin” and whether those studies “have demonstrated that the reformulated

product has a meaningful impact on abuse.”84 Upon information and belief, Purdue never presented

the data to the FDA because the data would not have supported claims that OxyContin’s ADF

properties reduced abuse or misuse.




 Jill Hartzler Warner, Assoc. Comm’r for Special Med. Programs, Joint Meeting of the Drug Safety and Risk
84

Management Advisory Committee and the Anesthetic and Analgesic Drug Products Advisory Committee; Notice of
Meeting, 80(103) Fed. Reg. 30686, 30686 (May 29, 2015).


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       266.    Despite Purdue’s own evidence of abuse, and the lack of evidence regarding the

benefit of Purdue’s ADF opioids in reducing abuse, Dr. David Haddox, then the Vice President of

Health Policy for Purdue, falsely claimed in 2016 that the evidence does not show that Purdue’s

ADF opioids are being abused in large numbers. Purdue’s recent advertisements in national

newspapers also continues to claim its ADF opioids as evidence of its efforts to reduce opioid

abuse, continuing to mislead prescribers, patients, payors, and the public about the efficacy of its

actions.

                       ii.    Endo’s deceptive marketing of reformulated Opana ER

       267.    Opana ER was particularly likely to be tampered with and abused. That is because

Opana ER has lower “bioavailability” than other opioids, meaning that the active pharmaceutical

ingredient (the “API” or opioid) does not absorb into the bloodstream as rapidly as other opioids

when taken orally. Additionally, when swallowed whole, the extended-release mechanism remains

intact, so that only 10% of Opana ER’s API is released into the patient’s bloodstream relative to

injection; when it is taken intranasally, that rate increases to 43%. The larger gap between

bioavailability when consumed orally versus snorting or injection, the greater the incentive for

users to manipulate the drug’s means of administration.

       268.    In December 2011, Endo obtained approval for a new formulation of Opana ER

that added a hard coating that the company claimed made it crush-resistant.

       269.    Even prior to its approval, the FDA had advised Endo that it could not market the

new Opana ER as abuse-deterrent. The FDA found that such promotional claims “may provide a

false sense of security since the product may be chewed and ground for subsequent abuse.” In

other words, Opana ER was still crushable. Indeed, Endo’s own studies dating from 2009 and 2010

showed that Opana ER could be crushed and ground, and, in its correspondence with the FDA,



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Endo admitted that “[i]t has not been established that this new formulation of Opana ER is less

subject to misuse, abuse, diversion, overdose, or addiction.”

        270.     The FDA concerns in a May 7, 2012 letter to Endo responding to a February 2,

2012, “request … for comments on a launch Draft Professional Detail Aid … for Opana ER.” The

FDA’s May 2012 letter also includes a full two pages of comments regarding “Omissions of

material facts” that Endo left out of the promotional materials.

        271.     Endo consciously chose not to do any post-approval studies that might satisfy the

FDA. However, this lack of evidence did not deter Endo from marketing Opana ER as ADF while

its commercial window remained open.

        272.     Nonetheless, in August of 2012, Endo submitted a citizen petition asking the FDA

for permission to change its label to indicate that Opana ER was abuse-resistant, both in that it was

less able to be crushed and snorted and that it was resistant injection by syringe. Borrowing a page

from Purdue’s playbook, Endo announced it would withdraw original Opana ER from the market

and sought a determination that its decision was made for safety reasons (its lack of abuse-

deterrence), which would prevent generic copies of original Opana ER.

        273.     Endo then sued the FDA, seeking to force expedited consideration of its citizen

petition. The court filings confirmed Endo’s true motives: in a declaration submitted with its

lawsuit, Endo’s chief operating officer indicated that a generic version of Opana ER would

decrease the company’s revenue by up to $135 million per year. Endo also claimed that if the FDA

did not block generic competition, $125 million, which Endo spent on developing the reformulated

drug to “promote the public welfare” would be lost.85 The FDA responded that: “Endo's true


85
  Plf.’s Opp. to Defs.’ and Intervenor’s Motions to Dismiss and Plf’s Reply in Supp. of Motion for Prelim. Inj.
(“Endo Br.”), [ECF No. 23] Endo Pharms. Inc. v. U.S. Food and Drug Admin., et al.., No. 1:12-cv-01936, at 20
(D.D.C. Dec.14, 2012).



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interest in expedited FDA consideration stems from business concerns rather than protection of

the public health.”86

           274.     Despite Endo’s purported concern with public safety, not only did Endo continue

to distribute original, admittedly unsafe Opana ER for nine months after the reformulated version

became available, it declined to recall original Opana ER despite its dangers. In fact, Endo claimed

in September 2012 to be “proud” that “almost all remaining inventory” of the original Opana ER

had “been utilized.”87

           275.     In its citizen petition, Endo asserted that redesigned Opana ER had “safety

advantages.” Endo even relied on its rejected assertion that Opana was less crushable to argue that

it developed Opana ER for patient safety reasons and that the new formulation would help, for

example, “where children unintentionally chew the tablets prior to an accidental ingestion.”88

           276.     However, in rejecting the petition in a 2013 decision, the FDA found that “study

data show that the reformulated version's extended-release features can be compromised when

subjected to ... cutting, grinding, or chewing.” The FDA also determined that “reformulated Opana

ER” could also be “readily prepared for injections and more easily injected[.]” In fact, the FDA

warned that preliminary data—including in Endo’s own studies—suggested that a higher

percentage of reformulated Opana ER abuse is via injection than was the case with the original

formulation.

           277.     Meanwhile, in 2012, an internal memorandum to Endo account executives noted

that abuse of Opana ER had “increased significantly” in the wake of the purportedly abuse-


86
   Defs.’ Resp. to the Court’s Nov. 30, 2012 Order [ECF No. 9], Endo Pharms. Inc. v. U.S. Food and Drug Admin.,
et al.., No. 1:12-cv-01936, at 6 (D.D.C. Dec. 3, 2012).
87
 Id.; Endo News Release, (Sept. 6, 2012) [ECF No. 18-4],Endo Pharms Inc. v. U.S. Food and Drug Admin., et al.,
No. 1:12-cv-01936, (D.D.C. Dec. 9, 2012), at 81 [CHECK].
88
     Citizen Petition, FDA Docket 2012-8-0895, at 5.


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deterrent formulation. In February 2013, Endo received abuse data regarding Opana ER from

Inflexxion, Inc., which gathers information from substance abusers entering treatment and reviews

abuse-focused internet discussions, that confirmed continued abuse, particularly by injection.

        278.     In 2009, only 3% of Opana ER abuse was by intravenous means. Since the

reformulation, injection of Opana ER increased by more than 500%. Endo’s own data, presented

in 2014, found between October 2012 and March 2014, 64% of abusers of Opana ER did so by

injection, compared with 36% for the old formulation.89 The transition into injection of Opana ER

made the drug even less safe than the original formulation. Injection carries risks of HIV, Hepatitis

C, and, in reformulated Opana ER’s specific case, the blood-clotting disorder thrombotic

thrombocytopenic purpura (TTP), which can cause kidney failure.

        279.     Publicly, Endo sought to marginalize the problem. On a 2013 call with investors,

when asked about an outbreak of TTP in Tennessee from injecting Opana ER, Endo sought to limit

its import by assigning it to “a very, very distinct area of the country.”

        280.     Despite its knowledge that Opana ER was widely abused and injected, Endo

marketed the drug as tamper-resistant and abuse-deterrent. Upon information and belief, based on

the company’s detailing elsewhere, Endo sales representatives informed doctors that Opana ER

was abuse-deterrent, could not be tampered with, and was safe. In addition, sales representatives

did not disclose evidence that Opana was easier to abuse intravenously and, if pressed by

prescribers, claimed that while outlier patients might find a way to abuse the drug, most would be

protected.




89
  Theresa Cassidy, et al. The Changing Abuse Ecology: Implications for Evaluating the Abuse Pattern of Extended-
Release Oxymorphone and Abuse-Deterrent Opioid Formulations, Pain Week Abstract 2014,:
https://www.painweek.org/assets/documents/general/724-painweek2014acceptedabstracts.pdf.


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       281.    A review of national surveys of prescribers regarding their “take-aways” from

pharmaceutical detailing confirms that prescribers remember being told Opana ER was tamper-

resistant. Endo also tracked messages that doctors took from its in-person marketing. Among the

advantages of Opana ER, according to participating doctors, was its “low abuse potential.”

       282.    In its written materials, Endo marketed Opana ER as having been designed to be

crush-resistant, knowing that this would (falsely) imply that Opana ER actually was crush-resistant

and that this crush-resistant quality would make Opana ER less likely to be abused. For example,

a June 14, 2012 Endo press release announced “the completion of the company’s transition of its

Opana ER franchise to the new formulation designed to be crush resistant.”

       283.    The press release further stated that: “We firmly believe that the new formulation

of Opana ER, coupled with our long-term commitment to awareness and education around

appropriate use of opioids will benefit patients, physicians and payers. The press release described

the old formulation of Opana as subject to abuse and misuse, but failed to disclose the absence of

evidence that reformulated Opana was any better. In September 2012, another Endo press release

stressed that reformulated Opana ER employed “INTAC Technology” and continued to describe

the drug as “designed to be crush-resistant.”

       284.    Similarly, journal advertisements that appeared in April 2013 stated Opana ER was

“designed to be crush resistant.” A January 2013 article in Pain Medicine News, based in part on

an Endo press release, described Opana ER as “crush-resistant.” This article was posted on the

Pain Medicine News website, which was accessible to patients and prescribers.

       285.    In March 2017, because Opana ER could be “readily prepared for injection” and

was linked to outbreaks of HIV and TTP, an FDA advisory committee recommended that Opana




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be withdrawn from the market. The FDA adopted this recommendation on June 8, 2017.90 Endo

announced on July 6, 2017 that it would agree to stop marketing and selling Opana ER.91 However,

by this point, the damage had been done. Even then, Endo continued to insist, falsely, that it “has

taken significant steps over the years to combat misuse and abuse.”

                           iii.    Other Marketing Defendants’ misrepresentations regarding
                                   abuse deterrence

           286.    A guide for prescribers under Actavis’s copyright deceptively represents that

Kadian is more difficult to abuse and less addictive than other opioids. Kadian, however, was not

approved by the FDA as abuse deterrent, and, upon information and belief, Actavis had no studies

to suggest it was.

           287.    Mallinckrodt promoted both Exalgo (extended-release hydromorphone) and

Xartemis XR (oxycodone and acetaminophen) as specifically formulated to reduce abuse. For

example, Mallinckrodt’s promotional materials stated that “the physical properties of EXALGO

may make it difficult to extract the active ingredient using common forms of physical and chemical

tampering, including chewing, crushing and dissolving.”92 One member of the FDA’s Controlled

Substance Staff, however, noted in 2010 that hydromorphone has “a high abuse potential

comparable to oxycodone” and further stated that “we predict that Exalgo will have high levels of

abuse and diversion.”93



90
  Press Release, U.S. Food and Drug Admin., FDA Requests Removal of Opana ER for Risks Related to Abuse
(June 8, 2017) https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm
91
  Press Release, . Food & Drug Admin., FDA Requests Removal of Opana ER for Risks Related to Abuse (June 8,
2017), https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
92
  Press Release, Covidien, FDA Approves Mallinckrodt’s EXALGO® (hydromorphone HCl) Extended-Release
Tablets 32 mg (CII) for Opioid-Tolerant Patients with Moderate-to-Severe Chronic Pain (Aug. 27, 2012),
http://newsroom.medtronic.com/phoenix.zhtml?c=251324&p=irol-newsArticle&ID=2004159
93
     https://www.markey.senate.gov/imo/media/doc/2016-02-19-Markey-ADF-Opioid-timeline.pdf



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           288.    With respect to Xartemis XR, Mallinckrodt’s promotional materials stated that

“XARTEMIS XR has technology that requires abusers to exert additional effort to extract the

active ingredient from the large quantity of inactive and deterrent ingredients.”94 In anticipation of

Xartemis XR’s approval, Mallinckrodt added 150-200 sales representatives to promote it, and

CEO Mark Trudeau said the drug could generate “hundreds of millions in revenue.”95

           289.    While Marketing Defendants promote patented technology as the solution to opioid

abuse and addiction, none of their “technology” addresses the most common form of abuse—oral

ingestion—and their statements regarding abuse-deterrent formulations give the misleading

impression that these reformulated opioids can be prescribed safely.

           290.    In sum, each of the nine categories of misrepresentations discussed above regarding

the use of opioids to treat chronic pain was not supported by or was contrary to the scientific

evidence. In addition, the misrepresentations and omissions set forth above and elsewhere in this

Complaint are misleading and contrary to the Marketing Defendants’ products’ labels.

                   2.       The Marketing Defendants Disseminated Their Misleading Messages
                            About Opioids Through Multiple Channels

           291.    The Marketing Defendants’ false marketing campaign not only targeted the medical

community who had to treat chronic pain, but also patients who experience chronic pain.

           292.    The Marketing Defendants utilized various channels to carry out their marketing

scheme of targeting the medical community and patients with deceptive information about opioids:

(1) “Front Groups” with the appearance of independence from the Marketing Defendants; (2)

KOLs, that is, doctors who were paid by the Marketing Defendants to promote their pro-opioid



94
     Mallinckrodt, Responsible Use of Opioid Pain Medications (Mar. 7, 2014)
95
  Samantha Liss, Mallinckrodt Banks on New Painkillers for Sales, St. Louis Bus. J. (Dec. 30, 2013),
http://argentcapital.com/mallinckrodt-banks-on-new-painkillers-for-sales/


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message; (3) CME programs controlled and/or funded by the Marketing Defendants; (4) branded

advertising; (5) unbranded advertising; (6) publications; (7) direct, targeted communications with

prescribers by sales representatives or “detailers”; and (8) speakers bureaus and programs.

                          a.     The Marketing Defendants Directed Front Groups to
                                 Deceptively Promote Opioid Use

            293.   Patient advocacy groups and professional associations also became vehicles to

reach prescribers, patients, and policymakers. Marketing Defendants exerted influence and

effective control over the messaging by these groups by providing major funding directly to them,

as well as through KOLs who served on their boards. These “Front Groups” put out patient

education materials, treatment guidelines and CMEs that supported the use of opioids for chronic

pain, overstated their benefits, and understated their risks.96 Marketing Defendants funded these

Front Groups in order to ensure supportive messages from these seemingly neutral and credible

third parties, and their funding did, in fact, ensure such supportive messages—often at the expense

of their own constituencies.

            294.   “Patient advocacy organizations and professional societies like the Front Groups

‘play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public.’”97 “Even small organizations—

with ‘their large numbers and credibility with policymakers and the public’—have ‘extensive

influence in specific disease areas.’ Larger organizations with extensive funding and outreach

capabilities ‘likely have a substantial effect on policies relevant to their industry sponsors.’”98



96
  U.S. S. Homeland Sec. & Governmental Aff. Comm., Ranking Members’ Office, Fueling an Epidemic, (Feb. 12,
2018) https://www.hsdl.org/?abstract&did=808171 at 3, (hereinafter “Fueling an Epidemic”),.
97
     Id. at p2.
98
     Id.



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Indeed, the U.S. Senate’s report, Fueling an Epidemic: Exposing the Financial Ties Between

Opioid Manufacturers and Third Party Advocacy Groups,99 which arose out of a 2017 Senate

investigation and, drawing on disclosures from Purdue, Janssen, Insys, and other opioid

manufacturers, “provides the first comprehensive snapshot of the financial connections between

opioid manufacturers and advocacy groups and professional societies operating in the area of

opioids policy,”100 found that the Marketing Defendants made millions of dollars’ worth of

contributions to various Front Groups.101

             295.     The Marketing Defendants also “made substantial payments to individual group

executives, staff members, board members, and advisory board members” affiliated with the Front

Groups subject to the Senate Committee’s study.102

             296.     As the Senate Fueling an Epidemic Report found, the Front Groups “amplified or

issued messages that reinforce industry efforts to promote opioid prescription and use, including

guidelines and policies minimizing the risk of addiction and promoting opioids for chronic

pain.”103 They also “lobbied to change laws directed at curbing opioid use, strongly criticized

landmark CDC Guideline on opioid prescribing, and challenged legal efforts to hold physicians

and industry executives responsible for over prescription and misbranding.”104

             297.     The Marketing Defendants took an active role in guiding, reviewing, and approving

many of the false and misleading statements issued by the Front Groups, ensuring that Defendants

were consistently in control of their content. By funding, directing, editing, approving, and


99
     Id. at 3.
100
      Id. at 1.
101
      Id. at 3.
102
      Id. at10.
103
      Id. at 12-15.
104
      Id. at 12.


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distributing these materials, Defendants exercised control over and adopted their false and

deceptive messages and acted in concert with the Front Groups and through the Front groups, with

each other to deceptively promote the use of opioids for the treatment of chronic pain.

                      i.      American Pain Foundation

       298.    The most prominent of the Front Groups was the American Pain Foundation

(“APF”). While APF held itself out as an independent patient advocacy organization, in reality it

received 90% of its funding in 2010 from the drug and medical-device industry, including from

defendants Purdue, Endo, Janssen, and Cephalon. APF received more than $10 million in funding

from opioid manufacturers from 2007 until it closed its doors in May 2012. By 2011, APF was

entirely dependent on incoming grants from Defendants Purdue, Cephalon, Endo, and others to

avoid using its line of credit. Endo was APF’s largest donor and provided more than half of its $10

million in funding from 2007 to 2012.

       299.    For example, APF published a guide sponsored by Cephalon and Purdue titled

Treatment Options: A Guide for People Living with Pain, and distributed 17,200 copies of this

guide in one year alone, according to its 2007 annual report. This guide contains multiple

misrepresentations regarding opioid use, which are discussed below.

       300.    APF also developed the National Initiative on Pain Control (“NIPC”), which ran a

facially unaffiliated website, www.painknowledge.com. NIPC promoted itself as an education

initiative led by its expert leadership team, including purported experts in the pain management

field. NIPC published unaccredited prescriber education programs (accredited programs are

reviewed by a third party and must meet certain requirements of independence from

pharmaceutical companies), including a series of “dinner dialogues.” But it was Endo that

substantially controlled NIPC, by funding NIPC projects, developing, specifying, and reviewing

its content, and distributing NIPC materials. Endo’s control of NIPC was such that Endo listed it

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as one of its “professional education initiative[s]” in a plan Endo submitted to the FDA. Yet,

Endo’s involvement in NIPC was nowhere disclosed on the website pages describing NIPC or

www.painknowledge.org. Endo estimated it would reach 60,000 prescribers through NIPC.

       301.    APF was often called upon to provide “patient representatives” for the Marketing

Defendants’ promotional activities, including for Purdue’s “Partners Against Pain” and Janssen’s

“Let’s Talk Pain.” Although APF presented itself as a patient advocacy organization, it functioned

largely as an advocate for the interests of the Marketing Defendants, not patients. As Purdue told

APF in 2001, the basis of a grant to the organization was Purdue’s desire to strategically align its

investments in nonprofit organizations that share [its] business interests.

       302.    In practice, APF operated in close collaboration with Marketing Defendants,

submitting grant proposals seeking to fund activities and publications suggested by Marketing

Defendants and assisting in marketing projects for Marketing Defendants.

       303.    This alignment of interests was expressed most forcefully in the fact that Purdue

hired APF to provide consulting services on its marketing initiatives. Purdue and APF entered into

a “Master Consulting Services” Agreement on September 14, 2011. That agreement gave Purdue

substantial rights to control APF’s work related to a specific promotional project. Moreover, based

on the assignment of particular Purdue “contacts” for each project and APF’s periodic reporting

on their progress, the agreement enabled Purdue to be regularly aware of the misrepresentations

APF was disseminating regarding the use of opioids to treat chronic pain in connection with that

project. The agreement gave Purdue—but not APF—the right to end the project (and, thus, APF’s

funding) for any reason. Even for projects not produced during the terms of this Agreement, the

Agreement demonstrates APF’s lack of independence and willingness to harness itself to Purdue’s

control and commercial interests, which would have carried across all of APF’s work.



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       304.   APF’s Board of Directors was largely comprised of doctors who were on the

Marketing Defendants’ payrolls, either as consultants or speakers at medical events. The close

relationship between APF and the Marketing Defendants demonstrates APF’s clear lack of

independence, in its finances, management, and mission, and its willingness to allow Marketing

Defendants to control its activities and messages supports an inference that each Marketing

Defendant that worked with it was able to exercise editorial control over its publications—even

when Marketing Defendants’ messages contradicted APF’s internal conclusions. For example, a

roundtable convened by APF and funded by Endo also acknowledged the lack of evidence to

support chronic opioid therapy. APF’s formal summary of the meeting notes concluded that: “[An]

important barrier[] to appropriate opioid management [is] the lack of confirmatory data about the

long-term safety and efficacy of opioids in non-cancer chronic pain, amid cumulative clinical

evidence.”

       305.   In May 2012, the U.S. Senate Finance Committee began looking into APF to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. Within days of being targeted by the Senate investigation, APF’s board voted

to dissolve the organization “due to irreparable economic circumstances.” APF then “cease[d] to

exist, effective immediately.” Without support from Marketing Defendants, to whom APF could

no longer be helpful, APF was no longer financially viable.

                      ii.    American Academy of Pain Medicine and the American Pain
                             Society

       306.   The American Academy of Pain Medicine (“AAPM”) and the American Pain

Society (“APS”) are professional medical societies, each of which received substantial funding

from Defendants from 2009 to 2013. In 1997, AAPM issued a “consensus” statement that endorsed

opioids to treat chronic pain and claimed that the risk that patients would become addicted to


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opioids was low.105 The Chair of the committee that issued the statement, Dr. J. David Haddox,

was at the time a paid speaker for Purdue. The sole consultant to the committee was Dr. Russell

Portenoy, who was also a spokesperson for Purdue. The consensus statement, which also formed

the foundation of the 1998 Guidelines, was published on the AAPM’s website.

         307.    AAPM’s corporate council includes Purdue, Depomed, Teva and other

pharmaceutical companies. AAPM’s past presidents include Haddox (1998), Dr. Scott Fishman

(“Fishman”) (2005), Dr. Perry G. Fine (“Fine”) (2011) and Dr. Lynn R. Webster (“Webster”)

(2013), all of whose connections to the opioid manufacturers are well-documented as set forth

below.

         308.    Fishman, who also served as a KOL for Marketing Defendants, stated that he would

place the organization “at the forefront” of teaching that “the risks of addiction are . . . small and

can be managed.”106

         309.    AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per

year (on top of other funding) to participate. The benefits included allowing members to present

educational programs at off-site dinner symposia in connection with AAPM’s marquee event – its

annual meeting held in Palm Springs, California, or other resort locations.

         310.    AAPM describes the annual event as an “exclusive venue” for offering CMEs to

doctors. Membership in the corporate relations council also allows drug company executives and

marketing staff to meet with AAPM executive committee members in small settings. Defendants



105
   Consensus Statement by the Am. Acad. of Pain Med. & the Am. Pain Soc’y, The Use of Opioids for the
Treatment of Chronic Pain, APS & AAPM (1997). http://www.stgeorgeutah.com/wp-
content/uploads/2016/05/OPIOIDES.DOLORCRONICO.pdf (August 18, 2017).
106
   Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Med., Chief of
the Div. of Pain Med., Univ. of Cal., Davis (2005), http://www.medscape.org/viewarticle/500829.


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Endo, Purdue, and Cephalon were members of the council and presented deceptive programs to

doctors who attended this annual event. The conferences sponsored by AAPM heavily emphasized

CME sessions on opioids – 37 out of roughly 40 at one conference alone.

        311.   AAPM’s staff understood that they and their industry funders were engaged in a

common task. Defendants were able to influence AAPM through both their significant and regular

funding and the leadership of pro-opioid KOLs within the organization.

        312.   AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”) AAPM,

with the assistance, prompting, involvement, and funding of Marketing Defendants, issued the

treatment guidelines discussed herein, and continued to recommend the use of opioids to treat

chronic pain. Fourteen of the 21 panel members who drafted the 2009 Guidelines, including KOL

Dr. Fine, received support from Defendants Janssen, Cephalon, Endo, and Purdue. Of these

individuals, six received support from Purdue, eight from Teva, nine from Janssen, and nine from

Endo.

        313.   One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan

State University and founder of the Michigan Headache & Neurological Institute, resigned from

the panel because of his concerns that the Guidelines were influenced by contributions that drug

companies, including Purdue, Endo, Janssen, and Teva, made to the sponsoring organizations and

committee members.

        314.   Dr. Gilbert Fanciullo, now retired as a professor at Dartmouth College’s Geisel

School of Medicine, who also served on the AAPM/APS Guidelines panel, has since described

them as “skewed” by drug companies and “biased in many important respects,” including the high

presumptive maximum dose, lack of suggested mandatory urine toxicology testing, and claims of

a low risk of addiction.



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           315.     The 2009 Guidelines have been a particularly effective channel of deception. They

have influenced not only treating physicians, but also the scientific literature on opioids; they were

reprinted in the Journal of Pain, have been cited hundreds of times in academic literature, were

disseminated during the relevant time period, and were and are available online. Treatment

guidelines are especially influential with primary care physicians and family doctors to whom

Marketing Defendants promoted opioids, whose lack of specialized training in pain management

and opioids makes them more reliant on, and less able to evaluate, these guidelines. For that reason,

the CDC has recognized that treatment guidelines can “change prescribing practices.”107

           316.     The 2009 Guidelines are relied upon by doctors, especially general practitioners

and family doctors who have no specific training in treating chronic pain.

           317.     The Marketing Defendants widely cited and promoted the 2009 Guidelines without

disclosing the lack of evidence to support their conclusions, their involvement in the development

of the Guidelines or their financial backing of the authors of these Guidelines. For example, a

speaker presentation prepared by Endo in 2009 titled The Role of Opana ER in the Management

of Moderate to Severe Chronic Pain relies on the AAPM/APS Guidelines while omitting their

disclaimer regarding the lack of evidence for recommending the use of opioids for chronic pain.

                             iii.    FSMB

           318.     The Federation of State Medical Boards (“FSMB”) is a trade organization

representing the various state medical boards in the United States. The state boards that comprise

the FSMB membership have the power to license doctors, investigate complaints, and discipline

physicians.




107
      CDC Guideline, supra note 35, at 2.


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       319.    The FSMB finances opioid- and pain-specific programs through grants from

Defendants.

       320.    Since 1998, the FSMB has been developing treatment guidelines for the use of

opioids for the treatment of pain. The 1998 version, Model Guidelines for the Use of Controlled

Substances for the Treatment of Pain (“1998 Guidelines”) was produced “in collaboration with

pharmaceutical companies.” The 1998 Guidelines that the pharmaceutical companies helped

author taught not that opioids could be appropriate in only limited cases after other treatments had

failed, but that opioids were “essential” for treatment of chronic pain, including as a first

prescription option.

       321.    Both a 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible

Opioid Prescribing, made the same claims as did the 1998 Guidelines. These guidelines were

posted online and were available to and intended to reach physicians nationwide, including in

Michigan.

       322.    FSMB’s 2007 publication Responsible Opioid Prescribing was backed largely by

drug manufacturers, including Purdue, Endo and Cephalon. The publication also received support

from the American Pain Foundation and the American Academy of Pain Medicine. The

publication was written by Dr. Fishman, and Dr. Fine served on the Board of Advisors. In all,

163,131 copies of Responsible Opioid Prescribing were distributed by state medical boards (and

through the boards, to practicing doctors). The FSMB website describes the book as “the leading

continuing medical education (CME) activity for prescribers of opioid medications.” This

publication asserted that opioid therapy to relieve pain and improve function is a legitimate

medical practice for acute and chronic pain of both cancer and non-cancer origins; that pain is




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under-treated, and that patients should not be denied opioid medications except in light of clear

evidence that such medications are harmful to the patient.108

           323.     The Marketing Defendants relied on the 1998 Guidelines to convey the alarming

message that “under-treatment of pain” would result in official discipline, but no discipline would

result if opioids were prescribed as part of an ongoing patient relationship and prescription

decisions were documented. FSMB turned doctors’ fear of discipline on its head: doctors, who

used to believe that they would be disciplined if their patients became addicted to opioids, were

taught instead that they would be punished if they failed to prescribe opioids to their patients with

chronic pain.

                            iv.      The Alliance for Patient Access

           324.     Founded in 2006, the Alliance for Patient Access (“APA”) is a self-described

patient advocacy and health professional organization that styles itself as “a national network of

physicians dedicated to ensuring patient access to approved therapies and appropriate clinical

care.”109 It is run by Woodberry Associates LLC, a lobbying firm that was also established in

2006.110 As of June 2017, the APA listed 30 “Associate Members and Financial Supporters.” The

list includes Johnson & Johnson, Endo, Mallinckrodt, Purdue and Cephalon.




108
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide 8-9 (2007).
109
   About AfPA, The All. for Patient Access, http://allianceforpatientaccess.org/ about-afpa/ (last visited Apr. 25,
2018). References herein to APA include two affiliated groups: the Global Alliance for Patient Access and the
Institute for Patient Access.
110
    Mary Chris Jaklevic, Non-Profit Alliance for Patient Access Uses Journalists and Politicians to Push Big
Pharma’s Agenda, Health News Review (Oct. 2, 2017), https://www.healthnewsreview.org/2017/10/non-profit-
alliance-patient-access-uses-journalists-politicians-push-big-pharmas-agenda/ (hereinafter “Jaklevic, Non-Profit
Alliance for Patient Access”).



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         325.    APA’s board members have also directly received substantial funding from

pharmaceutical companies.111 For instance, board vice president Dr. Srinivas Nalamachu

(“Nalamachu”), who practices in Kansas, received more than $800,000 from 2013 through 2015

from pharmaceutical companies—nearly all of it from manufacturers of opioids or drugs that treat

opioids’ side effects, including from Defendants Endo, Insys, Purdue and Cephalon. Nalamachu’s

clinic was raided by FBI agents in connection with an investigation of Insys and its payment of

kickbacks to physicians who prescribed Subsys.112 Other board members include Dr. Robert A.

Yapundich from North Carolina, who received $215,000 from 2013 through 2015 from

pharmaceutical companies, including payments by Defendants Cephalon and Mallinckrodt;

Dr. Jack D. Schim from California, who received more than $240,000 between 2013 and 2015

from pharmaceutical companies, including Defendants Endo, Mallinckrodt and Cephalon;

Dr. Howard Hoffberg from Maryland, who received $153,000 between 2013 and 2015 from

pharmaceutical companies, including Defendants Endo, Purdue, Insys, Mallinckrodt and

Cephalon; and Dr. Robin K. Dore from California, who received $700,000 between 2013 and 2015

from pharmaceutical companies.

         326.    Among its activities, APA issued a “white paper” titled “Prescription Pain

Medication: Preserving Patient Access While Curbing Abuse.”113 Among other things, the white

paper criticizes prescription monitoring programs, purporting to express concern that they are

burdensome, not user friendly, and of questionable efficacy:


  All information concerning pharmaceutical company payments to doctors in this paragraph is from ProPublica’s
111

Dollars for Docs database, https://projects.propublica.org/docdollars/.
112
   Andy Marso, FBI Seizes Records of Overland Park Pain Doctor Tied to Insys, Kansas City Star (July 20, 2017),
http://www.kansascity.com/news/business/health-care/article162569383.html.
113
  Pain Therapy Access Physicians Working Group, Prescription Pain Medication: Preserving Patient Access while
Curbing Abuse, (Dec. 2013), http://1yh21u3cjptv3xjder1dco9mx5s.wpengine.netdna-cdn.com/wp-
content/uploads/2013/12/PT_White-Paper_Finala.pdf.

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                    Prescription monitoring programs that are difficult to use and
                    cumbersome can place substantial burdens on physicians and their
                    staff, ultimately leading many to stop prescribing pain medications
                    altogether. This forces patients to seek pain relief medications
                    elsewhere, which may be much less convenient and familiar and
                    may even be dangerous or illegal.

                    *      *        *

                    In some states, physicians who fail to consult prescription
                    monitoring databases before prescribing pain medications for their
                    patients are subject to fines; those who repeatedly fail to consult the
                    databases face loss of their professional licensure. Such penalties
                    seem excessive and may inadvertently target older physicians in
                    rural areas who may not be facile with computers and may not have
                    the requisite office staff. Moreover, threatening and fining
                    physicians in an attempt to induce compliance with prescription
                    monitoring programs represents a system based on punishment as
                    opposed to incentives. . . .

                    We cannot merely assume that these programs will reduce
                    prescription pain medication use and abuse.114

            327.    The white paper also purports to express concern about policies that have been

enacted in response to the prevalence of pill mills:

                    Although well intentioned, many of the policies designed to address
                    this problem have made it difficult for legitimate pain management
                    centers to operate. For instance, in some states, [pain management
                    centers] must be owned by physicians or professional corporations,
                    must have a Board certified medical director, may need to pay for
                    annual inspections, and are subject to increased record keeping and
                    reporting requirements. . . . [I]t is not even certain that the
                    regulations are helping prevent abuses.115

            328.    In addition, in an echo of earlier industry efforts to push back against what they

termed “opiophobia,” the white paper laments the stigma associated with prescribing and taking

pain medication:

                    Both pain patients and physicians can face negative perceptions and
                    outright stigma. When patients with chronic pain can’t get their
114
      Id. at 4-5
115
      Id. at 5-6.


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                    prescriptions for pain medication filled at a pharmacy, they may feel
                    like they are doing something wrong – or even criminal. . . .
                    Physicians can face similar stigma from peers. Physicians in non-
                    pain specialty areas often look down on those who specialize in pain
                    management – a situation fueled by the numerous regulations and
                    fines that surround prescription pain medications.116

            329.    In conclusion, the white paper states that “[p]rescription pain medications, and

specifically the opioids, can provide substantial relief for people who are recovering from surgery,

afflicted by chronic painful diseases, or experiencing pain associated with other conditions that

does not adequately respond to over-the-counter drugs.”117

            330.    The APA also issues “Patient Access Champion” financial awards to members of

Congress, including 50 such awards in 2015. The awards were funded by a $7.8 million donation

from unnamed donors. While the awards are ostensibly given for protecting patients’ access to

Medicare, and are thus touted by their recipients as demonstrating a commitment to protecting the

rights of senior citizens and the middle class, they appear to be given to provide cover to and

reward members of Congress who have supported the APA’s agenda.118

            331.    The APA also lobbies Congress directly. In 2015, the APA signed onto a letter

supporting legislation proposed to limit the ability of the DEA to police pill mills by enforcing the

“suspicious orders” provision of the Comprehensive Drug Abuse Prevention and Control Act of

1970, 21 U.S.C. §801 et seq. (“CSA” or “Controlled Substances Act”). The AAPM is also a

signatory to this letter. An internal U.S. Department of Justice (“DOJ”) memo stated that the

proposed bill “‘could actually result in increased diversion, abuse, and public health and safety




116
      Id. at 6.
117
      Id. at 7.
118
      Jaklevic, Non-Profit Alliance for Patient Access, supra note 139



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consequences’”119 and, according to DEA chief administrative law judge John J. Mulrooney

(“Mulrooney”), the law would make it “all but logically impossible” to prosecute manufacturers

and distributors, like the defendants here, in the federal courts.120 The bill passed both houses of

Congress and was signed into law in 2016.

                             v.       The U.S. Pain Foundation (“USPF”)

           332.     The USPF was another Front Group with systematic connections and interpersonal

relationships with the Marketing Defendants. The USPF was one of the largest recipients of

contributions from the Marketing Defendants, collecting nearly $3 million in payments between

2012 and 2015 alone.121 The USPF was also a critical component of the Marketing Defendants’

lobbying efforts to reduce the limits on over-prescription. The U.S. Pain Foundation advertises its

ties to the Marketing Defendants, listing opioid manufacturers like Pfizer, Teva, Depomed, Endo,

Purdue, McNeil (i.e. Janssen), and Mallinckrodt as “Platinum,” “Gold,” and “Basic” corporate

members.122 Industry Front Groups like the American Academy of Pain Management, the

American Academy of Pain Medicine, the American Pain Society, and PhRMA are also members

of varying levels in the USPF.




119
   Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS News (Oct. 17, 2017),
https://www.cbsnews.com/news/ex-dea-agent-opioid-crisis-fueled-by-drug-industry-and-congress/ (hereinafter,
“Whitaker, Opioid Crisis Fueled by Drug Industry”).
120
   John J. Mulrooney, II & Katherine E. Legel, Current Navigation Points in Drug Diversion Law: Hidden Rocks in
Shallow, Murky, Drug-Infested Waters, 101 Marquette L. Rev. ,15 (2017),
https://www.documentcloud.org/documents/4108121-Marquette-Law-Review-Mulrooney-Legel.html.
121
      Fueling an Epidemic, supra note 132 at 4.
122
  Id. at 12; see also Transparency, U.S. Pain Foundation, https://uspainfoundation.org/transparency/ (last visited
Mar. 9, 2018).



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                            vi.      American Geriatrics Society (“AGS”)

           333.     The AGS was another Front Group with systematic connections and interpersonal

relationships with the Marketing Defendants. The AGS was a large recipient of contributions from

the Marketing Defendants, including Endo, Purdue and Janssen. AGS contracted with Purdue,

Endo and Janssen to disseminate guidelines regarding the use of opioids for chronic pain in 2002

(The Management of Persistent Pain in Older Persons, hereinafter “2002 AGS Guidelines”) and

2009 (Pharmacological Management of Persistent Pain in Older Persons,123 hereinafter “2009

AGS Guidelines”). According to news reports, AGS has received at least $344,000 in funding

from opioid manufacturers since 2009.124 AGS’s complicity in the common purpose with the

Marketing Defendants is evidenced by the fact that AGS internal discussions in August 2009

reveal that it did not want to receive-up front funding from drug companies, which would suggest

drug company influence, but would instead accept commercial support to disseminate pro-opioid

publications.

           334.     The 2009 AGS Guidelines recommended that “[a]ll patients with moderate to

severe pain . . . should be considered for opioid therapy.” The panel made “strong

recommendations” in this regard despite “low quality of evidence” and concluded that the risk of

addiction is manageable for patients, even with a prior history of drug abuse.125 These Guidelines

further recommended that “the risks [of addiction] are exceedingly low in older patients with no

current or past history of substance abuse.” These recommendations are not supported by any study




123
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342
( 2009), https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf (last accessed
on March 9, 2018).
124
  John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly,” Milwaukee J. Sentinel (May 30,
2012.)
125
      2009 AGS Guidelines, supra note 159, at 1342.


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or other reliable scientific evidence. Nevertheless, they have been cited as many as 1,833 times in

Google Scholar (which allows users to search scholarly publications that would have been relied

on by researchers and prescribers) since their 2009 publication and as recently as this year.

       335.    Representatives of the Marketing Defendants, often at informal meetings at

conferences, suggested activities, lobbying efforts and publications for AGS to pursue. AGS then

submitted grant proposals seeking to fund these activities and publications, knowing that drug

companies would support projects conceived as a result of these communications.

       336.    Members of AGS Board of Directors were doctors who were on the Marketing

Defendants’ payrolls, either as consultants or speakers at medical events. As described below,

many of the KOLs also served in leadership positions within the AGS.

                       b.     The Marketing Defendants Paid Key Opinion Leaders to
                              Deceptively Promote Opioid Use

       337.    To falsely promote their opioids, the Marketing Defendants paid and cultivated a

select circle of doctors who were chosen and sponsored by the Marketing Defendants for their

supportive messages. As set forth below, pro-opioid doctors have been at the hub of the Marketing

Defendants’ well-funded, pervasive marketing scheme since its inception and were used to create

the grave misperception that science and respected medical professionals favored the broader use

of opioids. These doctors include Dr. Russell Portenoy, Dr. Lynn Webster, Dr. Perry Fine, and Dr.

Scott Fishman, as set forth below.

       338.    Although these KOLs were funded by the Marketing Defendants, the KOLs were

used extensively to present the appearance that unbiased and reliable medical research supporting

the broad use of opioid therapy for chronic pain had been conducted and was being reported on by

independent medical professionals.




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       339.    As the Marketing Defendants’ false marketing scheme picked up steam, these pro-

opioid KOLs wrote, consulted on, edited, and lent their names to books and articles, and gave

speeches and CMEs supportive of opioid therapy for chronic pain. They served on committees that

developed treatment guidelines that strongly encouraged the use of opioids to treat chronic pain

and they were placed on boards of pro-opioid advocacy groups and professional societies that

develop, select, and present CMEs.

       340.    Through use of their KOLs and strategic placement of these KOLs throughout

every critical distribution channel of information within the medical community, the Marketing

Defendants were able to exert control of each of these modalities through which doctors receive

their information.

       341.    In return for their pro-opioid advocacy, the Marketing Defendants’ KOLs received

money, prestige, recognition, research funding, and avenues to publish. For example, Dr. Webster

has received funding from Endo, Purdue, and Cephalon. Dr. Fine has received funding from

Janssen, Cephalon, Endo, and Purdue.

       342.    The Marketing Defendants carefully vetted their KOLs to ensure that they were

likely to remain on-message and supportive of the Marketing Defendants’ agenda. The Marketing

Defendants also kept close tabs on the content of the materials published by these KOLs. And, of

course, the Marketing Defendants kept these KOLs well-funded to enable them to push the

Marketing Defendants’ deceptive message out to the medical community.

       343.    Once the Marketing Defendants identified and funded KOLs and those KOLs began

to publish “scientific” papers supporting the Marketing Defendants’ false position that opioids

were safe and effective for treatment of chronic pain, the Marketing Defendants poured significant

funds and resources into a marketing machine that widely cited and promoted their KOLs and



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studies or articles by their KOLs to drive prescription of opioids for chronic pain. The Marketing

Defendants cited to, distributed, and marketed these studies and articles by their KOLs as if they

were independent medical literature so that it would be well-received by the medical community.

By contrast, the Marketing Defendants did not support, acknowledge, or disseminate the truly

independent publications of doctors critical of the use of chronic opioid therapy.

         344.    In their promotion of the use of opioids to treat chronic pain, the Marketing

Defendants’ KOLs knew that their statements were false and misleading, or they recklessly

disregarded the truth in doing so, but they continued to publish their misstatements to benefit

themselves and the Marketing Defendants.

                          i.      Dr. Russell Portenoy

         345.    In 1986, Dr. Russell Portenoy, who later became Chairman of the Department of

Pain Medicine and Palliative Care at Beth Israel Medical Center in New York while at the same

time serving as a top spokesperson for drug companies, published an article reporting that “[f]ew

substantial gains in employment or social function could be attributed to the institution of opioid

therapy.”126

         346.    Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the

dangers of long-term use of opioids:

                 The traditional approach to chronic non-malignant pain does not
                 accept the long-term administration of opioid drugs. This
                 perspective has been justified by the perceived likelihood of
                 tolerance, which would attenuate any beneficial effects over time,
                 and the potential for side effects, worsening disability, and
                 addiction. According to conventional thinking, the initial response
                 to an opioid drug may appear favorable, with partial analgesia and
                 salutary mood changes, but adverse effects inevitably occur
                 thereafter. It is assumed that the motivation to improve function will

126
   R. Portenoy & K. Foley, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of 38 cases, 25(2)
Pain 171 (1986).


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                    cease as mental clouding occurs and the belief takes hold that the
                    drug can, by itself, return the patient to a normal life. Serious
                    management problems are anticipated, including difficulty in
                    discontinuing a problematic therapy and the development of drug
                    seeking behavior induced by the desire to maintain analgesic effects,
                    avoid withdrawal, and perpetuate reinforcing psychic effects. There
                    is an implicit assumption that little separates these outcomes from
                    the highly aberrant behaviors associated with addiction.127

According to Dr. Portenoy, the foregoing problems could constitute “compelling reasons to reject

long-term opioid administration as a therapeutic strategy in all but the most desperate cases of

chronic nonmalignant pain.”128

            347.    Despite having taken this position on long-term opioid treatment, Dr. Portenoy

ended up becoming a spokesperson for Purdue and other Marketing Defendants, promoting the

use of prescription opioids and minimizing their risks. A respected leader in the field of pain

treatment, Dr. Portenoy was highly influential. Dr. Andrew Kolodny, cofounder of Physicians for

Responsible Opioid Prescribing, described him “lecturing around the country as a religious-like

figure. The megaphone for Portenoy is Purdue, which flies in people to resorts to hear him speak.

It was a compelling message: ‘Docs have been letting patients suffer; nobody really gets addicted;

it’s been studied.’”129

            348.    As one organizer of CME seminars who worked with Portenoy and Purdue pointed

out, “had Portenoy not had Purdue’s money behind him, he would have published some papers,

made some speeches, and his influence would have been minor. With Purdue’s millions behind

him, his message, which dovetailed with their marketing plans, was hugely magnified.”130



127
  Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress in Pain Res. &
Mgmt., 247-287 (H.L. Fields and J.C. Liebeskind eds., 1994) (emphasis added).
128
      Id.
129
      Sam Quinones, Dreamland: The True Tale of America’s Opiate Epidemic 314 (Bloomsbury Press 2015).
130
      Id. at 136.


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            349.    Dr. Portenoy was also a critical component of the Marketing Defendants’ control

over their Front Groups. Specifically, Dr. Portenoy sat as a Director on the board of the APF. He

was also the President of the APS.

            350.    In recent years, some of the Marketing Defendants’ KOLs have conceded that many

of their past claims in support of opioid use lacked evidence or support in the scientific literature.131

Dr. Portenoy has now admitted that he minimized the risks of opioids, and that he “gave

innumerable lectures in the late 1980s and ‘90s about addiction that weren’t true.” 132 He mused,

“Did I teach about pain management, specifically about opioid therapy, in a way that reflects

misinformation? Well, against the standards of 2012, I guess I did . . .”133

            351.    In a 2011 interview released by Physicians for Responsible Opioid Prescribing,

Portenoy stated that his earlier work purposefully relied on evidence that was not “real” and left

real evidence behind:

                    I gave so many lectures to primary care audiences in which the
                    Porter and Jick article was just one piece of data that I would then
                    cite, and I would cite six, seven, maybe ten different avenues of
                    thought or avenues of evidence, none of which represented real
                    evidence, and yet what I was trying to do was to create a narrative
                    so that the primary care audience would look at this information in
                    [total] and feel more comfortable about opioids in a way they hadn’t
                    before. In essence this was education to destigmatize [opioids], and




131
      See, e.g., John Fauber, Painkiller Boom Fueled by Networking, Journal Sentinel (Feb. 18, 2012),
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-
dp3p2rn-139609053.html/ (reporting that a key Endo KOL acknowledged that opioid marketing went too far).
132
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall St. J. (Last updated Dec.
17, 2012, 11:36am),
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
133
      Id.



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                    because the primary goal was to destigmatize, we often left evidence
                    behind.134

           352.     Several years earlier, when interviewed by journalist Barry Meier for his 2003

book, Pain Killer, Dr. Portenoy was more direct: “It was pseudoscience. I guess I’m going to have

always to live with that one.”135

                             ii.     Dr. Lynn Webster

           353.     Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of the Lifetree Clinical Research & Pain Clinic in Salt Lake City, Utah. Dr. Webster was President

in 2013 and is a current board member of AAPM, a Front Group that ardently supports chronic

opioid therapy. He is a Senior Editor of Pain Medicine, the same journal that published Endo’s

special advertising supplements touting Opana ER. Dr. Webster was the author of numerous CMEs

sponsored by Cephalon, Endo, and Purdue. At the same time, Dr. Webster was receiving

significant funding from Defendants (including nearly $2 million from Cephalon).

           354.     Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-

minute screening tool relying on patient self-reports that purportedly allows doctors to manage the

risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

patients likely to become addicted is an important tool in giving doctors confidence to prescribe

opioids long-term, and for this reason, references to screening appear in various industry-supported

guidelines. Versions of Dr. Webster’s Opioid Risk Tool (“ORT”) appear on, or are linked to,

websites run by Endo, Janssen, and Purdue. In 2011, Dr. Webster presented, via webinar, a

program sponsored by Purdue titled, Managing Patient’s Opioid Use: Balancing the Need and the



134
   Harrison Jacobs, This 1-Paragraph Letter May Have Launched the Opioid Epidemic,; AOL (May 26, 2016, 1:39
PM) Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare, YouTube (Oct. 30, 2011),
https://www.youtube.com/watch?v=DgyuBWN9D4w&feature=youtu.be.
135
      Meier, supra note18, at 277.


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Risk. Dr. Webster recommended use of risk screening tools, urine testing, and patient agreements

to prevent “overuse of prescriptions” and “overdose deaths.” This webinar was available to and

was intended to reach doctors in Michigan.

       355.    Dr. Webster was himself tied to numerous overdose deaths. He and the Lifetree

Clinic were investigated by the DEA for overprescribing opioids after twenty patients died from

overdoses. In keeping with the Marketing Defendants’ promotional messages, Dr. Webster

apparently believed the solution to patients’ tolerance or addictive behaviors was more opioids: he

prescribed staggering quantities of pills.

       356.    At an AAPM annual meeting held February 22 through 25, 2006, Cephalon

sponsored a presentation by Webster and others titled, “Open-label study of fentanyl effervescent

buccal tablets in patients with chronic pain and breakthrough pain: Interim safety results.” The

presentation’s agenda description states: “Most patients with chronic pain experience episodes of

breakthrough pain, yet no currently available pharmacologic agent is ideal for its treatment.” The

presentation purports to cover a study analyzing the safety of a new form of fentanyl buccal tablets

in the chronic pain setting and promises to show the “[i]nterim results of this study suggest that

FEBT is safe and well-tolerated in patients with chronic pain and BTP.” This CME effectively

amounted to off-label promotion of Cephalon’s opioids—the only drugs in this category—for

chronic pain, even though they were approved only for cancer pain.

       357.    Cephalon sponsored a CME written by Dr. Webster, Optimizing Opioid Treatment

for Breakthrough Pain, offered by Medscape, LLC from September 28, 2007 through December

15, 2008. The CME taught that non-opioid analgesics and combination opioids containing non-

opioids such as aspirin and acetaminophen are less effective at treating breakthrough pain because

of dose limitations on the non-opioid component.



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                          iii.     Dr. Perry Fine

         358.    Dr. Perry Fine’s ties to the Marketing Defendants have been well documented. He

has authored articles and testified in court cases and before state and federal committees, and he,

too, has argued against legislation restricting high-dose opioid prescription for non-cancer patients.

He has served on Purdue’s advisory board, provided medical legal consulting for Janssen, and

participated in CME activities for Endo, along with serving in these capacities for several other

drug companies. He co-chaired the APS-AAPM Opioid Guideline Panel, served as treasurer of the

AAPM from 2007 to 2010 and as president of that group from 2011 to 2013, and was also on the

board of directors of APF.136

         359.    Multiple videos feature Fine delivering educational talks about prescription

opioids. He even testified at trial that the 1,500 pills a month prescribed to celebrity Anna Nicole

Smith for pain did not make her an addict before her death.

         360.    He has also acknowledged having failed to disclose numerous conflicts of interest.

For example, Dr. Fine failed to fully disclose payments received as required by his employer, the

University of Utah—telling the university that he had received under $5,000 in 2010 from Johnson

& Johnson for providing “educational” services, but Johnson & Johnson’s website states that the

company paid him $32,017 for consulting, promotional talks, meals and travel that year.137

         361.    Dr. Fine and Dr. Portenoy co-wrote A Clinical Guide to Opioid Analgesia, in which

they downplayed the risks of opioid treatment, such as respiratory depression and addiction:



136
   Scott M. Fishman, , Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion, 306
(13) JAMA 1445 (Sept. 20, 2011), https://jamanetwork.com/journals/jama/article-
abstract/1104464?redirect=true.(hereinafter, “Fishman”).
137
   Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug Industry, ProPublica
(Dec. 23, 2011, 9:14 AM), https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-
industry (hereinafter, “Weber”).



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                    At clinically appropriate doses, . . . respiratory rate typically does
                    not decline. Tolerance to the respiratory effects usually develops
                    quickly, and doses can be steadily increased without risk.

                    Overall, the literature provides evidence that the outcomes of drug
                    abuse and addiction are rare among patients who receive opioids for
                    a short period (i.e., for acute pain) and among those with no history
                    of abuse who receive long-term therapy for medical indications.138

            362.    In November 2010, Dr. Fine and others published an article presenting the results

of another Cephalon-sponsored study titled “Long-Term Safety and Tolerability of Fentanyl

Buccal Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic

Pain: An 18-Month Study.”139 In that article, Dr. Fine explained that the 18-month “open-label”

study “assessed the safety and tolerability of FBT [Fentora] for the [long-term] treatment of BTP

in a large cohort . . . of opioid-tolerant patients receiving around-the-clock . . . opioids for

noncancer pain.” The article acknowledged that: (a) “[t]here has been a steady increase in the use

of opioids for the management of chronic noncancer pain over the past two decades”; (b) the

“widespread acceptance” had led to the publishing of practice guidelines “to provide evidence-

and consensus-based recommendations for the optimal use of opioids in the management of

chronic pain”; and (c) those guidelines lacked “data assessing the long-term benefits and harms of

opioid therapy for chronic pain.”140

            363.    The article concluded: “[T]he safety and tolerability profile of FBT in this study

was generally typical of a potent opioid. The [adverse events] observed were, in most cases,




138
  Perry G. Fine, & Russell K. Portenoy, A Clinical Guide to Opioid Analgesia 20 and 34, McGraw-Hill
Companies, 2004, at 20, 34http://www.thblack.com/links/RSD/OpioidHandbook.pdf.
139
   Perry G. Fine, et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the Treatment of
Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month Study, 40(5) J. Pain & Symptom
Mgmt. 747-60 (Nov. 2010).
140
      Id. at 748.



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predictable, manageable, and tolerable.” They also conclude that the number of abuse-related

events was “small.”141

            364.    Multiple videos feature Dr. Fine delivering educational talks about the drugs. In

one video from 2011 titled “Optimizing Opioid Therapy,” he sets forth a “Guideline for Chronic

Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another) not only for

cancer patients, but for non-cancer patients, and suggests it may take four or five switches over a

person’s “lifetime” to manage pain.142 He states the “goal is to improve effectiveness which is

different from efficacy and safety.” Rather, for chronic pain patients, effectiveness “is a balance

of therapeutic good and adverse events over the course of years.” The entire program assumes that

opioids are appropriate treatment over a “protracted period of time” and even over a patient’s entire

“lifetime.” He even suggests that opioids can be used to treat sleep apnea. He further states that

the associated risks of addiction and abuse can be managed by doctors and evaluated with “tools,”

but leaves that for “a whole other lecture.”143

                           iv.     Dr. Scott Fishman

            365.    Dr. Scott Fishman is a physician whose ties to the opioid drug industry are legion.

He has served as an APF board member and as president of the AAPM, and has participated yearly

in numerous CME activities for which he received “market rate honoraria.” As discussed below,

he has authored publications, including the seminal guides on opioid prescribing, which were

funded by the Marketing Defendants. He has also worked to oppose legislation requiring doctors

and others to consult pain specialists before prescribing high doses of opioids to non-cancer


141
      Id. at 759.
142
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
143
      Id.



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patients. He has himself acknowledged his failure to disclose all potential conflicts of interest in a

letter in the Journal of the American Medical Association titled “Incomplete Financial Disclosures

in a Letter on Reducing Opioid Abuse and Diversion.”144

            366.    Dr. Fishman authored a physician’s guide on the use of opioids to treat chronic pain

titled “Responsible Opioid Prescribing,” in 2007 which promoted the notion that long-term opioid

treatment was a viable and safe option for treating chronic pain.

            367.    In 2012, Dr. Fishman updated the guide and continued emphasizing the

“catastrophic” “under-treatment” of pain and the “crisis” such under-treatment created:

                    Given the magnitude of the problems related to opioid analgesics, it
                    can be tempting to resort to draconian solutions: clinicians may
                    simply stop prescribing opioids, or legislation intended to improve
                    pharmacovigilance may inadvertently curtail patient access to care.
                    As we work to reduce diversion and misuse of prescription opioids,
                    it’s critical to remember that the problem of unrelieved pain remains
                    as urgent as ever.145

            368.    The updated guide still assures that “[o]pioid therapy to relieve pain and improve

function is legitimate medical practice for acute and chronic pain of both cancer and noncancer

origins.”146

            369.    In another guide by Dr. Fishman, he continues to downplay the risk of addiction:

“I believe clinicians must be very careful with the label ‘addict.’ I draw a distinction between a

‘chemical coper’ and an addict.”147 The guide also continues to present symptoms of addiction as

symptoms of “pseudoaddiction.”



144
      Fishman, supra note 172; see also Weber, supra 173.
145
   Scott M. Fishman, Responsible Opioid Prescribing: A Guide for Michigan Clinicians, 10-11 (Waterford Life
Sciences, 2d ed. 2012).
146
      Id.
  Scott M. Fishman, Listening to Pain: A Clinician’s Guide to Improving Pain Management Through Better
147

Communication 45 (Oxford University Press 2012).


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                       c.      The Marketing Defendants Disseminated Their
                               Misrepresentations Through Continuing Medical Education
                               Programs

       370.    Now that the Marketing Defendants had both a group of physician promoters and

had built a false body of “literature,” Marketing Defendants needed to make sure their false

marketing message was widely distributed.

       371.    One way the Marketing Defendants aggressively distributed their false message

was through thousands of Continuing Medical Education courses (“CMEs”).

       372.    A CME is a professional education program provided to doctors. Doctors are

required to attend a certain number and, often, type of CME programs each year as a condition of

their licensure. These programs are delivered in person, often in connection with professional

organizations’ conferences, and online, or through written publications. Doctors rely on CMEs not

only to satisfy licensing requirements, but also to get information on new developments in

medicine or to deepen their knowledge in specific areas of practice. Because CMEs typically are

taught by KOLs who are highly respected in their fields, and are thought to reflect these physicians’

medical expertise, they can be especially influential with doctors.

       373.    The countless doctors and other health care professionals who participate in

accredited CMEs constitute an enormously important audience for opioid reeducation. As one

target, Marketing Defendants aimed to reach general practitioners, whose broad area of practice

and lack of expertise and specialized training in pain management made them particularly

dependent upon CMEs and, as a result, especially susceptible to the Marketing Defendants’

deceptions.

       374.    The Marketing Defendants sponsored CMEs that were delivered thousands of

times, promoting chronic opioid therapy and supporting and disseminating the deceptive and

biased messages described in this Complaint. These CMEs, while often generically titled to relate

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to the treatment of chronic pain, focus on opioids to the exclusion of alternative treatments, inflate

the benefits of opioids, and frequently omit or downplay their risks and adverse effects.

         375.    Cephalon sponsored numerous CME programs, which were made widely available

through organizations like Medscape, LLC (“Medscape”) and which disseminated false and

misleading information to physicians across the country.

         376.    Another Cephalon-sponsored CME presentation titled Breakthrough Pain:

Treatment Rationale with Opioids was available on Medscape starting September 16, 2003 and

was given by a self-professed pain management doctor who “previously operated back, complex

pain syndromes, the neuropathies, and interstitial cystitis.” He describes the pain process as a non-

time-dependent continuum that requires a balanced analgesia approach using “targeted

pharmacotherapeutics to affect multiple points in the pain-signaling pathway.”148 The doctor lists

fentanyl as one of the most effective opioids available for treating breakthrough pain, describing

its use as an expected and normal part of the pain management process. Nowhere in the CME is

cancer or cancer-related pain even mentioned, despite FDA restrictions that fentanyl use be limited

to cancer-related pain.

         377.    Teva paid to have a CME it sponsored, Opioid-Based Management of Persistent

and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009. The CME

instructed doctors that “clinically, broad classification of pain syndromes as either cancer- or

noncancer-related has limited utility” and recommended Actiq and Fentora for patients with

chronic pain. The CME is still available online.




148
   Daniel S. Bennett, Breakthrough Pain: Treatment Rationale with Opioids, Medscape (Sept. 16, 2003)
http://www.medscape.org/viewarticle/461612.


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           378.     Responsible Opioid Prescribing was sponsored by Purdue, Endo and Teva. The

FSMB website described it as the “leading continuing medical education (CME) activity for

prescribers of opioid medications.” Endo sales representatives distributed copies of Responsible

Opioid Prescribing with a special introductory letter from Dr. Scott Fishman.

           379.     In all, more than 163,000 copies of Responsible Opioid Prescribing were

distributed nationally.

           380.     The American Medical Association (“AMA”) recognized the impropriety that

pharmaceutical company-funded CMEs creates; stating that support from drug companies with a

financial interest in the content being promoted “creates conditions in which external interests

could influence the availability and/or content” of the programs and urges that “[w]hen possible,

CME[s] should be provided without such support or the participation of individuals who have

financial interests in the education subject matter.”149

           381.     Physicians attended or reviewed CMEs sponsored by the Marketing Defendants

during the relevant time period and were misled by them.

           382.     By sponsoring CME programs put on by Front Groups like APF, AAPM, and

others, the Marketing Defendants could expect instructors to deliver messages favorable to them,

as these organizations were dependent on the Marketing Defendants for other projects. The

sponsoring organizations honored this principle by hiring pro-opioid KOLs to give talks that

supported chronic opioid therapy. Marketing Defendant-driven content in these CMEs had a direct

and immediate effect on prescribers’ views on opioids. Producers of CMEs and the Marketing

Defendants both measure the effects of CMEs on prescribers’ views on opioids and their

absorption of specific messages, confirming the strategic marketing purpose in supporting them.


149
      Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass’n (Nov. 2011), at 1.


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                          d.       The Marketing Defendants Used “Branded” Advertising to
                                   Promote Their Products to Doctors and Consumers

            383.   The Marketing Defendants engaged in widespread advertising campaigns touting

the benefits of their branded drugs. The Marketing Defendants published print advertisements in

a broad array of medical journals, ranging from those aimed at specialists, such as the Journal of

Pain and Clinical Journal of Pain, to journals with wider medical audiences, such as the Journal

of the American Medical Association. The Marketing Defendants collectively spent more than $14

million on the medical journal advertising of opioids in 2011, nearly triple what they spent in 2001.

The 2011 total includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1 million by Endo.

            384.   The Marketing Defendants also targeted consumers in their advertising. They knew

that physicians are more likely to prescribe a drug if a patient specifically requests it.150 They also

knew that this willingness to acquiesce to such patient requests holds true even for opioids and for

conditions for which they are not approved.151 Endo’s research, for example, also found that such

communications resulted in greater patient “brand loyalty,” with longer durations of Opana ER

therapy and fewer discontinuations. The Marketing Defendants thus increasingly took their opioid

sales campaigns directly to consumers, including through patient-focused “education and support”

materials in the form of pamphlets, videos, or other publications that patients could view in their

physician’s office.

                          e.       The Marketing Defendants Used “Unbranded” Advertising to
                                   Promote Opioid Use for Chronic Pain Without FDA Review

            385.   The Marketing Defendants also aggressively promoted opioids through “unbranded

advertising” to generally tout the benefits of opioids without specifically naming a particular


150
   In one study, for example, nearly 20% of sciatica patients requesting oxycodone received a prescription for it,
compared with 1% of those making no specific request. J.B. McKinlay et al., Effects of Patient Medication Requests
on Physician Prescribing Behavior: Results of a Factorial Experiment, 52(2) Med. Care 294-99 (April 2014).
151
      Id.


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brand-name opioid drug. Instead, unbranded advertising is usually framed as “disease

awareness”—encouraging consumers to “talk to your doctor” about a certain health condition

without promoting a specific product and, therefore, without providing balanced disclosures about

the product’s limits and risks. In contrast, a pharmaceutical company’s “branded” advertisement

that identifies a specific medication and its indication (i.e., the condition which the drug is

approved to treat) must also include possible side effects and contraindications—what the FDA

Guidance on pharmaceutical advertising refers to as “fair balance.” Branded advertising is also

subject to FDA review for consistency with the drug’s FDA-approved label. Through unbranded

materials, the Marketing Defendants expanded the overall acceptance of and demand for chronic

opioid therapy without the restrictions imposed by regulations on branded advertising.

       386.    Many of the Marketing Defendants utilized unbranded websites to promote opioid

use without promoting a specific branded drug, such as Purdue’s pain-management website,

www.inthefaceofpain.com. The website contained testimonials from several dozen “advocates,”

including health care providers, urging more pain treatment. The website presented the advocates

as neutral and unbiased, but an investigation by the New York Attorney General later revealed that

Purdue paid the advocates hundreds of thousands of dollars.

                       f.     The Marketing Defendants Funded, Edited And Distributed
                              Publications That Supported Their Misrepresentations

       387.    The Marketing Defendants created a body of false, misleading, and unsupported

medical and popular literature about opioids that (a) understated the risks and overstated the

benefits of long-term use; (b) appeared to be the result of independent, objective research; and

(c) was likely to shape the perceptions of prescribers, patients, and payors. This literature served

marketing goals, rather than scientific standards, and was intended to persuade doctors and

consumers that the benefits of long-term opioid use outweighed the risks.


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         388.    To accomplish their goal, the Marketing Defendants—sometimes through third-

party consultants and/or Front Groups—commissioned, edited, and arranged for the placement of

favorable articles in academic journals.

         389.    The Marketing Defendants’ plans for these materials did not originate in the

departments with the organizations that were responsible for research, development, or any other

area that would have specialized knowledge about the drugs and their effects on patients; rather,

they originated in the Marketing Defendants’ marketing departments.

         390.    The Marketing Defendants made sure that favorable articles were disseminated and

cited widely in the medical literature, even when the Marketing Defendants knew that the articles

distorted the significance or meaning of the underlying study, as with the Porter & Jick letter. The

Marketing Defendants also frequently relied on unpublished data or posters, neither of which are

subject to peer review, but were presented as valid scientific evidence.

         391.    The Marketing Defendants published or commissioned deceptive review articles,

letters to the editor, commentaries, case-study reports, and newsletters aimed at discrediting or

suppressing negative information that contradicted their claims or raised concerns about chronic

opioid therapy.

         392.    For example, in 2007 Cephalon sponsored the publication of an article titled

“Impact of Breakthrough Pain on Quality of Life in Patients with Chronic, Noncancer Pain: Patient

Perceptions and Effect of Treatment with Oral Transmucosal Fentanyl Citrate,”152 published in the

nationally circulated journal Pain Medicine, to support its effort to expand the use of its branded

fentanyl products. The article’s authors (including Dr. Lynn Webster, discussed above) stated that



152
   Donald R. Taylor, et al., Impact of Breakthrough Pain on Quality of Life in Patients With Chronic, Noncancer
Pain: Patient Perceptions and Effect of Treatment With Oral Transmucosal Fentanyl Citrate (OTFC, ACTIQ), 8(3)
Pain Med. 281-88 (Mar. 2007).


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the “OTFC [fentanyl] has been shown to relieve BTP more rapidly than conventional oral, normal-

release, or ‘short acting’ opioids” and that “[t]he purpose of [the] study was to provide a qualitative

evaluation of the effect of BTP on the [quality of life] of noncancer pain patients.” The number-

one-diagnosed cause of chronic pain in the patients studied was back pain (44%), followed by

musculoskeletal pain (12%) and head pain (7%). The article cites Portenoy and recommends

fentanyl for non-cancer BTP patients:

                    In summary, BTP appears to be a clinically important condition in
                    patients with chronic noncancer pain and is associated with an
                    adverse impact on QoL. This qualitative study on the negative
                    impact of BTP and the potential benefits of BTP-specific therapy
                    suggests several domains that may be helpful in developing BTP-
                    specific, QoL assessment tools.153

                           g.     The Marketing Defendants Used Detailing to Directly
                                  Disseminate Their Misrepresentations to Prescribers

            393.    The Marketing Defendants’ sales representatives executed carefully crafted

marketing tactics, developed at the highest rungs of their corporate ladders, to reach targeted

doctors with centrally orchestrated messages. The Marketing Defendants’ sales representatives

also distributed third-party marketing material to their target audience that was deceptive.

            394.    Each Marketing Defendant promoted opioids through sales representatives (also

called “detailers”) and, upon information and belief, small group speaker programs to reach out to

individual prescribers. By establishing close relationships with doctors, the Marketing Defendants

were able to disseminate their misrepresentations in targeted, one-on-one settings that allowed

them to promote their opioids and to allay individual prescribers’ concerns about prescribing

opioids for chronic pain.




153
      Id. at 287.


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       395.    In accordance with common industry practice, the Marketing Defendants purchase

and closely analyze prescription sales data from IMS Health (now IQVIA), a healthcare data

collection, management and analytics corporation. This data allows them to track precisely the

rates of initial and renewal prescribing by individual doctors, which allows them to target and tailor

their appeals. Sales representatives visited hundreds of thousands of doctors and disseminated the

misinformation and materials described above.

       396.    Marketing Defendants devoted and continue to devote massive resources to direct

sales contacts with doctors. In 2014 alone, Marketing Defendants spent $166 million on detailing

branded opioids to doctors. This amount is twice as much as Marketing Defendants spent on

detailing in 2000. The amount includes $108 million spent by Purdue, $34 million by Janssen, $13

million by Teva, and $10 million by Endo.

       397.    Cephalon’s quarterly spending steadily climbed from below $1 million in 2000 to

more than $3 million in 2014 (and more than $13 million for the year), with a peak, coinciding

with the launch of Fentora, of more than $27 million in 2007, as shown below:




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       398.    Endo’s quarterly spending went from the $2 million to $4 million range in 2000-

2004 to more than $10 million following the launch of Opana ER in mid-2006 (and more than $38

million for the year in 2007) and more than $8 million coinciding with the launch of a reformulated

version in 2012 (and nearly $34 million for the year):




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       399.   Janssen’s quarterly spending dramatically rose from less than $5 million in 2000 to

more than $30 million in 2011, coinciding with the launch of Nucynta ER (with yearly spending

at $142 million for 2011), as shown below:




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       400.    Purdue’s quarterly spending notably decreased from 2000 to 2007, as Purdue came

under investigation by the Department of Justice, but then spiked to above $25 million in 2011

(for a total of $110 million that year), and continues to rise, as shown below:




       401.    For its opioid, Actiq, Cephalon also engaged in direct marketing in direct

contravention of the FDA’s strict instructions that Actiq be prescribed only to terminal cancer

patients and by oncologists and pain management doctors experienced in treating cancer pain.

       402.    Thousands of prescribers attended Cephalon speaking programs.

                       h.     Marketing Defendants Used Speakers’ Bureaus and Programs
                              to Spread Their Deceptive Messages

       403.    In addition to making sales calls, Marketing Defendants’ detailers also identified

doctors to serve, for payment, on their speakers’ bureaus and to attend programs with speakers and

meals paid for by the Marketing Defendants. These speaker programs and associated speaker

trainings serve three purposes: they provide an incentive to doctors to prescribe, or increase their

prescriptions of, a particular drug; to qualify to be selected a forum in which to further market to


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the speaker himself or herself; and an opportunity to market to the speaker’s peers. The Marketing

Defendants grade their speakers, and future opportunities are based on speaking performance,

post-program sales, and product usage. Purdue, Janssen, Endo, Cephalon, and Mallinckrodt each

made thousands of payments to physicians nationwide, for activities including participating on

speakers’ bureaus, providing consulting services, and other services.

       404.    As detailed below, Insys paid prescribers for fake speakers’ programs in exchange

for prescribing its product, Subsys. Insys’s schemes resulted in countless speakers’ programs at

which the designated speaker did not speak, and, on many occasions, speaker programs at which

the only attendees at the events were the speaker and an Insys sales representative. It was a pay-

to-prescribe program.

       405.    Insys used speakers’ programs as a front to pay for prescriptions and paid to push

opioids onto patients who did not need them.

               3.       The Marketing Defendants Targeted Vulnerable Populations

       406.    The Marketing Defendants specifically targeted their marketing at two vulnerable

populations—the elderly and veterans.

       407.    Elderly patients taking opioids have been found to be exposed to elevated fracture

risks, a greater risk for hospitalizations, and increased vulnerability to adverse drug effects and

interactions, such as respiratory depression which occurs more frequently in elderly patients.

       408.    The Marketing Defendants promoted the notion—without adequate scientific

foundation—that the elderly are particularly unlikely to become addicted to opioids. The AGS

2009 Guidelines, for example, which Purdue, Endo, and Janssen publicized, described the risk of

addiction as “exceedingly low in older patients with no current or past history of substance abuse.”

(emphasis added). As another example, an Endo-sponsored CME put on by NIPC, Persistent Pain

in the Older Adult, taught that prescribing opioids to older patients carried “possibly less potential

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for abuse than in younger patients.” Contrary to these assertions, however, a 2010 study examining

overdoses among long-term opioid users found that patients 65 or older were among those with

the largest number of serious overdoses.

       409.    Similarly, Endo targeted marketing of Opana ER towards patients over 55 years

old. However, in 2013, one pharmaceutical benefits management company recommended against

the use of Opana ER for elderly patients and unequivocally concluded: “[f]or patients 65 and older

these medications are not safe, so consult your doctor.”

       410.    According to a study published in the 2013 Journal of American Medicine, veterans

returning from Iraq and Afghanistan who were prescribed opioids have a higher incidence of

adverse clinical outcomes, such as overdoses and self-inflicted and accidental injuries. A 2008

survey showed that prescription drug misuse among military personnel doubled from 2002 to

2005, and then nearly tripled again over the next three years. Veterans are twice as likely as non-

veterans to die from an opioid overdose.

       411.    Yet the Marketing Defendants deliberately targeted veterans with deceptive

marketing. For example, a 2009 publication sponsored by Purdue, Endo, and Janssen, and

distributed by APF with grants from Janssen, and Endo, was written as a personal narrative of one

veteran but was in fact another vehicle for opioid promotion. Called Exit Wounds, the publication

describes opioids as “underused” and the “gold standard of pain medications” while failing to

disclose significant risks of opioid use, including the risks of fatal interactions with

benzodiazepines. According to a VA Office of Inspector General Report, 92.6% of veterans who

were prescribed opioid drugs were also prescribed benzodiazepines, despite the increased danger

of respiratory depression from the two drugs together.




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         412.   Opioid prescriptions have dramatically increased for veterans and the elderly. Since

2007, prescriptions for the elderly have grown at twice the rate of prescriptions for adults between

the ages of 40 and 59. And in 2009, military doctors wrote 3.8 million prescriptions for narcotic

pain pills—four times as many as they did in 2001.

                4.      Insys Employed Fraudulent, Illegal, and Misleading Marketing
                        Schemes to Promote Subsys

         413.   Insys’s opioid, Subsys, was approved by the FDA in 2012 for “management of

breakthrough pain in adult cancer patients who are already receiving and who are tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain.” Under FDA rules,

Insys could only market Subsys for this use. Subsys consists of the highly addictive narcotic,

fentanyl, administered via a sublingual (under the tongue) spray, which provides rapid-onset pain

relief. It is in the class of drugs described as Transmucosal Immediate-Release Fentanyl (“TIRF”).

         414.   To reduce the risk of abuse, misuse, and diversion, the FDA instituted a Risk

Evaluation and Mitigation Strategy (“REMS”) for Subsys and other TIRF products, such as

Cephalon’s Actiq and Fentora. The purpose of REMS was to educate “prescribers, pharmacists,

and patients on the potential for misuse, abuse, addiction, and overdose” for this type of drug and

to “ensure safe use and access to these drugs for patients who need them.”154 Prescribers must

enroll in the TIRF REMS before writing a prescription for Subsys.

         415.   Since its launch, Subsys has been an extremely expensive medication, and its price

continues to rise each year. Depending on a patient’s dose strength and frequency of use, a month’s

supply of Subsys could cost in the thousands of dollars.




154
  Press Release, U.S. Food & Drug Admin.,, FDA Approves Shared System REMS for TIRF Products, (Dec. 29,
2011.)


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           416.     Due to its high cost, in most instances prescribers must submit Subsys prescriptions

to insurance companies or health benefit payors for prior authorization to determine whether they

will pay for the drug prior to the patient attempting to fill the prescription. According to the U.S.

Senate Homeland Security and Governmental Affairs Committee Minority Staff Report (“Staff

Report”), the prior authorization process includes “confirmation that the patient had an active

cancer diagnosis, was being treated by an opioid (and, thus, was opioid tolerant), and was being

prescribed Subsys to treat breakthrough pain that the other opioid could not eliminate. If any one

of these factors was not present, the prior authorization would be denied . . . .”155

           417.     These prior authorization requirements proved to be daunting. Subsys received

reimbursement approval in only approximately 30% of submitted claims. In order to increase

approvals, Insys created a prior authorization unit, called the Insys Reimbursement Center

(“IRC”), to obtain approval for Subsys reimbursements. This unit employed a number of

fraudulent and misleading tactics to secure reimbursements, including falsifying medical histories

of patients, falsely claiming that patients had cancer, and providing misleading information to

insurers and payors regarding patients’ diagnoses and medical conditions.

           418.     Subsys has proved to be extremely profitable for Insys. Insys made approximately

$330 million in net revenue from Subsys last year. Between 2013 and 2016, the value of Insys

stock rose 296%.

           419.     Since its launch in 2012, Insys aggressively worked to grow its profits through

fraudulent, illegal, and misleading tactics, including its reimbursement-related fraud. Through its

sales representatives and other marketing efforts, Insys deceptively promoted Subsys as safe and

appropriate for uses such as neck and back pain, without disclosing the lack of approval or


155
      Fueling an Epidemic, supra note 132.


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evidence for such uses, and misrepresented the appropriateness of Subsys for treatment of those

conditions. It implemented a kickback scheme wherein it paid prescribers for fake speakers’

programs in exchange for prescribing Subsys. All of these fraudulent and misleading schemes had

the effect of pushing Insys’s dangerous opioid onto patients who did not need it.

            420.   Insys incentivized its sales force to engage in illegal and fraudulent conduct. Many

of the Insys sales representatives were new to the pharmaceutical industry and their base salaries

were low compared to industry standard. The compensation structure was heavily weighted toward

commissions and rewarded reps more for selling higher (and more expensive) doses of Subsys, a

“highly unusual” practice because most companies consider dosing a patient-specific decision that

should be made by a doctor.156

            421.   The Insys “speakers program” was perhaps its most widespread and damaging

scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam action that the sole purpose

of the speakers program was “in the words of his then supervisor Alec Burlakoff, ‘to get money in

the doctor’s pocket.’” Furchak went on to explain that “[t]he catch . . . was that doctors who

increased the level of Subsys prescriptions, and at higher dosages (such as 400 or 800 micrograms

instead of 200 micrograms), would receive the invitations to the program—and the checks.”157 It

was a pay-to-prescribe program.

            422.   Insys’s sham speaker program and other fraudulent and illegal tactics have been

outlined in great detail in indictments and guilty pleas of Insys executives, employees, and

prescribers across the country, as well as in a number of lawsuits against the company itself.




156
      Id.
157
   Roddy Boyd, Insys Therapeutics and the New ‘Killing It’”, Southern Investigative Reporting Foundation, The
Investigator (April 24, 2015). http://sirf-online.org/2015/04/24/the-new-killing-it/.


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       423.    In May of 2015, two Alabama pain specialists were arrested and charged with

illegal prescription drug distribution, among other charges. The doctors were the top prescribers

of Subsys, though neither were oncologists. According to prosecutors, the doctors received illegal

kickbacks from Insys for prescribing Subsys. Both doctors had prescribed Subsys to treat neck,

back, and joint pain. In February of 2016, a former Insys sales manager pled guilty to conspiracy

to commit health care fraud, including engaging in a kickback scheme in order to induce one of

these doctors to prescribe Subsys. The plea agreement states that nearly all of the Subsys

prescriptions written by the doctor were off-label to non-cancer patients. In May of 2017, one of

the doctors was sentenced to 20 years in prison.

       424.    In June of 2015, a nurse practitioner in Connecticut described as the state’s highest

Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks from Insys for

prescribing Subsys. Most of her patients were prescribed the drug for chronic pain. Insys paid the

nurse as a speaker for more than 70 dinner programs at approximately $1,000 per event; however,

she did not give any presentations. In her guilty plea, the nurse admitted receiving the speaker fees

in exchange for writing prescriptions for Subsys.

       425.    In August of 2015, Insys settled a complaint brought by the Oregon Attorney

General. In its complaint, the Oregon Department of Justice cited Insys for, among other things,

misrepresenting to doctors that Subsys could be used to treat migraine, neck pain, back pain, and

other uses for which Subsys is neither safe nor effective, and using speaking fees as kickbacks to

incentivize doctors to prescribe Subsys.

       426.    In August of 2016, the State of Illinois sued Insys for similar deceptive and illegal

practices. The Complaint alleged that Insys marketed Subsys to high-volume prescribers of opioid

drugs instead of to oncologists whose patients experienced the breakthrough cancer pain for which



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the drug is indicated. The Illinois Complaint also details how Insys used its speaker program to

pay high volume prescribers to prescribe Subsys. The speaker events took place at upscale

restaurants in the Chicago area, and Illinois speakers received an “honorarium” ranging from $700

to $5,100, and they were allowed to order as much food and alcohol as they wanted. At most of

the events, the “speaker” being paid by Insys did not speak, and, on many occasions, the only

attendees at the events were the speaker and an Insys sales representative.

            427.   In December of 2016, six Insys executives and managers were indicted and then,

in October 2017, Insys’s founder and owner was arrested and charged with multiple felonies in

connection with an alleged conspiracy to bribe practitioners to prescribe Subsys and defraud

insurance companies. A U.S. Department of Justice press release explained that, among other

things: “Insys executives improperly influenced health care providers to prescribe a powerful

opioid for patients who did not need it, and without complying with FDA requirements, thus

putting patients at risk and contributing to the current opioid crisis.”158 A Drug Enforcement

Administration (“DEA”) Special Agent in Charge further explained that: “Pharmaceutical

companies whose products include controlled medications that can lead to addiction and overdose

have a special obligation to operate in a trustworthy, transparent manner, because their customers’

health and safety and, indeed, very lives depend on it.”159




  Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office, Dist. of Mass., Founder and Owner of Pharmaceutical
158

Company Insys Arrested and Charged with Racketeering (Oct. 26, 2017), https://www.justice.gov/usao-
ma/pr/founder-and-owner-pharmaceutical-company-insys-arrested-and-charged-racketeering.
159
      Id.


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                    5.      The Marketing Defendants’ Scheme Succeeded, Creating a Public
                            Health Epidemic

                            a.       The Marketing Defendants dramatically expanded opioid
                                     prescribing and use

           428.     The Marketing Defendants necessarily expected a return on the enormous

investment they made in their deceptive marketing scheme, and worked to measure and expand

their success. Their own documents show that they knew they were influencing prescribers and

increasing prescriptions. Studies also show that in doing so, they fueled an epidemic of addiction

and abuse.

           429.     Endo, for example directed the majority of its marketing budget to sales

representatives—with good results: 84% of its prescriptions were from the doctors they detailed.

Moreover, as of 2008, cancer and post-operative pain accounted for only 10% of Opana ER’s uses;

virtually all of Endo’s opioid sales—and profits—were from a market that did not exist ten years

earlier. Internal emails from Endo staff attributed increases in Opana ER sales to the

aggressiveness and persistence of sales representatives.

           430.     Cephalon also recognized the return of its efforts to market Actiq and Fentora off-

label for chronic pain. In 2000, Actiq generated $15 million in sales. By 2002, Actiq sales had

increased by 92%, which Cephalon attributed to “a dedicated sales force for ACTIQ” and “ongoing

changes to [its] marketing approach including hiring additional sales representatives and targeting

our marketing efforts to pain specialists.”160 Actiq became Cephalon’s second best-selling drug.

By the end of 2006, Actiq’s sales had exceeded $500 million.161 Only 1% of the 187,076


160
      Cephalon, Inc. Annual Report (Form 10-K) at 28 (Mar. 31, 2003),
https://www.sec.gov/Archives/edgar/data/873364/000104746903011137/a2105971z10-k.htm.
161
   John Carreyrou, Narcotic ‘Lollipop’ Becomes Big Seller Despite FDA Curbs, Wall St. J.,
https://www.wsj.com/articles/SB116252463810112292. (Last Updated Nov. 3, 2006, 12:01 AM)



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prescriptions for Actiq filled at retail pharmacies during the first six months of 2006 were

prescribed by oncologists. One measure suggested that “more than 80 percent of patients who

use[d] the drug don’t have cancer.”162

            431.   Upon information and belief, each of the Marketing Defendants tracked the impact

of their marketing efforts to measure their impact in changing doctors’ perceptions and prescribing

of their drugs. They purchased prescribing and survey data that allowed them to closely monitor

these trends, and they did actively monitor them. For instance, they monitored doctors’ prescribing

before and after detailing visits, and at various levels of detailing intensity, and before and after

speaker programs. Marketing Defendants invested in their aggressive and deceptive marketing for

one reason: it worked. As described in this Complaint, both in specific instances and more

generally, Defendants’ marketing changed prescribers’ willingness to prescribe opioids, led them

to prescribe more of their opioids, and persuaded them to continue prescribing opioids or to switch

to supposedly “safer” opioids, such as ADF.

            432.   This success would have come as no surprise. Drug company marketing materially

impacts doctors’ prescribing behavior.163 The effects of sales calls on prescribers’ behavior is well

documented in the literature, including a 2017 study that found that physicians ordered fewer

promoted brand-name medications and prescribed more cost-effective generic versions if they

worked in hospitals that instituted rules about when and how pharmaceutical sales representatives


162
      Id.
163
   Puneet Manchanda & Pradeep K. Chintagunta, Responsiveness of Physician Prescription Behavior to Salesforce
Effort: An Individual Level Analysis, 15 (2-3) Mktg. Letters 129-145 (2004) (detailing has a positive impact on
prescriptions written); Ian. Larkin, et al. Restrictions on Pharmaceutical Detailing Reduced Off-Label Prescribing of
Antidepressants and Antipsychotics in Children, 33(6) Health Affairs 1014 (2014) (finding academic medical
centers that restricted direct promotion by pharmaceutical sales representatives resulted in a 34% decline in on-label
use of promoted drugs); see also Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph,
Public Health Tragedy, 99(2) Am J. Pub. Health 221-27 (2009) (correlating an increase of OxyContin prescriptions
from 670,000 annually in 1997 to 6.2 million in 2002 to a doubling of Purdue’s sales force and trebling of annual
sales calls).


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were allowed to detail prescribers. The changes in prescribing behavior appeared strongest at

hospitals that implemented the strictest detailing policies and included enforcement measures.

Another study examined four practices, including visits by sales representatives, medical journal

advertisements, direct-to-consumer advertising, and pricing, and found that sales representatives

have the strongest effect on drug utilization. An additional study found that doctor meetings with

sales representatives are related to changes in both prescribing practices and requests by physicians

to add the drugs to hospitals’ formularies.

         433.    Marketing Defendants spent millions of dollars to market their drugs to prescribers

and patients and meticulously tracked their return on that investment. In one recent survey

published by the AMA, even though nine in ten general practitioners reported prescription drug

abuse to be a moderate to large problem in their communities, 88% of the respondents said they

were confident in their prescribing skills, and nearly half were comfortable using opioids for

chronic non-cancer pain.164 These results are directly due to the Marketing Defendants’ fraudulent

marketing campaign focused on several misrepresentations.

         434.    Thus, both independent studies and Marketing Defendants’ own tracking confirm

that Defendants’ marketing scheme dramatically increased their sales.

                          b.      Marketing Defendants’ deception in expanding their market
                                  created and fueled the opioid epidemic

         435.    Independent research demonstrates a close link between opioid prescriptions and

opioid abuse. For example, a 2007 study found “a very strong correlation between therapeutic

exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.”165 It has been


164 Catherine S. Hwang, et al., Prescription Drug Abuse: A National Survey of Primary Care Physicians, 175
(2)JAMA Intern. Med. (Dec. 8, 2014).
165
   Theodore J. Cicero et al. Relationship Between Therapeutic Use and Abuse of Opioid Analgesics in Rural,
Suburban, and Urban Locations in the United States, 16.(8) Pharmacoepidemiology and Drug Safety, 827-40
(2007).


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estimated that 60% of the opioids that are abused come, directly or indirectly, through physicians’

prescriptions.

           436.     There is a parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes. The opioid epidemic is “directly related to the increasingly

widespread misuse of powerful opioid pain medications.”166

           437.     In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons, the

CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

           D.       Defendants Throughout the Supply Chain Deliberately Disregarded Their
                    Duties to Maintain Effective Controls and to Identify, Report, and Take
                    Steps to Halt Suspicious Orders

           438.     The Marketing Defendants created a vastly and dangerously larger market for

opioids. All of the Defendants compounded this harm by facilitating the supply of far more opioids

that could have been justified to serve that market. The failure of the Defendants to maintain

effective controls, and to investigate, report, and take steps to halt orders that they knew or should

have known were suspicious breached both their statutory and common law duties.

           439.     For over a decade, as the Marketing Defendants increased the demand for opioids,

all the Defendants aggressively sought to bolster their revenue, increase profit, and grow their

share of the prescription painkiller market by unlawfully and surreptitiously increasing the volume


166
      Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, New Eng. J. Med. 1480-85 (2016),
http://www.nejm.org/doi/full/10.1056/NEJMsr1601307.
http://www.nejm.org/doi/full/10.1056/NEJMsr1601307

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of opioids they sold. However, Defendants are not permitted to engage in a limitless expansion of

their sales through the unlawful sales of regulated painkillers. Rather, as described below,

Defendants are subject to various duties to report the quantity of Schedule II controlled substances

in order to monitor such substances and prevent oversupply and diversion into the illicit market.

         440.   Defendants are all required to register as either manufacturers or distributors

pursuant to 21 U.S.C. § 823 and 21 C.F.R. §§ 1301.11, 1301.74.

         441.   Marketing Defendants’ scheme was resoundingly successful. Chronic opioid

therapy—the prescribing of opioids long-term to treat chronic pain—has become a commonplace,

and often first-line, treatment. Manufacturing Defendants’ deceptive marketing caused prescribing

not only of their opioids, but of opioids as a class, to skyrocket. According to the CDC opioid

prescriptions, as measured by number of prescriptions and morphine milligram equivalent

(“MME”) per person, tripled from 1999 to 2015. In 2015, on an average day, more than 650,000

opioid prescriptions were dispensed in the U.S. While previously a small minority of opioid sales,

today between 80% and 90% of opioids (measured by weight) used are for chronic pain.

Approximately 20% of the population between the ages of 30 and 44, and nearly 30% of the

population over 45, have used opioids. Opioids are the most common treatment for chronic pain,

and 20% of office visits now include the prescription of an opioid.

         442.   In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.”167 Patients receiving

opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons, the




167
   Rose A. Rudd, et al. Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014. ., 64(50 & 51)
Ctrs. for Disease Control and Prevention, Morbidity & Mortality Wkly. Rep. 1378-82 (2016),
https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6450a3.htm.



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CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”168

                   1.     All Defendants Have a Duty to Report Suspicious Orders and Not to
                          Ship Those Orders Unless Due Diligence Disproves Their Suspicions

            443.   Multiple sources impose duties on the Defendants to report suspicious orders and

further to not ship those orders unless due diligence disproves those suspicions.

            444.   First, under the common law, the Defendants had a duty to exercise reasonable care

in delivering dangerous narcotic substances. By flooding Michigan with more opioids than could

be used for legitimate medical purposes and by filling and failing to report orders that they knew

or should have realized were likely being diverted for illicit uses, Defendants breached that duty

and both created and failed to prevent a foreseeable risk of harm.

            445.   Second, each of the Defendants assumed a duty, when speaking publicly about

opioids and their efforts to combat diversion, to speak accurately and truthfully.

            446.   Third, each of the Defendants was required to register with the DEA to manufacture

and/or distribute Schedule II controlled substances. See 21 U.S.C. § 823(a)-(b), (e); 28 C.F.R.

§ 0.100. As registrants, Defendants were required to “maint[ain] . . . effective controls against

diversion” and to “design and operate a system to disclose . . . suspicious orders of controlled

substances.” 21 U.S.C. § 823(a)-(b); 21 C.F.R. § 1301.74. Defendants were further required to

take steps to halt suspicious orders. Defendants violated their obligations under federal law.

            447.   Fourth, as described below, Defendants also had duties under applicable state laws.

            448.   Recognizing a need for greater scrutiny over controlled substances due to their

potential for abuse and danger to public health and safety, the United States Congress enacted the




168
      Id.


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Controlled Substances Act in 1970. The CSA and its implementing regulations created a closed-

system of distribution for all controlled substances and listed chemicals. Congress specifically

designed the closed chain of distribution to prevent the diversion of legally produced controlled

substances into the illicit market. Congress was concerned with the diversion of drugs out of

legitimate channels of distribution and acted to halt the “widespread diversion of [controlled

substances] out of legitimate channels into the illegal market.” Moreover, the closed-system was

specifically designed to ensure that there are multiple ways of identifying and preventing diversion

through active participation by registrants within the drug delivery chain. All registrants – which

includes all manufacturers and distributors of controlled substances—must adhere to the specific

security, recordkeeping, monitoring, and reporting requirements that are designed to identify or

prevent diversion. When registrants at any level fail to fulfill their obligations, the necessary

checks and balances collapse. The result is the scourge of addiction that has occurred.

       449.    The CSA requires manufacturers and distributors of Schedule II substances like

opioids to: (a) limit sales within a quota set by the DEA for the overall production of Schedule II

substances like opioids; (b) register to manufacture or distribute opioids; (c) maintain effective

controls against diversion of the controlled substances that they manufacture or distribute; and (d)

design and operate a system to identify suspicious orders of controlled substances, halt such

unlawful sales, and report them to the DEA.

       450.    Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade” by

controlling the “quantities of the basic ingredients needed for the manufacture of [controlled




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substances], and the requirement of order forms for all transfers of these drugs.” When evaluating

production quotas, the DEA was instructed to consider the following information:

               a.      Information provided by the Department of Health and Human Services;

               b.      Total net disposal of the basic class [of each drug] by all manufacturers;

               c.      Trends in the national rate of disposal of the basic class [of drug];

               d.      An applicant’s production cycle and current inventory position;

               e.      Total actual or estimated inventories of the class [of drug] and of all
                       substances manufactured from the class and trends in inventory
                       accumulation; and

               f.      Other factors such as: changes in the currently accepted medical use of
                       substances manufactured for a basic class; the economic and physical
                       availability of raw materials; yield and sustainability issues; potential
                       disruptions to production; and unforeseen emergencies.

       451.    It is unlawful to manufacture a controlled substance in Schedule II, like prescription

opioids, in excess of a quota assigned to that class of controlled substances by the DEA.

       452.    To ensure that even drugs produced within quota are not diverted, Federal

regulations issued under the CSA mandate that all registrants, manufacturers and distributors alike,

“design and operate a system to disclose to the registrant suspicious orders of controlled

substances.” 21 C.F.R. § 1301.74(b). Registrants are not entitled to be passive (but profitable)

observers, but rather “shall inform the Field Division Office of the Administration in his area of

suspicious orders when discovered by the registrant.” Id. Suspicious orders include orders of

unusual size, orders deviating substantially from a normal pattern, and orders of unusual

frequency. Id. Other red flags may include, for example, “[o]rdering the same controlled substance

from multiple distributors.”

       453.    These criteria are disjunctive and are not all inclusive. For example, if an order

deviates substantially from a normal pattern, the size of the order does not matter and the order



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should be reported as suspicious. Likewise, a distributor or manufacturer need not wait for a

normal pattern to develop over time before determining whether a particular order is suspicious.

The size of an order alone, regardless of whether it deviates from a normal pattern, is enough to

trigger the responsibility to report the order as suspicious. The determination of whether an order

is suspicious depends not only on the ordering patterns of the particular customer but also on the

patterns of the entirety of the customer base and the patterns throughout the relevant segment of

the industry. For this reason, identification of suspicious orders serves also to identify excessive

volume of the controlled substance being shipped to a particular region.

       454.    In sum, Defendants have several responsibilities under state and federal law with

respect to control of the supply chain of opioids. First, they must set up a system to prevent

diversion, including excessive volume and other suspicious orders. That would include reviewing

their own data, relying on their observations of prescribers and pharmacies, and following up on

reports or concerns of potential diversion. All suspicious orders must be reported to relevant

enforcement authorities. Defendants must also stop shipment of any order which is flagged as

suspicious and only ship orders which were flagged as potentially suspicious if, after conducting

due diligence, they can determine that the order is not likely to be diverted into illegal channels.

       455.    State and federal statutes and regulations reflect a standard of conduct and care

below which reasonably prudent manufacturers and distributors would not fall. Together, these

laws and industry guidelines make clear that Distributor and Marketing Defendants alike possess

and are expected to possess specialized and sophisticated knowledge, skill, information, and

understanding of both the market for scheduled prescription narcotics and of the risks and dangers

of the diversion of prescription narcotics when the supply chain is not properly controlled.




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       456.    These laws and industry guidelines make clear that the Distributor Defendants and

Marketing Defendants alike have a duty and responsibility to exercise their specialized and

sophisticated knowledge, information, skill, and understanding to prevent the oversupply of

prescription opioids and minimize the risk of their diversion into an illicit market.

       457.    The FTC has recognized the unique role of distributors. Since their inception,

Distributor Defendants have continued to integrate vertically by acquiring businesses that are

related to the distribution of pharmaceutical products and health care supplies. In addition to the

actual distribution of pharmaceuticals, as wholesalers, Distributor Defendants also offer their

pharmacy, or dispensing, customers a broad range of added services. For example, Distributor

Defendants offer their pharmacies sophisticated ordering systems and access to an inventory

management system and distribution facility that allows customers to reduce inventory carrying

costs. Distributor Defendants are also able to use the combined purchase volume of their customers

to negotiate the cost of goods with manufacturers and offer services that include software

assistance and other database management support. See Fed. Trade Comm’n v. Cardinal Health,

Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998) (granting the FTC’s motion for preliminary injunction

and holding that the potential benefits to customers did not outweigh the potential anti-competitive

effect of a proposed merger between Cardinal Health, Inc. and Bergen Brunswig Corp.). As a result

of their acquisition of a diverse assortment of related businesses within the pharmaceutical

industry, as well as the assortment of additional services they offer, Distributor Defendants have a

unique insight into the ordering patterns and activities of their dispensing customers.

       458.    Marketing Defendants also have specialized and detailed knowledge of the

potential suspicious prescribing and dispensing of opioids through their regular visits to doctors’

offices and pharmacies, and from their purchase of data from commercial sources, such as IMS



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Health (now IQVIA). Their extensive boots-on-the-ground presence through their sales forces

allows Marketing Defendants to observe the signs of suspicious prescribing and dispensing

discussed elsewhere in the Complaint—lines of seemingly healthy patients, out-of-state license

plates, and cash transactions, to name only a few. In addition, Marketing Defendants regularly

mined data, including, upon information and belief, chargeback data, that allowed them to monitor

the volume and type of prescribing of doctors, including sudden increases in prescribing and

unusually high dose prescribing, that would have alerted them, independent of their sales

representatives, to suspicious prescribing. These information points gave Marketing Defendants

insight into prescribing and dispensing conduct that enabled them to play a valuable role in the

preventing diversion and fulfilling their obligations under the CSA.

       459.    Defendants have a duty, and are expected, to be vigilant in deciding whether a

prospective customer can be trusted to deliver controlled substances only for lawful purposes.

       460.    Defendants breached these duties by failing to: (a) control the supply chain;

(b) prevent diversion; (c) report suspicious orders; and (d) halt shipments of opioids in quantities

they knew or should have known could not be justified and were indicative of serious overuse of

opioids.

               2.      Defendants Were Aware of and Have Acknowledged Their
                       Obligations to Prevent Diversion and to Report and Take Steps to
                       Halt Suspicious Orders

       461.    The reason for the reporting rules is to create a “closed” system intended to control

the supply and reduce the diversion of these drugs out of legitimate channels into the illicit market,

while at the same time providing the legitimate drug industry with a unified approach to narcotic

and dangerous drug control. Both because distributors handle such large volumes of controlled

substances, and because they are uniquely positioned, based on their knowledge of their customers

and orders, as the first line of defense in the movement of legal pharmaceutical controlled

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substances from legitimate channels into the illicit market, distributors’ obligation to maintain

effective controls to prevent diversion of controlled substances is critical. Should a distributor

deviate from these checks and balances, the closed system of distribution, designed to prevent

diversion, collapses.

       462.    Defendants were well aware they had an important role to play in this system, and

also knew or should have known that their failure to comply with their obligations would have

serious consequences.

       463.    Recently, Mallinckrodt admitted in a settlement with DEA that “[a]s a registrant

under the CSA, Mallinckrodt had a responsibility to maintain effective controls against diversion,

including a requirement that it review and monitor these sales and report suspicious orders to

DEA.” Mallinckrodt further stated that it “recognizes the importance of the prevention of diversion

of the controlled substances they manufacture” and agreed that it would “design and operate a

system that meets the requirements of 21 CFR 1301.74(b) . . . [such that it would] utilize all

available transaction information to identify suspicious orders of any Mallinckrodt product.”

Mallinckrodt specifically agreed “to notify DEA of any diversion and/or suspicious circumstances

involving any Mallinckrodt controlled substances that Mallinckrodt discovers.”

       464.    Trade organizations to which Defendants belong have acknowledged that

wholesale distributors have been responsible for reporting suspicious orders for more than 40

years. The Healthcare Distribution Management Association (“HDMA”), now known as the

Healthcare Distribution Alliance (“HDA”), a trade association of pharmaceutical distributors to

which Distributor Defendants belong, has long taken the position that distributors have

responsibilities to “prevent diversion of controlled prescription drugs” not only because they have

statutory and regulatory obligations do so, but “as responsible members of society.” Guidelines



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established by the HDA also explain that distributors, “[a]t the center of a sophisticated supply

chain . . . are uniquely situated to perform due diligence in order to help support the security of the

controlled substances they deliver to their customers.”

       465.    The DEA also repeatedly reminded the Defendants of their obligations to report

and decline to fill suspicious orders. Responding to the proliferation of pharmacies operating on

the internet that arranged illicit sales of enormous volumes of opioids to drug dealers and

customers, the DEA began a major push to remind distributors of their obligations to prevent these

kinds of abuses and educate them on how to meet these obligations. Since 2007, the DEA has

hosted at least five conferences that provided registrants with updated information about diversion

trends and regulatory changes. Each of the Distributor Defendants attended at least one of these

conferences. The DEA has also briefed wholesalers regarding legal, regulatory, and due diligence

responsibilities since 2006. During these briefings, the DEA pointed out the red flags wholesale

distributors should look for to identify potential diversion.

       466.    The DEA also advised in a September 27, 2006 letter to every commercial entity

registered to distribute controlled substances that they are “one of the key components of the

distribution chain. If the closed system is to function properly . . . distributors must be vigilant in

deciding whether a prospective customer can be trusted to deliver controlled substances only for

lawful purposes. This responsibility is critical, as . . . the illegal distribution of controlled

substances has a substantial and detrimental effect on the health and general welfare of the

American people.” The DEA’s September 27, 2006 letter also expressly reminded them that

registrants, in addition to reporting suspicious orders, have a “statutory responsibility to exercise

due diligence to avoid filling suspicious orders that might be diverted into other than legitimate

medical, scientific, and industrial channels.” The same letter reminds distributors of the importance



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of their obligation to “be vigilant in deciding whether a prospective customer can be trusted to

deliver controlled substances only for lawful purposes,” and warns that “even just one distributor

that uses its DEA registration to facilitate diversion can cause enormous harm.”

       467.    The DEA sent another letter to Defendants on December 27, 2007, reminding them

that, as registered manufacturers and distributors of controlled substances, they share, and must

each abide by, statutory and regulatory duties to “maintain effective controls against diversion”

and “design and operate a system to disclose to the registrant suspicious orders of controlled

substances.” The DEA’s December 27, 2007 letter reiterated the obligation to detect, report, and

not fill suspicious orders and provided detailed guidance on what constitutes a suspicious order

and how to report (e.g., by specifically identifying an order as suspicious, not merely transmitting

data to the DEA). Finally, the letter references the Revocation of Registration issued in Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

report suspicious orders and “some criteria to use when determining whether an order is

suspicious.”

               3.      Defendants Worked Together to Inflate the Quotas of Opioids They
                       Could Distribute

       468.    Finding it impossible to legally achieve their ever-increasing sales ambitions,

Defendants engaged in the common purpose of increasing the supply of opioids and fraudulently

increasing the quotas that governed the manufacture and distribution of their prescription opioids.

       469.    Wholesale distributors such as the Distributor Defendants had close financial

relationships with both Marketing Defendants and customers, for whom they provide a broad range

of value added services that render them uniquely positioned to obtain information and control

against diversion. These services often otherwise would not be provided by manufacturers to their

dispensing customers and would be difficult and costly for the dispenser to reproduce. For


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example, “[w]holesalers have sophisticated ordering systems that allow customers to

electronically order and confirm their purchases, as well as to confirm the availability and prices

of wholesalers’ stock.” Fed. Trade Comm’n v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C.

1998). Through their generic source programs, wholesalers are also able “to combine the purchase

volumes of customers and negotiate the cost of goods with manufacturers.” Wholesalers typically

also offer marketing programs, patient services, and other software to assist their dispensing

customers.

       470.    Distributor Defendants had financial incentives from the Marketing Defendants to

distribute higher volumes, and thus to refrain from reporting or declining to fill suspicious orders.

Wholesale drug distributors acquire pharmaceuticals, including opioids, from manufacturers at an

established wholesale acquisition cost. Discounts and rebates from this cost may be offered by

manufacturers based on market share and volume. As a result, higher volumes may decrease the

cost per pill to distributors. Decreased cost per pill in turn, allows wholesale distributors to offer

more competitive prices, or alternatively, pocket the difference as additional profit. Either way,

the increased sales volumes result in increased profits. The Marketing Defendants engaged in the

practice of paying rebates and/or chargebacks to the Distributor Defendants for sales of

prescription opioids as a way to help them boost sales and better target their marketing efforts. The

Washington Post has described the practice as industry-wide, and the HDA includes a “Contracts

and Chargebacks Working Group,” suggesting a standard practice. In addition, in a recent

settlement with the DEA, Mallinckrodt acknowledged that “[a]s part of their business model

Mallinckrodt collects transaction information, referred to as chargeback data, from their direct

customers (distributors).” The transaction information contains data relating to the direct customer

sales of controlled substances to ‘downstream’ registrants,” meaning pharmacies or other



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dispensaries, such as hospitals. Marketing Defendants buy data from pharmacies as well. This

exchange of information, upon information, and belief, would have opened channels providing for

the exchange of information revealing suspicious orders as well.

         471.    The contractual relationships among the Defendants also include vault security

programs. Defendants are required to maintain certain security protocols and storage facilities for

the manufacture and distribution of their opioids. The manufacturers negotiated agreements

whereby the Marketing Defendants installed security vaults for the Distributor Defendants in

exchange for agreements to maintain minimum sales performance thresholds. These agreements

were used by the Defendants as a tool to violate their reporting and diversion duties in order to

reach the required sales requirements.

         472.    In addition, Defendants worked together to achieve their common purpose through

trade or other organizations, such as the Pain Care Forum (“PCF”) and the HDA.

         473.    The PCF has been described as a coalition of drug makers, trade groups and dozens

of non-profit organizations supported by industry funding, including the Front Groups described

in this Complaint. The PCF recently became a national news story when it was discovered that

lobbyists for members of the PCF quietly shaped federal and state policies regarding the use of

prescription opioids for more than a decade.

         474.    The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national response

to the ongoing wave of prescription opioid abuse.”169 Specifically, PCF members spent over $740




169
   Matthew Perrone & Ben Wieder, Pro-Painkiller Echo Chamber Shaped Policy Amid Drug Epidemic, The Ctr.
for Pub. Integrity, https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-shaped-policy-
amid-drug-epidemic. (Last Updated Dec. 15, 2016, 9:09 AM) (emphasis added).



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million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

opioid-related measures.170

            475.   The Defendants who stood to profit from expanded prescription opioid use are

members of and/or participants in the PCF. In 2012, membership and participating organizations

included Endo, Purdue, Actavis, and Cephalon. Each of the Marketing Defendants worked

together through the PCF. But, the Marketing Defendants were not alone. The Distributor

Defendants actively participated, and continue to participate in the PCF, at a minimum, through

their trade organization, the HDA.171 The Distributor Defendants participated directly in the PCF

as well.

            476.   Additionally, the HDA led to the formation of interpersonal relationships and an

organization among the Defendants. Although the entire HDA membership directory is private,

the HDA website confirms that each of the Distributor Defendants and the Marketing Defendants

including Actavis, Endo, Purdue, Mallinckrodt, and Cephalon were members of the HDA.

Additionally, the HDA and each of the Distributor Defendants, eagerly sought the active

membership and participation of the Marketing Defendants by advocating for the many benefits

of members, including “strengthen[ing] . . . alliances.”172

            477.   Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s


170
      Id.
171
   Id.; The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic
Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
Corporation. Executive Committee, Healthcare Distribution Alliance
https://www.healthcaredistribution.org/about/executive-committee (last accessed Apr. 25, 2018).
172
   Manufacturer Membership , Healthcare Distribution Alliance, ,
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en.
(last accessed Apr. 25, 2018).



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members-only Business and Leadership Conference,” “networking with HDA wholesale

distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

“participate on HDA committees, task forces and working groups with peers and trading partners,”

and “make connections.”173 Clearly, the HDA and the Defendants believed that membership in the

HDA was an opportunity to create interpersonal and ongoing organizational relationships and

“alliances” between the Marketing and Distributor Defendants.

            478.   The application for manufacturer membership in the HDA further indicates the

level of connection among the Defendants and the level of insight that they had into each other’s

businesses.174 For example, the manufacturer membership application must be signed by a “senior

company executive,” and it requests that the manufacturer applicant identify a key contact and any

additional contacts from within its company.

            479.   The HDA application also requests that the manufacturer identify its current

distribution information, including the facility name and contact information. Manufacturer

members were also asked to identify their “most recent year end net sales” through wholesale

distributors, including the Distributor Defendants AmerisourceBergen, Cardinal Health, and

McKesson and their subsidiaries.

            480.   The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the Marketing and Distributor Defendants with the opportunity to work closely

together, confidentially, to develop and further the common purpose and interests of the enterprise.




173
      Id.
174
   Manufacturer Membership Application, Healthcare Distribution Alliance, ,
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
application.ashx?la=en.


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            481.   The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

the Marketing Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing

industry issues.”175 The conferences also gave the Marketing and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.”176 The HDA and its conferences were significant opportunities

for the Marketing and Distributor Defendants to interact at a high-level of leadership. It is clear

that the Marketing Defendants embraced this opportunity by attending and sponsoring these

events.177

            482.   After becoming members of HDA, Defendants were eligible to participate on

councils, committees, task forces and working groups, including:

                   a.     Industry Relations Council: “This council, composed of distributor and
                          manufacturer members, provides leadership on pharmaceutical distribution
                          and supply chain issues.”

                   b.     Business Technology Committee: “This committee provides guidance to
                          HDA and its members through the development of collaborative e-
                          commerce business solutions. The committee’s major areas of focus within
                          pharmaceutical distribution include information systems, operational
                          integration and the impact of e-commerce.” Participation in this committee
                          includes distributor and manufacturer members.

                   c.     Logistics Operation Committee: “This committee initiates projects
                          designed to help members enhance the productivity, efficiency and
                          customer satisfaction within the healthcare supply chain. Its major areas of
                          focus include process automation, information systems, operational
175
   Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution
Alliance, https://web.archive.org/web/20150424054305/https://www.healthcaredistribution.org/events/2015-
business-and-leadership-conference/blc-for-manufacturers.
176
      Id.
177
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://web.archive.org/web/20160119143358/https://www.healthcaredistribution.org/events/2015-distribution-
management-conference.


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                         integration, resource management and quality improvement.” Participation
                         in this committee includes distributor and manufacturer members.

                d.       Manufacturer Government Affairs Advisory Committee: “This committee
                         provides a forum for briefing HDA’s manufacturer members on federal and
                         state legislative and regulatory activity affecting the pharmaceutical
                         distribution channel. Topics discussed include such issues as prescription
                         drug traceability, distributor licensing, FDA and DEA regulation of
                         distribution, importation and Medicaid/Medicare reimbursement.”
                         Participation in this committee includes manufacturer members.

                e.       Contracts and Chargebacks Working Group: “This working group explores
                         how the contract administration process can be streamlined through process
                         improvements or technical efficiencies. It also creates and exchanges
                         industry knowledge of interest to contract and chargeback professionals.”
                         Participation in this group includes manufacturer and distributor members.

         483.   The Distributor Defendants and Marketing Defendants also participated, through

the HDA, in Webinars and other meetings designed to exchange detailed information regarding

their prescription opioid sales, including purchase orders, acknowledgements, ship notices, and

invoices.178 For example, on April 27, 2011, the HDA offered a Webinar to “accurately and

effectively exchange business transactions between distributors and manufacturers…” The

Marketing Defendants used this information to gather high-level data regarding overall distribution

and direct the Distributor Defendants on how to most effectively sell prescription opioids.

         484.   Taken together, the interaction and length of the relationships between and among

the Marketing and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Marketing and Distributor Defendants were not

two separate groups operating in isolation or two groups forced to work together in a closed

system. Defendants operated together as a united entity, working together on multiple fronts, to

engage in the unlawful sale of prescription opioids.



178
  Webinar Leveraging EDI: Order-to-Cash Transactions CD Box Set, Healthcare Distribution Alliance, (Apr. 27,
2011), https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.


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       485.    The HDA and the PCF are but two examples of the overlapping relationships, and

concerted joint efforts to accomplish common goals and demonstrates that the leaders of each of

the Defendants were in communication and cooperation.

       486.    Publications and guidelines issued by the HDA nevertheless confirm that the

Defendants utilized their membership in the HDA to form agreements. Specifically, in the fall of

2008, the HDA published the Industry Compliance Guidelines: Reporting Suspicious Orders and

Preventing Diversion of Controlled Substances (the “Industry Compliance Guidelines”) regarding

diversion. As the HDA explained in an amicus brief, the Industry Compliance Guidelines were the

result of “[a] committee of HDMA members contribut[ing] to the development of this publication”

beginning in late 2007.

       487.    This statement by the HDA and the Industry Compliance Guidelines support the

allegation that Defendants utilized the HDA to form agreements about their approach to their

duties under the CSA. As John M. Gray, President/CEO of the HDA stated to the Energy and

Commerce Subcommittee on Health in April 2014, is “difficult to find the right balance between

proactive anti-diversion efforts while not inadvertently limiting access to appropriately prescribed

and dispensed medications.” Here, it is apparent that all of the Defendants found the same balance

– an overwhelming pattern and practice of failing to identify, report or halt suspicious orders, and

failure to prevent diversion.

       488.    The Defendants’ scheme had a decision-making structure driven by the Marketing

Defendants and corroborated by the Distributor Defendants. The Marketing Defendants worked

together to control the state and federal government’s response to the manufacture and distribution

of prescription opioids by increasing production quotas through a systematic refusal to maintain




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effective controls against diversion, to identify suspicious orders, or to report suspicious orders to

the DEA.

       489.    The Defendants worked together to control the flow of information and influence

state and federal governments to pass legislation that supported the use of opioids and limited the

authority of law enforcement to rein in illicit or inappropriate prescribing and distribution. The

Marketing and Distributor Defendants did this through their participation in the PCF and HDA.

       490.    The Defendants also worked together to ensure that the Aggregate Production

Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained artificially high

and ensured that suspicious orders were not reported to the DEA in order to ensure that the DEA

had no basis for refusing to increase or decrease production quotas due to diversion.

       491.    The Defendants also had reciprocal obligations under the CSA to report suspicious

orders of other parties if they became aware of them. Defendants were thus collectively responsible

for each other’s compliance with their reporting obligations.

       492.    Defendants thus knew that their own conduct could be reported by other distributors

or manufacturers and that their failure to report suspicious orders they filled could be brought to

the DEA’s attention. As a result, Defendants had an incentive to communicate with each other

about the reporting of suspicious orders to ensure consistency in their dealings with DEA.

       493.    The desired consistency was achieved. As described below, none of the Defendants

reported suspicious orders and the flow of opioids continued unimpeded.

               4.      Defendants Kept Careful Track of Prescribing Data and Knew About
                       Suspicious Orders and Prescribers

       494.    The data that reveals and/or confirms the identity of each wrongful opioid

distributor is hidden from public view in the DEA’s confidential ARCOS database. The data




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necessary to identify with specificity the transactions that were suspicious is in possession of the

Distributor and Marketing Defendants but has not been disclosed to the public.

       495.    Publicly available information confirms that Distributor and Marketing Defendants

funneled far more opioids into communities across the United States than could have been

expected to serve legitimate medical use, and ignored other red flags of suspicious orders. This

information, along with the information known only to Distributor and Marketing Defendants,

would have alerted them to potentially suspicious orders of opioids.

       496.    This information includes the following facts:

               a.      distributors and manufacturers have access to detailed transaction-level data
                       on the sale and distribution of opioids, which can be broken down by zip
                       code, prescriber, and pharmacy and includes the volume of opioids, dose,
                       and the distribution of other controlled and non-controlled substances;

               b.      manufacturers make use of that data to target their marketing and, for that
                       purpose, regularly monitor the activity of doctors and pharmacies;

               c.      manufacturers and distributors regularly visit pharmacies and doctors to
                       promote and provide their products and services, which allows them to
                       observe red flags of diversion, as described in paragraphs 186 and 200;

               d.      Distributor Defendants together account for approximately 90% of all
                       revenues from prescription drug distribution in the United States, and each
                       plays such a large part in the distribution of opioids that its own volume
                       provides a ready vehicle for measuring the overall flow of opioids into a
                       pharmacy or geographic area; and

               e.      Marketing Defendants purchased chargeback data (in return for discounts
                       to Distributor Defendants) that allowed them to monitor the combined flow
                       of opioids into a pharmacy or geographic area.

       497.    The conclusion that Defendants were on notice of the problems of abuse and

diversion follows inescapably from the fact that they flooded communities with opioids in

quantities that they knew or should have known exceeded any legitimate market for opioids-even

the wider market for chronic pain.




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         498.   At all relevant times, the Defendants were in possession of national, regional, state,

and local prescriber- and patient-level data that allowed them to track prescribing patterns over

time. They obtained this information from data companies, including but not limited to: IMS

Health, QuintilesIMS, IQVIA, Pharmaceutical Data Services, Source Healthcare Analytics, NDS

Health Information Services, Verispan, Quintiles, SDI Health, ArcLight, Scriptline, Wolters

Kluwer, and/or PRA Health Science, and all of their predecessors or successors in interest (the

“Data Vendors”).

         499.   The Distributor Defendants developed “know your customer” questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the Defendants identify suspicious orders or customers who were likely to divert

prescription opioids.179 The “know your customer” questionnaires informed the Defendants of the

number of pills that the pharmacies sold, how many non-controlled substances were sold compared

to controlled substances, whether the pharmacy buys from other distributors, the types of medical

providers in the area, including pain clinics, general practitioners, hospice facilities, cancer

treatment facilities, among others, and these questionnaires put the recipients on notice of

suspicious orders.

         500.   Defendants purchased nationwide, regional, state, and local prescriber- and patient-

level data from the Data Vendors that allowed them to track prescribing trends, identify suspicious

orders, identify patients who were doctor shopping, identify pill mills, etc. The Data Vendors’




179
   Suggested Questions a Distributor Should Ask Prior to Shipping Controlled Substances, Drug Enf’t Admin.
Diversion Control Div., https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf;;
Richard Widup, Jr. & Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue
Pharma and McGuireWoods LLC,(Oct. 2010), https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf..



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information purchased by the Defendants allowed them to view, analyze, compute, and track their

competitors’ sales, and to compare and analyze market share information.180

           501.     IMS Health, for example, provided Defendants with reports detailing prescriber

behavior and the number of prescriptions written between competing products.181

           502.     Similarly, Wolters Kluwer, an entity that eventually owned data mining companies

that were created by McKesson (Source) and Cardinal Health (ArcLight), provided the Defendants

with charts analyzing the weekly prescribing patterns of multiple physicians, organized by

territory, regarding competing drugs, and analyzed the market share of those drugs. 182

           503.     This information allowed the Defendants to track and identify instances of

overprescribing. In fact, one of the Data Vendors’ experts testified that the Data Vendors’

information could be used to track, identify, report and halt suspicious orders of controlled

substances.183

           504.     Defendants were, therefore, collectively aware of the suspicious orders that flowed

daily from their manufacturing and distribution facilities.

           505.     Defendants refused to identify, investigate and report suspicious orders to the DEA

when they became aware of the same despite their actual knowledge of drug diversion rings. As

described in detail below, Defendants refused to identify suspicious orders and diverted drugs



  A Verispan representative testified that the Distributor Defendants use the prescribing information to “drive
180

market share.” Sorrell v. IMS Health Inc., No. 10-779, 2011 WL 661712, *9-10 (Feb. 22, 2011).
181
   Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How We Turned a Mountain of Data into a Few
Information-Rich Molehills, (accessed on February 15, 2018),
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.198.349&rep=rep1&type=pdf, Figure 2 at p.3.
182
      Joint Appendix in Sorrell v. IMS Health Inc., No. 10-779, 2011 WL 705207, *467-471 (Feb. 22, 2011).
183
   In Sorrell, expert Eugene “Mick” Kolassa testified, on behalf of the Data Vendor, that “a firm that sells narcotic
analgesics was able to use prescriber-identifiable information to identify physicians that seemed to be prescribing an
inordinately high number of prescriptions for their product.” Id.; see also Joint Appendix in Sorrell v. IMS Health,
No. 10-779, 2011 WL 687134, at *204 (Feb. 22, 2011).



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despite the DEA issuing final decisions against distributors in 178 registrant actions between 2008

and 2012184 and 117 recommended decisions in registrant actions from The Office of

Administrative Law Judges. These numbers include seventy-six (76) actions involving orders to

show cause and forty-one (41) actions involving immediate suspension orders, all for failure to

report suspicious orders.185

            506.   Sales representatives were also aware that the prescription opioids they were

promoting were being diverted, often with lethal consequences. As a sales representative wrote on

a public forum:

                   Actions have consequences—so some patient gets Rx’d the 80mg
                   OxyContin when they probably could have done okay on the 20mg
                   (but their doctor got “sold” on the 80mg) and their teen
                   son/daughter/child’s teen friend finds the pill bottle and takes out a
                   few 80’s... next they’re at a pill party with other teens and some kid
                   picks out a green pill from the bowl... they go to sleep and don’t
                   wake up (because they don’t understand respiratory depression)
                   Stupid decision for a teen to make...yes... but do they really deserve
                   to die?

            507.   Moreover, Defendants’ sales incentives rewarded sales representatives who

happened to have pill mills within their territories, enticing those representatives to look the other

way even when their in-person visits to such clinics should have raised numerous red flags. In one

example, a pain clinic in South Carolina was diverting massive quantities of OxyContin. People

traveled to the clinic from towns as far as 100 miles away to get prescriptions, the DEA’s diversion

unit raided the clinic, and prosecutors eventually filed criminal charges against the doctors. But

Purdue’s sales representative for that territory, Eric Wilson, continued to promote OxyContin sales




  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
184

Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
185
      Id.



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at the clinic. He reportedly told another local physician that this clinic accounted for 40% of the

OxyContin sales in his territory. At that time, Wilson was Purdue’s top-ranked sales

representative.186 In response to news stories about this clinic, Purdue issued a statement, declaring

that “if a doctor is intent on prescribing our medication inappropriately, such activity would

continue regardless of whether we contacted the doctor or not.”187

            508.    In another example, a Purdue sales manager informed her supervisors in 2009 about

a suspected pill mill in Los Angeles, reporting over email that when she visited the clinic with her

sales representative, “it was packed with a line out the door, with people who looked like gang

members,” and that she felt “very certain that this an organized drug ring[.]”188 She wrote, “This

is clearly diversion. Shouldn’t the DEA be contacted about this?” But her supervisor at Purdue

responded that while they were “considering all angles,” it was “really up to [the wholesaler] to

make the report.”189 This pill mill was the source of 1.1 million pills trafficked to Everett,

Washington, a city of around 100,000 people. Purdue waited until after the clinic was shut down

in 2010 to inform the authorities.

            509.    Defendants’ obligation to report suspicious prescribing ran head on into their

marketing strategy. Defendants did identify doctors who were their most prolific prescribers, not

to report them, but to market to them. It would make little sense to focus on marketing to doctors

who may be engaged in improper prescribing only to report them to law enforcement, just as it

would make little sense to report those doctors who drove Defendants’ sales.



186
      Meier, supra note 18, at 298-300.
187
      Id.
188
   Harriet Ryan et al., More Than 1 Million OxyContin Pills Ended up in the Hands of Criminals and Addicts. What
the Drugmaker Knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-
part2/.
189
      Id.


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       510.    As discussed below, Endo knew that Opana ER was being widely abused. Yet the

New York Attorney General found in its investigation of Endo that the company’s sales

representatives were not aware that they had a duty to report suspicious activity and were not

trained on the company’s policies or duties to report suspicious activity, and Endo paid bonuses to

sales representatives for detailing prescribers who were subsequently arrested for illegal

prescribing.

       511.    Defendants purchased data from IMS Health (now IQVIA) or other proprietary

sources to identify doctors to target for marketing and to monitor their own and competitors’ sales.

Marketing visits were focused on increasing, sustaining, or converting the prescriptions of the

biggest prescribers, particularly through aggressive, high frequency detailing visits.

       512.    For example, at a national sales meeting presentation in 2011, Actavis pressed its

sales representatives to focus on its high prescribers. This focus on marketing to the highest

prescribers demonstrates that manufacturers were keenly aware of the doctors who were writing

large quantities of opioids. But instead of investigating or reporting those doctors, Defendants were

singularly focused on maintaining, capturing, or increasing their sales.

       513.    Whenever examples of opioid diversion and abuse have drawn media attention,

Purdue and other Marketing Defendants have consistently blamed “bad actors.” For example, in

2001, during a Congressional hearing, Purdue’s attorney Howard Udell answered pointed

questions about how it was that Purdue could utilize IMS Health data to assess its marketing efforts

but not notice a particularly egregious pill mill in Pennsylvania run by a doctor named Richard

Paolino. Udell asserted that Purdue was “fooled” by the doctor: “The picture that is painted in the

newspaper [of Dr. Paolino] is of a horrible, bad actor, someone who preyed upon this community,




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who caused untold suffering. And he fooled us all. He fooled law enforcement. He fooled the DEA.

He fooled local law enforcement. He fooled us.”190

           514.     But given the closeness with which Defendants monitored prescribing patterns

through IMS Health data, it is highly improbable that they were “fooled.” In fact, a local

pharmacist had noticed the volume of prescriptions coming from Paolino’s clinic and alerted

authorities. Purdue had the prescribing data from the clinic and alerted no one.

           515.     Sales representatives making in-person visits to such clinics were likewise not

fooled. But as pill mills were lucrative for the manufacturers and individual sales representatives

alike, Marketing Defendants and their employees turned a collective blind eye, allowing certain

clinics to dispense staggering quantities of potent opioids and feigning surprise when the most

egregious examples eventually made the nightly news.

                    5.       Defendants Failed to Report Suspicious Orders or Otherwise Act to
                             Prevent Diversion

           516.     As discussed above, Defendants failed to report suspicious orders, prevent

diversion, or otherwise control the supply of opioids following into communities across America.

Despite the notice described above, and in disregard of their duties, Defendants continued to pump

massive quantities of opioids despite their obligations to control the supply, prevent diversion,

report and take steps to halt suspicious orders.

           517.     Governmental agencies and regulators have confirmed (and in some cases

Defendants have admitted) that Defendants did not meet their obligations and have uncovered

especially blatant wrongdoing.




190
      Meier, supra note 18, at 179.


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        518.    For example, on January 5, 2017, McKesson entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for,

inter alia, failure to identify and report suspicious orders at its facilities in Aurora, CO; Aurora, IL;

Delran, NJ; LaCrosse, WI; Lakeland FL; Landover, MD; La Vista, NE; Livonia, MI; Methuen,

MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West Sacramento, CA. McKesson

admitted that, at various times during the period from January 1, 2009 through the effective date

of the Agreement (January 17, 2017) it “did not identify or report to [the] DEA certain orders

placed by certain pharmacies which should have been detected by McKesson as suspicious based

on the guidance contained in the DEA Letters.”

        519.    McKesson further admitted that, during this time period, it “failed to maintain

effective controls against diversion of particular controlled substances into other than legitimate

medical, scientific and industrial channels by sales to certain of its customers in violation of the

CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300 et seq., at the McKesson

Distribution Centers.” Due to these violations, McKesson agreed to a partial suspension of its

authority to distribute controlled substances from certain of its facilities some of which

investigators found “were supplying pharmacies that sold to criminal drug rings.”

        520.    Similarly, in 2017, the Department of Justice fined Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements. The government alleged that “Mallinckrodt failed to design and

implement an effective system to detect and report ‘suspicious orders’ for controlled substances—

orders that are unusual in their frequency, size, or other patterns . . . [and] Mallinckrodt supplied

distributors, and the distributors then supplied various U.S. pharmacies and pain clinics, an




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increasingly excessive quantity of oxycodone pills without notifying DEA of these suspicious

orders.”

       521.    On December 23, 2016, Cardinal Health agreed to pay the United States $44 million

to resolve allegations that it violated the Controlled Substances Act in Maryland, Florida and New

York by failing to report suspicious orders of controlled substances, including oxycodone, to the

DEA. In the settlement agreement, Cardinal Health admitted, accepted, and acknowledged that it

had violated the CSA between January 1, 2009 and May 14, 2012 by failing to:

               a.      “timely identify suspicious orders of controlled substances and inform the
                       DEA of those orders, as required by 21 C.F.R. §1301.74(b)”;

               b.      “maintain effective controls against diversion of particular controlled
                       substances into other than legitimate medical, scientific, and industrial
                       channels, as required by 21 C.F.R. §1301.74, including the failure to make
                       records and reports required by the CSA or DEA’s regulations for which a
                       penalty may be imposed under 21 U.S.C. §842(a)(5)”; and

               c.      “execute, fill, cancel, correct, file with the DEA, and otherwise handle DEA
                       ‘Form 222’ order forms and their electronic equivalent for Schedule II
                       controlled substances, as required by 21 U.S.C. §828 and 21 C.F.R. Part
                       1305.”

       522.    In 2012, the State of West Virginia sued AmerisourceBergen and Cardinal Health,

as well as several smaller wholesalers, for numerous causes of action, including violations of the

CSA, consumer credit and protection, and antitrust laws and the creation of a public nuisance.

Unsealed court records from that case demonstrate that AmerisourceBergen, along with McKesson

and Cardinal Health, together shipped 423 million pain pills to West Virginia between 2007 and

2012. AmerisourceBergen itself shipped 80.3 million hydrocodone pills and 38.4 million

oxycodone pills during that time period. These quantities alone are sufficient to show that the

Defendants failed to control the supply chain or to report and take steps to halt suspicious orders.

In 2016, AmerisourceBergen agreed to settle the West Virginia lawsuit for $16 million to the state;

Cardinal Health settled for $20 million.

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            523.   H.D. Smith has also routinely been found to have violated its duties to report

suspicious orders and halt suspicious shipments of prescription opioids. According to a recent

letter from the U.S. House of Representatives Committee on Energy and Commerce, data provided

to the Committee showed that between 2007 and 2008, H.D. Smith provided two pharmacies in

Williamson, West Virginia, a town with a population of 3,191, combined total of nearly 5 million

hydrocodone and oxycodone pills—approximately 1,565 hydrocodone and oxycodone pills for

every man, woman, and child in Williamson.191 According to press reports, H.D. Smith distributed

approximately 13.7 million hydrocodone and 4.4 million oxycodone pills to West Virginia

between 2007 and 2012.192 Press accounts further indicate that H.D. Smith did not submit any

suspicious order reports to the state for at least a decade.193 Upon information and belief, H.D.

Smith engaged in similar wrongful activities in Michigan.

            524.   Thus, as various governmental agencies have alleged or found—and as Defendants

themselves have admitted—the Defendants, acting in disregard of their duties, pumped massive

quantities of opioids into communities around the country despite their obligations to control the

supply, prevent diversion, and report and take steps to halt suspicious orders.

                   6.     Defendants Delayed a Response to the Opioid Crisis by Pretending to
                          Cooperate with Law Enforcement

            525.   When a manufacturer or distributor does not report or stop suspicious orders,

prescriptions for controlled substances may be written and dispensed to individuals who abuse

them or who sell them to others to abuse. This, in turn, fuels and expands the illegal market and


191
   See January 26, 2018 Letter to J. Christopher Smith, President and CEO, H.D. Smith, from the House Committee
on Energy and Commerce.
192
   Eric Eyre, Drug wholesaler agrees to pay $3.5M to settle WV lawsuit, Charleston Gazette-Mail, Jan. 3, 2017
available at https://www.wvgazettemail.com/news/health/drug-wholesaler-agrees-to-pay-m-to-settle-wv-
lawsuit/article_4e8c7f4c-cec5-5173-a199-c19374a6250c.html
193
      Id.


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results in opioid-related overdoses. Without reporting by those involved in the supply chain, law

enforcement may be delayed in taking action—or may not know to take action at all.

       526.    After being caught failing to comply with particular obligations at particular

facilities, Distributor Defendants made broad promises to change their ways and insisted that they

sought to be good corporate citizens. As part of McKesson’s 2008 Settlement with the DEA,

McKesson claimed to have “taken steps to prevent such conduct from occurring in the future,”

including specific measures delineated in a “Compliance Addendum” to the Settlement. Yet, in

2017, McKesson paid $150 million to resolve an investigation by the U.S. DOJ for again failing

to report suspicious orders of certain drugs, including opioids. Even though McKesson had been

sanctioned in 2008 for failure to comply with its legal obligations regarding controlling diversion

and reporting suspicious orders, and even though McKesson had specifically agreed in 2008 that

it would no longer violate those obligations, McKesson continued to violate the laws in contrast

to its written agreement not to do so.

       527.    More generally, the Distributor Defendants publicly portrayed themselves as

committed to working with law enforcement, opioid manufacturers, and others to prevent

diversion of these dangerous drugs. For example, Defendant Cardinal claims that: “We challenge

ourselves to best utilize our assets, expertise and influence to make our communities stronger and

our world more sustainable, while governing our activities as a good corporate citizen in

compliance with all regulatory requirements and with a belief that doing ‘the right thing’ serves

everyone.” Defendant Cardinal likewise claims to “lead [its] industry in anti-diversion strategies

to help prevent opioids from being diverted for misuse or abuse.” Along the same lines, it claims

to “maintain a sophisticated, state-of-the-art program to identify, block and report to regulators

those orders of prescription controlled medications that do not meet [its] strict criteria.” Defendant



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Cardinal also promotes funding it provides for “Generation Rx,” which funds grants related to

prescription drug misuse. A Cardinal executive recently claimed that Cardinal uses “advanced

analytics” to monitor its supply chain; Cardinal assured the public it was being “as effective and

efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

activity.”

         528.   Along the same lines, Defendant McKesson publicly claims that its “customized

analytics solutions track pharmaceutical product storage, handling and dispensing in real time at

every step of the supply chain process,” creating the impression that McKesson uses this tracking

to help prevent diversion. Defendant McKesson has also publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders,” and claimed it is

“deeply passionate about curbing the opioid epidemic in our country.”

         529.   Defendant AmerisourceBergen, too, has taken the public position that it is

“work[ing] diligently to combat diversion and [is] working closely with regulatory agencies and

other partners in pharmaceutical and healthcare delivery to help find solutions that will support

appropriate access while limiting misuse of controlled substances.” A company spokeswoman also

provided assurance that: “At AmerisourceBergen, we are committed to the safe and efficient

delivery of controlled substances to meet the medical needs of patients.”

         530.   Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Defendants, through their trade associations, HDMA and NACDS, filed an

amicus brief in Masters Pharmaceuticals, which made the following statements:194




194
   Brief for HDMA and NACDS, Masters Pharms., Inc. v. U.S. Drug Enf’t Admin., Case No. 15-1335, 2016 WL
1321983 (D.C. Cir. April 4, 2016), at *3-4, *25.


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                 a.      “HDMA and NACDS members not only have statutory and regulatory
                         responsibilities to guard against diversion of controlled prescription drugs,
                         but undertake such efforts as responsible members of society.”

                 b.      “Distributors take seriously their duty to report suspicious orders, utilizing
                         both computer algorithms and human review to detect suspicious orders
                         based on the generalized information that is available to them in the
                         ordering process.”

         531.    Through the above statements made on their behalf by their trade associations, and

other similar statements assuring their continued compliance with their legal obligations, the

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.

         532.    Defendant Mallinckrodt similarly claims to be “committed . . . to fighting opioid

misuse and abuse,” and further asserts that: “In key areas, our initiatives go beyond what is required

by law. We address diversion and abuse through a multidimensional approach that includes

educational efforts, monitoring for suspicious orders of controlled substances, . . . .”

         533.    Other Marketing Defendants also misrepresented their compliance with their legal

duties and their cooperation with law enforcement. Purdue serves as a hallmark example of such

wrongful conduct. Purdue deceptively and unfairly failed to report to authorities illicit or

suspicious prescribing of its opioids, even as it has publicly and repeatedly touted its “constructive

role in the fight against opioid abuse,” including its commitment to ADF opioids and its “strong

record of coordination with law enforcement.”195

         534.    At the heart of Purdue’s public outreach is the claim that it works hand-in-glove

with law enforcement and government agencies to combat opioid abuse and diversion. Purdue has


195
   Setting The Record Straight On OxyContin’s FDA-Approved Label, Purdue Pharma (May 5, 2016)
http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-oxycontins-fda-approved-
label/; Setting The Record Straight On Our Anti-Diversion Programs, Purdue Pharma (July 11, 2016)
http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-our-anti-diversion-
programs/.


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consistently trumpeted this partnership since at least 2008, and the message of close cooperation

is in virtually all of Purdue’s recent pronouncements in response to the opioid abuse.

         535.    Touting the benefits of ADF opioids, Purdue’s website asserts: “[W]e are acutely

aware of the public health risks these powerful medications create . . . . That’s why we work with

health experts, law enforcement, and government agencies on efforts to reduce the risks of opioid

abuse and misuse . . . .”196 Purdue’s statement on “Opioids Corporate Responsibility” likewise

states that “[f]or many years, Purdue has committed substantial resources to combat opioid abuse

by partnering with . . . communities, law enforcement, and government.”197 And, responding to

criticism of Purdue’s failure to report suspicious prescribing to government regulatory and

enforcement authorities, the website similarly proclaims that Purdue “ha[s] a long record of close

coordination with the DEA and other law enforcement stakeholders to detect and reduce drug

diversion.”198

         536.    These public pronouncements create the misimpression that Purdue is proactively

working with law enforcement and government authorities nationwide to root out drug diversion,

including the illicit prescribing that can lead to diversion. It aims to distance Purdue from its past

conduct in deceptively marketing opioids and make its current marketing seem more trustworthy

and truthful.




196
   Opioids With Abuse-Deterrent Properties, Purdue Pharma http://www.purduepharma.com/healthcare-
professionals/responsible-use-of-opioids/opioids-with-abuse-deterrent-properties/.
197
   Opioids & Corporate Responsibility, http://www.purduepharma.com/news-media/opioids-corporate-
responsibility/.
198
   Setting The Record Straight On Our Anti-Diversion Programs, Purdue Pharma (July 11, 2016) at
http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-our-anti-diversion-
programs/. Contrary to its public statements, Purdue seems to have worked behind the scenes to push back against
law enforcement.


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         537.     Public statements by the Defendants and their associates created the false and

misleading impression to regulators, prescribers, and the public that the Defendants rigorously

carried out their legal duties, including their duty to report suspicious orders and exercise due

diligence to prevent diversion of these dangerous drugs, and further created the false impression

that these Defendants also worked voluntarily to prevent diversion as a matter of corporate

responsibility to the communities their business practices would necessarily impact.

                  7.       The National Retail Pharmacies Were on Notice of and Contributed
                           to Illegal Diversion of Prescription Opioids

         538.     National retail pharmacy chains earned enormous profits by flooding the country

with prescription opioids.199 They were keenly aware of the oversupply of prescription opioids

through the extensive data and information they developed and maintained as both distributors and

dispensaries. Yet, instead of taking any meaningful action to stem the flow of opioids into

communities, they continued to participate in the oversupply and profit from it.

         539.     Each of the National Retail Pharmacies does substantial business throughout the

United States. This business includes the distribution and dispensing of prescription opioids.

         540.     The National Retail Pharmacies developed and maintained extensive data on

opioids they distributed and dispensed. Through this data, National Retail Pharmacies had direct

knowledge of patterns and instances of improper distribution, prescribing, and use of prescription

opioids in communities throughout the country, and in Michigan in particular, causing harm to




199
   The allegations contained in this Second Amended Complaint are based, in part, on discovery that is in its
infancy. The U.S. Department of Justice, Drug Enforcement Administration’s motion for extension of time for the
production of suspicious order reports was granted on April 20, 2018 extending the DEA’s production date until
May 18, 2018. The transactional ARCOS data was produced to Plaintiff less than a month before this filing and has
not yet been fully reviewed and synthesized. Moreover, the limited documents produced in City of Chicago v.
Purdue Pharma, L.P., No. 14 CV 4361 (N.D. Ill.), related only to claims against manufacturers and were provided to
Plaintiff a little over a month prior to this filing. Accordingly, Plaintiff reserves its right to further amend this
complaint to add supporting allegations, claims, and parties.


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Plaintiff’s members, employees, and beneficiaries. They used the data to evaluate their own sales

activities and workforce. On information and belief, the National Retail Pharmacies also provided

Defendants with data regarding, inter alia, individual doctors in exchange for rebates or other

forms of consideration. The National Retail Pharmacies’ data is a valuable resource that they could

have used to help stop diversion, but failed to do so.

                 8.     The National Retail Pharmacies Have a Duty to Prevent Diversion

          541.   Each participant in the supply chain of opioid distribution, including the National

Retail Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal

market by, among other things, monitoring, and reporting suspicious activity.

          542.   The National Retail Pharmacies, like manufacturers and other distributors, are

registrants under the CSA. 21 C.F.R. § 1301.11. Under the CSA, pharmacy registrants are required

to “provide effective controls and procedures to guard against theft and diversion of controlled

substances.” See 21 C.F.R. § 1301.71(a). In addition, 21 C.F.R. § 1306.04(a) states, “[t]he

responsibility for the proper prescribing and dispensing of controlled substances is upon the

prescribing practitioner, but a corresponding responsibility rests with the pharmacist who fills the

prescription.” Because pharmacies themselves are registrants under the CSA, the duty to prevent

diversion lies with the pharmacy entity, not the individual pharmacist alone.

          543.   The DEA, among others, has provided extensive guidance to pharmacies

concerning their duties to the public. The guidance advises pharmacies how to identify suspicious

orders and other evidence of diversion.

          544.   Suspicious pharmacy orders include orders of unusually large size, orders that are

disproportionately large in comparison to the population of a community served by the pharmacy,

orders that deviate from a normal pattern and/or orders of unusual frequency and duration, among

others.

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       545.    Additional types of suspicious orders include: (1) prescriptions written by a doctor

who writes significantly more prescriptions (or in larger quantities or higher doses) for controlled

substances compared to other practitioners in the area; (2) prescriptions which should last for a

month in legitimate use, but are being refilled on a shorter basis; (3) prescriptions for antagonistic

drugs, such as depressants and stimulants, at the same time; (4) prescriptions that look “too good”

or where the prescriber’s handwriting is too legible; (5) prescriptions with quantities or doses that

differ from usual medical usage; (6) prescriptions that do not comply with standard abbreviations

and/or contain no abbreviations; (7) photocopied prescriptions; or (8) prescriptions containing

different handwriting. Most of the time, these attributes are not difficult to detect and should be

easily recognizable by pharmacies.

       546.    Suspicious pharmacy orders are red flags for if not direct evidence of diversion.

       547.    Other signs of diversion can be observed through data gathered, consolidated, and

analyzed by the National Retail Pharmacies themselves. That data allows them to observe patterns

or instances of dispensing that are potentially suspicious, of oversupply in particular stores or

geographic areas, or of prescribers or facilities that seem to engage in improper prescribing.

       548.    According to industry standards, if a pharmacy finds evidence of prescription

diversion, the local Board of Pharmacy and DEA must be contacted.

       549.    Despite their legal obligations as registrants under the CSA, the National Retail

Pharmacies allowed widespread diversion to occur—and they did so knowingly.

       550.    Performance metrics and prescription quotas adopted by the National Retail

Pharmacies for their retail stores contributed to their failure. Under CVS’s Metrics System, for

example, pharmacists are directed to meet high goals that make it difficult, if not impossible, to

comply with applicable laws and regulations. There is no measurement for pharmacy accuracy or



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customer safety. Moreover, the bonuses for pharmacists are calculated, in part, on how many

prescriptions that pharmacist fills within a year. The result is both deeply troubling and entirely

predictable: opioids flowed out of National Retail Pharmacies and into communities throughout

the country. The policies remained in place even as the epidemic raged.

       551.    Upon information and belief, this problem was compounded by the Pharmacies’

failure to adequately train their pharmacists and pharmacy technicians on how to properly and

adequately handle prescriptions for opioid painkillers, including what constitutes a proper inquiry

into whether a prescription is legitimate, whether a prescription is likely for a condition for which

the FDA has approved treatments with opioids, and what measures and/or actions to take when a

prescription is identified as phony, false, forged, or otherwise illegal, or when suspicious

circumstances are present, including when prescriptions are procured and pills supplied for the

purpose of illegal diversion and drug trafficking.

       552.    Upon information and belief, the National Retail Pharmacies also failed to

adequately use data available to them to identify doctors who were writing suspicious numbers of

prescriptions and/or prescriptions of suspicious amounts of opioids, or to adequately use data

available to them to do statistical analysis to prevent the filling of prescriptions that were illegally

diverted or otherwise contributed to the opioid crisis.

       553.    Upon information and belief, the National Retail Pharmacies failed to analyze: (a)

the number of opioid prescriptions filled by individual pharmacies relative to the population of the

pharmacy’s community; (b) the increase in opioid sales relative to past years; (c) the number of

opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales

relative to the increase in annual sales of other drugs.




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       554.    Upon information and belief, the National Retail Pharmacies also failed to conduct

adequate internal or external audits of their opioid sales to identify patterns regarding prescriptions

that should not have been filled and to create policies accordingly, or if they conducted such audits,

they failed to take any meaningful action as a result.

       555.    Upon information and belief, the National Retail Pharmacies also failed to

effectively respond to concerns raised by their own employees regarding inadequate policies and

procedures regarding the filling of opioid prescriptions.

       556.    The National Retail Pharmacies were, or should have been, fully aware that the

quantity of opioids being distributed and dispensed by them was untenable, and in many areas

patently absurd; yet, they did not take meaningful action to investigate or to ensure that they were

complying with their duties and obligations under the law with regard to controlled substances.

               9.      Multiple Enforcement Actions against the National Retail Pharmacies
                       Confirms their Compliance Failures.

       557.    The National Retail Pharmacies have long been on notice of their failure to abide

by state and federal law and regulations governing the distribution and dispensing of prescription

opioids. Indeed, several of the National Retail Pharmacies have been repeatedly penalized for their

illegal prescription opioid practices. Upon information and belief, based upon the widespread

nature of these violations, these enforcement actions are the product of, and confirm, national

policies and practices of the National Retail Pharmacies.

                       i. CVS

       558.    CVS is one of the largest companies in the world, with annual revenue of more than

$150 billion. According to news reports, it manages medications for nearly 90 million customers

at 9,700 retail locations. CVS could be a force for good in connection with the opioid crisis, but

like other Defendants, CVS sought profits over people.


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         559.    CVS is a repeat offender and recidivist: the company has paid fines totaling over

$40 million as the result of a series of investigations by the DEA and the United States Department

of Justice (“DOJ”). It nonetheless treated these fines as the cost of doing business and has allowed

its pharmacies to continue dispensing opioids in quantities significantly higher than any plausible

medical need would require, and to continue violating its recordkeeping and dispensing obligations

under the CSA.

         560.    As recently as July 2017, CVS entered into a $5 million settlement with the U.S.

Attorney’s Office for the Eastern District of California regarding allegations that its pharmacies

failed to keep and maintain accurate records of Schedule II, III, IV, and V controlled substances.200

         561.    This fine was preceded by numerous others throughout the country.

         562.    In February 2016, CVS paid $8 million to settle allegations made by the DEA and

the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties under

the CSA and filling prescriptions with no legitimate medical purpose.201

         563.    In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores in

Connecticut failed to maintain proper records in accordance with the CSA.202

         564.    In September 2016, CVS entered into a $795,000 settlement with the Massachusetts

Attorney General wherein CVS agreed to require pharmacy staff to access the state’s prescription


200
   Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle
Alleged Violations of the Controlled Substance Act, (July 11, 2017), https://www.justice.gov/usao-
edca/pr/cvs-pharmacy-inc-pays-5m-settle-alleged-violations-controlled-substance-act.
201
   Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office Dist. of Md., United States Reaches $8 Million
Settlement Agreement with CVS for Unlawful Distribution of Controlled Substances,. (Feb. 12, 2016),
https://www.justice.gov/usao-md/pr/united-states-reaches-8-million-settlement-agreement-cvs-
unlawful-distribution-controlled.
  Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy Pays $600,000 to Settle
202

Controlled Substances Act Allegations, (Oct. 20, 2016), https://www.justice.gov/usao-ct/pr/cvs-pharmacy-
pays-600000-settle-controlled-substances-act-allegations.



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monitoring program website and review a patient’s prescription history before dispensing certain

opioid drugs.203

         565.     In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

50 of its stores violated the CSA by filling forged prescriptions for controlled substances—mostly

addictive painkillers—more than 500 times between 2011 and 2014.204

         566.     In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s

Office for the District of Rhode Island to resolve allegations that several of its Rhode Island stores

violated the CSA by filling invalid prescriptions and maintaining deficient records. The United

States alleged that CVS retail pharmacies in Rhode Island filled a number of forged prescriptions

with invalid DEA numbers, and filled multiple prescriptions written by psychiatric nurse

practitioners for hydrocodone, despite the fact that these practitioners were not legally permitted

to prescribe that drug. Additionally, the government alleged that CVS had recordkeeping

deficiencies.205

         567.     In May 2015, CVS agreed to pay a $22 million penalty following a DEA

investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

prescription opioids, “based on prescriptions that had not been issued for legitimate medical

purposes by a health care provider acting in the usual course of professional practice. CVS also



203
   Dialynn Dwyer, CVS Will Pay $795,000, Strengthen Policies Around Dispensing Opioids in Agreement with
State, Boston.com (Sept. 1, 2016), https://www.boston.com/news/local-news/2016/09/01/cvs-will-pay-
795000-strengthen-policies-around-dispensing-opioids-in-agreement-with-state.
204
   Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5 Million to Resolve
Allegations that Pharmacists Filled Fake Prescriptions,. (June 30, 2016), https://www.justice.gov/usao-
ma/pr/cvs-pay-35-million-resolve-allegations-pharmacists-filled-fake-prescriptions.
205
   Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office Dist. of R.I., Drug Diversion Claims Against CVS
Health Corp. Resolved With $450,000 Civil Settlement, (Aug. 10, 2015), https://www.justice.gov/usao-ri/pr/drug-
diversion-claims-against-cvs-health-corp-resolved-450000-civil-settlement.



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acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

that were issued based on legitimate medical need.”206

           568.    In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

allegations it filled prescriptions written by a doctor whose controlled-substance registration had

expired.207

           569.    In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

improperly selling prescription narcotics in at least five locations in the Oklahoma City

metropolitan area.208

           570.    Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA

registration numbers.209

                                    ii. Walgreens

           571.    Walgreens is the second-largest pharmacy store chain in the United States behind

CVS, with annual revenue of more than $118 billion. According to its website, Walgreens operates

more than 8,100 retail locations and filled 990 million prescriptions on a 30-day adjusted basis in

fiscal 2017.


206
   Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office M. Dist. of Fla., United States Reaches $22 Million
Settlement Agreement With CVS For Unlawful Distribution of Controlled Substances, (May 13, 2015),
https://www.justice.gov/usao-mdfl/pr/united-states-reaches-22-million-settlement-agreement-cvs-unlawful-
distribution.
207
   Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-News
http://www.expressnews.com/business/local/article/H-E-BCVS-fined-over-prescriptions-5736554.php. (Last
Updated Sept. 5, 2014, 8:00 PM).
208
      Andrew Knittle, Oklahoma Pharmacy Board Stays Busy, Hands Out Massive Fines at Times, NewsOK
http://newsok.com/article/5415840. (Last Updated May 4, 2015, 5:00 PM).
209
   Press Release, U.S. Dep’t. of Just., U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11 Million To Settle
Civil Penalty Claims Involving Violations of Controlled Substances Act, (Apr. 3, 2013),
https://www.justice.gov/usao-wdok/pr/cvs-pay-11-million-settle-civil-penalty-claims-involving-violations-
controlled.



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         572.    Walgreens also has been penalized for serious and flagrant violations of the CSA.

Indeed, Walgreens agreed to the largest settlement in DEA history—$80 million—to resolve

allegations that it committed an unprecedented number of recordkeeping and dispensing violations

of the CSA, including negligently allowing controlled substances such as oxycodone and other

prescription opioids to be diverted for abuse and illegal black market sales.210

         573.    The settlement resolved investigations into and allegations of CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

into illicit channels.

         574.    Walgreens’ Florida operations at issue in this settlement highlight its egregious

conduct regarding diversion of prescription opioids. Walgreens’ Florida pharmacies each allegedly

ordered more than one million dosage units of oxycodone in 2011—more than ten times the

average amount.211

         575.    They increased their orders over time, in some cases as much as 600% in the space

of just two years, including, for example, supplying a town of 3,000 with 285,800 orders of

oxycodone in a one-month period. Yet Walgreens corporate officers turned a blind eye to these

abuses. In fact, corporate attorneys at Walgreens suggested, in reviewing the legitimacy of

prescriptions coming from pain clinics, that “if these are legitimate indicators of inappropriate

prescriptions perhaps we should consider not documenting our own potential noncompliance,”




210
   Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees To Pay A Record
Settlement Of $80 Million For Civil Penalties Under The Controlled Substances Act, (June 11, 2013),
https://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-record-settlement-80-million-civil-
penalties-under-controlled.
211
   Appendix B of Order to Show Cause and Immediate Suspension of Registration, In the Matter of Walgreens Co.
(Drug Enf’t Admin. Sept. 13, 2012), https://www.dea.gov/divisions/mia/2013/mia061113_appendixb.pdf.



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underscoring Walgreens’ attitude that profit outweighed compliance with the CSA or the health of

communities.212

            576.    Defendant Walgreens’ settlement with the DEA stemmed from the DEA’s

investigation into Walgreens’ distribution center in Jupiter, Florida, which was responsible for

significant opioid diversion in Florida. According to the Order to Show Cause, Defendant

Walgreens’ corporate headquarters pushed to increase the number of oxycodone sales to

Walgreens’ Florida pharmacies, and provided bonuses for pharmacy employees based on number

of prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010,

Defendant Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

dispensed in June of that year, and found that the highest-ranking store in oxycodone sales sold

almost 18 oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter

Center.213

            577.    Walgreens has also settled with a number of state attorneys general, including West

Virginia ($575,000) and Massachusetts ($200,000).214

            578.    The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the opioid

use of some Medicaid patients who were considered high-risk.

            579.    In January 2017, an investigation by the Massachusetts Attorney General found that

some Walgreens pharmacies failed to monitor patients’ drug use patterns and didn’t use sound

professional judgment when dispensing opioids and other controlled substances—despite the


212
      Id.
213
      Id.
214
      Felice J. Freyer, Walgreens to Pay $200,000 Settlement for Lapses with Opioids, APhA (Jan. 25, 2017),
https://www.pharmacist.com/article/walgreens-pay-200000-settlement-lapses-opioids.



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context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

follow certain procedures for dispensing opioids.215

                          v.       Rite Aid

            580.   With approximately 4,600 stores in 31 states and the District of Columbia, Rite Aid

is the largest drugstore chain on the East Coast and the third-largest in the United States, with

annual revenue of more than $21 billion.

            581.   In 2009, as a result of a multi-jurisdictional investigation by the DOJ, Rite Aid and

nine of its subsidiaries in eight states were fined $5 million in civil penalties for its violations of

the CSA.216

            582.   The investigation revealed that from 2004 onwards, Rite Aid pharmacies across the

country had a pattern of non-compliance with the requirements of the CSA and federal regulations

that lead to the diversion of prescription opioids in and around the communities of the Rite Aid

pharmacies investigated. Rite Aid also failed to notify the DEA of losses of controlled substances

in violation of 21 USC 842(a)(5) and 21 C.F.R 1301.76(b).217

            583.   Numerous state and federal drug diversion prosecutions have occurred in which

prescription opioid pills were procured from National Retail Pharmacies. The allegations in this

Complaint do not attempt to identify all these prosecutions, and the information above is merely

by way of example.




215
      Id.
  Press Release, Dep’t of Just., Rite Aid Corporation and Subsidiaries Agree to Pay $5 Million in Civil Penalties to
216

Resolve Violations in Eight States of the Controlled Substances Act, U.S. Dep’t of Just. (Jan. 12, 2009),
https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-pay-5-million-civil-
penalties-resolve-violations.
217
      Id.


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       584.      The litany of state and federal actions against the National Retail Pharmacies

demonstrate that they routinely, and as a matter of standard operation procedure, violated their

legal obligations under the CSA and other laws and regulations that govern the distribution and

dispensing of prescription opioids.

       585.      Throughout the country and in Michigan in particular, the National Retail

Pharmacies were or should have been aware of numerous red flags of potential suspicious activity

and diversion.

       586.      On information and belief, from the catbird seat of their retail pharmacy operations,

the National Retail Pharmacies knew or reasonably should have known about the disproportionate

flow of opioids into Michigan and the operation of “pill mills” that generated opioid prescriptions

that, by their quantity or nature, were red flags for if not direct evidence of illicit supply and

diversion. Additional information was provided by news reports, and state and federal regulatory

actions, including prosecutions of pill mills in the area.

       587.      On information and belief, the National Retail Pharmacies knew or reasonably

should have known about the devastating consequences of the oversupply and diversion of

prescription opioids, including spiking opioid overdose rates in Plaintiff’s members, employees,

and beneficiaries.

       588.      On information and belief, because of (among other sources of information)

regulatory and other actions taken against the National Retail Pharmacies directly, actions taken

against others pertaining to prescription opioids obtained from their retail stores, complaints and

information from employees and other agents, and the massive volume of opioid prescription drug

sale data that they developed and monitored, the National Retail Pharmacies were well aware that

their distribution and dispensing activities fell far short of legal requirements.



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       589.    The National Retail Pharmacies’ actions and omission in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

significantly to the opioid crisis by enabling, and failing to prevent, the diversion of opioids.

       E.      Defendants Breached Their Duties in Michigan

       590.    The Marketing Defendants all marketed their products and disseminated their

misrepresentations in the state of Michigan. The Distributors Defendants all distributed opioids

and failed to meet their regulatory obligations in Michigan.

       591.    In addition to the duties imposed by federal law, under Michigan law, distributors

have a duty to detect, investigate, refuse to fill, and report suspicious orders of opioids. To that

end, the Michigan Board of Pharmacy requires that drug wholesalers shall establish and maintain

inventories and records of all transactions regarding the receipt and distribution or other disposition

of dangerous drugs .

       592.    Michigan regulations further mandate that suspicious orders, defined as unusual in

size or frequency or deviation from buying patterns, be reported to the Michigan Board of

Pharmacy. Other factors—such as whether the order is skewed toward high dose pills, or orders

that are skewed towards drugs valued for abuse, rather than other high-volume drugs, such as

cholesterol medicines—also should alert distributors to potential problems. Distributors also have

a duty to know their customers and the communities they serve. To the extent that, through this

process of customer due diligence, a distributor observes suspicious circumstances—such as cash

transactions or young and seemingly healthy patients filling prescriptions for opioids at a pharmacy

they supply—those observations can also trigger reasonable suspicion. A single order can warrant

scrutiny, or it may be a pattern of orders, or an order that is unusual given the customer’s history

or its comparison to other customers in the area.



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       593.    Defendants were required by Michigan law to operate in compliance with federal

laws, including the federal Controlled Substances Act (“CSA”), 21 U.S.C. § 801 et seq. and its

implementing regulations. Michigan Board of Pharmacy regulations further mandate that that

suspicious orders, defined as unusual in size or frequency or deviation from buying patterns, be

reported to the Michigan Board of Pharmacy

       594.    A number of Michigan counties had an opioid prescription rate exceeding their

population, and at times well in excess of their population, for extended periods of time.

       595.    Given this, and the additional red flags described below, Marketing and Distributor

Defendants should have been on notice that the diversion of opioids was likely occurring in

Michigan communities, should have investigated, ceased filling orders for opioids, and reported

potential diversion to law enforcement.

       596.    This same publicly available data suggests distribution of opioids in Michigan and

Ohio communities exceeded reasonable medical use and that opioids were likely diverted in these

areas. The volume of opioids distributed in Michigan and Ohio communities, including to

members, employees, and beneficiaries, is so high as to raise a red flag that not all of the

prescriptions being ordered could be for legitimate medical uses.

       597.    In addition, prescribers in Michigan have been convicted of crimes involving drug

diversion. Upon information and belief, these prescribers, and the pharmacies at which their

patients filled prescriptions for opioids, yielded orders of unusual size, frequency, or deviation, or

raised other warning signs that should have alerted Marketing and Distributor Defendants not only

to an overall oversupply in Michigan, but specific instances of diversion, all to the detriment of

Plaintiff, and its members, employees, and beneficiaries.




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       598.    Not only have individual prescribers or pharmacies faced charges related to

diversion, pill mills that, upon information and belief, the Defendants also failed to report or cease

supplying have been discovered and shut down. Consistent with this observed statewide trend,

Michigan communities have seen a spike in heroin overdoses.

       599.    Based upon all of these red flags, it can be fairly inferred that Defendants had

information about suspicious orders that they did not report, and also failed to exercise due

diligence before filling orders from which drugs were diverted into illicit uses in communities

across Michigan.

       600.    Each of the Defendants disregarded their reporting and due diligence obligations

under federal and Michigan law. Instead, they consistently failed to report or suspend illicit orders,

deepening the crisis of opioid abuse, addiction, and death in Michigan.

               1.      The Devastating Effects of the Opioid Crisis in Michigan

       601.    The Marketing Defendants’ misrepresentations prompted Michigan health care

providers to prescribe, patients to take, and payors to cover opioids for the treatment of chronic

pain. Through their marketing, the Marketing Defendants overcame barriers to widespread

prescribing of opioids for chronic pain with deceptive messages about the risks and benefits of

long-term opioid use. Defendants compounded these harms by supplying opioids beyond even

what this expanded market could bear, funneling so many opioids into Michigan and Ohio

communities that they could only have been delivering opioids for diversion and illicit use. The

massive amount of opioids that flooded into Michigan and Ohio, including to Plaintiff’s members,

employees, and beneficiaries, as a result of Defendants’ wrongful conduct has devastated

communities across these States.

       602.    Marketing Defendants’ deceptive marketing substantially contributed to an

explosion in the use of opioids across the country. Approximately 20% of the population between

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the ages of 30 and 44, and nearly 30% of the population over 45, have used opioids. Opioids are

the most common treatment for chronic pain, and 20% of office visits now include the prescription

of an opioid.

       603.     The sharp increase in opioid use resulting from Defendants’ conduct has led

directly to a dramatic increase in opioid abuse, addiction, overdose, and death throughout the

United States, including in Michigan and Ohio. Representing the NIH’s National Institute of Drug

Abuse in hearings before the Senate Caucus on International Narcotics Control in May 2014, Dr.

Nora Volkow explained that “aggressive marketing by pharmaceutical companies” is “likely to

have contributed to the severity of the current prescription drug abuse problem.”

       604.     In August 2016, then U.S. Surgeon General Vivek Murthy published an open letter

to physicians nationwide, enlisting their help in combating this “urgent health crisis” and linking

that crisis to deceptive marketing. He wrote that the push to aggressively treat pain, and the

“devastating” results that followed, had “coincided with heavy marketing to doctors . . . . [m]any

of [whom] were even taught—incorrectly—that opioids are not addictive when prescribed for

legitimate pain.”

       605.     In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons, the

CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

       606.     By continuing to fill and failing to report suspicious orders of opioids, Defendants

have enabled an oversupply of opioids, which allows non-patients to become exposed to opioids,

and facilitates access to opioids for both patients who could no longer access or afford prescription



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opioids and individuals struggling with addiction and relapse. Defendants had financial incentives

to distribute higher volumes and not to report suspicious orders or guard against diversion.

Wholesale drug distributors acquire pharmaceuticals, including opioids, from manufacturers at an

established wholesale acquisition cost. Discounts and rebates from this cost may be offered by

manufacturers based on market share and volume. As a result, higher volumes may decrease the

cost per pill to distributors. Decreased cost per pill in turn, allows wholesale distributors to offer

more competitive prices, or alternatively, pocket the difference as additional profit. Either way,

the increased sales volumes result in increased profits.

       607.    In fact, people who are addicted to prescription opioid painkillers are 40 times more

likely to be addicted to heroin. The CDC identified addiction to prescription pain medication as

the strongest risk factor for heroin addiction. Roughly 80% of heroin users previously used

prescription opioids.

       608.    A recent, even deadlier problem stemming from the prescription opioid epidemic

involves fentanyl—a powerful opioid prescribed for cancer pain or in hospital settings that has

made its way into Michigan communities, to the detriment of the Plaintiff, its members,

employees, and beneficiaries.

       609.    Carfentanil, a powerful derivative of fentanyl, has increasingly been found in heroin

and fentanyl sold illicitly. Carfentanil is so strong that it is typically used in veterinary medicine

to sedate large wild animals such as elephants, and has been researched as a chemical weapon. A

dose the size of a grain of salt can be lethal in humans.

       610.    Overdose deaths are only one consequence. Opioid addiction and misuse also result

in an increase in emergency room visits, emergency responses, and emergency medical

technicians’ administration of naloxone, the antidote to opioid overdose.



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       611.    Injury and illness in Michigan extends well beyond even overdoses and emergency

response. According to the CDC, an increase in Hepatitis C in the United States is directly tied to

intravenous injection of opioids. Once again, Michigan is no exception to this trend.

       612.    The deceptive marketing, overprescribing, and oversupply of opioids also had a

significant detrimental impact on children in Michigan. Young children have access to opioids,

nearly all of which were prescribed or supplied to adults in their household, and several children

have themselves been injured or killed.

       613.    In addition, children of parents addicted to opioids are the “invisible victims of the

epidemic.” Increasingly, relatives have been caring for children affected by the opioid epidemic.

       614.    Even infants have not been immune to the impact of opioid abuse. There has been

a dramatic rise in the number of infants who are born addicted to opioids due to prenatal exposure

and suffer from neonatal abstinence syndrome (“NAS,” also known as neonatal opioid withdrawal

syndrome, or “NOWS”). These infants painfully withdraw from the drug once they are born, cry

nonstop from the pain and stress of withdrawal, experience convulsions or tremors, have difficulty

sleeping and feeding, and suffer from diarrhea, vomiting, and low weight gain, among other

serious symptoms. The long-term developmental effects are still unknown, though research in

other states has indicated that these children are likely to suffer from continued, serious neurologic

and cognitive impacts, including hyperactivity, attention deficit disorder, lack of impulse control,

and a higher risk of future addiction. When untreated, NAS can be life-threatening. In 2009, more

than 13,000 infants in the United States were born with NAS, or about one every hour.

       615.    This dramatic rise in NAS may be described as an epidemic within an epidemic.

       616.    Rising opioid use and abuse have negative social and economic consequences far

beyond overdoses in other respects as well. According to a recent analysis by a Princeton



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University economist, approximately one out of every three working age men who are not in the

labor force take daily prescription pain medication. The same research finds that opioid prescribing

alone accounts for 20% of the overall decline in the labor force participation for this group from

2014-16, and 25% of the decline in labor force participation among women. Many of those taking

painkillers still said they experienced pain daily.

       617.    As a result of the impacts described above, and others, the Plaintiff has incurred

substantial expense to address the opioid epidemic created by Defendants’ misconduct. Through

their benefits and health coverage, they have funded for example, medication-assisted treatment,

residential treatment, inpatient and outpatient treatment programs,, detoxification programs, and

death benefits, workers compensation and disability payments, and others.

       618.    The needs of Plaintiff’s members, employees, and beneficiaries, far outpace the

available funding.

       F.      Facts Specific to Michigan and the Fund

               1.      Defendants Actively Promoted Opioids in Michigan and Were Aware
                       of the Excessive Prescribing Practices That Followed

       619.    Sales representatives targeted their opioid promotion at health care providers in

Michigan. They communicated the misrepresentations discussed in this Complaint to doctors,

nurses, and staff in the state. Upon information and belief, these detailers consistently and

aggressively offered free meals—including at some of the most expensive restaurants in

Michigan—and other perks to doctors and employees at the offices they visited, and the detailers

were given handsome bonuses when these doctors wrote prescriptions for their product. Sales

representatives, including those active in Michigan, knew or should have known the potential

consequences of pushing potent doses of opioids for chronic pain and other common indications.




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         620.     Although Plaintiff does not presently know the names of the Marketing Defendants’

sales representatives active in Michigan, through discovery this information will become available.

Sales representatives’ call notes, for example, will identify the strategies Marketing Defendants

deployed specifically within Michigan and some of the specific misrepresentations they made.

         621.     Pill mills were a significant problem in Michigan, dispensing millions of pills into

the state. Several of the pill mills churned out such a high volume of pills that they were criminally

prosecuted. As discussed above, the Marketing Defendants utilize prescription data from IMS

Health and other entities to track where their drugs are being prescribed, in what quantities, and

by whom, in order to tailor their detailing activities. Sales representatives, whose compensation is

tied to the volume of prescriptions written in their territories, know which doctors are the top

prescribers of both their branded drugs and competitor products. Likewise, all Defendants in the

supply chain are responsible for monitoring the movement of controlled substances.

         622.     Defendants, thus, were fully aware of doctors and clinics whose prescribing

activities were questionable. Yet, upon information and belief, Defendants did nothing to stop the

pills mills from operating, and to the contrary encouraged their activities by sending sales

representatives to the pill mills and continuing to supply excessive quantities of opioids.

                  2.       Defendants Distributed Hundreds of Millions of Pills in Michigan

         623.     According to preliminary data recovered from the United States Government’s

ARCOS database regarding some of the most frequently abused categories of opioids,218




218
   On information and belief, the ARCOS data disclosed to date in this litigation only contains data for four opioid-
related DEA drug codes: oxycodone (DEA Drug Code 9143); hydrocodone (DEA Drug Code 9193);
hydromorphone (DEA Drug Code 9150); and fentanyl (DEA Drug Code 9801). The ARCOS data disclosed to date
does not include morphine (DEA Drug Code 9300); oxymorphone (DEA Drug Code 9652); carfentanil (DEA Drug
Code 9743); tapentadol (DEA Drug Code 9780); or Buprenorphine (DEA Drug Code 9064).


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distributors registered with the DEA, including Defendants, moved billions of units of these

opioids into Michigan between 2006 and 2014.

       624.    This volume of opioids, as reported in the currently available ARCOS data, appears

to understate the scope of the problem. The ARCOS data disclosed to date in this litigation only

accounts for four opioid-related DEA drug codes.

       625.    Whatever the exact tally, the unconscionable proliferation of opioids contributed to

the public health emergency now unfolding in Michigan and bringing harm to the Fund—harms

that are described in further detail below.

               3.      The Fund Has Borne and Will Continue to Bear Substantial Costs as
                       a Direct Result of Defendants’ Misconduct

       626.    The benefits, services and programs offered by the Fund come at an enormous cost

and place a huge strain on the Fund’s annual budget. Below are illustrative but non-exhaustive

examples of the harms the Fund has suffered and will continue to suffer as a result of Defendants’

misconduct.

                       a.       Healthcare-Related Services

       627.    A majority of the funding in the last three years has been devoted to combatting the

opioid epidemic created by Defendants.

       628.    In sum, the Fund allocates substantial portions of its budget to prevent, treat, and

assist in recovery from opioid addiction, and also spends substantial sums to prevent fatal opioid

overdoses by and through its self-funded health coverage for employees, members, and

beneficiaries. This includes payments for ambulance services; emergency room and other hospital-

related expenses; medications to combat addiction and overdose including methadone,

buprenorphine, and naloxone; residential and outpatient addiction treatment and mental health




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counseling, . But for Defendants’ misconduct, the Fund would not have spent the massive amounts

it has spent and will continue to spend in the future.

                       b.      Direct Costs for Prescription Opioids and Workers’
                               Compensation Claims

       629.    The Fund has also been damaged directly through its payments of false claims for

chronic opioid therapy by (a)fully funding a medical insurance plan for its employees, members

and their dependents, and (b) its workers’ compensation program.

       630.    With respect to the former, the Fund pays for medical claims related to opioids. In

other words, any time an individual covered by the Fund’s health insurance program submits a

claim for treatment and the primary diagnosis is opioid-related—including for instance, treatment

for opioid addiction—the Fund incurs costs in providing coverage.

       631.    Across the United States, people who are prescribed opioid painkillers cost health

insurers approximately $16,000 more than those who do not have such prescriptions. Those costs,

including those borne by the Fund, would have been avoided had Defendants not hidden the truth

about the risks and benefits of opioids.

       632.    The vast majority of the opioid prescriptions are unnecessary, as the injuries are

typically back strains, joint pain, and other injuries that should be treated with physical therapy,

lidocaine patches, and other non-opioid therapies. Yet because of Defendants’ marketing efforts,

the Fund purchased prescription opioids it should have never paid for.

       633.    And as set forth above, the direct costs of filling the opioid prescriptions is just a

small part of the total cost to the Fund for prescriptions of opioids. The Fund pays for doctors’

visits, lab work, and other costs related to the prescription of opioid painkillers. Had Defendants

told the truth about the risks and benefits of opioids, the Fund would not have had to pay for these

drugs or the costs related to their prescriptions.


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       634.    Defendants’ deceptive marketing of opioids ultimately caused health care providers

to prescribe and the Fund to pay for—through funding a medical insurance plan for its employees,

members, and beneficiaries—opioids to treat chronic pain. The fact that the Fund would pay for

these inappropriate prescriptions was both the foreseeable and intended consequence of

Defendants’ fraudulent marketing scheme. Defendants set out to change the medical and general

consensus supporting chronic opioid therapy with the intention of encouraging doctors to

prescribe, and third-party payors such as the Fund to pay for, long-term prescriptions of opioids to

treat chronic pain despite the absence of genuine evidence supporting chronic opioid therapy and

the existence of evidence to the contrary.

       635.    Defendants’ misrepresentations related to the Fund’s requirement that medical

treatments be medically necessary or reasonably required—a condition of payment for any medical

treatment under the Fund’s health plans. But for Defendants’ fraudulent and deceptive marketing,

prescribers would have accurately understood the risks and benefits of opioids and would not have

prescribed opioids where not medically necessary or reasonably required to treat chronic pain.

Misrepresentations as to, for example, whether patients were likely to become addicted to the drug,

would be able to resume life activities, and would experience long-term relief were not minor or

insubstantial matters, but the core of prescribers’ decision-making.

       636.    It is the Fund’s practice not to pay claims that are not medically necessary or

reasonably required. However, the Fund would not have known whether a prescriber had made an

informed judgment that a particular claim for opioids was medically necessary or reasonably

required, or, conversely had acted under the influence of Defendants’ fraudulent and deceptive

marketing. It is not clear from the face of a claim whether: (1) the patient suffered from cancer or

another terminal condition, for example, where long-term prescribing was medically necessary or



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appropriate; or (2) the prescriber was exposed to Defendants’ marketing materials, treatment

guidelines, or education programs, or visited by a drug representative who engaged in affirmative

misrepresentations or omissions, for example.

         G.     No Federal Agency Action, Including by The FDA, Can Provide The Relief
                The Fund Seeks Here

         637.   The injuries the Fund has suffered and will continue to suffer cannot be addressed

by agency or regulatory action. There are no rules the FDA could make or actions the agency could

take that would provide the Fund the relief it seeks in this litigation.

         638.   Even if prescription opioids were entirely banned today or only used for the

intended purpose, thousands of Michigan residents, and millions of Americans, would remain

addicted to opioids, and overdoses will continue to claim lives. The Fund will continue to expend

exorbitant sums for the health plans, death benefits, and other coverage related to opioid misuse,

addiction, overdose and death of its employees, members, and beneficiaries.

         639.   Regulatory action would do nothing to compensate the Fund for the money and

resources it has already expended addressing the impacts of the opioid epidemic and the resources

it will need in the future. Only this litigation has the ability to provide the Fund with the relief it

seeks.

         640.   Defendants’ misconduct alleged herein is not a series of isolated incidents, but

instead the result of a sophisticated and complex marketing scheme over the course of more than

twenty years that has caused a substantial and long-term burden on the Fund.




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       H.      The Defendants Conspired To Engage In The Wrongful Conduct
               Complained Of Herein and Intended To Benefit Both Independently and
               Jointly From Their Conspiracy

               1.        Conspiracy Among Marketing Defendants

       641.    The Marketing Defendants agreed among themselves to set up, develop, and fund

an unbranded promotion and marketing network to promote the use of opioids for the management

of pain in order to mislead physicians, patients, health care providers, and health care payors such

as the Fund through misrepresentations and omissions regarding the appropriate uses, risks, and

safety of opioids, to increase sales, revenue, and profit from their opioid products.

       642.    This interconnected and interrelated network relied on the Marketing Defendants’

collective use of unbranded marketing materials, such as KOLs, scientific literature, CMEs, patient

education materials, and Front Groups developed and funded collectively by the Marketing

Defendants intended to mislead consumers and medical providers of the appropriate uses, risks,

and safety of opioids.

       643.    The Marketing Defendants’ collective marketing scheme to increase opioid

prescriptions, sales, revenues and profits centered around the development, the dissemination, and

reinforcement of nine false propositions: (1) that addiction is rare among patients taking opioids

for pain; (2) that addiction risk can be effectively managed; (3) that symptoms of addiction

exhibited by opioid patients are actually symptoms of an invented condition dubbed

“pseudoaddiction”; (4) that withdrawal is easily managed; (5) that increased dosing presents no

significant risks; (6) that long-term use of opioids improves function; (7) that the risks of

alternative forms of pain treatment are greater than the adverse effects of opioids; (8) that use of

time-released dosing prevents addiction; and (9) that abuse-deterrent formulations provide a

solution to opioid abuse.



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       644.    The Marketing Defendants knew that none of these propositions is true and that

there was no evidence to support them.

       645.    Each Marketing Defendant worked individually and collectively to develop and

actively promulgate these nine false propositions in order to mislead physicians, patients, health

care providers, and healthcare payors including the Fund regarding the appropriate uses, risks, and

safety of opioids.

       646.    What is particularly remarkable about the Marketing Defendants’ effort is the

seamless method in which the Marketing Defendants joined forces to achieve their collective goal:

to persuade consumers and medical providers of the safety of opioids, and to hide their actual risks

and dangers. In doing so, the Marketing Defendants effectively built a new – and extremely

lucrative – opioid marketplace for their select group of industry players.

       647.    The Marketing Defendants’ unbranded promotion and marketing network was a

wildly successful marketing tool that achieved marketing goals that would have been impossible

to have been met by a single or even a handful of the network’s distinct corporate members.

       648.    For example, the network members pooled their vast marketing funds and dedicated

them to expansive and normally cost-prohibitive marketing ventures, such as the creation of Front

Groups. These collaborative networking tactics allowed each Marketing Defendant to diversify its

marketing efforts, all the while sharing any risk and exposure, financial and/or legal, with other

Marketing Defendants.

       649.    The most unnerving tactic utilized by the Marketing Defendants’ network, was their

unabashed mimicry of the scientific method of citing “references” in their materials. In the

scientific community, cited materials and references are rigorously vetted by objective unbiased




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and disinterested experts in the field, scientific method, and an unfounded theory or proposition

would, or should, never gain traction.

       650.    Marketing Defendants put their own twist on the scientific method: they worked

together to manufacture wide support for their unfounded theories and propositions involving

opioids. Due to their sheer numbers and resources, the Marketing Defendants were able to create

a false consensus through their materials and references.

       651.    An illustrative example of the Marketing Defendants’ utilization of this tactic is the

wide promulgation of the Porter & Jick Letter, which declared the incidence of addiction “rare”

for patients treated with opioids. The authors had analyzed a database of hospitalized patients who

were given opioids in a controlled setting to ease suffering from acute pain. These patients were

not given long-term opioid prescriptions or provided opioids to administer to themselves at home,

nor was it known how frequently or infrequently and in what doses the patients were given their

narcotics. Rather, it appears the patients were treated with opioids for short periods of time under

in-hospital doctor supervision.

       652.    Nonetheless, Marketing Defendants widely and repeatedly cited this letter as proof

of the low addiction risk in connection with taking opioids in connection with taking opioids

despite its obvious shortcomings. Marketing Defendants’ egregious misrepresentations based on

this letter included claims that less than one percent of opioid users became addicted.

       653.    Marketing Defendants’ collective misuse of the Porter & Jick Letter helped the

opioid manufacturers convince patients and healthcare providers that opioids were not a concern.

The enormous impact of Marketing Defendants’ misleading amplification of this letter was well

documented in another letter published in the NEJM on June, 1, 2017, describing the way the one-




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paragraph 1980 letter had been irresponsibly cited and in some cases “grossly misrepresented.” In

particularly, the authors of this letter explained:

                [W]e found that a five-sentence letter published in the Journal in
                1980 was heavily and uncritically cited as evidence that addiction
                was rare with long-term opioid therapy. We believe that this citation
                pattern contributed to the North American opioid crises by helping
                to shape a narrative that allayed prescribers’ concerns about the risk
                of addiction associated with long-term opioid therapy…

By knowingly misrepresenting the appropriate uses, risks, and safety of opioids, the Marketing

Defendants committed overt acts in furtherance of their conspiracy.

                2.      Conspiracy Among All Defendants

        654.    In addition, and on an even broader level, all Defendants took advantage of the

industry structure, including end-running its internal checks and balances, to their collective

advantage. Defendants agreed among themselves to increasing the supply of opioids and

fraudulently increasing the quotas that governed the manufacture and supply of prescription

opioids. Defendants did so to increase sales, revenue, and profit from their opioid products.

        655.    The interaction and length of the relationships between and among the Defendants

reflects a deep level of interaction and cooperation between Defendants in a tightly knit industry.

The Marketing and Distributor Defendants were not two separate groups operating in isolation or

two groups forced to work together in a closed system. The Defendants operated together as a

united entity, working together on multiple fronts, to engage in the unlawful sale of prescription

opioids.

        656.    Defendants collaborated to expand the opioid market in an interconnected and

interrelated network in the following ways, as set forth more fully below, including, for example,

membership in the Healthcare Distribution Alliance (“HDA”).




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       657.    Defendants utilized their membership in the HDA and other forms of collaboration

to form agreements about their approach to their duties under the CSA to report suspicious orders.

The Defendants overwhelmingly agreed on the same approach – to fail to identify, report or halt

suspicious opioid orders, and fail to prevent diversion. Defendants’ agreement to restrict reporting

provided an added layer of insulation from DEA scrutiny for the entire industry as Defendants

were thus collectively responsible for each other’s compliance with their reporting obligations.

Defendants were aware, both individually and collectively aware of the suspicious orders that

flowed directly from Defendants’ facilities.

       658.    Defendants knew that their own conduct could be reported by other Defendants and

that their failure to report suspicious orders they filled could be brought to the DEA’s attention.

As a result, Defendants had an incentive to communicate with each other about the reporting or

suspicious orders to ensure consistency in their dealings with DEA.

       659.    The Defendants also worked together to ensure that the opioid quotas allowed by

the DEA remained artificially high and ensured that suspicious orders were not reported to the

DEA in order to ensure that the DEA had not basis for refusing to increase or decrease production

quotas due to diversion.

       660.    The desired consistency, and collective end goal was achieved. Defendants

achieved blockbuster profits through higher opioid sales by orchestrating the unimpeded flow of

opioids.

       I.      Statutes Of Limitations Are Tolled and Defendants Are Estopped From
               Asserting Statutes Of Limitations As Defenses

               1.      Continuing Conduct.

       661.    Plaintiff contends it continues to suffer harm from the unlawful actions by the

Defendants.


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       662.    The continued tortious and unlawful conduct by the Defendants causes a repeated

or continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been incurred

until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has not ceased.

The harms and damages to the Fund have persisted.

               2.      Equitable Estoppel and Fraudulent Concealment

       663.    Defendants are equitably estopped from relying upon a statute of limitations

defense because they undertook active efforts to deceive Plaintiff and to purposefully conceal their

unlawful conduct and fraudulently assure the public, including Plaintiff, and Plaintiff’s Members,

employees, and beneficiaries, that they were undertaking efforts to comply with their obligations

under the state and federal controlled substances laws, all with the goal of protecting their

registered manufacturer or distributor status in the State and to continue generating profits.

Notwithstanding the allegations set forth above, the Defendants affirmatively assured the public,

including the Plaintiff, and Plaintiff’s Members, employees, and beneficiaries, that they are

working to curb the opioid epidemic.

       664.    The Defendants were deliberate in taking steps to conceal their conspiratorial

behavior and active role in the deceptive marketing and the oversupply of opioids through

overprescribing and suspicious sales, all of which fueled the opioid epidemic.

       665.    As set forth herein, the Marketing Defendants deliberately worked through Front

Groups purporting to be patient advocacy and professional organizations, through public relations

companies hired to work with the Front Groups and through paid KOLs to secretly control

messaging, influence prescribing practices and drive sales. The Marketing Defendants concealed

their role in shaping, editing, and approving the content of prescribing guidelines, informational

brochures, KOL presentations and other false and misleading materials addressing pain

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management and opioids that were widely disseminated to regulators, prescribers and the public

at large. They concealed the addictive nature and dangers associated with opioid use and denied

blame for the epidemic attributing it instead solely to abuse and inappropriate prescribing. They

manipulated scientific literature and promotional materials to make it appear that misleading

statements about the risks, safety and superiority of opioids were actually accurate, truthful, and

supported by substantial scientific evidence. Through their public statements, omissions,

marketing, and advertising, the Marketing Defendants’ deceptions deprived Plaintiff of actual or

implied knowledge of facts sufficient to put Plaintiff on notice of potential claims.

       666.    Defendants also concealed from Plaintiff the existence of Plaintiff’s claims by

hiding their lack of cooperation with law enforcement and affirmatively seeking to convince the

public that their legal duties to report suspicious sales had been satisfied through public assurances

that they were working to curb the opioid epidemic. They publicly portrayed themselves as

committed to working diligently with law enforcement and others to prevent diversion of these

dangerous drugs and curb the opioid epidemic, and they made broad promises to change their ways

insisting they were good corporate citizens. These repeated misrepresentations misled regulators,

prescribers and the public, including Plaintiff, and deprived Plaintiff of actual or implied

knowledge of facts sufficient to put Plaintiff on notice of potential claims.

       667.    Plaintiff did not discover the nature, scope and magnitude of Defendants’

misconduct, and its full impact on Plaintiff, and could not have acquired such knowledge earlier

through the exercise of reasonable diligence.

       668.    The Marketing Defendants’ campaign to misrepresent and conceal the truth about

the opioid drugs that they were aggressively pushing in the State and to the Plaintiff’s Members,




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employees, and beneficiaries deceived the medical community, consumers, the State, and

Plaintiff’s Members, employees, and beneficiaries.

       669.     Defendants have also concealed and prevented discovery of information, including

data from the ARCOS database, that will confirm their identities and the extent of their wrongful

and illegal activities. On April 11, 2018, the Northern District of Ohio ordered the transactional

ARCOS data be produced, over Defendants’ strenuous objections. In so doing, the Court reviewed

its previous decisions on this data and held that, because the transaction data had not yet been

produced, the Plaintiff could not identify the potential defendants in this litigation, and further held

that such information was “critical”:

                This means Plaintiffs still do not know: (a) which manufacturers (b)
                sold what types of pills (c) to which distributors; nor do they know
                (d) which distributors (e) sold what types of pills (f) to which
                retailers (g) in what locations. In any given case, therefore, the
                Plaintiff still cannot know for sure who are the correct defendants,
                or the scope of their potential liability. For example, the ARCOS
                spreadsheets produced by DEA show the top five distributors of
                oxycodone in Ohio in 2014 were Cardinal Health,
                AmerisourceBergen, McKesson, Wal-Mart, and Miami-Luken; but
                there is no way to know whether (or how much) any of these five
                entities distributed oxycodone into Seneca County, Ohio (or any
                other particular venue). . . . [The] DEA and [the] defendants . . .
                [have] conceded the data was relevant and necessary to
                litigation . . . . Discovery of precisely which manufacturers sent
                which drugs to which distributors, and which distributors sent which
                drugs to which pharmacies and doctors, is critical not only to all of
                plaintiffs’ claims, but also to the Court’s understanding of the width
                and depth of this litigation.

Order of April 11, 2018 [Doc. 233] at pp. 6-7 (footnotes omitted).

       670.     Defendants intended that their actions and omissions would be relied upon,

including by Plaintiff. Plaintiff did not know and did not have the means to know the truth, due to

Defendants’ actions and omissions.




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       671.      Plaintiff reasonably relied on Defendants’ affirmative statements regarding their

purported compliance with their obligations under the law and consent orders.

       J.        Facts Pertaining to Punitive Damages

       672.      As set forth above, Defendants acted deliberately to increase sales of, and profits

from, opioid drugs. The Marketing Defendants knew there was no support for their claims that

addiction was rare, that addiction risk could be effectively managed, that signs of addiction were

merely “pseudoaddiction,” that withdrawal is easily managed, that higher doses pose no significant

additional risks, that long-term use of opioids improves function, or that time-release or abuse-

deterrent formulations would prevent addiction or abuse. Nonetheless, they knowingly promoted

these falsehoods in order to increase the market for their addictive drugs.

       673.      All of the Defendants, moreover, knew that large and suspicious quantities of

opioids were being poured into communities throughout the United States, yet, despite this

knowledge, took no steps to report suspicious orders, control the supply of opioids, or otherwise

prevent diversion. Indeed, as described above, Defendants acted in concert together to maintain

high levels of quotas for their products and to ensure that suspicious orders would not be reported

to regulators.

       674.      Defendants’ conduct was so willful and deliberate that it continued in the face of

numerous enforcement actions, fines, and other warnings from state and local governments and

regulatory agencies. Defendants paid their fines, made promises to do better, and continued on

with their marketing and supply schemes. This ongoing course of conduct knowingly, deliberately,

and repeatedly threatened and accomplished harm and risk of harm to public health and safety,

and large-scale economic loss to many third-party payors, the Plaintiff in particular.

       675.      Defendants’ actions demonstrated both malice and also aggravated and egregious

fraud. Defendants engaged in the conduct alleged herein with a conscious disregard for the rights

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and safety of other persons, even though that conduct had a great probability of causing substantial

harm. The Marketing Defendants’ fraudulent wrongdoing was done with a particularly gross and

conscious disregard.

               1.      The Marketing Defendants Persisted in Their Fraudulent Scheme
                       Despite Repeated Admonitions, Warnings, and Even Prosecutions

       676.    So determined were the Marketing Defendants to sell more opioids that they simply

ignored multiple admonitions, warnings, and prosecutions. These governmental and regulatory

actions included:

                       a.      FDA Warnings to Janssen Failed to Deter Janssen’s
                               Misleading Promotion of Duragesic

       677.    On February 15, 2000, the FDA sent Janssen a letter concerning the dissemination

of “homemade” promotional pieces that promoted the Janssen drug Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the “homemade” promotional pieces were “false or misleading because they contain

misrepresentations of safety information, broaden Duragesic’s indication, contain unsubstantiated

claims, and lack fair balance.” The March 30, 2000 letter detailed numerous ways in which

Janssen’s marketing was misleading.

       678.    The letter did not stop Janssen. On September 2, 2004, the U.S. Department of

Health and Human Services (“HHS”) sent Janssen a warning letter concerning Duragesic due to

“false or misleading claims about the abuse potential and other risks of the drug, and . . .

unsubstantiated effectiveness claims for Duragesic,” including, specifically, “suggesting that

Duragesic has a lower potential for abuse compared to other opioid products.” The September 2,

2004 letter detailed a series of unsubstantiated, false, or misleading claims.

       679.    One year later, Janssen was still at it. On July 15, 2005, the FDA issued a public

health advisory warning doctors of deaths resulting from the use of Duragesic and its generic

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competitor, manufactured by Mylan N.V. The advisory noted that the FDA had been “‘examining

the circumstances of product use to determine if the reported adverse events may be related to

inappropriate use of the patch’” and noted the possibility “that patients and physicians might be

unaware of the risks” of using the fentanyl transdermal patch, which is a potent opioid analgesic

approved only for chronic pain in opioid-tolerant patients that could not be treated by other drugs.

                       b.     Governmental Action, Including Large Monetary Fines, Failed
                              to Stop Cephalon from Falsely Marketing Actiq for Off-Label
                              Uses

       680.    On September 29, 2008, Cephalon finalized and entered into a corporate integrity

agreement with the Office of the Inspector General of HHS and agreed to pay $425 million in civil

and criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and

Provigil). According to a DOJ press release, Cephalon had trained sales representatives to

disregard restrictions of the FDA-approved label, employed sales representatives and healthcare

professionals to speak to physicians about off-label uses of the three drugs and funded CME to

promote off-label uses.

       681.    Notwithstanding letters, an FDA safety alert, DOJ and state investigations, and the

massive settlement, Cephalon has continued its deceptive marketing strategy.

                       c.     FDA Warnings Did Not Prevent Cephalon from Continuing
                              False and Off-Label Marketing of Fentora

       682.    On September 27, 2007, the FDA issued a public health advisory to address

numerous reports that patients who did not have cancer or were not opioid tolerant had been

prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

“Fentora should not be used to treat any type of short-term pain.” Indeed, FDA specifically denied

Cephalon’s application, in 2008, to broaden the indication of Fentora to include treatment of non-

cancer breakthrough pain and use in patients who were not already opioid-tolerant.


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       683.    Flagrantly disregarding the FDA’s refusal to broaden the indication for Fentora,

Cephalon nonetheless marketed Fentora beyond its approved indications. On March 26, 2009, the

FDA warned Cephalon against its misleading advertising of Fentora (“Warning Letter”). The

Warning Letter described a Fentora Internet advertisement as misleading because it purported to

broaden “the indication for Fentora by implying that any patient with cancer who requires

treatment for breakthrough pain is a candidate for Fentora . . . when this is not the case.” It further

criticized Cephalon’s other direct Fentora advertisements because they did not disclose the risks

associated with the drug.

       684.    Despite this warning, Cephalon continued to use the same sales tactics to push

Fentora as it did with Actiq. For example, on January 13, 2012, Cephalon published an insert in

Pharmacy Times titled “An Integrated Risk Evaluation and Mitigation Strategy (REMS) for

FENTORA (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).” Despite

the repeated warnings of the dangers associated with the use of the drugs beyond their limited

indication, as detailed above, the first sentence of the insert states: “It is well recognized that the

judicious use of opioids can facilitate effective and safe management of chronic pain.”

                       d.      A Guilty Plea and a Large Fine Did Not Deter Purdue from
                               Continuing Its Fraudulent Marketing of OxyContin

       685.    In May 2007, Purdue and three of its executives pled guilty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea,

Purdue admitted that its promotion of OxyContin was misleading and inaccurate, misrepresented

the risk of addiction and was unsupported by science. Additionally, Michael Friedman, the

company’s president, pled guilty to a misbranding charge and agreed to pay $19 million in fines;

Howard R. Udell, Purdue’s top lawyer, also pled guilty and agreed to pay $8 million in fines; and


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Paul D. Goldenheim, its former medical director, pled guilty as well and agreed to pay $7.5 million

in fines.

        686.   Nevertheless, even after the settlement, Purdue continued to pay doctors on

speakers’ bureaus to promote the liberal prescribing of OxyContin for chronic pain and fund

seemingly neutral organizations to disseminate the message that opioids were non-addictive as

well as other misrepresentations. At least until early 2018, Purdue continued to deceptively market

the benefits of opioids for chronic pain while diminishing the associated dangers of addiction.

After Purdue made its guilty plea in 2007, it assembled an army of lobbyists to fight any legislative

actions that might encroach on its business. Between 2006 and 2015, Purdue and other opioid

producers, along with their associated nonprofits, spent nearly $900 million dollars on lobbying

and political contributions— eight times what the gun lobby spent during that period.

               2.      Repeated Admonishments and Fines Did Not Stop Defendants from
                       Ignoring Their Obligations to Control the Supply Chain and Prevent
                       Diversion

        687.   Defendants were repeatedly admonished and even fined by regulatory authorities,

but continued to disregard their obligations to control the supply chain of dangerous opioids and

to institute controls to prevent diversion.

        688.   In a 60 Minutes interview last fall, former DEA agent Joe Rannazzisi described

Defendants’ industry as “out of control,” stating that “[w]hat they wanna do, is do what they wanna

do, and not worry about what the law is. And if they don’t follow the law in drug supply, people

die. That’s just it. People die.” He further explained that:

               JOE RANNAZZISI: The three largest distributors are Cardinal
               Health, McKesson, and AmerisourceBergen. They control probably
               85 or 90 percent of the drugs going downstream.

               [INTERVIEWER]: You know the implication of what you’re
               saying, that these big companies knew that they were pumping drugs
               into American communities that were killing people.

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               JOE RANNAZZISI: That’s not an implication, that’s a fact. That’s
               exactly what they did.

       689.    Another DEA veteran similarly stated that these companies failed to make even a

“good faith effort” to “do the right thing.” He further explained that “I can tell you with 100 percent

accuracy that we were in there on multiple occasions trying to get them to change their behavior.

And they just flat out ignored us.”

       690.    Government actions against the Defendants with respect to their obligations to

control the supply chain and prevent diversion include:

               a.      On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                       Suspension Order against the AmerisourceBergen Orlando, Florida
                       distribution center (“Orlando Facility”) alleging failure to maintain
                       effective controls against diversion of controlled substances. On June 22,
                       2007, AmerisourceBergen entered into a settlement that resulted in the
                       suspension of its DEA registration;

               b.      On November 28, 2007, the DEA issued an Order to Show Cause and
                       Immediate Suspension Order against the Cardinal Health Auburn,
                       Washington Distribution Center (“Auburn Facility”) for failure to maintain
                       effective controls against diversion of hydrocodone;

               c.      On December 5, 2007, the DEA issued an Order to Show Cause and
                       Immediate Suspension Order against the Cardinal Health Lakeland, Florida
                       Distribution Center (“Lakeland Facility”) for failure to maintain effective
                       controls against diversion of hydrocodone;

               d.      On December 7, 2007, the DEA issued an Order to Show Cause and
                       Immediate Suspension Order against the Cardinal Health Swedesboro, New
                       Jersey Distribution Center (“Swedesboro Facility”) for failure to maintain
                       effective controls against diversion of hydrocodone;

               e.      On January 30, 2008, the DEA issued an Order to Show Cause against the
                       Cardinal Health Stafford, Texas Distribution Center (“Stafford Facility”)
                       for failure to maintain effective controls against diversion of hydrocodone;

               f.      On September 30, 2008, Cardinal Health entered into a Settlement and
                       Release Agreement and Administrative Memorandum of Agreement with
                       the DEA related to its Auburn, Lakeland, Swedesboro and Stafford
                       Facilities. The document also referenced allegations by the DEA that
                       Cardinal failed to maintain effective controls against the diversion of
                       controlled substances at its distribution facilities located in McDonough,


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                       Georgia (“McDonough Facility”), Valencia, California (“Valencia
                       Facility”) and Denver, Colorado (“Denver Facility”);

               g.      On February 2, 2012, the DEA issued an Order to Show Cause and
                       Immediate Suspension Order against the Cardinal Health’s Lakeland
                       Facility for failure to maintain effective controls against diversion of
                       oxycodone; and

               h.      On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to
                       the DEA to resolve the civil penalty portion of the administrative action
                       taken against its Lakeland Facility.

       691.    McKesson’s deliberate disregard of its obligations was especially flagrant. On May

2, 2008, McKesson Corporation entered into an Administrative Memorandum of Agreement

(“2008 McKesson MOA”) with the DEA which provided that McKesson would “maintain a

compliance program designed to detect and prevent the diversion of controlled substances, inform

DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the procedures

established by its Controlled Substance Monitoring Program.”

       692.    Despite its 2008 agreement with DEA, McKesson continued to fail to report

suspicious orders between 2008 and 2012 and did not fully implement or follow the monitoring

program it agreed to. It failed to conduct adequate due diligence of its customers, failed to keep

complete and accurate records in the CSMP files maintained for many of its customers and

bypassed suspicious order reporting procedures set forth in the CSMP. It failed to take these actions

despite its awareness of the great probability that its failure to do so would cause substantial harm.

       693.    On January 5, 2017, McKesson Corporation entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for

violation of the 2008 MOA as well as failure to identify and report suspicious orders at its facilities

in Aurora, CO; Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland, FL; Landover, MD; La Vista,

NE; Livonia, MI; Methuen, MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West

Sacramento, CA. McKesson’s 2017 agreement with DEA documents that McKesson continued to

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breach its admitted duties by “fail[ing] to properly monitor its sales of controlled substances and/or

report suspicious orders to DEA, in accordance with McKesson’s obligations.”

       694.    As The Washington Post and 60 Minutes recently reported, DEA staff

recommended a much larger penalty than the $150 million ultimately agreed to for McKesson’s

continued and renewed breach of its duties, as much as a billion dollars, and delicensing of certain

facilities. A DEA memo outlining the investigative findings in connection with the administrative

case against 12 McKesson distribution centers included in the 2017 Settlement stated that

McKesson “[s]upplied controlled substances in support of criminal diversion activities”;

“[i]gnored blatant diversion”; had a “[p]attern of raising thresholds arbitrarily”; “[f]ailed to review

orders or suspicious activity”; and “[i]gnored [the company’s] own procedures designed to prevent

diversion.”

       695.    On December 17, 2017, CBS aired an episode of 60 Minutes featuring Assistant

Special Agent Schiller, who described McKesson as a company that killed people for its own

financial gain and blatantly ignored the CSA requirement to report suspicious orders:

               DAVID SCHILLER: If they would stayed in compliance with their
               authority and held those that they’re supplying the pills to, the
               epidemic would be nowhere near where it is right now. Nowhere
               near.

               ***

               They had hundreds of thousands of suspicious orders they should
               have reported, and they didn’t report any. There’s not a day that goes
               by in the pharmaceutical world, in the McKesson world, in the
               distribution world, where there’s not something suspicious. It
               happens every day.

               [INTERVIEWER:] And they had none.




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                DAVID SCHILLER: They weren’t reporting any. I mean, you have
                to understand that, nothing was suspicious?219

         696.   Following the 2017 settlement, McKesson shareholders made a books and records

request of the company. According to a separate action pending on their behalf, the Company’s

records show that the Company’s Audit Committee failed to monitor McKesson’s information

reporting system to assess the state of the Company’s compliance with the CSA and McKesson’s

2008 Settlements. More particularly, the shareholder action alleges that the records show that in

October 2008, the Audit Committee had an initial discussion of the 2008 Settlements and results

of internal auditing, which revealed glaring omissions; specifically:

                a.       some customers had “not yet been assigned thresholds in the system to flag
                         large shipments of controlled substances for review”;

                b.       “[d]ocumentation evidencing new customer due diligence was incomplete”;

                c.       “documentation supporting the company’s decision to change thresholds for
                         existing customers was also incomplete”; and

                d.       Internal Audit “identified opportunities to enhance the Standard Operating
                         Procedures.”

         697.   Yet, instead of correcting these deficiencies, after that time, for a period of more

than four years, the Audit Committee failed to address the CSMP or perform any more audits of

McKesson’s compliance with the CSA or the 2008 Settlements, the shareholder action’s

description of McKesson’s internal documents reveals. During that period of time, McKesson’s

Audit Committee failed to inquire whether the Company was in compliance with obligations set

forth in those agreements and with the controlled substances regulations more generally. It was




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   Bill Whitaker, Whistleblowers: DEA Attorneys Went Easy on McKesson, the Country’s Largest Drug Distributor,
CBS News (Dec. 17, 2017), https://www.cbsnews.com/news/whistleblowers-deaattorneys-went-easy-on-mckesson-
the-countrys-largest-drug-distributor/.


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only in January 2013 that the Audit Committee received an Internal Audit report touching on these

issues.

          698.   In short, McKesson, was “neither rehabilitated nor deterred by the 2008

[agreement],” as a DEA official working on the case noted. Quite the opposite, “their bad acts

continued and escalated to a level of egregiousness not seen before.” According to statements of

“DEA investigators, agents and supervisors who worked on the McKesson case” reported in The

Washington Post, “the company paid little or no attention to the unusually large and frequent orders

placed by pharmacies, some of them knowingly supplying the drug rings.” “Instead, the DEA

officials said, the company raised its own self-imposed limits, known as thresholds, on orders from

pharmacies and continued to ship increasing amounts of drugs in the face of numerous red flags.”

          699.   Since at least 2002, Purdue has maintained a database of health care providers

suspected of inappropriately prescribing OxyContin or other opioids. Physicians could be added

to this database based on observed indicators of illicit prescribing such as excessive numbers of

patients, cash transactions, patient overdoses, and unusual prescribing of the highest-strength pills

(80 mg OxyContin pills or “80s,” as they were known on the street, were a prime target for

diversion). Purdue claims that health care providers added to the database no longer were detailed,

and that sales representatives received no compensation tied to these providers’ prescriptions.

          700.   Yet, Purdue failed to cut off these providers’ opioid supply at the pharmacy level—

meaning Purdue continued to generate sales revenue from their prescriptions—and failed to report

these providers to state medical boards or law enforcement. Purdue’s former senior compliance

officer acknowledged in an interview with the Los Angeles Times that in five years of investigating

suspicious pharmacies, the company never stopped the supply of its opioids to a pharmacy, even

where Purdue employees personally witnessed the diversion of its drugs.



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           701.   The same was true of prescribers. For example, as discussed above, despite

Purdue’s knowledge of illicit prescribing from one Los Angeles clinic which its district manager

called an “organized drug ring” in 2009, Purdue did not report its suspicions until long after law

enforcement shut it down and not until the ring prescribed more than 1.1 million OxyContin

tablets.

           702.   Indeed, the New York Attorney General found that Purdue placed 103 New York

health care providers on its “No-Call” List between January 1, 2008, and March 7, 2015, and yet

that Purdue’s sales representatives had detailed approximately two-thirds of these providers, some

quite extensively, making more than a total of 1,800 sales calls to their offices over a six-year

period.

           703.   The New York Attorney General similarly found that Endo knew, as early as 2011,

that Opana ER was being abused in New York, but certain sales representatives who detailed New

York health care providers testified that they did not know about any policy or duty to report

problematic conduct. The New York Attorney General further determined that Endo detailed

health care providers who were subsequently arrested or convicted for illegal prescribing of

opioids a total of 326 times, and these prescribers collectively wrote 1,370 prescriptions for Opana

ER (although the subsequent criminal charges at issue did not involve Opana ER).

           704.   As all of the governmental actions against the Marketing Defendants and against

all the Defendants shows, Defendants knew that their actions were unlawful, and yet deliberately

refused to change their practices because compliance with their legal obligations would have

decreased their sales and their profits.




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II.        FACTS PERTAINING TO CLAIMS UNDER RACKETEER-INFLUENCED AND
           CORRUPT ORGANIZATIONS (“RICO”) ACT

           A.       The Opioid Marketing Enterprise

                    1.      The Common Purpose and Scheme of the Opioid Marketing
                            Enterprise

           705.     Knowing that their products were highly addictive, ineffective and unsafe for the

treatment of long-term chronic pain, non-acute and non-cancer pain, the RICO Marketing

Defendants220 formed an association-in-fact enterprise and engaged in a scheme to unlawfully

increase their profits and sales, and grow their share of the prescription painkiller market, through

repeated and systematic misrepresentations about the safety and efficacy of opioids for treating

long-term chronic pain.

           706.     In order to unlawfully increase the demand for opioids, the RICO Marketing

Defendants formed an association-in-fact enterprise (the “Opioid Marketing Enterprise”) with the

“Front Groups” and KOLs described above. Through their personal relationships, the members of

the Opioid Marketing Enterprise had the opportunity to form and take actions in furtherance of the

Opioid Marketing Enterprise’s common purpose. The RICO Marketing Defendants’ substantial

financial contribution to the Opioid Marketing Enterprise, and the advancement of opioids-friendly

messaging, fueled the U.S. opioids epidemic.221

           707.     The RICO Marketing Defendants, through the Opioid Marketing Enterprise,

concealed the true risks and dangers of opioids from the medical community and the public,

including Plaintiff, its members, employees, and beneficiaries, and made misleading statements

and misrepresentations about opioids that downplayed the risk of addiction and exaggerated the



220
  The RICO Marketing Defendants referred to in this section are those named in the First Claim for Relief under 28
U.S.C. § 1964(c), including Purdue, Cephalon, Janssen, Endo, and Mallinckrodt.
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      Fueling an Epidemic, supra note 132.


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benefits of opioid use. The misleading statements included: (1) that addiction is rare among

patients taking opioids for pain; (2) that addiction risk can be effectively managed; (3) that

symptoms of addiction exhibited by opioid patients are actually symptoms of an invented condition

the RICO Marketing Defendants named “pseudoaddiction”; (4) that withdrawal is easily managed;

(5) that increased dosing presents no significant risks; (6) that long-term use of opioids improves

function; (7) that the risks of alternative forms of pain treatment are greater than the adverse effects

of opioids; (8) that use of time-released dosing prevents addiction; and (9) that abuse-deterrent

formulations provide a solution to opioid abuse.

        708.    The scheme devised, implemented and conducted by the RICO Marketing

Defendants was a common course of conduct designed to ensure that the RICO Marketing

Defendants unlawfully increased their sales and profits through concealment and

misrepresentations about the addictive nature and effective use of the RICO Marketing

Defendants’ drugs. The RICO Marketing Defendants, the Front Groups, and the KOLs acted

together for a common purpose and perpetuated the Opioid Marketing Enterprise’s scheme,

including through the unbranded promotion and marketing network as described above.

        709.    There was regular communication between the RICO Marketing Defendants, Front

Groups and KOLs, in which information was shared, misrepresentations are coordinated, and

payments were exchanged. Typically, the coordination, communication and payment occurred,

and continues to occur, through the repeated and continuing use of the wires and mail in which the

RICO Marketing Defendants, Front Groups, and KOLs share information regarding overcoming

objections and resistance to the use of opioids for chronic pain. The RICO Marketing Defendants,

Front Groups and KOLs functioned as a continuing unit for the purpose of implementing the




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Opioid Marketing Enterprise’s scheme and common purpose, and each agreed and took actions to

hide the scheme and continue its existence.

       710.   At all relevant times, the Front Groups were aware of the RICO Marketing

Defendants’ conduct, were knowing and willing participants in and beneficiaries of that conduct.

Each Front Group also knew, but did not disclose, that the other Front Groups were engaged in the

same scheme, to the detriment of consumers, prescribers, and the Plaintiff. But for the Opioid

Marketing Enterprise’s unlawful fraud, the Front Groups would have had incentive to disclose the

deceit by the RICO Marketing Defendants and the Opioid Marketing Enterprise to their members

and constituents. By failing to disclose this information, Front Groups perpetuated the Opioid

Marketing Enterprise’s scheme and common purpose, and reaped substantial benefits.

       711.   At all relevant times, the KOLs were aware of the RICO Marketing Defendants’

conduct, were knowing and willing participants in that conduct, and reaped benefits from that

conduct. The RICO Marketing Defendants selected KOLs solely because they favored the

aggressive treatment of chronic pain with opioids. The RICO Marketing Defendants’ support

helped the KOLs become respected industry experts. And, as they rose to prominence, the KOLs

falsely touted the benefits of using opioids to treat chronic pain, repaying the RICO Marketing

Defendants by advancing their marketing goals. The KOLs also knew, but did not disclose, that

the other KOLs and Front Groups were engaged in the same scheme, to the detriment of

consumers, prescribers, and the Plaintiff. But for the Opioid Marketing Enterprise’s unlawful

conduct, the KOLs would have had incentive to disclose the deceit by the RICO Marketing

Defendants and the Opioid Marketing Enterprise, and to protect their patients and the patients of

other physicians. By failing to disclose this information, KOLs furthered the Opioid Marketing

Enterprise’s scheme and common purpose, and reaped substantial benefits.



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       712.    As public scrutiny and media coverage focused on how opioids ravaged

communities in Michigan and throughout the United States, the Front Groups and KOLS did not

challenge the RICO Marketing Defendants’ misrepresentations, seek to correct their previous

misrepresentations, terminate their role in the Opioid Marketing Enterprise, nor disclose publicly

that the risks of using opioids for chronic pain outweighed their benefits and were not supported

by medically acceptable evidence.

       713.    The RICO Marketing Defendants, Front Groups and KOLs engaged in certain

discrete categories of activities in furtherance of the common purpose of the Opioid Marketing

Enterprise. As described herein, the Opioid Marketing Enterprise’s conduct in furtherance of the

common purpose of the Opioid Marketing Enterprise involved: (1) misrepresentations regarding

the risk of addiction and safe use of prescription opioids for long-term chronic pain (described in

detail above); (2) lobbying to defeat measures to restrict over-prescription; (3) efforts to criticize

or undermine CDC Guideline; and (4) efforts to limit prescriber accountability.

       714.    In addition to disseminating misrepresentations about the risks and benefits of

opioids, the Opioid Marketing Enterprise also furthered its common purpose by criticizing or

undermining CDC Guideline. Members of the Opioid Marketing Enterprise criticized or

undermined the CDC Guideline which represented “an important step—and perhaps the first major

step from the federal government—toward limiting opioid prescriptions for chronic pain.”

       715.    Several Front Groups, including the U.S. Pain Foundation and the AAPM,

criticized the draft guidelines in 2015, arguing that the “CDC slides presented on Wednesday were

not transparent relative to process and failed to disclose the names, affiliation, and conflicts of

interest of the individuals who participated in the construction of these guidelines.”




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       716.    The AAPM criticized the prescribing guidelines in 2016, through its immediate past

president, stating “that the CDC guideline makes disproportionately strong recommendations

based upon a narrowly selected portion of the available clinical evidence.”

       717.    The RICO Marketing Defendants alone could not have accomplished the purpose

of the Opioid Marketing Enterprise without the assistance of the Front Groups and KOLs, who

were perceived as “neutral” and more “scientific” than the RICO Marketing Defendants

themselves. Without the work of the Front Groups and KOLs in spreading misrepresentations

about opioids, the Opioid Marketing Enterprise could not have achieved its common purpose.

       718.    The impact of the Opioid Marketing Enterprise’s scheme is still in place—i.e., the

opioids continue to be prescribed and used for chronic pain throughout the area of and the epidemic

continues to injure Plaintiff, its members, employees, and beneficiaries.

       719.    As a result, it is clear that the RICO Marketing Defendants, the Front Groups, and

the KOLs were each willing participants in the Opioid Marketing Enterprise, had a common

purpose and interest in the object of the scheme, and functioned within a structure designed to

effectuate the Enterprise’s purpose.

               2.     The Conduct of the Opioid Marketing Enterprise violated Civil RICO

       720.    From approximately the late 1990s to the present, each of the RICO Marketing

Defendants exerted control over the Opioid Marketing Enterprise and participated in the operation

or management of the affairs of the Opioid Marketing Enterprise, directly or indirectly, in the

following ways:

               a.     Creating and providing a body of deceptive, misleading and unsupported
                      medical and popular literature about opioids that (i) understated the risks
                      and overstated the benefits of long-term use; (ii) appeared to be the result
                      of independent, objective research; and (iii) was thus more likely to be
                      relied upon by physicians, patients, and payors;



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         b.    Creating and providing a body of deceptive, misleading and unsupported
               electronic and print advertisements about opioids that (i) understated the
               risks and overstated the benefits of long-term use; (ii) appeared to be the
               result of independent, objective research; and (iii) was thus more likely to
               be relied upon by physicians, patients, and payors;

         c.    Creating and providing a body of deceptive, misleading and unsupported
               sales and promotional training materials about opioids that (i) understated
               the risks and overstated the benefits of long-term use; (ii) appeared to be the
               result of independent, objective research; and (iii) was thus more likely to
               be relied upon by physicians, patients, and payors;

         d.    Creating and providing a body of deceptive, misleading and unsupported
               CMEs and speaker presentations about opioids that (i) understated the risks
               and overstated the benefits of long-term use; (ii) appeared to be the result
               of independent, objective research; and (iii) was thus more likely to be relied
               upon by physicians, patients, and payors;

         e.    Selecting, cultivating, promoting and paying KOLs based solely on their
               willingness to communicate and distribute the RICO Marketing
               Defendants’ messages about the use of opioids for chronic pain;

         f.    Providing substantial opportunities for KOLs to participate in research
               studies on topics the RICO Marketing Defendants suggested or chose, with
               the predictable effect of ensuring that many favorable studies appeared in
               the academic literature;

         g.    Paying KOLs to serve as consultants or on the RICO Marketing
               Defendants’ advisory boards, on the advisory boards and in leadership
               positions on Front Groups, and to give talks or present CMEs, typically over
               meals or at conferences;

         h.    Selecting, cultivating, promoting, creating and paying Front Groups based
               solely on their willingness to communicate and distribute the RICO
               Marketing Defendants’ messages about the use of opioids for chronic pain;

         i.    Providing substantial opportunities for Front Groups to participate in and/or
               publish research studies on topics the RICO Marketing Defendants
               suggested or chose (and paid for), with the predictable effect of ensuring
               that many favorable studies appeared in the academic literature;

         j.    Paying significant amounts of money to the leaders and individuals
               associated with Front Groups;

         k.    Donating to Front Groups to support talks or CMEs, that were typically
               presented over meals or at conferences;



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               l.     Disseminating many of their false, misleading, imbalanced, and
                      unsupported statements through unbranded materials that appeared to be
                      independent publications from Front Groups;

               m.     Sponsoring CME programs put on by Front Groups that focused exclusively
                      on the use of opioids for chronic pain;

               n.     Developing and disseminating pro-opioid treatment guidelines with the help
                      of the KOLs as authors and promoters, and the help of the Front Groups as
                      publishers, and supporters;

               o.     Encouraging Front Groups to disseminate their pro-opioid messages to
                      groups targeted by the RICO Marketing Defendants, such as veterans and
                      the elderly, and then funding that distribution;

               p.     Concealing their relationship to and control of Front Groups and KOLs
                      from the Plaintiff and the public at large; and

               q.     Intending that Front Groups and KOLs would distribute through the U.S.
                      mail and interstate wire facilities, promotional and other materials that
                      claimed opioids could be safely used for chronic pain.

       721.    The Opioid Marketing Enterprise had a hierarchical decision-making structure that

was headed by the RICO Marketing Defendants and corroborated by the KOLs and Front Groups.

The RICO Marketing Defendants controlled representations made about their opioids and their

drugs, doled out funds to PBMs and payments to KOLs, and ensured that representations made by

KOLs, Front Groups, and the RICO Marketing Defendants’ sales detailers were consistent with

the Marketing Defendants’ messaging throughout the United States and Michigan. The Front

Groups and KOLS in the Opioid Marketing Enterprise were dependent on the Marketing

Defendants for their financial structure and for career development and promotion opportunities.

       722.    The Front Groups also conducted and participated in the conduct of the Opioid

Marketing Enterprise, directly or indirectly, in the following ways:

               a.     The Front Groups promised to, and did, make representations regarding
                      opioids and the RICO Marketing Defendants’ drugs that were consistent
                      with the RICO Marketing Defendants’ messages;




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                   b.     The Front Groups distributed, through the U.S. Mail and interstate wire
                          facilities, promotional and other materials which claimed that opioids could
                          be safely used for chronic pain without addiction, and misrepresented the
                          benefits of using opioids for chronic pain outweighed the risks;

                   c.     The Front Groups echoed and amplified messages favorable to increased
                          opioid use—and ultimately, the financial interests of the RICO Marketing
                          Defendants;

                   d.     The Front Groups issued guidelines and policies minimizing the risk of
                          opioid addiction and promoting opioids for chronic pain;

                   e.     The Front Groups strongly criticized the 2016 guidelines from the Center
                          for Disease Control and Prevention (CDC) that recommended limits on
                          opioid prescriptions for chronic pain; and

                   f.     The Front Groups concealed their connections to the KOLs and the RICO
                          Marketing Defendants.

            723.   The RICO Marketing Defendants’ Front Groups, “with their large numbers and

credibility with policymakers and the public—have ‘extensive influence in specific disease

areas.’” The larger Front Groups “likely have a substantial effect on policies relevant to their

industry sponsors.”222 “By aligning medical culture with industry goals in this way, many of the

groups described in this report may have played a significant role in creating the necessary

conditions for the U.S. opioid epidemic.”223

            724.   The KOLs also participated in the conduct of the affairs of the Opioid Marketing

Enterprise, directly or indirectly, in the following ways:

                   a.     The KOLs promised to, and did, make representations regarding opioids
                          and the RICO Marketing Defendants’ drugs that were consistent with the
                          Marketing Defendants’ messages themselves;

                   b.     The KOLs distributed, through the U.S. Mail and interstate wire facilities,
                          promotional and other materials which claimed that opioids could be safely
                          used for chronic pain without addiction, and misrepresented the benefits of
                          using opioids for chronic pain outweighed the risks;


222
      Id. at 2.
223
      Id.


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               c.       The KOLs echoed and amplified messages favorable to increased opioid
                        use—and ultimately, the financial interests of the RICO Marketing
                        Defendants;

               d.       The KOLs issued guidelines and policies minimizing the risk of opioid
                        addiction and promoting opioids for chronic pain;

               e.       The KOLs strongly criticized the 2016 guidelines from the Center for
                        Disease Control and Prevention (CDC) that recommended limits on opioid
                        prescriptions for chronic pain; and

               f.       The KOLs concealed their connections to the Front Groups and the RICO
                        Marketing Defendants, and their sponsorship by the RICO Marketing
                        Defendants.

       725.    The scheme devised and implemented by the RICO Marketing Defendants and

members of the Opioid Marketing Enterprise, amounted to a common course of conduct intended

to increase the RICO Marketing Defendants’ sales from prescription opioids by encouraging the

prescribing and use of opioids for long-term chronic pain. The scheme was a continuing course of

conduct, and many aspects of it continue through to the present.

               3.       The RICO Marketing Defendants Controlled and Paid Front Groups
                        and KOLs to Promote and Maximize Opioid Use

       726.    As discussed in detail above, the RICO Marketing Defendants funded and

controlled the various Front Groups, including APF, AAPM/APS, FSMB, Alliance for Patient

Access, USPF, and AGS. The Front Groups, which appeared to be independent, but were not,

transmitted the RICO Marketing Defendants’ misrepresentations. The RICO Marketing

Defendants and the Front Groups thus worked together to promote the goals of the Opioid

Marketing Enterprise.

       727.    The RICO Marketing Defendants worked together with each other through the

Front Groups that they jointly funded and through which they collaborated on the joint promotional

materials described above.




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       728.    Similarly, as discussed in detail above, the RICO Marketing Defendants paid

KOLs, including Drs. Portenoy, Fine, Fishman, and Webster, to spread their misrepresentations

and promote their products. The RICO Marketing Defendants and the KOLs thus worked together

to promote the goals of the Opioid Marketing Enterprise.

               4.      Pattern of Racketeering Activity

       729.    The RICO Marketing Defendants’ scheme described herein was perpetrated, in

part, through multiple acts of mail fraud and wire fraud, constituting a pattern of racketeering

activity as described herein.

       730.    The pattern of racketeering activity used by the RICO Marketing Defendants and

the Opioid Marketing Enterprise likely involved thousands of separate instances of the use of the

U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid Marketing Enterprise,

including essentially uniform misrepresentations, concealments and material omissions regarding

the beneficial uses and non-addictive qualities for the long-term treatment of chronic, non-acute

and non-cancer pain, with the goal of profiting from increased sales of the RICO Marketing

Defendants’ drugs induced by consumers, prescribers, regulators and Plaintiff’s reliance on the

RICO Marketing Defendants’ misrepresentations.

       731.    Each of these fraudulent mailings and interstate wire transmissions constitutes

racketeering activity and collectively, these violations constitute a pattern of racketeering activity,

through which the RICO Marketing Defendants, the Front Groups and the KOLs defrauded and

intended to defraud Michigan consumers, the State, and other intended victims.

       732.    The RICO Marketing Defendants devised and knowingly carried out an illegal

scheme and artifice to defraud by means of materially false or fraudulent pretenses,

representations, promises, or omissions of material facts regarding the safe, non-addictive and

effective use of opioids for long-term chronic, non-acute and non-cancer pain. The RICO

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Marketing Defendants and members of the Opioid Marketing Enterprise knew that these

representations violated the FDA approved use these drugs, and were not supported by actual

evidence. The RICO Marketing Defendants intended that that their common purpose and scheme

to defraud would, and did, use the U.S. Mail and interstate wire facilities, intentionally and

knowingly with the specific intent to advance, and for the purpose of executing, their illegal

scheme.

       733.    By intentionally concealing the material risks and affirmatively misrepresenting the

benefits of using opioids for chronic pain, to, prescribers, regulators and the public, including

Plaintiff, its members, employees, and beneficiaries, the RICO Marketing Defendants, the Front

Groups and the KOLs engaged in a fraudulent and unlawful course of conduct constituting a

pattern of racketeering activity.

       734.    The RICO Marketing Defendants’ use of the U.S. Mail and interstate wire facilities

to perpetrate the opioids marketing scheme involved thousands of communications, publications,

representations, statements, electronic transmissions, payments, including, inter alia:

               a.      Marketing materials about opioids, and their risks and benefits, which the
                       RICO Marketing Defendants sent to health care providers, transmitted
                       through the internet and television, published, and transmitted to Front
                       Groups and KOLs located across the country and the State;

               b.      Written representations and telephone calls between the RICO Marketing
                       Defendants and Front Groups regarding the misrepresentations, marketing
                       statements and claims about opioids, including the non-addictive, safe use
                       of chronic long-term pain generally;

               c.      Written representations and telephone calls between the RICO Marketing
                       Defendants and KOLs regarding the misrepresentations, marketing
                       statements and claims about opioids, including the non-addictive, safe use
                       of chronic long-term pain generally

               d.      E-mails, telephone and written communications between the RICO
                       Marketing Defendants and the Front Groups agreeing to or implementing
                       the opioids marketing scheme;


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                e.     E-mails, telephone and written communications between the RICO
                       Marketing Defendants and the KOLs agreeing to or implementing the
                       opioids marketing scheme;

                f.     Communications between the RICO Marketing Defendants, Front Groups
                       and the media regarding publication, drafting of treatment guidelines, and
                       the dissemination of the same as part of the Opioid Marketing Enterprise;

                g.     Communications between the RICO Marketing Defendants, KOLs and the
                       media regarding publication, drafting of treatment guidelines, and the
                       dissemination of the same as part of the Opioid Marketing Enterprise;

                h.     Written and oral communications directed to State agencies, federal and
                       state courts, and private insurers throughout the State that fraudulently
                       misrepresented the risks and benefits of using opioids for chronic pain; and

                i.     Receipts of increased profits sent through the U.S. Mail and interstate wire
                       facilities—the wrongful proceeds of the scheme.

         735.   In addition to the above-referenced predicate acts, it was intended by and

foreseeable to the RICO Marketing Defendants that the Front Groups and the KOLs would

distribute publications through the U.S. Mail and by interstate wire facilities, and, in those

publications, claim that the benefits of using opioids for chronic pain outweighed the risks of doing

so.

         736.   To achieve the common goal and purpose of the Opioid Marketing Enterprise, the

RICO Marketing Defendants and members of the Opioid Marketing Enterprise hid from the

consumers, prescribers, regulators and the Plaintiff: (a) the fraudulent nature of the RICO

Marketing Defendants’ marketing scheme; (b) the fraudulent nature of statements made by the

RICO Marketing Defendants and by their KOLs, Front Groups and other third parties regarding

the safety and efficacy of prescription opioids; and (c) the true nature of the relationship between

the members of the Opioid Marketing Enterprise.

         737.   The RICO Marketing Defendants, and each member of the Opioid Marketing

Enterprise agreed, with knowledge and intent, to the overall objective of the RICO Marketing



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Defendants’ fraudulent scheme and participated in the common course of conduct to commit acts

of fraud and indecency in marketing prescription opioids.

         738.   Indeed, for the RICO Marketing Defendants’ fraudulent scheme to work, each of

them had to agree to implement similar tactics regarding fraudulent marketing of prescription

opioids. This conclusion is supported by the fact that the RICO Marketing Defendants each

financed, supported, and worked through the same KOLs and Front Groups, and often collaborated

on and mutually supported the same publications, CMEs, presentations, and prescription

guidelines

         739.   The RICO Marketing Defendants’ predicate acts all had the purpose of creating the

opioid epidemic that substantially injured Plaintiff’s business and property, while simultaneously

generating billion-dollar revenue and profits for the RICO Marketing Defendants. The predicate

acts were committed or caused to be committed by the RICO Marketing Defendants through their

participation in the Opioid Marketing Enterprise and in furtherance of its fraudulent scheme.

         B.     The Opioid Supply Chain Enterprise

         740.   Faced with the reality that they will now be held accountable for the consequences

of the opioid epidemic they created, members of the industry resort to “a categorical denial of any

criminal behavior or intent.”224 Defendants’ actions went far beyond what could be considered

ordinary business conduct. For more than a decade, certain Defendants, the “RICO Supply Chain

Defendants” (the RICO Marketing Defendants and McKesson, Cardinal, and AmerisourceBergen)

worked together in an illicit enterprise, engaging in conduct that was not only illegal, but in certain

respects anti-competitive, with the common purpose and achievement of vastly increasing their



224
  McKesson Responds to Recent 60 Minutes Story About January 2017 Settlement With the Federal Government,
McKesson, http://www.mckesson.com/about-mckesson/fighting-opioid-abuse/60-minutes-response (last visited,
Apr. 21, 2018).


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respective profits and revenues by exponentially expanding a market that the law intended to

restrict.

           741.     Knowing that dangerous drugs have a limited place in our society, and that their

dissemination and use must be vigilantly monitored and policed to prevent the harm that drug

abuse and addiction causes, Congress enacted the Controlled Substances Act (“CSA”).

Specifically, through the CSA, which created a closed system of distribution for controlled

substances, Congress established an enterprise for good. The CSA imposes a reporting duty that

cuts across company lines. Regulations adopted under the CSA require that companies who are

entrusted with permission to operate within this system cannot simply operate as competitive in

an “anything goes” profit-maximizing market. Instead, the statute tasks them to watch over each

other with a careful eye for suspicious activity. Driven by greed, Defendants betrayed that trust

and subverted the constraints of the CSA’s closed system to conduct their own enterprise for evil.

           742.     As “registrants” under the CSA, the RICO Supply Chain Defendants are duty bound

to identify and report “orders of unusual size, orders deviating substantially from a normal pattern,

and orders of unusual frequency.”225 Critically, these Defendants’ responsibilities do not end with

the products they manufacture or distribute—there is no such limitation in the law because their

duties cut across company lines. Thus, when these Defendants obtain information about the sales

and distribution of other companies’ opioid products, as they did through data mining companies

like IMS Health, they were legally obligated to report that activity to the DEA.

           743.     If morality and the law did not suffice, competition dictates that the RICO Supply

Chain Defendants would turn in their rivals when they had reason to suspect suspicious activity.

Indeed, if a manufacturer or distributor could gain market share by reporting a competitor’s illegal


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      21 C.F.R. 1301.74(b).


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behavior (causing it to lose a license to operate, or otherwise inhibit its activity), ordinary business

conduct dictates that it would do so. Under the CSA this whistleblower or watchdog function is

not only a protected choice, but a statutory mandate. Unfortunately, however, that is not what

happened. Instead, knowing that investigations into potential diversion would only lead to

shrinking markets. The RICO Supply Chain Defendants elected to operate in a conspiracy of

silence, in violation of both the CSA and RICO.

        744.    The RICO Supply Chain Defendants’ scheme required the participation of all. If

any one member broke rank, its compliance activities would highlight deficiencies of the others,

and the artificially high quotas they maintained through their scheme would crumble. But, if all

the members of the enterprise conducted themselves in the same manner, it would be difficult for

the DEA to go after any one of them. Accordingly, through the connections they made as a result

of their participation in the Healthcare Distribution Alliance (“HDA”), the RICO Supply Chain

Defendants chose to flout the closed system designed to protect citizens. Publicly, in 2008, they

announced their formulation of “Industry Compliance Guidelines: Reporting Suspicious Orders

and Prevention Diversion of Controlled Substances.” But, privately, the RICO Supply Chain

Defendants refused to act and through their lobbying efforts, they collectively sought to undermine

the impact of the CSA. Indeed, despite the issuance of these Industry Compliance Guidelines,

which recognize these Defendants’ duties under the law, as illustrated by the subsequent industry-

wide enforcement actions and consent orders issued after that time, none of them complied. John

Gray, President and CEO of the HDA said to Congress in 2014, it is “difficult to find the right

balance between proactive anti-diversion efforts while not inadvertently limiting access to

appropriately prescribed and dispensed medications.” Yet, the RICO Supply Chain Defendants




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apparently all found the same profit-maximizing balance -- intentionally remaining silent to ensure

the largest possible financial return.

       745.    As described above, at all relevant times, the RICO Supply Chain Defendants

operated as an association-in-fact enterprise formed for the purpose of unlawfully increasing sales,

revenues and profits by fraudulently increasing the quotas set by the DEA that would allow them

to collectively benefit from a greater pool of prescription opioids to manufacture and distribute. In

support of this common purpose and fraudulent scheme, the RICO Supply Chain Defendants

jointly agreed to disregard their statutory duties to identify, investigate, halt and report suspicious

orders of opioids and diversion of their drugs into the illicit market so that those orders would not

result in a decrease, or prevent an increase in, the necessary quotas.

       746.    At all relevant times, as described above, the RICO Supply Chain Defendants

exerted control over, conducted and/or participated in the Opioid Supply Chain Enterprise by

fraudulently claiming that they were complying with their duties under the CSA to identify,

investigate and report suspicious orders of opioids in order to prevent diversion of those highly

addictive substances into the illicit market, and to halt such unlawful sales, so as to increase

production quotas and generate unlawful profits, as follows:

       747.    The RICO Supply Chain Defendants disseminated false and misleading statements

to state and federal regulators claiming that:

               a.      the quotas for prescription opioids should be increased;

               b.      they were complying with their obligations to maintain effective controls
                       against diversion of their prescription opioids;

               c.      they were complying with their obligations to design and operate a system
                       to disclose to the registrant suspicious orders of their prescription opioids;

               d.      they were complying with their obligation to notify the DEA of any
                       suspicious orders or diversion of their prescription opioids; and


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                e.       they did not have the capability to identify suspicious orders of controlled
                         substances.

         748.   The Defendants applied political and other pressure on the DOJ and DEA to halt

prosecutions for failure to report suspicious orders of prescription opioids and lobbied Congress

to strip the DEA of its ability to immediately suspend registrations pending investigation by

passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”226

         749.   The CSA and the Code of Federal Regulations, require the RICO Supply Chain

Defendants to make reports to the DEA of any suspicious orders identified through the design and

operation of their system to disclose suspicious orders. The failure to make reports as required by

the CSA and Code of Federal Regulations amounts to a criminal violation of the statute.

         750.   The RICO Supply Chain Defendants knowingly and intentionally furnished false

or fraudulent information in their reports to the DEA about suspicious orders, and/or omitted

material information from reports, records and other document required to be filed with the DEA

including the Marketing Defendants’ applications for production quotas. Specifically, the RICO

Supply Chain Defendants were aware of suspicious orders of prescription opioids and the diversion

of their prescription opioids into the illicit market, and failed to report this information to the DEA

in their mandatory reports and their applications for production quotas.




226
   HDMA is Now the Healthcare Distribution Alliance, Pharmaceutical Commerce,
http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-alliance/. (Last
Updated July 6, 2016), ; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the
Opioid Epidemic Grew Out of Control, Wash. Post (Oct. 22, 2016)
https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-while-the-opioid-epidemic-grew-out-
of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham,
Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, Wash.
Post( Mar. 6, 2017), https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-
enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent:
“We Had No Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail (Feb. 18, 2017)
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.


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       751.    The RICO Supply Chain Defendants used, directed the use of, and/or caused to be

used, thousands of interstate mail and wire communications in service of their scheme through

virtually uniform misrepresentations, concealments and material omissions regarding their

compliance with their mandatory reporting requirements and the actions necessary to carry out

their unlawful goal of selling prescription opioids without reporting suspicious orders or the

diversion of opioids into the illicit market.

       752.    In devising and executing the illegal scheme, the RICO Supply Chain Defendants

devised and knowingly carried out a material scheme and/or artifice to defraud by means of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts.

       753.    For the purpose of executing the illegal scheme, the RICO Supply Chain

Defendants committed racketeering acts, which number in the thousands, intentionally and

knowingly with the specific intent to advance the illegal scheme. These racketeering acts, which

included repeated acts of mail fraud and wire fraud, constituted a pattern of racketeering.

       754.    The RICO Supply Chain Defendants’ use of the mail and wires includes, but is not

limited to, the transmission, delivery, or shipment of the following by the Marketing Defendants,

the Distributor Defendants, or third parties that were foreseeably caused to be sent as a result of

the RICO Supply Chain Defendants’ illegal scheme, including but not limited to:

               a.      The prescription opioids themselves;

               b.      Documents and communications that supported and/or facilitated the RICO
                       Supply Chain Defendants’ request for higher aggregate production quotas,
                       individual production quotas, and procurement quotas;

               c.      Documents and communications that facilitated the manufacture, purchase
                       and sale of prescription opioids;

               d.      RICO Supply Chain Defendants’ DEA registrations;

               e.      Documents and communications that supported and/or facilitated RICO
                       Supply Chain Defendants’ DEA registrations;

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               f.       RICO Supply Chain Defendants’ records and reports that were required to
                        be submitted to the DEA pursuant to 21 U.S.C. § 827;

               g.       Documents and communications related to the RICO Supply Chain
                        Defendants’ mandatory DEA reports pursuant to 21 U.S.C. § 823 and 21
                        C.F.R. § 1301.74;

               h.       Documents intended to facilitate the manufacture and distribution of the
                        RICO Supply Chain Defendants’ prescription opioids, including bills of
                        lading, invoices, shipping records, reports and correspondence;

               i.       Documents for processing and receiving payment for prescription opioids;

               j.       Payments from the Distributors to the Marketing Defendants;

               k.       Rebates and chargebacks from the Marketing Defendants to the Distributors
                        Defendants;

               l.       Payments to the RICO Supply Chain Defendants’ lobbyists through the
                        PCF;

               m.       Payments to the RICO Supply Chain Defendants’ trade organizations, like
                        the HDA, for memberships and/or sponsorships;

               n.       Deposits of proceeds from the RICO Supply Chain Defendants’
                        manufacture and distribution of prescription opioids; and

               o.       Other documents and things, including electronic communications.

       755.    The RICO Supply Chain Defendants (and/or their agents), for the purpose of

executing the illegal scheme, sent and/or received (or caused to be sent and/or received) by mail

or by private or interstate carrier, shipments of prescription opioids and related documents by mail

or by private carrier affecting interstate commerce, including the following:

                                                                      Drugs
  Defendant
                        Company Names                                                    CSA
 Group Name                                      Drug Name       Chemical Name
                                                                                       Schedule
                    (1) Purdue Pharma, LP,                       Oxycodone
                                                OxyContin        hydrochloride        Schedule II
    Purdue          (2) Purdue Pharma, Inc.,                     extended release
                    (3) The Purdue Frederick                     Morphine sulfate
                    Company                     MS Contin                             Schedule II
                                                                 extended release




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                                                               Drugs
 Defendant
                   Company Names                                               CSA
Group Name                                 Drug Name     Chemical Name
                                                                             Schedule
                                                         Hydromorphone
                                           Dilaudid                         Schedule II
                                                         hydrochloride
                                                         Hydromorphone
                                           Dilaudid-HP                      Schedule II
                                                         hydrochloride
                                           Butrans       Buprenorphine      Schedule II
                                                         Hydrocodone
                                           Hysinga ER                       Schedule II
                                                         bitrate
                                                         Oxycodone
                                           Targiniq ER                      Schedule II
                                                         hydrochloride
               (1) Cephalon, Inc.,         Actiq         Fentanyl citrate   Schedule II
               (2) Teva Pharmaceutical
 Cephalon      Industries, Ltd.,           Fentora       Fentanyl citrate   Schedule II
               (3) Teva Pharmaceuticals    Generic       Oxycodone
                                                                            Schedule II
               USA, Inc.                   OxyContin     hydrochloride
                                                         Oxymorphone
                                           Opana ER      hydrochloride      Schedule II
                                                         extended release
                                                         Oxymorphone
                                           Opana                            Schedule II
                                                         hydrochloride
               (1) Endo Health
               Solutions, Inc.,                          Oxymorphone
                                           Percodan      hydrochloride      Schedule II
               (2) Endo Pharmaceuticals                  and aspirin
   Endo        Inc.,
                                                         Oxymorphone
               (3) Qualitest                             hydrochloride
               Pharmaceuticals, Inc.       Percocet                         Schedule II
                                                         and
               (wholly-owned subsidiary                  acetaminophen
               of Endo)
                                           Generic oxycodone                Schedule II
                                           Generic oxymorphone              Schedule II
                                           Generic hydromorphone            Schedule II
                                           Generic hydrocodone              Schedule II
               (1) Mallinckrodt plc,                     Hydromorphone
                                           Exalgo                           Schedule II
                                                         hydrochloride
Mallinckrodt   (2) Mallinckrodt LLC
               (wholly owned subsidiary                  Oxycodone
                                           Roxicodone                       Schedule II
               of Mallinckrodt PLC)                      hydrochloride



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                                                                      Drugs
  Defendant
                       Company Names                                                     CSA
 Group Name                                       Drug Name      Chemical Name
                                                                                       Schedule
                  (1) Allergan Plc,
                                                 Kadian          Morphine Sulfate     Schedule II
                  (2) Actavis LLC,
                                                 Norco           Hydrocodone
                  (3) Actavis Pharma, Inc.,
                                                 (Generic of     and                  Schedule II
    Actavis       (4) Actavis Plc,               Kadian)         acetaminophen
                  (5) Actavis, Inc.,             Generic
                                                                 Fentanyl             Schedule II
                  (6) Watson                     Duragesic
                  Pharmaceuticals, Inc.,         Generic         Oxymorphone
                                                                                      Schedule II
                  (7) Watson Pharma, Inc.        Opana           hydrochloride

       756.    Each of the RICO Supply Chain Defendants, identified manufactured, shipped,

paid for and received payment for the drugs identified above, throughout the United States.

       757.    The RICO Supply Chain Defendants used the internet and other electronic facilities

to carry out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO

Supply Chain Defendants made misrepresentations about their compliance with Federal and State

laws requiring them to identify, investigate and report suspicious orders of prescription opioids

and/or diversion of the same into the illicit market.

       758.    At the same time, the RICO Supply Chain Defendants misrepresented the superior

safety features of their order monitoring programs, ability to detect suspicious orders, commitment

to preventing diversion of prescription opioids, and their compliance with all state and federal

regulations regarding the identification and reporting of suspicious orders of prescription opioids.

       759.    The RICO Supply Chain Defendants utilized the internet and other electronic

resources to exchange communications, to exchange information regarding prescription opioid

sales, and to transmit payments and rebates/chargebacks.




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          760.   The RICO Supply Chain Defendants also communicated by U.S. Mail, by interstate

facsimile, and by interstate electronic mail with each other and with various other affiliates,

regional offices, regulators, distributors, and other third-party entities in furtherance of the scheme.

          761.   The mail and wire transmissions described herein were made in furtherance of the

RICO Supply Chain Defendants’ scheme and common course of conduct to deceive regulators,

the public and the Plaintiff that these Defendants were complying with their state and federal

obligations to identify and report suspicious orders of prescription opioids all while Defendants

were knowingly allowing millions of doses of prescription opioids to divert into the illicit drug

market. The RICO Supply Chain Defendants’ scheme and common course of conduct was to

increase or maintain high production quotas for their prescription opioids from which they could

profit.

          762.   Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

facilities have been deliberately hidden by Defendants and cannot be alleged without access to

Defendants’ books and records. However, Plaintiff has described the types of, and in some

instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They include

thousands of communications to perpetuate and maintain the scheme, including the things and

documents described in the preceding paragraphs.

          763.   The RICO Supply Chain Defendants did not undertake the practices described

herein in isolation, but as part of a common scheme. Various other persons, firms, and

corporations, including third-party entities and individuals not named as defendants in this

Complaint, may have contributed to and/or participated in the scheme with these Defendants in

these offenses and have performed acts in furtherance of the scheme to increase revenues, increase

market share, and /or minimize the losses for the RICO Supply Chain Defendants.



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         764.    The predicate acts constituted a variety of unlawful activities, each conducted with

the common purpose of obtaining significant monies and revenues from the sale of their highly

addictive and dangerous drugs. The predicate acts also had the same or similar results, participants,

victims, and methods of commission. The predicate acts were related and not isolated events.

         765.    The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured Plaintiff’s business and property, while simultaneously generating billion-

dollar revenue and profits for the RICO Supply Chain Defendants. The predicate acts were

committed or caused to be committed by the Defendants through their participation in the Opioid

Supply Chain Enterprise and in furtherance of its fraudulent scheme.

         766.    As described above, the RICO Supply Chain Defendants were repeatedly warned,

fined, and found to be in violation of applicable law and regulations, and yet they persisted. The

sheer volume of enforcement actions against the RICO Supply Chain Defendants supports this

conclusion that the RICO Supply Chain Defendants operated through a pattern and practice of

willfully and intentionally omitting information from their mandatory reports to the DEA as

required by 21 C.F.R. § 1301.74.227

         767.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, Plaintiff’s Members, employees, and beneficiaries and the

Plaintiff. The RICO Supply Chain Defendants calculated and intentionally crafted the diversion

scheme to increase and maintain profits from unlawful sales of opioids, without regard to the effect

such behavior would have on this jurisdiction, its citizens or the Plaintiff. The RICO Supply Chain




  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
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Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.


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Defendants were aware that Plaintiff and the citizens of this jurisdiction rely on these Defendants

to maintain a closed system of manufacturing and distribution to protect against the non-medical

diversion and use of their dangerously addictive opioid drugs.

        768.    By intentionally refusing to report and halt suspicious orders of their prescription

opioids, the RICO Supply Chain Defendants engaged in a fraudulent scheme and unlawful course

of conduct constituting a pattern of racketeering activity.

                                      CLAIMS FOR RELIEF

                                    FIRST CLAIM FOR RELIEF

         Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing Enterprise
    (Against Purdue, Cephalon, Janssen, Endo, and Mallinckrodt (the “RICO Marketing
                                      Defendants”))

        769.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth above as if fully set forth herein.

        770.    The RICO Marketing Defendants—through the use of “Front Groups” that

appeared to be independent of the RICO Marketing Defendants; through the dissemination of

publications that supported the RICO Marketing Defendants’ scheme; through continuing medical

education (“CME”) programs controlled and/or funded by the RICO Marketing Defendants; by

the hiring and deployment of so-called “key opinion leaders,” (“KOLs”) who were paid by the

RICO Marketing Defendants to promote their message; and through the “detailing” activities of

the RICO Marketing Defendants’ sales forces—conducted an association-in-fact enterprise, and/or

participated in the conduct of an enterprise through a pattern of illegal activities (the predicate

racketeering acts of mail and wire fraud) to carry-out the common purpose of the Opioid Marketing

Enterprise, i.e., to unlawfully increase profits and revenues from the continued prescription and

use of opioids for long-term chronic pain. Through the racketeering activities of the Opioid

Marketing Enterprise sought to further the common purpose of the enterprise through a fraudulent

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scheme to change prescriber habits and public perception about the safety and efficacy of opioid

use by convincing them that each of the nine false propositions alleged earlier were true. In so

doing, each of the RICO Marketing Defendants knowingly conducted and participated in the

conduct of the Opioid Marketing Activities by engaging in mail and wire fraud in violation of 18

U.S.C. §§ 1962(c) and (d).

       771.    The Opioid Marketing Enterprise alleged above is an association-in-fact enterprise

that consists of the RICO Marketing Defendants (Purdue, Cephalon, Janssen, Endo, and

Mallinckrodt); the Front Groups (APF, AAPM, APS, FSMB, USPF, and AGS); and the KOLs

(Dr. Portenoy, Dr. Webster, Dr. Fine, and Dr. Fishman).

       772.    Each of the RICO Marketing Defendants and the other members of the Opioid

Marketing Enterprise conducted and participated in the conduct of the Opioid Marketing

Enterprise by playing a distinct role in furthering the enterprise’s common purpose of increasing

profits and sales through the knowing and intentional dissemination of false and misleading

information about the safety and efficacy of long-term opioid use, and the risks and symptoms of

addiction, in order increase the market for prescription opioids by changing prescriber habits and

public perceptions and increase the market for opioids.

       773.    Specifically, the RICO Marketing Defendants each worked together to coordinate

the enterprise’s goals and conceal their role, and the enterprise’s existence, from the public, and

the Plaintiff, its members, employees, and beneficiaries, by, among other things, (i) funding,

editing and distributing publications that supported and advanced their false messages; (ii) funding

KOLs to further promote their false messages; (iii) funding, editing and distributing CME

programs to advance their false messages; and (iv) tasking their own employees to direct deceptive




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marketing materials and pitches directly at physicians and, in particular, at physicians lacking the

expertise of pain care specialists (a practice known as sales detailing).

       774.    Each of the Front Groups helped disguise the role of RICO Marketing Defendants

by purporting to be unbiased, independent patient-advocacy and professional organizations in

order to disseminate patient education materials, a body of biased and unsupported scientific

“literature,” and “treatment guidelines” that promoted the RICO Marketing Defendants’ false

messages.

       775.    The KOLs were physicians chosen and paid by each of the RICO Marketing

Defendants to influence their peers’ medical practice by promoting the Marketing Defendants’

false messages through, among other things, writing favorable journal articles and delivering

supportive CMEs as if they were independent medical professionals, thereby further obscuring the

RICO Marketing Defendants’ role in the enterprise and the enterprise’s existence.

       776.    Furthermore, each of the RICO Marketing Defendants, KOLs, and Front Groups

that made up the Opioid Marketing Enterprise had systematic links to and personal relationships

with each other through joint participation in lobbying groups, trade industry organizations,

contractual relationships and continuing coordination of activities. The systematic links and

personal relationships that were formed and developed allowed members of the Opioid Marketing

Enterprise the opportunity to form the common purpose and agree to conduct and participate in

the conduct of the Opioid Marketing Enterprise. Specifically, each of the RICO Marketing

Defendants coordinated their efforts through the same KOLs and Front Groups, based on their

agreement and understanding that the Front Groups and KOLs were industry friendly and would

work together with the RICO Marketing Defendants to advance the common purpose of the Opioid

Marketing Enterprise; each of the individuals and entities who formed the Opioid Marketing



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Enterprise acted to enable the common purpose and fraudulent scheme of the Opioid Marketing

Enterprise.

       777.    At all relevant times, the Opioid Marketing Enterprise: (a) had an existence separate

and distinct from each RICO Marketing Defendant and its members; (b) was separate and distinct

from the pattern of racketeering in which the RICO Marketing Defendants engaged; (c) was an

ongoing and continuing organization consisting of individuals, persons, and legal entities,

including each of the RICO Marketing Defendants; (d) was characterized by interpersonal

relationships between and among each member of the Opioid Marketing Enterprise, including

between the RICO Marketing Defendants and each of the Front Groups and KOLs; and (e) had

sufficient longevity for the enterprise to pursue its purpose and functioned as a continuing unit.

       778.    The persons and entities engaged in the Opioid Marketing Enterprise are

systematically linked through contractual relationships, financial ties, personal relationships, and

continuing coordination of activities, as spearheaded by the RICO Marketing Defendants.

       779.    The RICO Marketing Defendants conducted and participated in the conduct of the

Opioid Marketing Enterprise through a pattern of racketeering activity that employed the use of

mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud), to

increase profits and revenue by changing prescriber habits and public perceptions in order to

increase the prescription and use of prescription opioids, and expand the market for opioids.

       780.    The RICO Marketing Defendants each committed, conspired to commit, and/or

aided and abetted in the commission of at least two predicate acts of racketeering activity (i.e.

violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of

racketeering activity that the RICO Marketing Defendants committed, or aided and abetted in the

commission of, were related to each other, posed a threat of continued racketeering activity, and



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therefore constitute a “pattern of racketeering activity.” The racketeering activity was made

possible by the RICO Marketing Defendants’ regular use of the facilities, services, distribution

channels, and employees of the Opioid Marketing Enterprise, the U.S. Mail and interstate wire

facilities. The RICO Marketing Defendants participated in the scheme to defraud by using mail,

telephones and the Internet to transmit mailings and wires in interstate or foreign commerce.

       781.    The RICO Marketing Defendants’ predicate acts of racketeering (18 U.S.C.

§ 1961(1)) include, but are not limited to:

               a.      Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1341 by
                       sending or receiving, or by causing to be sent and/or received, materials via
                       U.S. mail or commercial interstate carriers for the purpose of executing the
                       unlawful scheme to design, manufacture, market, and sell the prescription
                       opioids by means of false pretenses, misrepresentations, promises, and
                       omissions.

               b.      Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1343 by
                       transmitting and/or receiving, or by causing to be transmitted and/or
                       received, materials by wire for the purpose of executing the unlawful
                       scheme to design, manufacture, market, and sell the prescription opioids by
                       means of false pretenses, misrepresentations, promises, and omissions.

       782.    Indeed, as summarized herein, the RICO Marketing Defendants used the mail and

wires to send or receive thousands of communications, publications, representations, statements,

electronic transmissions and payments to carry-out the Opioid Marketing Enterprise’s fraudulent

scheme.

       783.    Because the RICO Marketing Defendants disguised their participation in the

enterprise, and worked to keep even the enterprise’s existence secret so as to give the false

appearance that their false messages reflected the views of independent third parties, many of the

precise dates of the Opioid Marketing Enterprise’s uses of the U.S. Mail and interstate wire

facilities (and corresponding predicate acts of mail and wire fraud) have been hidden and cannot

be alleged without access to the books and records maintained by the RICO Marketing Defendants,


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Front Groups, and KOLs. Indeed, an essential part of the successful operation of the Opioid

Marketing Enterprise alleged herein depended upon secrecy. However, Plaintiff have described

the occasions on which the RICO Marketing Defendants, Front Groups, and KOLs disseminated

misrepresentations and false statements to Michigan consumers, prescribers, regulators and

Plaintiff, and how those acts were in furtherance of the scheme.

       784.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including Michigan consumers, prescribers, regulators and

Plaintiff. The RICO Marketing Defendants, Front Groups and KOLs calculated and intentionally

crafted the scheme and common purpose of the Opioid Marketing Enterprise to ensure their own

profits remained high. In designing and implementing the scheme, the RICO Marketing

Defendants understood and intended that those in the distribution chain rely on the integrity of the

pharmaceutical companies and ostensibly neutral third parties to provide objective and scientific

evidence regarding the RICO Marketing Defendants’ products.

       785.    The RICO Marketing Defendants’ pattern of racketeering activity alleged herein

and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise, the RICO

Marketing Defendants are distinct from the Opioid Marketing Enterprise.

       786.    The pattern of racketeering activity alleged herein is continuing as of the date of

this complaint, and, upon information and belief, will continue into the future unless enjoined by

this Court.

       787.    The racketeering activities conducted by the RICO Marketing Defendants, Front

Groups and KOLs amounted to a common course of conduct, with a similar pattern and purpose,

intended to deceive Michigan consumers, prescribers, regulators and the Plaintiff. Each separate



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use of the U.S. Mail and/or interstate wire facilities employed by Defendants was related, had

similar intended purposes, involved similar participants and methods of execution, and had the

same results affecting the same victims, including Michigan consumers, prescribers, regulators

and the Plaintiff. The RICO Marketing Defendants have engaged in the pattern of racketeering

activity for the purpose of conducting the ongoing business affairs of the Opioid Marketing

Enterprise.

       788.      Each of the RICO Marketing Defendants aided and abetted others in the violations

of the above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and

1343 offenses.

       789.      As described herein, the RICO Marketing Defendants engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant money and revenue

from the marketing and sale of their highly addictive and dangerous drugs. The predicate acts also

had the same or similar results, participants, victims, and methods of commission. The predicate

acts were related and not isolated events.

       790.      The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court. The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

       791.      The RICO Marketing Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused Plaintiff injury in their business and property.

The RICO Marketing Defendants’ pattern of racketeering activity logically, substantially and

foreseeably caused an opioid epidemic. Plaintiff’s injuries, as described below, were not



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unexpected, unforeseen or independent.228 Rather, as Plaintiff alleges, the RICO Marketing

Defendants knew that the opioids were unsuited to treatment of long-term chronic, non-acute, and

non-cancer pain, or for any other use not approved by the FDA, and knew that opioids were highly

addictive and subject to abuse.229 Nevertheless, the RICO Marketing Defendants engaged in a

scheme of deception that utilized the mail and wires in order to carry-out the Opioid Marketing

Enterprises’ fraudulent scheme, thereby increasing sales of their opioid products.

            792.     It was foreseeable and expected that the RICO Marketing Defendants creating and

then participating in the Opioid Marketing Enterprise through a pattern of racketeering activities

to carry-out their fraudulent scheme would lead to a nationwide opioid epidemic, including

increased opioid addiction and overdose.230

            793.     Specifically, the RICO Marketing Defendants’ creation of, and then participation

in, the Opioid Marketing Enterprise through a pattern of racketeering activities to carry-out their

fraudulent scheme has injured Plaintiff in the form of substantial losses of money and property

that logically, directly and foreseeably arise from the opioid-addiction epidemic. Plaintiff’s

injuries, as alleged throughout this complaint, and expressly incorporated herein by reference,

include:

                     a.      Losses caused by the decrease in funding available for Plaintiff’s services
                             and benefits to its members, employees, and beneficiaries;

                     b.      Costs for providing healthcare and medical care, additional therapeutic, and
                             prescription drug purchases, and other treatments for Plaintiff’s members,
                             employees, and beneficiaries suffering from opioid-related addiction or
                             disease, including overdoses and deaths;




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      Travelers Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026, 1030 (2017).
229
      Id. at 1041.
230
      Id.


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               c.      Costs for providing coverage of mental-health services, treatment,
                       counseling, rehabilitation services, and social services to victims of the
                       opioid epidemic and their families;

               d.      Costs for providing coverage for treatment of infants born with opioid-
                       related medical conditions, or born dependent on opioids due to drug use by
                       mother during pregnancy;

               e.      Loss of revenue due to the decreased efficiency and size of the Plaintiff’s
                       membership;

               f.      Costs associated with increased death benefit payments;

               g.      Costs associated with increased disability payments;

        794.   Plaintiff’s injuries were directly and thus proximately caused by these Defendants’

racketeering activities because they were the logical, substantial and foreseeable cause of

Plaintiff’s injuries. But for the opioid-addiction epidemic the RICO Marketing Defendants created

through their Opioid Marketing Enterprise, Plaintiff would not have lost money or property.

        795.   Plaintiff is the most directly harmed entity and there is no other Plaintiff better

suited to seek a remedy for the economic harms at issue here.

        796.   Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages; treble damages; equitable and/or injunctive relief in the form of court-supervised

corrective communication, actions and programs; forfeiture as deemed proper by the Court;

attorney’s fees; all costs and expenses of suit; and pre- and post-judgment interest, including, inter

alia:

        a.     Actual damages and treble damages, including pre-suit and post-judgment interest;

        b.     An order enjoining any further violations of RICO;

        c.     An order enjoining any further violations of any statutes alleged to have been
               violated in this Complaint;

        d.     An order enjoining the commission of any tortious conduct, as alleged in this
               Complaint;



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   e.    An order enjoining any future marketing or misrepresentations regarding the health
         benefits or risks of prescription opioids use, except as specifically approved by the
         FDA;

   f.    An order enjoining any future marketing of opioids through non-branded marketing
         including through the Front Groups, KOLs, websites, or in any other manner
         alleged in this Complaint that deviates from the manner or method in which such
         marketing has been approved by the FDA;

   g.    An order enjoining any future marketing to vulnerable populations, including but
         not limited to, persons over the age of fifty-five, anyone under the age of twenty-
         one, and veterans;

   h.    An order compelling the Defendants to make corrective advertising statements that
         shall be made in the form, manner and duration as determined by the Court, but not
         less than print advertisements in national and regional newspapers and medical
         journals, televised broadcast on major television networks, and displayed on their
         websites, concerning: (1) the risk of addiction among patients taking opioids for
         pain; (2) the ability to manage the risk of addiction; (3) pseudoaddiction is really
         addiction, not a sign of undertreated addiction; (4) withdrawal from opioids is not
         easily managed; (5) increasing opioid dosing presents significant risks, including
         addiction and overdose; (6) long term use of opioids has no demonstrated
         improvement of unction; (8) use of time-released opioids does not prevent
         addiction; (9) abuse-deterrent formulations do not prevent opioid abuse; and (10)
         that manufacturers and distributors have duties under the CSA to monitor, identify,
         investigate, report and halt suspicious orders and diversion but failed to do so;

   i.    An order enjoining any future lobbying or legislative efforts regarding the
         manufacturer, marketing, distribution, diversion, prescription, or use of opioids;

   j.    An order requiring all Defendants to publicly disclose all documents,
         communications, records, data, information, research or studies concerning the
         health risks or benefits of opioid use;

   k.    An order prohibiting all Defendants from entering into any new payment or
         sponsorship agreement with, or related to, any: Front Group, trade association,
         doctor, speaker, CME, or any other person, entity, or association, regarding the
         manufacturer, marketing, distribution, diversion, prescription, or use of opioids;

   l.    An order establishing a National Foundation for education, research, publication,
         scholarship, and dissemination of information regarding the health risks of opioid
         use and abuse to be financed by the Defendants in an amount to be determined by
         the Court;

   m.    An order enjoining any diversion of opioids or any failure to monitor, identify,
         investigate, report and halt suspicious orders or diversion of opioids;



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        n.      An order requiring all Defendants to publicly disclose all documents,
                communications, records, information, or data, regarding any prescriber, facility,
                pharmacy, clinic, hospital, manufacturer, distributor, person, entity or association
                regarding suspicious orders for or the diversion of opioids;

        o.      An order divesting each Defendant of any interest in, and the proceeds of any
                interest in, the Marketing and Supply Chain Enterprises, including any interest in
                property associated with the Marketing and Supply Chain Enterprises;

        p.      Dissolution and/or reorganization of any trade industry organization, Front Group,
                or any other entity or association associated with the Marketing and Supply Chain
                Enterprises identified in this Complaint, as the Court sees fit;

        q.      Dissolution and/or reorganization of any Defendant named in this Complaint as the
                Court sees fit;

        r.      Suspension and/or revocation of the license, registration, permit, or prior approval
                granted to any Defendant, entity, association or enterprise named in the Complaint
                regarding the manufacture or distribution of opioids;

        s.      Forfeiture as deemed appropriate by the Court; and

        t.      Attorneys’ fees and all costs and expenses of suit.

                                    SECOND CLAIM FOR RELIEF

       Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Supply Chain Enterprise
           (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
     McKesson, Cardinal, and AmerisourceBergen – “RICO Supply Chain Defendants”)

        797.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

set forth above as if fully set forth herein.

        798.    At all relevant times, the RICO Supply Chain Defendants were and are “persons”

under 18 U.S.C. § 1961(3) because they are entities capable of holding, and do hold, “a legal or

beneficial interest in property.”

        799.    The RICO Supply Chain Defendants together formed an association-in-fact

enterprise, the Opioid Supply Chain Enterprise, for the purpose of increasing the quota for and

profiting from the increased volume of opioid sales in the United States. The Opioid Supply Chain




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Enterprise is an association-in-fact enterprise within the meaning of § 1961. The Opioid Supply

Chain Enterprise consists of the RICO Supply Chain Defendants.

         800.      The RICO Supply Chain Defendants were members of the Healthcare Distribution

Alliance (the “HDA”).231 Each of the RICO Supply Chain Defendants is a member, participant,

and/or sponsor of the HDA, and has been since at least 2006, and utilized the HDA to form the

interpersonal relationships of the Opioid Supply Chain Enterprise and to assist them in engaging

in the pattern of racketeering activity that gives rise to the Count.

         801.      At all relevant times, the Opioid Supply Chain Enterprise: (a) had an existence

separate and distinct from each of the RICO Supply Chain Defendants; (b) was separate and

distinct from the pattern of racketeering in which the RICO Supply Chain Defendants engaged;

(c) was an ongoing and continuing organization consisting of legal entities, including each of the

RICO Supply Chain Defendants; (d) was characterized by interpersonal relationships among the

RICO Supply Chain Defendants; (e) had sufficient longevity for the enterprise to pursue its

purpose; and (f) functioned as a continuing unit. Each member of the Opioid Supply Chain

Enterprise participated in the conduct of the enterprise, including patterns of racketeering activity,

and shared in the astounding growth of profits supplied by fraudulently inflating opioid quotas and

resulting sales.

         802.      The RICO Supply Chain Defendants carried out, or attempted to carry out, a

scheme to defraud federal and state regulators, and the American public by knowingly conducting

or participating in the conduct of the Opioid Supply Chain Enterprise through a pattern of




231
  History, Health Distribution Alliance, https://www.healthcaredistribution.org/about/hda-history. (last accessed on
September 15, 2017),


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racketeering activity within the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and

wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

       803.    The RICO Supply Chain Defendants committed, conspired to commit, and/or aided

and abetted in the commission of at least two predicate acts of racketeering activity (i.e. violations

of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity

that the RICO Supply Chain Defendants committed, or aided and abetted in the commission of,

were related to each other, posed a threat of continued racketeering activity, and therefore

constitute a “pattern of racketeering activity.” The racketeering activity was made possible by the

RICO Supply Chain Defendants’ regular use of the facilities, services, distribution channels, and

employees of the Opioid Supply Chain Enterprise. The RICO Supply Chain Defendants

participated in the scheme to defraud by using mail, telephone and the Internet to transmit mailings

and wires in interstate or foreign commerce.

       804.    The RICO Supply Chain Defendants also conducted and participated in the conduct

of the affairs of the Opioid Supply Chain Enterprise through a pattern of racketeering activity by

the felonious manufacture, importation, receiving, concealment, buying, selling, or otherwise

dealing in a controlled substance or listed chemical (as defined in section 102 of the Controlled

Substance Act), punishable under any law of the United States.

       805.    The RICO Supply Chain Defendants committed crimes that are punishable as

felonies under the laws of the United States. Specifically, 21 U.S.C. § 843(a)(4) makes it unlawful

for any person to knowingly or intentionally furnish false or fraudulent information in, or omit any

material information from, any application, report, record or other document required to be made,

kept or filed under this subchapter. A violation of § 843(a)(4) is punishable by up to four years in

jail, making it a felony. 21 U.S.C. § 843(d)(1).



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       806.    Each of the RICO Supply Chain Defendants is a registrant as defined in the CSA.

Their status as registrants under the CSA requires that they maintain effective controls against

diversion of controlled substances in schedule I or II, design and operate a system to disclose to

the registrant suspicious orders of controlled substances and inform the DEA of suspicious orders

when discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

       807.    The RICO Supply Chain Defendants’ predicate acts of racketeering (18 U.S.C.

§ 1961(1)) include, but are not limited to:

               a.      Mail Fraud: The RICO Supply Chain Defendants violated 18 U.S.C. § 1341
                       by sending or receiving, or by causing to be sent and/or received, materials
                       via U.S. mail or commercial interstate carriers for the purpose of executing
                       the unlawful scheme to design, manufacture, market, and sell the
                       prescription opioids by means of false pretenses, misrepresentations,
                       promises, and omissions.

               b.      Wire Fraud: The RICO Supply Chain Defendants violated 18 U.S.C. § 1343
                       by transmitting and/or receiving, or by causing to be transmitted and/or
                       received, materials by wire for the purpose of executing the unlawful
                       scheme to design, manufacture, market, and sell the prescription opioids by
                       means of false pretenses, misrepresentations, promises, and omissions.

               c.      Controlled Substance Violations: The RICO Supply Chain Defendants who
                       are Distributor Defendants violated 21 U.S.C. § 843 by knowingly or
                       intentionally furnishing false or fraudulent information in, and/or omitting
                       material information from, documents filed with the DEA.

       808.    The RICO Supply Chain Defendants conducted their pattern of racketeering

activity in this jurisdiction and throughout the United States through this enterprise.

       809.    The RICO Supply Chain Defendants aided and abetted others in the violations of

the above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

       810.    The RICO Supply Chain Defendants hid from the general public and suppressed

and/or ignored warnings from third parties, whistleblowers and governmental entities about the

reality of the suspicious orders that the RICO Supply Chain Defendants were filling on a daily

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basis – leading to the diversion of hundreds of millions of doses of prescriptions opioids into the

illicit market.

        811.      The RICO Supply Chain Defendants, with knowledge and intent, agreed to the

overall objective of their fraudulent scheme and participated in the common course of conduct to

commit acts of fraud and indecency in manufacturing and distributing prescription opioids.

        812.      Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants had

to agree to implement similar tactics regarding manufacturing prescription opioids and refusing to

report suspicious orders.

        813.      As described herein, the RICO Supply Chain Defendants engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant monies and revenues

from the sale of their highly addictive and dangerous drugs. The predicate acts also had the same

or similar results, participants, victims, and methods of commission. The predicate acts were

related and not isolated events.

        814.      The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured Plaintiff’s business and property, while simultaneously generating billion-

dollar revenue and profits for the RICO Supply Chain Defendants. The predicate acts were

committed or caused to be committed by the RICO Supply Chain Defendants through their

participation in the Opioid Supply Chain Enterprise and in furtherance of its fraudulent scheme.

        815.      The pattern of racketeering activity alleged herein and the Opioid Supply Chain

Enterprise are separate and distinct from each other. Likewise, the RICO Supply Chain Defendants

are distinct from the enterprise.




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       816.    The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

       817.    Many of the precise dates of the RICO Supply Chain Defendants’ criminal actions

at issue here have been hidden by Defendants and cannot be alleged without access to Defendants’

books and records. Indeed, an essential part of the successful operation of the Opioid Supply Chain

Enterprise alleged herein depended upon secrecy.

       818.    By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

       819.    It was foreseeable to the RICO Supply Chain Defendants that Plaintiff would be

harmed when they refused to report and halt suspicious orders, because their violation of the duties

imposed by the CSA and Code of Federal Regulations allowed the widespread diversion of

prescription opioids out of appropriate medical channels and into the illicit drug market – causing

the opioid epidemic that the CSA intended to prevent.

       820.    The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

       821.    The RICO Supply Chain Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused Plaintiff injury in its business and property.

The RICO Supply Chain Defendants’ pattern of racketeering activity, including their refusal to

identify, report and halt suspicious orders of controlled substances, logically, substantially and

foreseeably cause an opioid epidemic. Plaintiff was injured by the RICO Supply Chain

Defendants’ pattern of racketeering activity and the opioid epidemic that they created.



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           822.     The RICO Supply Chain Defendants knew that the opioids they manufactured and

supplied were unsuited to treatment of long-term, chronic, non-acute, and non-cancer pain, or for

any other use not approved by the FDA, and knew that opioids were highly addictive and subject

to abuse. 232 Nevertheless, the RICO Supply Chain Defendants engaged in a scheme of deception,

that utilized the mail and wires as part of their fraud, in order to increase sales of their opioid

products by refusing to identify, report suspicious orders of prescription opioids that they knew

were highly addictive, subject to abuse, and were actually being diverted into the illegal market.233

           823.     The RICO Supply Chain Defendants’ predicate acts and pattern of racketeering

activity were a cause of the opioid epidemic which has injured Plaintiff in the form of substantial

losses of money and property that logically, directly and foreseeably arise from the opioid-

addiction epidemic.

           824.     Specifically, Plaintiff’s injuries, as alleged throughout this complaint, and expressly

incorporated herein by reference, include:

                    a.       Losses caused by the decrease in funding available for Plaintiff’s services
                             and benefits to its members, employees, and beneficiaries;

                    b.       Costs for providing healthcare and medical care, additional therapeutic, and
                             prescription drug purchases, and other treatments for Plaintiff’s members,
                             employees, and beneficiaries suffering from opioid-related addiction or
                             disease, including overdoses and deaths;

                    c.       Costs for providing coverage of mental-health services, treatment,
                             counseling, rehabilitation services, and social services to victims of the
                             opioid epidemic and their families;

                    d.       Costs for providing coverage for treatment of infants born with opioid-
                             related medical conditions, or born dependent on opioids due to drug use by
                             mother during pregnancy;



232
      Travelers Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026, 1030 (2017).
233
  City of Everett v. Purdue Pharma L.P., Case No. 17-cv-00209, 2017 WL 4236062, *2 (W.D. Wash. Sept. 25,
2017).


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               e.      Loss of revenue due to the decreased efficiency and size of the Plaintiff’s
                       membership;

               f.      Costs associated with increased death benefit payments;

               g.      Costs associated with increased disability payments;

       825.    Plaintiff’s injuries were proximately caused by Defendants’ racketeering activities

because they were the logical, substantial and foreseeable cause of Plaintiff’s injuries. But for the

opioid-addiction epidemic created by Defendants’ conduct, Plaintiff would not have lost money

or property.

       826.    Plaintiff’s injuries were directly caused by the RICO Supply Chain Defendants’

pattern of racketeering activities.

       827.    Plaintiff is most directly harmed and there is no other Plaintiff better suited to seek

a remedy for the economic harms at issue here.

       828.    Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages; treble damages; equitable and/or injunctive relief in the form of court-supervised

corrective communication, actions and programs; forfeiture as deemed proper by the Court;

attorney’s fees; all costs and expenses of suit; and pre- and post-judgment interest, and all of the

relief sought into the First Claim for Relief, as the Court deems just and applicable.

                                      THIRD CLAIM FOR RELIEF

                        Violation Of The Michigan Racketeering Laws
                            Michigan Penal Code § 750.159f, et seq.
                 (Against Purdue, Cephalon, Janssen, Endo, and Mallinckrodt)
                             (the “Opioid Marketing Enterprise”)

       829.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.




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       830.    Plaintiff brings this Claim against Defendants Purdue, Cephalon, Janssen, Endo,

and Mallinckrodt (referred to collectively for this Claim as the “the RICO Marketing Defendants”),

each of whom is a “person” within the meaning of Michigan Law.

       A.      The Opioid Marketing Enterprise and Pattern of Corrupt Activity.

       831.    For efficiency and to avoid repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs of Plaintiff’s First Claim for Relief concerning the Opioid

Marketing Enterprise.

       832.    As alleged above, each of the RICO Marketing Defendants were members of an

association-in-fact enterprise, the Opioid Marketing Enterprise, within the meaning of Michigan

law.

       833.    As alleged above, each of the RICO Marketing Defendants conducted and

participated in the conduct of the affairs of the Opioid Marketing Enterprise through a pattern of

“corrupt activities”, as defined in Michigan Penal Code § 750.159f et seq.

       834.    As previously alleged, the RICO Marketing Defendants engaged in a pattern of

corrupt activity by committing mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343).

The RICO Marketing Defendants acts also constitute a pattern of telecommunications fraud .The

RICO Marketing Defendants formed an association-in-fact enterprise consisting of “advocacy

groups and professional societies” (“Front Groups”) and paid “physicians affiliated with these

groups” (KOLs”) in order to unlawfully increase the demand for opioids. Through their personal

relationships, the RICO Marketing Defendants and members of the Opioid Marketing Enterprise

had the opportunity to form and take actions in furtherance of the Opioid Marketing Enterprise’s

common purpose. The RICO Marketing Defendants’ substantial financial contribution to the

Opioid Marketing Enterprise, and the advancement of opioids-friendly messaging, fueled the U.S.

opioids epidemic.

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       835.    The RICO Marketing Defendants, through the Opioid Marketing Enterprise, made

misleading statements and misrepresentations about opioids that downplayed the risk of addiction

and exaggerated the benefits of opioid use, including: (1) that addiction is rare among patients

taking opioids for pain; (2) that addiction risk can be effectively managed; (3) that symptoms of

addiction exhibited by opioid patients are actually symptoms of an invented condition the RICO

Marketing Defendants named “pseudoaddiction”; (4) that withdrawal is easily managed; (5) that

increased dosing presents no significant risks; (6) that long-term use of opioids improves function;

(7) that the risks of alternative forms of pain treatment are greater than the adverse effects of

opioids; (8) that use of time-released dosing prevents addiction; and (9) that abuse-deterrent

formulations provide a solution to opioid abuse.

       B.      Injury Caused and Relief Sought

       836.    The RICO Marketing Defendants’ violations of law and their pattern of

racketeering activity directly or indirectly caused Plaintiff’s injury. The RICO Marketing

Defendants’ pattern of racketeering activity logically, substantially and foreseeably caused an

opioid epidemic. Plaintiff’s injuries, as described below, were not unexpected, unforeseen or

independent. Rather, as Plaintiff alleges, the RICO Marketing Defendants knew that the opioids

were unsuited to treatment of long-term chronic, non-acute, and non-cancer pain, or for any other

use not approved by the FDA, and knew that opioids were highly addictive and subject to abuse.

Nevertheless, the RICO Marketing Defendants engaged in a scheme of deception, that utilized the

mail and wires as part of their fraud, in order to increase sales of their opioid products.

       837.    It was foreseeable and expected that a massive marketing campaign utilized by the

RICO Marketing Defendants that misrepresented the non-addictive and effective use of

prescription opioids for purposes for which they are not suited and not approved by the FDA would

lead to a nationwide opioid epidemic. It was also foreseeable and expected that the RICO

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Marketing Defendants’ marketing campaign would lead to increased opioid addiction and

overdose. Plaintiff’s injuries were logically, foreseeable, and substantially caused by the opioid

epidemic that the RICO Marketing Defendants created.

       838.    Specifically, the RICO Marketing Defendants’ predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured Plaintiff in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic. Plaintiff’s injuries, as alleged throughout this complaint, and expressly

incorporated herein by reference, include:

               a.      Losses caused by the decrease in funding available for Plaintiff’s services
                       and benefits to its members, employees, and beneficiaries;

               b.      Costs for providing healthcare and medical care, additional therapeutic, and
                       prescription drug purchases, and other treatments for Plaintiff’s members,
                       employees, and beneficiaries suffering from opioid-related addiction or
                       disease, including overdoses and deaths;

               c.      Costs for providing coverage of mental-health services, treatment,
                       counseling, rehabilitation services, and social services to victims of the
                       opioid epidemic and their families;

               d.      Costs for providing coverage for treatment of infants born with opioid-
                       related medical conditions, or born dependent on opioids due to drug use by
                       mother during pregnancy;

               e.      Loss of revenue due to the decreased efficiency and size of the Plaintiff’s
                       membership;

               f.      Costs associated with increased death benefit payments;

               g.      Costs associated with increased disability payments;

       839.    Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages; treble damages; exemplary and punitive damages; equitable and/or injunctive

relief, including corrective statements, information and education, under Michigan law, requiring

divestiture by, and reasonable restrictions upon, the future activities of the Defendants; forfeiture



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as deemed proper by the Court; attorney’s fees and all costs; expenses of suit; and pre- and post-

judgment interest, and all of the relief sought into the First Claim for Relief, as the Court deems

just and applicable.

                                 FOURTH CLAIM FOR RELIEF

   Violation Of The Michigan Racketeering Laws, Michigan Penal Code § 750.159f. et seq.
        Against Defendants Purdue, Janssen, Cephalon, Endo, Mallinckrodt, Actavis,
                      McKesson, Cardinal, and AmerisourceBergen)
                         (The “Opioid Supply Chain Enterprise”)

       840.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       841.     Plaintiff brings this Claim against Defendants Purdue, Janssen, Cephalon, Endo,

Mallinckrodt, Actavis (the “RICO Marketing Defendants”), and Defendants McKesson, Cardinal,

and AmerisourceBergen (the “Distributor Defendants”) (together with the RICO Marketing

Defendants, the “RICO Supply Chain Defendants”), each of whom is a “person” within the

meaning of Michigan Penal Code § 750.159f et seq.

       A.       The Opioid Supply Chain Enterprise and Pattern of Corrupt Activity

       842.     For efficiency and to avoid repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs of Plaintiff’s Second Claim for Relief concerning the

Opioid Supply Chain Enterprise.

       843.     As previously alleged, each of the RICO Supply Chain Defendants were members

of an association-in-fact enterprise, the Opioid Supply Chain Enterprise, within the meaning of

Michigan law.

       844.     As previously alleged, each of the RICO Supply Chain Defendants conducted and

participated in the conduct of the affairs of this Enterprise through a pattern of “corrupt activities”

as defined in Michigan Penal Code § 750.159f et seq.


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       845.    As previously alleged, the RICO Supply Chain Defendants engaged in a pattern of

corrupt activities defined as “racketeering activities” in 18 U.S.C. § 1961(1)(B) and (D), including

mail fraud (18 U.S.C. § 1341), wire fraud (18 U.S.C. § 1343), and dealing in a controlled substance

which crime is punishable under any law of the United States. The RICO Supply Chain Defendants

acts also constitute a pattern of telecommunications fraud.

       846.    For over a decade, the RICO Supply Chain Defendants aggressively sought to

bolster their revenue, increase profit, and grow their share of the prescription painkiller market by

unlawfully and surreptitiously increasing the volume of opioids they sold. However, the RICO

Supply Chain Defendants are not permitted to engage in a limitless expansion of their sales through

the unlawful sales of regulated painkillers. As “registrants” under the Controlled Substances Act,

21 U.S.C. § 821, et seq. (the “CSA”), the RICO Supply Chain Defendants operated and continue

to operate within a “closed-system.” The CSA restricts the RICO Supply Chain Defendants’ ability

to manufacture or distribute Schedule II substances like opioids by: (1) requiring them to make

sales within a limited quota set by the DEA for the overall production of Schedule II substances

like opioids; (2) register to manufacture or distribute opioids; (3) maintain effective controls

against diversion of the controlled substances that they manufacturer or distribute; and (4) design

and operate a system to identify suspicious orders of controlled substances, halt such unlawful

sales, and report them to the DEA.

       847.    As alleged above, Congress created a closed system when it enacted the CSA,

including the establishment of quota system, with the specific intent to protect public safety by

reducing or eliminating the diversion of Schedule II drugs, like opioids, from legitimate channels




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of trade to illicit markets “by controlling the basic ingredients needed for the manufacture of

[controlled substances.]”234

         848.    Each of the RICO Supply Chain Defendants knows and has known for decades that

if it does not report, investigate or halt suspicious orders, the likelihood of the DEA learning of

these illicit transactions and diversions in a timely manner, or at all, is greatly reduced and,

therefore, is likely to contribute to the increase and maintenance of artificially high quotas.

         849.    Each of the Marketing and Distributor Defendants also knows, and has known for

decades, that the quotas for its opioid products will decrease or increase as the number of licit

prescriptions decrease or increase.

         850.    Therefore, finding it impossible to legally achieve their ever-increasing sales

ambitions, members of the Opioid Supply Chain Enterprise engaged in the common purpose of

fraudulently increasing the quotas that governed the manufacture and distribution of their

prescription opioids. The RICO Supply Chain Defendants formed and pursued their common

purpose through the many personal interactions that they had, confidentially, in organizations like

the Pain Care Forum and the Healthcare Distribution Alliance.

         851.    The RICO Supply Chain Defendants’ common purpose and fraudulent scheme to

unlawfully increase the DEA quotas violated the Corrupt Practices Act in three ways. First, the

RICO Supply Chain Defendants violated the Corrupt Practices Act because they engaged in the

felonious manufacture, buying selling, or otherwise dealing in controlled substances that are

punishable by law in the United States. Specifically, the RICO Supply Chain Defendants engaged

in the manufacture, buying, selling, or otherwise dealing in controlled substances in violation of



234
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony _0.pdf).


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21 U.S.C. § 843 because they furnished false or fraudulent material information in, and omitted

material information from, applications, reports, records, and other document they were required

to make, keep, or file under required to be made, kept, or filed under this subchapter or

subchapter II of 21 U.S.C. 801, et seq.

       852.    Second, the RICO Supply Chain Defendants violated the Corrupt Practices Act by

engaging in mail and wire fraud. The RICO Supply Chain Defendants’ common purpose and

fraudulent scheme was intended to, and did, utilize interstate mail and wire facilities for the

commission of their fraud in violation 18 U.S.C. §§ 1341 (mail fraud) and 1343 (wire fraud).

       853.    Third, the RICO Supply Chain Defendants violated the Corrupt Practices Act by

engaging in telecommunications fraud. The RICO Supply Chain Defendants’ common purpose

and fraudulent scheme was intended to, and did disseminate or transmit writings, data, signs,

signals, pictures, sounds or images by means of wire, radio, satellite, telecommunication,

telecommunications devices or services in furtherance of the scheme to defraud.

       854.    The RICO Supply Chain Defendants’ fraudulent scheme arises at the intersection

between the quotas governing the RICO Supply Chain Defendants’ prescription opioids and the

RICO Supply Chain Defendants’ duty to identify, report, and halt suspicious orders of controlled

substances. The RICO Supply Chain Defendants’ formed an enterprise with the intent to

fraudulently increase the quotas for prescription opioids by refusing to identify, report and halt

suspicious orders, thereby omitting both the fact and the RICO Supply Chain Defendants’

knowledge of widespread diversion of prescription opioids into illegitimate channels.

       855.    The RICO Supply Chain Defendants engaged in systematic and fraudulent acts as

part of the Opioid Supply Chain Enterprise, that furnished false or fraudulent material information

in, and omitted material information from their applications, reports, records and other documents



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that the RICO Supply Chain Defendants were required to make, keep and/or file. Furthermore, the

RICO Supply Chain Defendants engaged in systematic and fraudulent acts as part of the Opioid

Distribution Enterprise that were intended to and actually did utilize the mail and wire facilities of

the United States and Michigan, including refusing to maintain effective controls against diversion

of their drugs, to design and operate a system to identify suspicious orders of their drugs, to halt

unlawful sales of suspicious orders, and to notify the DEA of suspicious orders.235

           856.      Through the RICO Supply Chain Defendants’ scheme, members of the Opioid

Supply Chain Enterprise repeatedly requested increases of the quotas governing the manufacture,

sale and distribution of prescription opioids, misrepresented that they were complying with their

duties under the CSA, furnished false or fraudulent material information in, and omitted material

information from their applications, reports, records and other documents, engaged in unlawful

sales of opioids that resulted in diversion of controlled substances through suspicious orders, and

refused to identify or report suspicious orders of controlled substances sales to the DEA.236

Defendants’ refusal to report suspicious orders resulted in artificial and illegal increases in the

annual production quotas for opioids allowed by the DEA. The end result of the RICO Supply

Chain Defendants’ fraudulent scheme and common purpose was continually increasing quotas that

generated obscene profits and, in turn, fueled an opioid epidemic.

           857.      In particular, each of the RICO Supply Chain Defendants were associated with, and

conducted or participated in, the affairs of the Opioid Supply Chain Enterprise, whose common

purpose was fraudulently increase the quotas governing the manufacture and sale of prescription

opioids.



235
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
236
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.


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        858.    The success of the RICO Supply Chain Defendants’ scheme allowed them to

unlawfully increase and/or maintain high production quotas and, as a direct result, allowed them

to make billions from the unlawful sale and diversion of opioids.

        B.      Impact of The Opioid Supply Chain Enterprise

        859.    The factual allegations and tragic statistics of injury and damage set forth in

Sections I.G-I.H apply equally here.

        C.      Injury Caused and Relief Sought

        860.    The RICO Supply Chain Defendants’ violations of law and their pattern of

racketeering activity directly and indirectly caused Plaintiff’s injury and damages. Their pattern of

corrupt activity logically, substantially and foreseeably caused an opioid epidemic. Plaintiff’s

injuries, as described below, were not unexpected, unforeseen or independent. Rather, as Plaintiff

alleges, Defendants knew that the opioids were going to fuel an ever-increasing illicit prescription

market, as well as increasing addiction and death as a result of licit prescriptions of opioids to treat

chronic, long-term pain.

        861.    It was foreseeable and expected that flooding the illegal market for opioids would

lead to a nationwide opioid epidemic. It was also foreseeable and expected that it would lead to

increased opioid addiction and overdose. Plaintiff’s injury and damage was logically, foreseeable,

and substantially caused by the opioid epidemic that the RICO Supply Chain Defendants created.

        862.    Specifically, the RICO Supply Chain Defendants’ pattern of corrupt activity caused

the opioid epidemic which has injured and damaged Plaintiff in the form of substantial losses of

money and property that logically, directly and foreseeably arise from the opioid-addiction

epidemic. Plaintiff’s injuries and damages, as alleged throughout this complaint, and expressly

incorporated herein by reference, include:



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               a.      Losses caused by the decrease in funding available for Plaintiff’s services
                       and benefits to its members, employees, and beneficiaries;

               b.      Costs for providing healthcare and medical care, additional therapeutic, and
                       prescription drug purchases, and other treatments for Plaintiff’s members,
                       employees, and beneficiaries suffering from opioid-related addiction or
                       disease, including overdoses and deaths;

               c.      Costs for providing coverage of mental-health services, treatment,
                       counseling, rehabilitation services, and social services to victims of the
                       opioid epidemic and their families;

               d.      Costs for providing coverage for treatment of infants born with opioid-
                       related medical conditions, or born dependent on opioids due to drug use by
                       mother during pregnancy;

               e.      Loss of revenue due to the decreased efficiency and size of the Plaintiff’s
                       membership;

               f.      Costs associated with increased death benefit payments;

               g.      Costs associated with increased disability payments.

       863.    Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages, treble damages, equitable and/or injunctive relief, including corrective statements,

information and education, under Michigan Penal Code § 750.159f et seq. requiring divestiture by,

and reasonable restrictions upon, the future activities of the Defendants, forfeiture as deemed

proper by the Court, attorney’s fees and all costs, and expenses of suit, and pre- and post-judgment

interest, and all of the relief sought into the First Claim for Relief, as the Court deems just and

applicable.

                                   FIFTH CLAIM FOR RELIEF

                                               Negligence
                                         (Against All Defendants)

       864.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges:




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        865.   Defendants owed Plaintiff a duty to not expose Plaintiff to an unreasonable risk of

harm.

        866.   Defendants had a legal duty to exercise reasonable and ordinary care and skill in

accordance with applicable standards of conduct in manufacturing, advertising, marketing, selling

and/or distributing opioids.

        867.   Defendants had a duty not to breach the standard of care established under

Michigan law and the federal Controlled Substances Act (“CSA”) and its implementing

regulations, which require Defendants to report suspicious orders and to maintain systems to detect

and report such activity.

        868.   Defendants’ duties were preexisting.

        869.   The degree of care the law requires is commensurate with the risk of harm the

conduct creates. Defendants’ conduct in marketing, distributing, and selling dangerously addictive

drugs requires a high degree of care and places them in a position of great trust and responsibility

vis a vis Plaintiff. Their duty cannot be delegated.

        870.   Each Defendant breached its duty to exercise the degree of care, prudence,

watchfulness, and vigilance commensurate with the dangers involved in selling dangerous

controlled substances.

        871.   Defendants breached their duty to Plaintiff by, inter alia:

               a.        Distribution by distributors and sales by manufacturers of opioids in ways
                         that facilitated and encouraged their flow into the illegal, secondary market;

               b.        Distribution by distributors and sales by manufacturers of opioids without
                         maintaining effective controls against the diversion of opioids;

               c.        Choosing not to effectively monitor for suspicious orders;

               d.        Choosing not to investigate suspicious orders;

               e.        Choosing not to report suspicious orders;

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                  f.     Choosing not to stop or suspend shipments of suspicious orders; and

                  g.     Distribution by distributors and sales by manufacturers of opioids
                         prescribed by “pill mills” when Defendants knew or should have known the
                         opioids were being prescribed by “pill mills.”

        872.      The Marketing Defendants breached their duty to Plaintiff by deceptively

marketing opioids, including minimizing the risks of addiction and overdose and exaggerating the

purported benefits of long-term use of opioids for the treatment of chronic pain.

        873.      Plaintiff does not allege that Defendants were negligent for failure to protect from

harm. Rather, Defendants engaged in conduct the foreseeable result of which was to cause harm

to Plaintiff.

        874.      Defendants have engaged in affirmative acts of creating an illegal, secondary

prescription opioid market by failing to exercise adequate control over the marketing, distribution,

and sale of their prescription opioids.

        875.      Defendants were negligent by marketing, distributing, and selling opioids in a way

that created and fostered an illegal, secondary prescription opioid market that resulted in a

foreseeable and unreasonable risk of harm to Plaintiff.

        876.      The method by which Defendants created this market was by marketing,

distributing, and selling opioids without regard to the likelihood that the opioids would be placed

in the hands of criminals, addicts, juveniles, and others not permitted to use or possess prescription

opioids.

        877.      A reasonably prudent opioid manufacturer and distributor should have anticipated

an injury to Plaintiff as a probable result of marketing, distributing, and selling prescription opioids

in this manner.

        878.      It was reasonably foreseeable that Defendants’ actions and omissions would result

in the harm to Plaintiff as described herein.

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       879.    Defendants had control over their conduct toward the Plaintiff, and its members,

employees, and beneficiaries. Marketing Defendants controlled their deceptive advertising and

efforts to mislead the public, including the Plaintiff, its members, employees, and beneficiaries,

including their acts and omissions in detailing by their sales representatives, online

communications, publications, Continuing Medical Education programs and other speaking

events, and other means described in this Complaint. Defendants had control over their own

shipments of opioids and over their reporting, or lack thereof, of suspicious prescribers and orders.

Each of the Defendants controlled the systems they developed to prevent diversion, including the

criteria and process they used to identify suspicious orders, whether and to what extent they trained

their employees to report and halt suspicious orders, and whether they filled orders they knew or

should have known were likely to be diverted or fuel an illegal market.

       880.    Because of the Marketing Defendants’ deceptive marketing of opioids and each of

the Defendants’ special positions within the closed system of opioid distribution, without

Defendants’ actions, opioid use would not have become so widespread, and the enormous public

health hazard of prescription opioid and heroin overuse, abuse, and addiction that now exists would

have been averted.

       881.    Defendants also misleadingly portrayed themselves as cooperating with law

enforcement and actively working to combat the opioid epidemic when, in reality, Defendants

failed to satisfy even their minimum, legally-required obligations to report suspicious orders.

Defendants voluntarily undertook duties, through their statements to the media, regulators, and the

public at large, to take all reasonable precautions to prevent drug diversion.

       882.    Defendants are in the business of manufacturing, marketing, and/or distributing

prescription drugs, including opioids, which are specifically known to Defendants to be dangerous



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because, inter alia, these drugs are defined under federal and state law as substances posing a high

potential for abuse and addiction.

          883.   Indeed, opioids are akin to medical grade heroin. Defendants’ wrongful conduct of

deceptively marketing and pushing as many opioids onto the market as possible led directly to

harm to Plaintiff – exactly as would be expected when medical grade heroin in the form of

prescription opioids are deceptively marketed, flood the community, and are diverted into an

illegal, secondary market.

          884.   Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities, and the

significant costs which would be imposed upon the entities providing health benefits and coverage

to those communities, including the Plaintiff. Indeed, it is a violation of Michigan law and other

applicable law for Defendants not to report suspicious orders and exercise due diligence not to

ship such orders unless and until the suspicion has been removed. The closed system of opioid

distribution, whereby wholesale distributors are the gatekeepers between manufacturers and

pharmacies, exists for the purpose of controlling dangerous substances such as opioids and

preventing diversion and abuse.

          885.   Marketing Defendants knew or should have known, that their affirmative

misconduct in engaging in an aggressive, widespread, and misleading campaign in marketing

narcotic drugs created an unreasonable risk of harm. The Defendants’ sales data, reports from sales

representatives, and internal documents, should have put them on notice that such harm was not

only foreseeable, but was actually occurring. Defendants nevertheless chose to deceptively

withhold information about the dangers of opioids from Plaintiff, physicians, patients, and the

public.



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       886.    Defendants conduct was negligence per se in that Defendants violated federal law,

including, but not limited to, 21 U.S.C. §§ 823 and 827(d)(1); 21 C.F.R. §§ 1301.74, 1304.21,

1304.22, and 1304.33(e); and Michigan law. Plaintiff was a party intended to be protected by such

laws and whose injuries said laws were designed to prevent. Defendants’ violations of said laws

proximately caused injury to Plaintiff.

       887.    Defendants also violated federal and Michigan statutes and regulations, including

the controlled substances laws, by, inter alia:

               a.      Distributing and selling opioids in ways that facilitated and encouraged their
                       flow into the illegal, secondary market;

               b.      Distributing and selling opioids without maintaining effective controls
                       against the diversion of opioids;

               c.      Choosing not to effectively monitor for suspicious orders;

               d.      Choosing not to investigate suspicious orders;

               e.      Choosing not to report suspicious orders;

               f.      Choosing not to stop or suspend shipments of suspicious orders; and

               g.      Distributing and selling opioids prescribed by “pill mills” when Defendants
                       knew or should have known the opioids were being prescribed by “pill
                       mills.”

               h.      As a direct and proximate result of Defendants’ negligence and/or
                       negligence per se, Plaintiff has suffered and will continue to suffer
                       economic damages including, but not limited to: Losses caused by the
                       decrease in funding available for Plaintiff’s services and benefits to its
                       members, employees, and beneficiaries;

               i.      Costs for providing healthcare and medical care, additional therapeutic, and
                       prescription drug purchases, and other treatments for Plaintiff’s members,
                       employees, and beneficiaries suffering from opioid-related addiction or
                       disease, including overdoses and deaths;

               j.      Costs for providing coverage of mental-health services, treatment,
                       counseling, rehabilitation services, and social services to victims of the
                       opioid epidemic and their families;



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               k.      Costs for providing coverage for treatment of infants born with opioid-
                       related medical conditions, or born dependent on opioids due to drug use by
                       mother during pregnancy;

               l.      Loss of revenue due to the decreased efficiency and size of the Plaintiff’s
                       membership;

               m.      Costs associated with increased death benefit payments;

               n.      Costs associated with increased disability payments;



       888.    As a direct and proximate result of Defendants’ negligence and/or negligence per

se, Plaintiff has suffered and will continue to suffer stigma damage, non-physical property damage,

and damage to its proprietary interests.

       889.    As a direct and proximate result of Defendants’ negligent, willful, wanton, and

intentional acts, omissions, misrepresentations and otherwise culpable acts, there is now a national

opioid epidemic that has caused enormous harm and injury to the public, including the Plaintiff,

its members, employees, and beneficiaries.

       890.    Defendants’ misconduct alleged in this case is ongoing and persistent.

       891.    Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is not

part of the normal and expected costs the Plaintiff ordinarily expects to incur. Plaintiff alleges

wrongful acts which are neither discrete nor of the sort the Plaintiff can reasonably expect.

       892.    Plaintiff has incurred expenditures for special benefits, additional coverage over

and above Plaintiff’s ordinary expenditures

       893.    Plaintiff has suffered an indivisible injury as a result of the tortious conduct of

Defendants.




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        894.    The tortious conduct of each Defendant was a substantial factor in producing harm

to Plaintiff.

        895.    Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

        896.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and all

damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre- and post-

judgment interest.

                                   SIXTH CLAIM FOR RELIEF

                                       Common Law Fraud
                                (Against the Marketing Defendants)

        897.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges:

        898.    Marketing Defendants violated their duty not to actively deceive by intentionally

and unlawfully making knowingly false statements, and by intentionally and unlawfully omitting

and/or concealing information.

        899.    Specifically, the Marketing Defendants’ knowing deceptions during the relevant

period, which were intended to induce reliance, include but are not limited to:

                a.     Marketing Defendants’ misrepresentations overstating the benefits of, and
                       evidence for, the use of opioids for chronic pain;

                b.     Marketing Defendants’ misrepresentations that the risks of long-term opioid
                       use, especially the risk of addiction, were overblown;

                c.     Marketing Defendants’ misrepresentations that opioid doses can be safely
                       and effectively increased until pain relief is achieved;



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         d.    Marketing Defendants’ misrepresentations that signs of addiction were
               “pseudoaddiction” and thus reflected undertreated pain, which should be
               responded to with more opioids;

         e.    Marketing Defendants’ misrepresentations that screening tools effectively
               prevent addiction;

         f.    Marketing Defendants’ misrepresentations concerning the comparative
               risks of NSAIDs and opioids;

         g.    Marketing Defendants’ misrepresentations that opioids differ from NSAIDs
               in that opioids have no ceiling dose;

         h.    Marketing Defendants’ misrepresentations that evidence supports the long-
               term use of opioids for chronic pain;

         i.    Marketing Defendants’ misrepresentations that chronic opioid therapy
               would improve patients’ function and quality of life;

         j.    Marketing Defendants’ false portrayal of their efforts and/or commitment
               to rein in the diversion and abuse of opioids;

         k.    Marketing Defendants’ misrepresentations that withdrawal is easily
               managed;

         l.    Purdue’s and Endo’s misrepresentations that alleged abuse-deterrent
               opioids reduce tampering and abuse;

         m.    Purdue’s misrepresentations that OxyContin provides a full 12 hours of pain
               relief;

         n.    Purdue’s misrepresentations that it cooperates with and supports efforts to
               prevent opioid abuse and diversion;

         o.    Mallinckrodt’s misrepresentations that it meets or exceeds legal
               requirements for controlling against diversion of controlled substances it
               has been entrusted to handle;

         p.    Insys’s misrepresentations that Subsys was appropriate for treatment of
               non-cancer pain and its failure to disclose that Subsys was not approved for
               such use;

         q.    Insys’s misrepresentations to third-party payors to secure approval for
               coverage;

         r.    Insys’s use of speaker bureaus to disguise kickbacks to prescribers;




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               s.     Teva’s misrepresentations that Actiq and Fentora were appropriate for
                      treatment of non-cancer pain and its failure to disclose that Actiq and
                      Fentora were not approved for such use;

               t.     Cephalon’s unsubstantiated claims that Actiq and Fentora were appropriate
                      for treatment of non-cancer pain;

               u.     Marketing Defendants’ use of front groups to misrepresent that the
                      deceptive statements from the sources described in this Complaint came
                      from objective, independent sources;

               v.     Marketing Defendants’ creation of a body of deceptive, misleading and
                      unsupported medical and popular literature, advertisements, training
                      materials, and speaker presentations about opioids that (i) understated the
                      risks and overstated the benefits of long-term use; (ii) appeared to be the
                      result of independent, objective research; and (iii) was thus more likely to
                      be relied upon by physicians, patients, and payors; and,

               w.     Such other misrepresentations and deceptions outlined above.

       900.    By engaging in the acts and practices alleged herein, Marketing Defendants, in the

relevant time period, with the intent that others rely on their omissions or suppression of

information, omitted material facts that Marketing Defendants had a duty to disclose by virtue of

these Defendants’ other representations, including but not limited to:

               a.     opioids are highly addictive and may result in overdose or death;

               b.     no credible scientific evidence supports the use of screening tools as a
                      strategy for reducing abuse or diversion;

               c.     high dose opioids subject the user to greater risks of addiction, other injury,
                      and/or death;

               d.     opioids present the risks of hyperalgesia, hormonal dysfunction, decline in
                      immune function, mental clouding, confusion, dizziness, increased falls and
                      fractures in the elderly, neonatal abstinence syndrome, and potentially fatal
                      interactions with alcohol or benzodiazepines; these omissions were made
                      while Defendants exaggerated the risks of competing products such as
                      NSAIDs;

               e.     claims regarding the benefits of chronic opioid therapy lacked scientific
                      support or were contrary to the scientific evidence;

               f.     Purdue’s 12-hour OxyContin fails to last a full twelve hours in many
                      patients;

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                 g.     Purdue’s and Endo’s abuse-deterrent formulations are not designed to
                        address, and have no effect on, the common route of abuse (oral abuse), can
                        be defeated with relative ease, and may increase overall abuse;

                 h.     Marketing Defendants’ failure to report suspicious prescribers and/or
                        orders;

                 i.     Insys’s use of kickback and insurance fraud schemes;

                 j.     Insys’s failure to disclose that Subsys was not approved for non-cancer pain;

                 k.     Cephalon’s failure to disclose that Actiq and Fentora were not approved for
                        non-cancer pain;

                 l.     Marketing Defendants’ failure to disclose their financial ties to and role in
                        connection with KOLs, front groups, and deceptive literature and materials,
                        as more fully described above; and

                 m.     Such other omissions and concealments as described above.

       901.      In each of the circumstances described in the foregoing paragraph, Marketing

Defendants knew that their failure to disclose rendered their prior representations untrue or

misleading. Thus, Marketing Defendants had a duty not to deceive Plaintiff.

       902.      In addition and independently, Marketing Defendants had a duty not to deceive

Plaintiff because Defendants had in their possession unique material knowledge that was unknown,

and not knowable, to the Plaintiff, Plaintiff’s agents, and Plaintiff’s members, employees, and

beneficiaries.

       903.      These Defendants made these false representations and concealed facts with

knowledge of the falsity of their representations. These Defendants’ false representations and

concealed facts were material to the conduct and actions at issue.

       904.      Marketing Defendants intended and had reason to expect under the operative

circumstances that the Plaintiff, Plaintiff’s agents, Plaintiff’s employees, members and

beneficiaries, and persons on whom Plaintiff and its agents relied would be deceived by




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Defendants’ statements, concealments, and conduct as alleged herein and that Plaintiff would act

or fail to act in reasonable reliance thereon.

        905.   Marketing Defendants intended that Plaintiff, Plaintiff’s agents, Plaintiff’s

members, employees, and beneficiaries, and persons on whom Plaintiff and its agents relied would

rely on these Defendants’ misrepresentations and omissions; Defendants intended and knew that

this reasonable and rightful reliance would be induced by these Defendants’ misrepresentations

and omissions; and, Defendants intended and knew that such reliance would cause Plaintiff to

suffer loss.

        906.   Plaintiff, Plaintiff’s agents, Plaintiff’s members, employees, and beneficiaries, and

persons on whom Plaintiff and its agents relied, did in fact rightfully, reasonably, and justifiably

rely on Marketing Defendants’ representations and/or concealments, both directly and indirectly.

As the Marketing Defendants knew or should have known Plaintiff was directly and proximately

injured as a result of this reliance, Plaintiff’s injuries were directly and proximately caused by this

reliance.

        907.   As a result of these representations and/or omissions, Plaintiff proceeded under the

misapprehension that the opioid crisis was simply a result of conduct by persons other than

Defendants. As a consequence, these Defendants prevented Plaintiff from a more timely and

effective response to the opioid crisis.

        908.   By reason of its reliance on Marketing Defendants’ misrepresentations and

omissions of material fact, Plaintiff suffered damages.

        909.   Defendants’ misconduct alleged in this case is ongoing and persistent.

        910.   Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is not



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part of the normal and expected costs the Plaintiff ordinarily incurs. Plaintiff alleges wrongful acts

which are neither discrete nor of the sort the Plaintiff could reasonably expect.

       911.    Plaintiff has incurred expenditures for additional benefits and services over and

above Plaintiff’s ordinary expenditures.

       912.    These Defendants’ conduct was accompanied by wanton and willful disregard of

persons who foreseeably might be harmed by their acts and omissions.

       913.    Defendants’ actions demonstrated both malice and also aggravated and egregious

fraud. Defendants engaged in the conduct alleged herein with a conscious disregard for the rights

and safety of other persons, even though that conduct had a great probability of causing substantial

harm. The Marketing Defendants’ fraudulent wrongdoing was done with a particularly gross and

conscious disregard.

       914.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and all

damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre-and post-

judgment interest.

                                 SEVENTH CLAIM FOR RELIEF

                                           Unjust Enrichment
                                         (Against All Defendants)


       915.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges:

       916.    As an expected and intended result of their conscious wrongdoing as set forth in

this Complaint, Defendants have profited and benefited from the increase in the distribution and




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purchase of opioids to Plaintiff’s members, employees, and beneficiaries, including from opioids

foreseeably and deliberately diverted to same.

        917.   Unjust enrichment arises not only where an expenditure by one party adds to the

property of another, but also where the expenditure saves the other from expense or loss.

        918.   Plaintiff has expended substantial amounts of money in an effort to remedy or

mitigate the societal harms caused by Defendants’ conduct.

        919.   These expenditures include the provision of healthcare services and treatment

services to people who use opioids.

        920.   These expenditures have helped sustain Defendants’ businesses.

        921.   Plaintiff has conferred a benefit upon Defendants by paying for Defendants’

externalities: the cost of the harms caused by Defendants’ improper distribution practices.

        922.   Defendants were aware of these obvious benefits, and their retention of the benefit

is unjust.

        923.   Plaintiff has paid for the cost of Defendants’ externalities and Defendants have

benefited from those payments because they allowed them to continue providing customers with

a high volume of opioid products. Because of their deceptive marketing of prescription opioids,

Marketing Defendants obtained enrichment they would not otherwise have obtained. Because of

their conscious failure to exercise due diligence in preventing diversion, Defendants obtained

enrichment they would not otherwise have obtained. The enrichment was without justification and

Plaintiff lacks a remedy provided by law.

        924.   Defendants have unjustly retained benefits to the detriment of Plaintiff, and

Defendants’ retention of such benefits violates the fundamental principles of justice, equity, and

good conscience.



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        925.     Defendants’ misconduct alleged in this case is ongoing and persistent.

        926.     Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is not

part of the normal and expected costs the Plaintiff would ordinarily. Plaintiff alleges wrongful acts

which are neither discrete nor of the Plaintiff could reasonably expect.

        927.     Plaintiff has incurred expenditures for special benefits and coverage over and above

Plaintiff’s ordinary expenditures.

        928.     Plaintiff seeks an order compelling Defendants to disgorge all unjust enrichment to

Plaintiff; and awarding such other, further, and different relief as this Honorable Court may deem

just.

                                  EIGHTH CLAIM FOR RELIEF

                                          CIVIL CONSPIRACY
                                         (Against All Defendants)

        929.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges:

        930.     Defendants engaged in a civil conspiracy in their unlawful marketing of opioids

and/or distribution of opioids into Michigan and to Plaintiff’s members, employees, and

beneficiaries.

        931.     Defendants engaged in a civil conspiracy to commit fraud and misrepresentation in

conjunction with their unlawful marketing of opioids and/or distribution of opioids into Michigan

and to Plaintiff’s members, employees, and beneficiaries.

        932.     Defendants unlawfully failed to act to prevent diversion and failed to monitor for,

report, and prevent suspicious orders of opioids.




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       933.    The Marketing Defendants further unlawfully marketed opioids in the Michigan

and to Plaintiff’s members, employees, and beneficiaries in furtherance of that conspiracy.

       934.    Defendants’ conspiracy and acts in furtherance thereof are alleged in detail in this

Complaint, including, without limitation, in Plaintiff’s Counts for violations of RICO and the

Michigan Racketeering Laws. Such allegations are specifically incorporated herein.

       935.    Defendants acted with a common understanding or design to commit unlawful acts,

as alleged herein, and acted purposely, without a reasonable or lawful excuse, which directly

caused the injuries alleged herein.

       936.    Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonable or lawful excuse.

       937.    Defendants conduct in furtherance of the conspiracy described herein was not mere

parallel conduct because each Defendant acted directly against their commercial interests in not

reporting the unlawful distribution practices of their competitors to the authorities, which they had

a legal duty to do. Each Defendant acted against their commercial interests in this regard due to an

actual or tacit agreement between the Defendants that they would not report each other to the

authorities so they could all continue engaging in their unlawful conduct.

       938.    Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

thereof, caused the direct and foreseeable losses alleged herein.

       939.    Defendants’ actions demonstrated both malice and also aggravated and egregious

fraud. Defendants engaged in the conduct alleged herein with a conscious disregard for the rights

and safety of other persons, even though that conduct had a great probability of causing substantial

harm. The Marketing Defendants’ fraudulent wrongdoing was done with a particularly gross and

conscious disregard.



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       940.    Defendants’ misconduct alleged in this case is ongoing and persistent.

       941.    Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is not

part of the normal and expected costs the Plaintiff would ordinarily incur. Plaintiff alleges

wrongful acts which are neither discrete nor of the sort the Plaintiff could reasonably expect.

       942.    Plaintiff has incurred expenditures for special benefits and coverage over and above

Plaintiff’s ordinary expenditures.

       943.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and

all damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre-and

post-judgment interest.

                                     PRAYER FOR RELIEF

       944.    Plaintiff respectfully requests that this Court enter an order of judgment granting

all relief requested in this complaint, and/or allowed at law or in equity, including:

               a.         actual damages;

               b.      treble or multiple damages and civil penalties as allowed by statute;

               c.      punitive damages;

               d.      exemplary damages;

               e.      disgorgement of unjust enrichment;

               f.      forfeiture, disgorgement, restitution and/or divestiture of proceeds and
                       assets;

               g.      attorneys’ fees;

               h.      costs and expenses of suit;

               i.      pre- and post-judgment interest; and

               j.      such other and further relief as this Court deems appropriate.

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Dated: June 10, 2019
                                Respectfully submitted,



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